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                         Exhibit A
                 Adkins Declaration
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 7

 8                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9                                  SAN FRANCISCO DIVISION
10

11   FOOD & WATER WATCH, INC., et al.,
                                                           Case No. 3:17-cv-02162 EMC
12                  Plaintiffs,
             v.                                            DECLARATION OF
13
                                                           BRANDON N. ADKINS IN
14   UNITED STATES ENVIRONMENTAL                           SUPPORT OF DEFENDANTS’
     PROTECTION AGENCY, et al.,                            MOTION FOR SUMMARY
15                                                         JUDGMENT
                    Defendants.
16

17          I, Brandon N. Adkins, submit the following declaration in support of Defendants’ motion
18   summary judgment:
19          1.     I am a trial attorney within the Environment and Natural Resources Division of the United
20   States Department of Justice and counsel of record for Defendants in the above-captioned case.
21          2.     I have attached to this Declaration true and correct copies of the following documents or,
22   where noted, excerpts of documents:
23                       Introduction section and Chapter 11 of National Research Council,
24          Exhibit 1    Fluoride in Drinking Water: A Scientific Review of EPA’s Standards
                         (2006), available at http://www.nap.edu/catalog/11571.html
25
                         Excerpts from EPA, Office of Water, Fluoride: Dose-Response Analysis
            Exhibit 2
26                       For Non-Cancer Effects (December 2010)
27                       Guidance to Assist Interested Persons in Developing and Submitting Draft
            Exhibit 3
                         Risk Evaluations Under the Toxic Substances Control Act (June 2017)
28

                                                                    DECLARATION OF BRANDON N. ADKINS
                                                                          Case No. 3:17-cv-02162 EMC
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 1    Exhibit 4    Excerpts from Expert Report of Kathleen M. Thiessen (June 27, 2019)

 2    Exhibit 5    Excerpts from Expert Report of Philippe Grandjean (June 21, 2019)
 3    Exhibit 6    Excerpts from deposition of Kathleen M. Thiessen (August 27, 2019)
 4                 Bashash, M., et al., Prenatal Fluoride Exposure and Cognitive Outcomes in
 5    Exhibit 7    Children at 4 and 6–12 Years of Age in Mexico, Environmental Health
                   Perspectives (2017)
 6
                   Bashash, Morteza, et al., Prenatal fluoride exposure and attention deficit
 7    Exhibit 8    hyperactivity disorder (ADHD) symptoms in children at 6–12 years of age
                   in Mexico City, 121 Environment International 658 (2018)
 8
                   Valdez Jimenez, L., et al., In Utero Exposure to Fluoride and Cognitive
 9    Exhibit 9
                   Development Delay in Infants, 59 NeuroToxicology 65 (2017)
10
                   Green, Rivka, et al., Association Between Maternal Fluoride Exposure
11    Exhibit 10   During Pregnancy and IQ Scores in Offspring in Canada, JAMA Pediatrics
                   (2019)
12
      Exhibit 11   Excerpts from deposition of Howard Hu (September 24, 2019)
13
      Exhibit 12   Excerpts from deposition of Philippe Grandjean (September 13, 2019)
14

15    Exhibit 13   Declaration of Audrey Adams (November 19, 2018) (without exhibits)

16    Exhibit 14   Deposition of Audrey Adams (November 28, 2018) (without exhibits)

17    Exhibit 15   Declaration of Julie Simms (November 15, 2018) (without exhibits)
18    Exhibit 16   Declaration of Kristin Lavelle (November 16, 2018) (without exhibits)
19                 Declaration of Brenda Staudenmaier (November 16, 2018) (without
      Exhibit 17
20                 exhibits)

21    Exhibit 18   Declaration of Jessica Trader (November 18, 2018) (without exhibits)

22                 Li, Mang, et al., Cognitive Impairment and Risk Factors in Elderly People
      Exhibit 19
                   Living in Fluorosis Areas in China, Biol Trace Elem Res (2016)
23
                   Malin, Ashley, et al., Fluoride exposure and thyroid function among adults
24    Exhibit 20   living in Canada: Effect modification by iodine status, Environment
25                 International (2018)

26    Exhibit 21   Excerpts from deposition of Tala Rae Henry, Ph.D. (August 20, 2019)

27

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                                                 2
                                                              DECLARATION OF BRANDON N. ADKINS
                                                                    Case No. 3:17-cv-02162 EMC
          Case 3:17-cv-02162-EMC Document 116-1 Filed 10/09/19 Page 4 of 334



 1          I declare under penalty of perjury that the foregoing is true and correct.
 2   Executed on October 9th, 2019, in Washington, DC.
 3

 4                                                 /s/ Brandon N. Adkins
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                                                                      DECLARATION OF BRANDON N. ADKINS
                                                                            Case No. 3:17-cv-02162 EMC
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                         Exhibit A
       Adkins Declaration, Exhibit 01
                NRC 2006 ‐ excerpts
Fluoride in Drinking Water: A Scientific Review of EPA's Standards
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                 Fluoride
                in Drinking water

                              A Sc i e n t i f ic R e v i e w of
                                      E PA‘ s S ta n dar ds




                                 Committee on Fluoride in Drinking Water

                             Board on Environmental Studies and Toxicology

                                     Division on Earth and Life Studies




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            ing Board of the National Research Council, whose members are drawn from the
            councils of the National Academy of Sciences, the National Academy of Engineering,
            and the Institute of Medicine. The members of the committee responsible for the
            report were chosen for their special competences and with regard for ap­propriate
            balance.

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                                               Summary




                 Under the Safe Drinking Water Act, the U.S. Environmental Protection
            Agency (EPA) is required to establish exposure standards for contaminants
            in public drinking-water systems that might cause any adverse effects on
            human health. These standards include the maximum contaminant level
            goal (MCLG), the maximum contaminant level (MCL), and the secondary
            maximum contaminant level (SMCL). The MCLG is a health goal set at a
            concentration at which no adverse health effects are expected to occur and
            the margins of safety are judged “adequate.” The MCL is the enforceable
            standard that is set as close to the MCLG as possible, taking into consider-
            ation other factors, such as treatment technology and costs. For some con-
            taminants, EPA also establishes an SMCL, which is a guideline for managing
            drinking water for aesthetic, cosmetic, or technical effects.
                 Fluoride is one of the drinking-water contaminants regulated by EPA. In
            1986, EPA established an MCLG and MCL for fluoride at a concentration
            of 4 milligrams per liter (mg/L) and an SMCL of 2 mg/L. These guidelines
            are restrictions on the total amount of fluoride allowed in drinking water.
            Because fluoride is well known for its use in the prevention of dental car-
            ies, it is important to make the distinction here that EPA’s drinking-water
            guidelines are not recommendations about adding fluoride to drinking water
            to protect the public from dental caries. Guidelines for that purpose (0.7 to
            1.2 mg/L) were established by the U.S. Public Health Service more than 40
            years ago. Instead, EPA’s guidelines are maximum allowable concentrations
            in drinking water intended to prevent toxic or other adverse effects that
            could result from exposure to fluoride.
                 In the early 1990s at the request of EPA, the National Research Council


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                                                               FLUORIDE IN DRINKING WATER


            (NRC) independently reviewed the health effects of ingested fluoride and
            the scientific basis for EPA’s MCL. It concluded that the MCL was an ap-
            propriate interim standard but that further research was needed to fill data
            gaps on total exposure to fluoride and its toxicity. Because new research on
            fluoride is now available and because the Safe Drinking Water Act requires
            periodic reassessment of regulations for drinking-water contaminants, EPA
            requested that the NRC again evaluate the adequacy of its MCLG and
            SMCL for fluoride to protect public health.


                                           COMMITTEE’S TASK
                In response to EPA’s request, the NRC convened the Committee on
            Fluoride in Drinking Water, which prepared this report. The committee was
            charged to review toxicologic, epidemiologic, and clinical data on fluoride—
            particularly data published since the NRC’s previous (1993) report—and
            exposure data on orally ingested fluoride from drinking water and other
            sources. On the basis of its review, the committee was asked to evaluate
            independently the scientific basis of EPA’s MCLG of 4 mg/L and SMCL of
            2 mg/L in drinking water and the adequacy of those guidelines to protect
            children and others from adverse health effects. The committee was asked to
            consider the relative contribution of various fluoride sources (e.g., drinking
            water, food, dental-hygiene products) to total exposure. The committee was
            also asked to identify data gaps and to make recommendations for future
            research relevant to setting the MCLG and SMCL for fluoride. Addressing
            questions of artificial fluoridation, economics, risk-benefit assessment, and
            water-treatment technology was not part of the committee’s charge.


                                 THE COMMITTEE’S EVALUATION
                 To accomplish its task, the committee reviewed a large body of research
            on fluoride, focusing primarily on studies generated since the early 1990s,
            including information on exposure; pharmacokinetics; adverse effects on
            various organ systems; and genotoxic and carcinogenic potential. The col-
            lective evidence from in vitro assays, animal research, human studies, and
            mechanistic information was used to assess whether multiple lines of evi-
            dence indicate human health risks. The committee only considered adverse
            effects that might result from exposure to fluoride; it did not evaluate health
            risk from lack of exposure to fluoride or fluoride’s efficacy in preventing
            dental caries.
                 After reviewing the collective evidence, including studies conducted
            since the early 1990s, the committee concluded unanimously that the
            present MCLG of 4 mg/L for fluoride should be lowered. Exposure at the
            MCLG clearly puts children at risk of developing severe enamel fluorosis,




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            SUMMARY                                                                    

            a condition that is associated with enamel loss and pitting. In addition, the
            majority of the committee concluded that the MCLG is not likely to be pro-
            tective against bone fractures. The basis for these conclusions is expanded
            upon below.


                                            Exposure to Fluoride
                 The major sources of exposure to fluoride are drinking water, food,
            dental products, and pesticides. The biggest contributor to exposure for
            most people in the United States is drinking water. Estimates from 1992
            indicate that approximately 1.4 million people in the United States had
            drinking water with natural fluoride concentrations of 2.0-3.9 mg/L, and
            just over 200,000 people had concentrations equal to or exceeding 4 mg/L
            (the presented MCL). In 2000, it was estimated that approximately 162 mil-
            lion people had artificially fluoridated water (0.7-1.2 mg/L).
                 Food sources contain various concentrations of fluoride and are the sec-
            ond largest contributor to exposure. Beverages contribute most to estimated
            fluoride intake, even when excluding contributions from local tap water. The
            greatest source of nondietary fluoride is dental products, primarily tooth-
            pastes. The public is also exposed to fluoride from background air and from
            certain pesticide residues. Other sources include certain pharmaceuticals and
            consumer products.
                 Highly exposed subpopulations include individuals who have high con-
            centrations of fluoride in drinking water, who drink unusually large volumes
            of water, or who are exposed to other important sources of fluoride. Some
            subpopulations consume much greater quantities of water than the 2 L
            per day that EPA assumes for adults, including outdoor workers, athletes,
            and people with certain medical conditions, such as diabetes insipidus. On
            a per-body-weight basis, infants and young children have approximately
            three to four times greater exposure than do adults. Dental-care products
            are also a special consideration for children, because many tend to use more
            toothpaste than is advised, their swallowing control is not as well developed
            as that of adults, and many children under the care of a dentist undergo
            fluoride treatments.
                 Overall, the committee found that the contribution to total fluoride
            exposure from fluoride in drinking water in the average person, depending
            on age, is 57% to 90% at 2 mg/L and 72% to 94% at 4 mg/L. For high-
            water-intake individuals, the drinking-water contribution is 86% to 96%
            at 2 mg/L and 92% to 98% at 4 mg/L. Among individuals with an average
            water-intake rate, infants and children have the greatest total exposure to
            fluoride, ranging from 0.079 to 0.258 mg/kg/day at 4 mg/L and 0.046 to
            0.144 mg/kg/day at 2 mg/L in drinking water. For high-water-intake indi-
            viduals exposed to fluoride at 4 mg/L, total exposure ranges from 0.294




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                                                               FLUORIDE IN DRINKING WATER


            mg/kg/day for adults to 0.634 mg/kg/day for children. The corresponding
            intake range at 2 mg/L is 0.154 to 0.334 mg/kg/day for adults and children,
            respectively.


                                                Dental Effects
                 Enamel fluorosis is a dose-related mottling of enamel that can range
            from mild discoloration of the tooth surface to severe staining and pitting.
            The condition is permanent after it develops in children during tooth for-
            mation, a period ranging from birth until about the age of 8. Whether to
            consider enamel fluorosis, particularly the moderate to severe forms, to be
            an adverse health effect or a cosmetic effect has been the subject of debate
            for decades. In previous assessments, all forms of enamel fluorosis, includ-
            ing the severest form, have been judged to be aesthetically displeasing but
            not adverse to health. This view has been based largely on the absence of
            direct evidence that severe enamel fluorosis results in tooth loss; loss of tooth
            function; or psychological, behavioral, or social problems.
                 Severe enamel fluorosis is characterized by dark yellow to brown stain-
            ing and discrete and confluent pitting, which constitutes enamel loss. The
            committee finds the rationale for considering severe enamel fluorosis only
            a cosmetic effect to be much weaker for discrete and confluent pitting than
            for staining. One of the functions of tooth enamel is to protect the dentin
            and, ultimately, the pulp from decay and infection. Severe enamel fluorosis
            compromises that health-protective function by causing structural damage
            to the tooth. The damage to teeth caused by severe enamel fluorosis is a toxic
            effect that is consistent with prevailing risk assessment definitions of adverse
            health effects. This view is supported by the clinical practice of filling enamel
            pits in patients with severe enamel fluorosis and restoring the affected teeth.
            Moreover, the plausible hypothesis concerning elevated frequency of caries
            in persons with severe enamel fluorosis has been accepted by some authori-
            ties, and the available evidence is mixed but generally supportive.
                 Severe enamel fluorosis occurs at an appreciable frequency, approxi-
            mately 10% on average, among children in U.S. communities with water
            fluoride concentrations at or near the current MCLG of 4 mg/L. Thus, the
            MCLG is not adequately protective against this condition.
                 Two of the 12 members of the committee did not agree that severe
            enamel fluorosis should now be considered an adverse health effect. They
            agreed that it is an adverse dental effect but found that no new evidence has
            emerged to suggest a link between severe enamel fluorosis, as experienced in
            the United States, and a person’s ability to function. They judged that dem-
            onstration of enamel defects alone from fluorosis is not sufficient to change
            the prevailing opinion that severe enamel fluorosis is an adverse cosmetic
            effect. Despite their disagreement on characterization of the condition, these




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            two members concurred with the committee’s conclusion that the MCLG
            should prevent the occurrence of this unwanted condition.
                 Enamel fluorosis is also of concern from an aesthetic standpoint because
            it discolors or results in staining of teeth. No data indicate that staining
            alone affects tooth function or susceptibility to caries, but a few studies have
            shown that tooth mottling affects aesthetic perception of facial attractive-
            ness. It is difficult to draw conclusions from these studies, largely because
            perception of the condition and facial attractiveness are subjective and cul-
            turally influenced. The committee finds that it is reasonable to assume that
            some individuals will find moderate enamel fluorosis on front teeth to be
            detrimental to their appearance and that it could affect their overall sense
            of well-being. However, the available data are not adequate to categorize
            moderate enamel fluorosis as an adverse health effect on the basis of struc-
            tural or psychological effects.
                 Since 1993, there have been no new studies of enamel fluorosis in U.S.
            communities with fluoride at 2 mg/L in drinking water. Earlier studies indi-
            cated that the prevalence of moderate enamel fluorosis at that concentration
            could be as high as 15%. Because enamel fluorosis has different distribu-
            tion patterns among teeth, depending on when exposure occurred during
            tooth development and on enamel thickness, and because current indexes
            for categorizing enamel fluorosis do not differentiate between mottling of
            anterior and posterior teeth, the committee was not able to determine what
            percentage of moderate cases might be of cosmetic concern.


                                           Musculoskeletal Effects
                 Concerns about fluoride’s effects on the musculoskeletal system histori-
            cally have been and continue to be focused on skeletal fluorosis and bone
            fracture. Fluoride is readily incorporated into the crystalline structure of
            bone and will accumulate over time. Since the previous 1993 NRC review
            of fluoride, two pharmacokinetic models were developed to predict bone
            concentrations from chronic exposure to fluoride. Predictions based on these
            models were used in the committee’s assessments below.

            Skeletal Fluorosis

                Skeletal fluorosis is a bone and joint condition associated with prolonged
            exposure to high concentrations of fluoride. Fluoride increases bone density
            and appears to exacerbate the growth of osteophytes present in the bone and
            joints, resulting in joint stiffness and pain. The condition is categorized into
            one of four stages: a preclinical stage and three clinical stages that increase
            in severity. The most severe stage (clinical stage III) historically has been
            referred to as the “crippling” stage. At stage II, mobility is not significantly




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                                                               FLUORIDE IN DRINKING WATER


            affected, but it is characterized by chronic joint pain, arthritic symptoms,
            slight calcification of ligaments, and osteosclerosis of the cancellous bones.
            Whether EPA’s MCLG of 4 mg/L protects against these precursors to more
            serious mobility problems is unclear.
                 Few clinical cases of skeletal fluorosis in healthy U.S. populations
            have been reported in recent decades, and the committee did not find any
            recent studies to evaluate the prevalence of the condition in populations
            exposed to fluoride at the MCLG. Thus, to answer the question of whether
            EPA’s MCLG protects the general public from stage II and stage III skeletal
            fluorosis, the committee compared pharmacokinetic model predictions of
            bone fluoride concentrations and historical data on iliac-crest bone fluoride
            concentrations associated with the different stages of skeletal fluorosis. The
            models estimated that bone fluoride concentrations resulting from lifetime
            exposure to fluoride in drinking water at 2 mg/L (4,000 to 5,000 mg/kg ash)
            or 4 mg/L (10,000 to 12,000 mg/kg ash) fall within or exceed the ranges
            historically associated with stage II and stage III skeletal fluorosis (4,300 to
            9,200 mg/kg ash and 4,200 to 12,700 mg/kg ash, respectively). However,
            this comparison alone is insufficient for determining whether stage II or III
            skeletal fluorosis is a risk for populations exposed to fluoride at 4 mg/L,
            because bone fluoride concentrations and the levels at which skeletal fluoro-
            sis occurs vary widely. On the basis of the existing epidemiologic literature,
            stage III skeletal fluorosis appears to be a rare condition in the United Sates;
            furthermore, the committee could not determine whether stage II skeletal
            fluorosis is occurring in U.S. residents who drink water with fluoride at 4
            mg/L. Thus, more research is needed to clarify the relationship between
            fluoride ingestion, fluoride concentrations in bone, and stage of skeletal
            fluorosis before any conclusions can be drawn.

            Bone Fractures

                 Several epidemiologic studies of fluoride and bone fractures have been
            published since the 1993 NRC review. The committee focused its review on
            observational studies of populations exposed to drinking water containing
            fluoride at 2 to 4 mg/L or greater and on clinical trials of fluoride (20-34 mg/
            day) as a treatment for osteoporosis. Several strong observational studies in-
            dicated an increased risk of bone fracture in populations exposed to fluoride
            at 4 mg/L, and the results of other studies were qualitatively consistent with
            that finding. The one study using serum fluoride concentrations found no
            appreciable relationship to fractures. Because serum fluoride concentrations
            may not be a good measure of bone fluoride concentrations or long-term
            exposure, the ability to show an association might have been diminished in
            that study. A meta-analysis of randomized clinical trials reported an elevated
            risk of new nonvertebral fractures and a slightly decreased risk of vertebral




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            SUMMARY                                                                     

            fractures after 4 years of fluoride treatment. An increased risk of bone frac-
            ture was found among a subset of the trials that the committee found most
            informative for assessing long-term exposure. Although the duration and
            concentrations of exposure to fluoride differed between the observational
            studies and the clinical trials, bone fluoride content was similar (6,200 to
            more than 11,000 mg/kg ash in observational studies and 5,400 to 12,000
            mg/kg ash in clinical trials).
                  Fracture risk and bone strength have been studied in animal models.
            The weight of evidence indicates that, although fluoride might increase bone
            volume, there is less strength per unit volume. Studies of rats indicate that
            bone strength begins to decline when fluoride in bone ash reaches 6,000 to
            7,000 mg/kg. However, more research is needed to address uncertainties
            associated with extrapolating data on bone strength and fractures from
            animals to humans. Important species differences in fluoride uptake, bone
            remodeling, and growth must be considered. Biochemical and physiological
            data indicate a biologically plausible mechanism by which fluoride could
            weaken bone. In this case, the physiological effect of fluoride on bone qual-
            ity and risk of fracture observed in animal studies is consistent with the
            human evidence.
                  Overall, there was consensus among the committee that there is scien-
            tific evidence that under certain conditions fluoride can weaken bone and
            increase the risk of fractures. The majority of the committee concluded that
            lifetime exposure to fluoride at drinking-water concentrations of 4 mg/L
            or higher is likely to increase fracture rates in the population, compared
            with exposure to 1 mg/L, particularly in some demographic subgroups that
            are prone to accumulate fluoride into their bones (e.g., people with renal
            disease). However, 3 of the 12 members judged that the evidence only sup-
            ports a conclusion that the MCLG might not be protective against bone
            fracture. Those members judged that more evidence is needed to conclude
            that bone fractures occur at an appreciable frequency in human popula-
            tions exposed to fluoride at 4 mg/L and that the MCLG is not likely to
            be protective.
                  There were few studies to assess fracture risk in populations exposed to
            fluoride at 2 mg/L in drinking water. The best available study, from Finland,
            suggested an increased rate of hip fracture in populations exposed to fluo-
            ride at concentrations above 1.5 mg/L. However, this study alone is not suf-
            ficient to judge fracture risk for people exposed to fluoride at 2 mg/L. Thus,
            no conclusions could be drawn about fracture risk or safety at 2 mg/L.


                                Reproductive and Developmental Effects
                A large number of reproductive and developmental studies in animals
            have been conducted and published since the 1993 NRC report, and the




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                                                               FLUORIDE IN DRINKING WATER


            overall quality of that database has improved significantly. Those studies
            indicated that adverse reproductive and developmental outcomes occur
            only at very high concentrations that are unlikely to be encountered by
            U.S. populations. A few human studies suggested that high concentrations
            of fluoride exposure might be associated with alterations in reproductive
            hormones, effects on fertility, and developmental outcomes, but design
            limitations make those studies insufficient for risk evaluation.


                               Neurotoxicity and Neurobehavioral Effects
                 Animal and human studies of fluoride have been published reporting
            adverse cognitive and behavioral effects. A few epidemiologic studies of Chi-
            nese populations have reported IQ deficits in children exposed to fluoride at
            2.5 to 4 mg/L in drinking water. Although the studies lacked sufficient detail
            for the committee to fully assess their quality and relevance to U.S. popula-
            tions, the consistency of the results appears significant enough to warrant
            additional research on the effects of fluoride on intelligence.
                 A few animal studies have reported alterations in the behavior of
            rodents after treatment with fluoride, but the committee did not find the
            changes to be substantial in magnitude. More compelling were studies on
            molecular, cellular, and anatomical changes in the nervous system found
            after fluoride exposure, suggesting that functional changes could occur.
            These changes might be subtle or seen only under certain physiological or
            environmental conditions. More research is needed to clarify the effect of
            fluoride on brain chemistry and function.


                                              Endocrine Effects
                The chief endocrine effects of fluoride exposures in experimental ani-
            mals and in humans include decreased thyroid function, increased calcitonin
            activity, increased parathyroid hormone activity, secondary hyperparathy-
            roidism, impaired glucose tolerance, and possible effects on timing of sexual
            maturity. Some of these effects are associated with fluoride intake that is
            achievable at fluoride concentrations in drinking water of 4 mg/L or less,
            especially for young children or for individuals with high water intake.
            Many of the effects could be considered subclinical effects, meaning that
            they are not adverse health effects. However, recent work on borderline
            hormonal imbalances and endocrine-disrupting chemicals indicated that ad-
            verse health effects, or increased risks for developing adverse effects, might
            be associated with seemingly mild imbalances or perturbations in hormone
            concentrations. Further research is needed to explore these possibilities.




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            SUMMARY                                                                       

                                     Effects on Other Organ Systems
                 The committee also considered effects on the gastrointestinal system,
            kidneys, liver, and immune system. There were no human studies on drink-
            ing water containing fluoride at 4 mg/L in which gastrointestinal, renal,
            hepatic, or immune effects were carefully documented. Case reports and in
            vitro and animal studies indicated that exposure to fluoride at concentra-
            tions greater than 4 mg/L can be irritating to the gastrointestinal system,
            affect renal tissues and function, and alter hepatic and immunologic param-
            eters. Such effects are unlikely to be a risk for the average individual exposed
            to fluoride at 4 mg/L in drinking water. However, a potentially susceptible
            subpopulation comprises individuals with renal impairments who retain
            more fluoride than healthy people do.


                                     Genotoxicity and Carcinogenicity
                 Many assays have been performed to assess the genotoxicity of fluoride.
            Since the 1993 NRC review, the most significant additions to the database
            are in vivo assays in human populations and, to a lesser extent, in vitro
            assays with human cell lines and in vivo experiments with rodents. The
            results of the in vivo human studies are mixed. The results of in vitro tests
            are also conflicting and do not contribute significantly to the interpretation
            of the existing database. Evidence on the cytogenetic effects of fluoride at
            environmental concentrations is contradictory.
                 Whether fluoride might be associated with bone cancer has been a
            subject of debate. Bone is the most plausible site for cancer associated with
            fluoride because of its deposition into bone and its mitogenic effects on bone
            cells in culture. In a 1990 cancer bioassay, the overall incidence of osteo-
            sarcoma in male rats exposed to different amounts of fluoride in drinking
            water showed a positive dose-response trend. In a 1992 study, no increase in
            osteosarcoma was reported in male rats, but most of the committee judged
            the study to have insufficient power to counter the evidence for the trend
            found in the 1990 bioassay.
                 Several epidemiologic investigations of the relation between fluoride
            and cancer have been performed since the 1993 evaluation, including both
            individual-based and ecologic studies. Several studies had significant meth-
            odological limitations that made it difficult to draw conclusions. Overall,
            the results are mixed, with some studies reporting a positive association and
            others no association.
                 On the basis of the committee’s collective consideration of data from
            humans, genotoxicity assays, and studies of mechanisms of action in cell
            systems (e.g., bone cells in vitro), the evidence on the potential of fluoride
            to initiate or promote cancers, particularly of the bone, is tentative and




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            mixed. Assessing whether fluoride constitutes a risk factor for osteosarcoma
            is complicated by the rarity of the disease and the difficulty of characterizing
            biologic dose because of the ubiquity of population exposure to fluoride and
            the difficulty of acquiring bone samples in nonaffected individuals.
                 A relatively large hospital-based case-control study of osteosarcoma and
            fluoride exposure is under way at the Harvard School of Dental Medicine
            and is expected to be published in 2006. That study will be an important
            addition to the fluoride database, because it will have exposure information
            on residence histories, water consumption, and assays of bone and toenails.
            The results of that study should help to identify what future research will
            be most useful in elucidating fluoride’s carcinogenic potential.


                                   DRINKING-WATER STANDARDS

                                   Maximum-Contaminant-Level Goal
                 In light of the collective evidence on various health end points and
            total exposure to fluoride, the committee concludes that EPA’s MCLG of 4
            mg/L should be lowered. Lowering the MCLG will prevent children from
            developing severe enamel fluorosis and will reduce the lifetime accumulation
            of fluoride into bone that the majority of the committee concludes is likely
            to put individuals at increased risk of bone fracture and possibly skeletal
            fluorosis, which are particular concerns for subpopulations that are prone
            to accumulating fluoride in their bones.
                 To develop an MCLG that is protective against severe enamel fluorosis,
            clinical stage II skeletal fluorosis, and bone fractures, EPA should update the
            risk assessment of fluoride to include new data on health risks and better es-
            timates of total exposure (relative source contribution) for individuals. EPA
            should use current approaches for quantifying risk, considering susceptible
            subpopulations, and characterizing uncertainties and variability.


                                Secondary Maximum Contaminant Level
                 The prevalence of severe enamel fluorosis is very low (near zero) at fluo-
            ride concentrations below 2 mg/L. From a cosmetic standpoint, the SMCL
            does not completely prevent the occurrence of moderate enamel fluorosis.
            EPA has indicated that the SMCL was intended to reduce the severity and
            occurrence of the condition to 15% or less of the exposed population. The
            available data indicate that fewer than 15% of children will experience
            moderate enamel fluorosis of aesthetic concern (discoloration of the front
            teeth) at that concentration. However, the degree to which moderate enamel
            fluorosis might go beyond a cosmetic effect to create an adverse psychologi-
            cal effect or an adverse effect on social functioning is not known.




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            SUMMARY                                                                    11

                                   OTHER PUBLIC HEALTH ISSUES
                The committee’s conclusions regarding the potential for adverse effects
            from fluoride at 2 to 4 mg/L in drinking water do not address the lower
            exposures commonly experienced by most U.S. citizens. Fluoridation is
            widely practiced in the United States to protect against the development
            of dental caries; fluoride is added to public water supplies at 0.7 to 1.2
            mg/L. The charge to the committee did not include an examination of the
            benefits and risks that might occur at these lower concentrations of fluoride
            in drinking water.


                                            RESEARCH NEEDS
                 As noted above, gaps in the information on fluoride prevented the
            committee from making some judgments about the safety or the risks of
            fluoride at concentrations of 2 to 4 mg/L. The following research will be
            useful for filling those gaps and guiding revisions to the MCLG and SMCL
            for fluoride.

                 • Exposure assessment
                    — Improved assessment of exposure to fluoride from all sources is
            needed for a variety of populations (e.g., different socioeconomic condi-
            tions). To the extent possible, exposures should be characterized for indi-
            viduals rather than communities, and epidemiologic studies should group
            individuals by exposure level rather than by source of exposure, location of
            residence, or fluoride concentration in drinking water. Intakes or exposures
            should be characterized with and without normalization for body weight.
            Fluoride should be included in nationwide biomonitoring surveys and nutri-
            tional studies; in particular, analysis of fluoride in blood and urine samples
            taken in these surveys would be valuable.
                 • Pharmacokinetic studies
                    — The concentrations of fluoride in human bone as a function of ex-
            posure concentration, exposure duration, age, sex, and health status should
            be studied. Such studies would be greatly aided by noninvasive means of
            measuring bone fluoride. Information is particularly needed on fluoride
            plasma and bone concentrations in people with small-to-moderate changes
            in renal function as well as in those with serious renal deficiency.
                    — Improved and readily available pharmacokinetic models should
            be developed. Additional cross-species pharmacokinetic comparisons would
            help to validate such models.
                 • Studies of enamel fluorosis
                    — Additional studies, including longitudinal studies, should be done
            in U.S. communities with water fluoride concentrations greater than 1 mg/L.




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            These studies should focus on moderate and severe enamel fluorosis in
            relation to caries and in relation to psychological, behavioral, and social
            effects among affected children, their parents, and affected children after
            they become adults.
                    — Methods should be developed and validated to objectively assess
            enamel fluorosis. Consideration should be given to distinguishing between
            staining or mottling of the anterior teeth and of the posterior teeth so that
            aesthetic consequences can be more easily assessed.
                    — More research is needed on the relation between fluoride exposure
            and dentin fluorosis and delayed tooth eruption patterns.
                 • Bone studies
                    — A systematic study of clinical stage II and stage III skeletal fluoro-
            sis should be conducted to clarify the relationship between fluoride inges-
            tion, fluoride concentration in bone, and clinical symptoms.
                    — More studies of communities with drinking water containing
            fluoride at 2 mg/L or more are needed to assess potential bone fracture risk
            at these higher concentrations. Quantitative measures of fracture, such as
            radiologic assessment of vertebral body collapse, should be used instead
            of self-reported fractures or hospital records. Moreover, if possible, bone
            fluoride concentrations should be measured in long-term residents.
                 • Other health effects
                    — Carefully conducted studies of exposure to fluoride and emerging
            health parameters of interest (e.g., endocrine effects and brain function)
            should be performed in populations in the United States exposed to various
            concentrations of fluoride. It is important that exposures be appropriately
            documented.




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              Drinking Water Standards for Fluoride




                 The U.S. Environmental Protection Agency (EPA) has three standards
            for fluoride in drinking water: a maximum-contaminant-level goal (MCLG),
            a maximum contaminant level (MCL), and a secondary maximum contami-
            nant level (SMCL). In this chapter, the committee reviews the MCLG and
            SMCL for fluoride, the two nonenforceable standards, for their scientific
            basis and adequacy for protecting the public from adverse effects. First,
            an overview of current procedures for establishing exposure standards is
            provided, and risk assessment issues that have developed since the original
            MCLG and SMCL for fluoride were established are discussed.


                       CURRENT METHODS FOR SETTING STANDARDS
                                FOR DRINKING WATER
                 To establish MCLGs for drinking water, EPA reviews studies of health
            effects of individual contaminants and uses the information to calculate
            an exposure level at which no known or anticipated adverse health effects
            would occur with an adequate margin of safety. MCLGs consider only pub-
            lic health and not the limits of detection or treatment technology, so they
            may be set at concentrations that water systems cannot achieve.


                                      Noncarcinogenic Contaminants
                For noncarcinogenic chemicals, the MCLG is based on the reference
            dose, which is defined as an estimate (with uncertainty spanning perhaps
            an order of magnitude or greater) of a daily dose to the human population


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            (including susceptible subpopulations) that is likely to have no appreciable
            risk of deleterious health effects during a lifetime. The reference dose char-
            acterizes exposure conditions that are unlikely to cause noncancer health
            effects, which are typically assumed to have a threshold dose above which
            adverse health effects would be expected to occur.
                 Traditionally, reference doses are determined by identifying the most
            sensitive health effects that are relevant to the human, selecting a no-ob-
            served-adverse-effect level (NOAEL) or a lowest-observed-adverse-effect
            level (LOAEL), and dividing the NOAEL or LOAEL by one or more uncer-
            tainty factors to provide a margin of safety. Uncertainty factors are applied
            to address uncertainties with using experimental animal data for human
            effects (interspecies differences) to account for variable susceptibilities in
            the human population (intraspecies differences), to adjust for differences
            between the LOAEL and NOAEL when a LOAEL is used instead of a NO-
            AEL (LOAEL-to-NOAEL extrapolation), to account for uncertainties with
            predicting chronic exposure effects on the basis of subchronic exposure
            studies (subchronic to chronic extrapolation), and to address uncertainties
            when the database on the chemical is inadequate. Sometimes a modifying
            factor is used to account for additional uncertainty not addressed by the
            standard uncertainty factors.
                 Typically, uncertainty factors are assigned values ranging from 1 to 10.
            If information about a factor is sparse and uncertainty is high, a default
            value of 10 is generally used. If information is available, the uncertainty
            factor might be reduced to 1. For an uncertainty factor that falls between
            1 and 10, a factor of 3 is typically assigned, because 3 is the approximate
            logarithmic mean of 1 and 10, and it is assumed that the uncertainty factor
            is distributed lognormally (EPA 1994). To calculate a reference dose, the
            NOAEL or LOAEL is divided by the product of the uncertainty factors.
            EPA typically uses a maximum of 3,000 for the product of four uncertainty
            factors that individually are greater than 1 and a maximum of 10,000 with
            five uncertainty factors (Dourson 1994).
                 More recently, the benchmark dose is being used as the starting point
            for calculating reference doses. The benchmark dose is a dose with a speci-
            fied low level of excess health risk, generally in the range of 1% to 10%,
            which can be estimated from data with little or no extrapolation outside
            the experimental dose range. Specifically, the benchmark dose is derived by
            modeling the data in the observed experimental range, selecting an incidence
            level within or near the observed range (e.g., the effective dose producing
            a 10% increased incidence of response), and determining the upper confi-
            dence limit on the model. To account for experimental variation, a lower
            confidence limit or uncertainty factors on the benchmark dose are used to
            ensure that the specified excess risk is not likely to be exceeded.
                 To derive an MCLG, the reference dose is multiplied by a typical adult




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            body weight of 70 kg and divided by an assumed daily water consumption
            of 2 L to yield a drinking water equivalent level. That level is multiplied
            by a percentage of the total daily exposure contributed by drinking water
            (usually 20%) to calculate the MCLG. EPA then uses the MCLG to set an
            enforceable standard (the MCL). The MCL is set as close to the MCLG as
            feasible.


                                        Carcinogenic Contaminants
                 EPA sets MCLGs of zero for contaminants that are known or probable
            human carcinogens. For chemicals judged to be possibly carcinogenic to
            humans, EPA has recently begun applying an uncertainty factor between
            1 and 10 to the reference dose derived from noncancer health effects to
            determine some exposure standards, such as certain ambient water-quality
            criteria (EPA 2000d). EPA stipulates that the water concentrations estimated
            to result in 1 × 10−6 to 1 × 10−5 excess cancer risks should also be compared
            with the reference dose.


                           NEW RISK ASSESSMENT CONSIDERATIONS
                 Since the fluoride MCLG and SMCL were originally issued, there have
            been a number of developments in risk assessment. A few of those issues
            were described above in the discussion of current risk assessment practices
            (e.g., use of benchmark dose). Below, a few specific issues relevant to the
            committee’s review of the drinking water standards for fluoride are dis-
            cussed, including advances in carcinogenicity assessment, relative source
            contribution, special considerations for children, and explicit treatment of
            uncertainty and variability.


                                        Carcinogenicity Assessment
                In 2005, EPA issued its new Guidelines for Carcinogen Risk Assessment
            (EPA 2005a) as a replacement for its 1986 guidelines (EPA 1986). The re-
            vised guidelines were issued partly to address changes in the understanding
            of the variety of ways in which carcinogens can operate. For example, the
            guidelines provide a framework that allows all relevant biological infor-
            mation to be incorporated and the flexibility to consider future scientific
            advances.
                The guidelines provide several options for constructing the dose-re-
            sponse relationship, in contrast to the single default dose-response rela-
            tionship of the 1986 cancer guidelines. Biologically based extrapolation is
            the preferred approach for quantifying risk. It involves extrapolating from
            animals to humans based on a similar underlying mode of action. However,




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            in the absence of data on the parameters used in such models, the guidelines
            allow for alternative quantitative methods. In the default approaches, re-
            sponse data are modeled in the range of observation and then the point of
            departure or the range of extrapolation below the range of observation is
            determined. In addition to modeling tumor data, other kinds of responses
            are modeled if they are considered measures of carcinogenic risk. Three
            default approaches—linear, nonlinear, and both—are provided. Curve fit-
            ting in the observed range provides the effective dose corresponding to the
            lower 95% limit on a dose associated with a low level of response (usually
            in the range of 1% to 10%). That dose is then used as a point of departure
            for extrapolating the origin as the linear default or for a margin of exposure
            as the nonlinear default.
                 Other modifications of interest in the new guidelines include the
            following:

                 • All biological information and not just tumor findings is considered
            in the hazard-assessment phase of risk assessment.
                 • Mode of action is emphasized to reduce the uncertainty in describing
            the likelihood of harm and in determining the dose-response approaches.
                 • A weight-of-evidence narrative replaces the 1986 alphanumeric
            classification categories. The narrative describes the key evidence, potential
            modes of action, conditions of hazard expression, and key default options
            used.
                 • Direction is provided on how the overall conclusion and the con-
            fidence about risk are presented and a call is made for assumptions and
            uncertainties to be clearly explained.


                                       Relative Source Contribution
                 EPA has developed a relative source contribution policy for assess-
            ing total human exposure to a contaminant. Under this policy, nonwater
            sources of exposure are considered in development of the reference dose.
            The percentage of total exposure typically accounted for by drinking water
            is applied to the reference dose to determine the maximum amount of the
            reference dose “apportioned” to drinking water reflected by the MCLG
            value. In the drinking water program, the MCLG cannot account for more
            than 80% or for less than 20% of the reference dose (EPA 2000d). Typically,
            a conservative approach is used by applying a relative source contribution
            factor of 20% to the reference dose when exposure data are inadequate.
            It is assumed that the major portion (80%) of the total exposure comes
            from other sources, such as the diet. This policy contrasts with past “sub-
            traction” methods of determining relative source contributions, in which




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            sources of exposure other than drinking water were subtracted from the
            reference dose.
                In EPA’s Methodology for Deriving Ambient Water Quality Criteria for
            the Protection of Human Health, a process called the exposure decision tree
            (Figure 11-1) is proposed as another means for determining relative source




            FIGURE 11-1 Exposure Decision Tree for Defining Proposed Reference
            Dose Apportionment. SOURCE: EPA 2000d. Abbreviations: POD, point of
            departure; UF, uncertainty factor




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            contributions (EPA 2000d). This method considers the adequacy of avail-
            able exposure data, levels of exposure, relevant sources/media of exposure,
            and regulatory agendas. The exposure decision tree approach offers flex-
            ibility in the reference dose apportionment among sources of exposure and
            uses chemical information (e.g., chemical and physical properties, uses of the
            chemical, environmental fate and transformation, likelihood of occurrence
            in various media) when monitoring data are inadequate. The process also
            allows for use of either the subtraction or the percentage method to account
            for other exposures, depending on whether one or more health-based crite-
            rion is relevant for the chemical in question. The subtraction method can be
            used when only one criterion is relevant to a chemical. In those cases, other
            sources of exposure can be considered “background” and can be subtracted
            from the reference dose (EPA 2000d).


                                               Risk to Children
                 In 1996, EPA’s Office of the Administrator issued Environmental Health
            Threats to Children (EPA 1996b) and set an agenda that called for consid-
            ering children’s risks in all EPA actions. Children are considered a special
            subpopulation because their health risks can differ from those of adults as
            a result of their immature physiology, metabolism, and differing levels of
            exposure due to factors such as greater food consumption per unit of body
            weight and outdoor play activities. Different levels of exposure for children
            are typically considered in risk assessments, but the underlying toxicity data-
            base often does not specifically address effects on children. Such limitations
            in toxicity data are typically addressed by applying uncertainty factors to
            protect susceptible populations. In 2005, EPA issued special guidance for as-
            sessing susceptibility to carcinogens during early life stages (EPA 2005b).


                                         FLUORIDE STANDARDS

                                   Maximum-Contaminant-Level Goal
                In 1986, EPA established an MCLG for fluoride of 4 mg/L to protect
            against “crippling” (clinical stage III) skeletal fluorosis. At that time, a ref-
            erence dose for fluoride was not available, and the MCLG was calculated
            from a LOAEL of 20 mg/day estimated from case studies (Moller and
            Gudjonsson 1932), the assumption that adult water intake is 2 L per day,
            and the application of a safety factor of 2.5. EPA selected the safety factor
            to establish an MCLG that was in agreement with a recommendation from
            the U.S. Surgeon General (see Chapter 1).
                The committee considered three toxicity end points for which there
            were sufficient relevant data for assessing the adequacy of the MCLG for




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            fluoride to protect public health: severe enamel fluorosis, skeletal fluorosis,
            and bone fractures.

            Severe Enamel Fluorosis

                 In the past, moderate to severe forms of enamel fluorosis were consid-
            ered to be aesthetically displeasing but not adverse to health, largely because
            there was no direct evidence that moderate-to-severe enamel fluorosis, as ob-
            served in the United States, had resulted in tooth loss, loss of tooth function,
            or psychological problems. In reviewing the collective evidence, the com-
            mittee considered moderate and severe forms of the condition separately.
            Severe enamel fluorosis is characterized by enamel loss and pitting. This
            damage compromises enamel’s protective barrier and can make the teeth
            more susceptible to environmental stresses and to caries formation because
            it allows bacteria, plaque, and food particles to become entrapped in the
            enamel. Caries is dental decay caused by bacterial infection. When the infec-
            tion goes unchecked, cavities may form that can cause toothache and tooth
            sensitivity to temperature and sweets. If cavities are untreated, the infection
            can lead to abscess, destruction of bone, and spread of the infection to other
            parts of the body (USDHHS 2000). While increased risk of caries has not
            been firmly established, the majority of the committee found that destruc-
            tion of the enamel and the clinical practice of treating the condition even
            in the absence of caries provide additional lines of evidence for concluding
            that severe enamel fluorosis is an adverse health effect. Severe enamel fluo-
            rosis occurs at an appreciable frequency, approximately 10% on average,
            among children in U.S. communities with water fluoride concentrations at
            or near the current MCLG of 4 mg/L. Thus, the committee concludes that
            the MCLG of 4 mg/L is not protective against severe enamel fluorosis.
                 Two of the 12 members of the committee did not agree that severe
            enamel fluorosis should now be considered an adverse health effect. They
            agreed that it is an adverse dental effect but found that no new evidence has
            emerged to suggest a link between severe enamel fluorosis, as experienced in
            the United States, and a person’s ability to function. They judged that dem-
            onstration of enamel defects alone from fluorosis is not sufficient to change
            the prevailing opinion that severe enamel fluorosis is an adverse cosmetic
            effect. Despite their disagreement on characterization of the condition, these
            two members concurred with the committee’s conclusion that the MCLG
            should prevent the occurrence of this unwanted condition.
                 Strong evidence exits that the prevalence of severe enamel fluorosis is
            nearly zero at water fluoride concentrations to below 2 mg/L. For example,
            Horowitz et al. (1972) found that partial defluorination of drinking water
            from 6.7 mg/L to slightly below 2 mg/L prevented severe enamel fluorosis.
            Moderate forms of enamel fluorosis decreased from 42% to 3%.




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            Skeletal Fluorosis

                 Skeletal fluorosis is a bone and joint condition associated with pro-
            longed exposure to high concentrations of fluoride. Fluoride increases bone
            density and appears to exacerbate the growth of osteophytes in the bone
            and joints, which leads to the radiological characteristics of the condition
            and associated pain. Crippling skeletal fluorosis (or clinical stage III) is the
            current basis of EPA’s MCLG. The term crippling historically has been used
            to describe alterations in bone architecture and calcification of tissues that
            progress to the degree that they limit an individual’s range of motion.
                 The committee judges that stage II skeletal fluorosis (the stage before
            mobility is significantly affected) should also be considered an adverse health
            effect. This stage is characterized by chronic joint pain, arthritic symptoms,
            slightly calcified ligaments, increased osteosclerosis/cancellous bones, and
            possibly osteoporosis of long bones (PHS 1991). No new studies and few
            clinical cases of skeletal fluorosis in healthy U.S. populations have been re-
            ported in recent decades. To determine whether EPA’s MCLG protects the
            general public from stage II and stage III skeletal fluorosis, the committee
            compared pharmacokinetic predictions of bone-fluoride concentrations and
            historical data on iliac-crest bone-fluoride concentrations associated with
            the different stages of skeletal fluorosis. It found that bone-fluoride con-
            centrations estimated to be achieved from lifetime exposure to fluoride at
            4 mg/L (10,000 to 12,000 milligrams per kilogram [mg/kg] ash) fall within
            or exceed the ranges historically associated with stage II and stage III skel-
            etal fluorosis (4,300 to 9,200 gm/kg ash and 4,200 to 12,700 mg/kg ash,
            respectively). This suggests that the MCLG might not protect all individuals
            from the adverse stages of the condition. However, stage III skeletal fluorosis
            appears to be a rare condition in the United States, and the existing epide-
            miologic evidence is insufficient for determining whether stage II skeletal
            fluorosis is occurring in U.S. residents. Thus, before any conclusions can be
            drawn, more research is needed to clarify the relationship between fluoride
            ingestion, fluoride concentrations in bone, and stage of skeletal fluorosis.

            Bone Fractures

                The database on fluoride’s effects on bone fractures has expanded since
            the earlier National Research Council (NRC) review. A number of obser-
            vational studies have compared bone fracture rates between populations
            exposed to different concentrations of fluoride in drinking water. The com-
            mittee focused its review on studies involving exposure to fluoride near or
            within the range of 2 to 4 mg/L. Several strong studies (Sowers et al. 1991;
            Kurttio et al. 1999; Li et al. 2001) indicated an increased risk of bone frac-
            ture, and the results of other studies (Sowers et al. 1986; Alarcón-Herrera et




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            al. 2001) were qualitatively consistent with that finding. The one study using
            serum fluoride concentrations found no appreciable relationship to fractures
            (Sowers et al. 2005). Because serum fluoride concentrations may not be a
            good measure of bone fluoride concentrations or long-term exposure, the
            ability to show an association might have been diminished.
                  A larger database on clinical trials of fluoride as an osteoporosis treat-
            ment was also reviewed. A meta-analysis of randomized clinical trials of
            fluoride reported an elevated risk of new nonvertebral fractures (1.85, 95%
            CI = 1.36, 2.50) and a slightly decreased risk of vertebral fractures (0.90,
            95% CI = 0.71, 1.14) after 4 years (Haguenauer et al. 2000). An increased
            risk of bone fracture was found among those studies. Although the doses of
            fluoride were higher in the clinical trials than were experienced by people
            drinking water with fluoride at 4 mg/L, the length of exposure was shorter.
            Although comparison of these sets of data involves several assumptions, the
            ranges of estimated concentrations of bone fluoride were similar in the clini-
            cal trials (5,400 to 12,000 mg/kg ash) and observational studies (6,200 to
            >1,000 mg/kg ash). Pharmacokinetic modeling indicates that these concen-
            trations of fluoride in bone could result from lifetime exposure to fluoride
            at 4 mg/L in drinking water.
                  Fracture risk and bone strength have been studied in animal models.
            The studies have shown that fluoride increases bone mass but results about
            its effect on the strength of bone are conflicting. Some investigators have
            reported a biphasic effect on bone strength (Beary 1969; Rich and Feist
            1970; Turner et al. 1992), with lower concentrations of fluoride increasing
            strength and higher concentrations reducing it, but others have not found
            this effect (Turner et al. 1995). The weight of the evidence from labora-
            tory studies indicates that, although fluoride might increase bone volume,
            strength per unit volume is lower. Studies of rats indicate that bone strength
            begins to decline when fluoride in bone ash reaches the range of 6,000 to
            7,000 mg/kg (Turner et al. 1992). Studies in rabbits have shown that fluoride
            might decrease bone strength by altering the structural integrity of the bone
            microarchitecture (Turner et al. 1997; Chachra et al. 1999). However, more
            research is needed to address uncertainties associated with extrapolating
            animal data on bone strength and fractures to humans.
                  Overall, there was consensus among the committee that there is scien-
            tific evidence that under certain conditions fluoride can weaken bone and
            increase the risk of fractures. The majority of the committee concluded that
            lifetime exposure to fluoride at drinking water concentrations of 4 mg/L or
            higher is likely to increase fracture rates in the population, compared with
            exposure to 1 mg/L, particularly in some demographic subgroups that are
            prone to accumulate fluoride in their bones (e.g., people with renal disease).
            However, 3 of the 12 members judged that the evidence only supported a
            conclusion that the MCLG might not be protective against bone fracture.




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            These members judge that more evidence is needed that bone fractures oc-
            cur at an appreciable frequency in human populations exposed to fluoride
            at 4 mg/L before drawing a conclusion that the MCLG is likely to be not
            protective.


                                Secondary Maximum Contaminant Level
                 EPA established an SMCL of 2 mg/L on the basis of cosmetically “ob-
            jectionable” enamel fluorosis, defined as discoloration and/or pitting of
            teeth. The SMCL was selected to prevent objectionable enamel fluorosis in
            a significant portion of the population. EPA reviewed data on the prevalence
            of moderate and severe enamel fluorosis and found that, at a fluoride con-
            centration of 2 mg/L in drinking water, the prevalence of moderate fluorosis
            ranged from 4% to 15% and that severe cases were observed at concentra-
            tions above 2.5 mg/L. Because of the anticaries properties of fluoride, EPA
            judged 2 mg/L to be an adequate upper-boundary guideline to limit the
            occurrence of objectionable enamel fluorosis and provide some anticaries
            benefit. The SMCL is not a recommendation to add fluoride to drinking
            water. The SMCL is a guideline for naturally occurring fluoride to be used
            by the states for reducing the occurrence and severity of enamel fluorosis,
            a condition considered by EPA to be a cosmetic condition. If fluoride in a
            community water system exceeds the SMCL but not the regulatory MCL,
            a notice about the potential risk of enamel fluorosis must be sent to all cus-
            tomers served by the system. The committee evaluated the SMCL only in
            terms of its protection against adverse cosmetic and health effects, including
            enamel fluorosis, skeletal fluorosis, and bone fracture. Prevention of caries
            was not evaluated.

            Enamel Fluorosis

                 The committee considers moderate enamel fluorosis to be a cosmetic
            effect, because the available data are inadequate for categorizing the mod-
            erate form as adverse to health on the basis of structural or psychological
            effects. There are no studies since 1993 to assess the prevalence of enamel
            fluorosis at 2 mg/L, but previous reports have shown a distinct increase
            (approximately 15%) in moderate enamel fluorosis around 2 mg/L. Thus,
            the SMCL will not completely prevent the occurrence of moderate enamel
            fluorosis. As noted above, SMCL was intended to reduce the severity and
            occurrence of the condition to 15% or less of the exposed population. The
            available data indicates that less than 15% of children would experience
            moderate enamel fluorosis of aesthetic concern (discoloration of the front
            teeth). However, the degree to which moderate enamel fluorosis might go




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            beyond a cosmetic effect to create an adverse psychological effect or an
            adverse effect on social functioning is not known.
                While a few cases of severe enamel fluorosis occasionally have been
            reported in populations exposed at 2 mg/L, it appears that other sources
            of exposure to fluoride or other factors contributed to the condition. For
            example, similar rates of severe enamel fluorosis were reported in popula-
            tions exposed to negligible amounts of fluoride in drinking water and in
            populations exposed at 2 mg/L (Selwitz et al. 1995; Kumar and Swango
            1999; Nowjack-Raymer et al. 1995). Thus, the committee concludes that
            the SMCL of 2 mg/L adequately protects the public from the most severe
            stage of the condition (enamel pitting).

            Skeletal Fluorosis

                 Few new data are available on skeletal fluorosis in populations exposed
            to fluoride in drinking water at 2 mg/L. Thus, the committee’s evaluation
            was based on new estimates of the accumulation of fluoride into bone (iliac
            crest/pelvis) at that concentration (on average 4,000 to 5,000 mg/kg ash)
            and historical information on stage II skeletal fluorosis (4,300 to 9,200
            mg/kg ash). A comparison of the bone concentrations indicates that life-
            time exposure at the SMCL could lead to bone fluoride concentrations that
            historically have been associated with stage II skeletal fluorosis. However,
            as noted above, the existing epidemiologic evidence is insufficient for deter-
            mining whether stage II skeletal fluorosis is occurring in U.S. residents, so
            no quantitative conclusions could be made about risks or safety at 2-mg/L
            exposures.

            Bone Fracture

                 There were few studies to assess bone fracture risk in populations
            exposed to fluoride at 2 mg/L in drinking water. The best available study
            was from Finland, which provided data that suggested an increased rate
            of hip fracture in populations exposed to fluoride at >1.5 mg/L (Kurttio et
            al. 1999). However, this study alone is not sufficient to base judgment of
            fracture risk for people exposed to fluoride at 2 mg/L in drinking water.
            Thus, no quantitative conclusions could be drawn about fracture risk or
            safety at the SMCL.


                                        Susceptible Subpopulations
                 Populations in need of special consideration when determining the
            MCLG and SMCL for fluoride include those at risk because their exposure
            to fluoride is greater than that of the average person or because they are




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            particularly vulnerable to the effects of fluoride. The first category includes
            people who consume much larger volumes of water than assumed by EPA,
            such as athletes and outdoor workers, who consume large volumes of water
            to replace fluids lost because of strenuous activity, and people with medical
            conditions that cause them to consume excessive amounts of water (e.g.,
            diabetes insipidus). Individuals who consume well over 2 L of water per day
            will accumulate more fluoride and reach critical bone concentrations before
            the average water drinker exposed to the same concentration of fluoride in
            drinking water. In Chapter 2, it was estimated that for high-water-intake
            individuals, drinking water would contribute 92% to 98% of the exposure
            to fluoride at 4 mg/L and 86% to 96% at 2 mg/L. Another consideration
            is individuals who are exposed to other significant sources of fluoride, such
            as occupational, industrial, and therapeutic sources.
                 There are also environmental, metabolic, and disease conditions that
            cause more fluoride to be retained in the body. For example, fluoride re-
            tention might be affected by environments or conditions that chronically
            affect urinary pH, including diet, drugs, altitude, and certain diseases (e.g.,
            chronic obstructive pulmonary disease) (reviewed by Whitford 1996). It
            is also affected by renal function, because renal excretion is the primary
            route of fluoride elimination. Age and health status can affect renal excre-
            tion. Individuals with renal disease are of particular concern because their
            ability to excrete fluoride can be seriously inhibited, causing greater uptake
            of fluoride into their bones. However, the available data are insufficient to
            provide quantitative estimates of the differences between healthy individuals
            and people with renal disease.
                 Another category of individuals in need of special consideration in-
            cludes those who are particularly susceptible or vulnerable to the effects
            of fluoride. For example, children are vulnerable for developing enamel
            ­fluorosis, because the condition occurs only when there is exposure while
             teeth are being formed (the pre-eruption stages). Thus, children up to the
             age of 8 are the susceptible subpopulation of concern for that end point.
             The elderly are another population of concern because of their long-term
             accumulation of fluoride into their bones. There are also medical conditions
             that can make people more susceptible to the effects of fluoride.


                                       Relative Source Contribution
                At the time the MCLG was established for fluoride, a reference dose
            was not available and the MCLG was calculated directly from available data
            rather than as an apportioned part of the reference dose. In Chapter 2, the
            committee shows that at 4 mg/L, drinking water is the primary contributor
            to total fluoride exposure, ranging from 72% to 94% for average-water-
            intake individuals and from 92% to 98% for high-water-intake individuals.




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            At 2 mg/L, drinking water contributes 57% to 90% for average-water-in-
            take individuals and 86% to 96% for high-water-intake individuals. Thus,
            it is important that future revisions to the MCLG take into consideration
            that water is a significant, and sometimes the most significant, source of
            exposure to fluoride.


                               FINDINGS AND RECOMMENDATIONS

                                   Maximum-Contaminant-Level Goal
                 In light of the collective evidence on various health end points and
            total exposure to fluoride, the committee concludes that EPA’s MCLG of 4
            mg/L should be lowered. Lowering the MCLG will prevent children from
            developing severe enamel fluorosis and will reduce the lifetime accumulation
            of fluoride into bone that the majority of the committee concluded is likely
            to put individuals at increased risk of bone fracture and possibly skeletal
            fluorosis, which are particular concerns for subpopulations that are prone
            to accumulating fluoride in their bone.

                  Recommendation: To develop an MCLG that is protective of severe
                  enamel fluorosis, clinical stage II skeletal fluorosis, and bone frac-
                  tures, EPA should update the risk assessment of fluoride to include
                  new data on health risks and better estimates of total exposure
                  (relative source contribution) in individuals and to use current
                  approaches to quantifying risk, considering susceptible subpopula-
                  tions, and characterizing uncertainties and variability.


                                Secondary Maximum Contaminant Level
                 The prevalence of severe enamel fluorosis is very low (near zero) at fluo-
            ride concentrations below 2 mg/L. However, from a cosmetic standpoint,
            the SMCL does not completely prevent the occurrence of moderate enamel
            fluorosis. EPA has indicated that the SMCL was intended to reduce the se-
            verity and occurrence of the condition to 15% or less of the exposed popu-
            lation. The available data indicates that fewer than 15% of children would
            experience moderate enamel fluorosis of aesthetic concern (discoloration of
            the front teeth). However, the degree to which moderate enamel fluorosis
            might go beyond a cosmetic effect to create an adverse psychological effect
            or an adverse effect on social functioning is not known.

                  Recommendations: Additional studies, including longitudinal stud-
                  ies, of the prevalence and severity of enamel fluorosis should be
                  done in U.S. communities with fluoride concentrations greater than




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                 1 mg/L. These studies should focus on moderate and severe enamel
                 fluorosis in relation to caries and in relation to psychological, be-
                 havioral, and social effects among affected children, among their
                 parents, and among affected children after they become adults.

                 To better define the aesthetics of enamel fluorosis, methods should
                 be developed and validated to objectively assess enamel fluorosis.
                 Staining and mottling of the anterior teeth should be distinguished
                 from staining of the posterior teeth so that aesthetic consequences
                 can be more easily assessed.




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                         Exhibit A
        Adkins Declaration, Exhibit 02
Dose‐Response Analysis 2010 ‐ excerpts
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~~~EPA                                                   820-R-10-019




               Fluoride:
         Dose-Response Analysis
         For Non-cancer Effects


             Health and Ecological Criteria Division
                        Office of Water




                            December,2010




                  U.S. Environmental Protection Agency
                            Washington, D.C.
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                                           PREFACE

 In March, 2006, the National Academy of Sciences National Research Council(NRC)released
 the Report: Fluoride in Drinking Water: A Scientific Review ofEPA's Standards. The NRC
(2006) noted that "in light of the collected evidence of various health endpoints and total
 exposure to fluoride, the committee concludes the EPA's MCLG of4 mg/L should be lowered."
 They further suggested that, in order to develop an MCLG that is protective against severe
 enamel fluorosis, clinical stage II skeletal fluorosis and bone fractures, EPA should:

   •    Apply current approaches for quantifying dose-response where feasible,
   •    Consider susceptible populations,
   •    Characterize uncertainties and variability, and
   •    Provide better estimates of total exposure for individuals.

The Office of Water(OW)accepted the NRC(2006)findings as the summary of hazard for
inorganic fluoride and focused on the dose-response analysis as they had recommended. The
OW collected available dose-response data for severe dental fluorosis, clinical stage II skeletal
fluorosis and skeletal fractures as they relate to fluoride exposure expanding on the data retrieved
by NRC(2006)to include studies identified by literature searches that covered the time period
from 2000 to 2010. Current methodologies (categorical regression and benchmark dose
modeling) were applied in evaluating dose-response in order to identify an appropriate point of
departure for severe dental fluorosis as the critical effect. The NRC analysis determined that
severe dental fluorosis appears to occur at a lower dose than stage II skeletal fluorosis and/or
bone fractures. This document presents the results of the dose-response analysis requested by
NRC.

The objective ofthe OW effort was to identify a point of departure for the fluoride concentration
in drinking water that would be protective for sensitive exposed populations (children) who are
vulnerable to severe enamel fluorosis, and determine if that point of departure will also be
protective against stage II skeletal fluorosis and bone fractures in adults. The OW analysis
focused first on severe dental fluorosis based on the NRC analysis.

This document provides a detailed review of available dose-response data from published and
peer-reviewed studies for the following endpoints as they relate to fluoride exposure from
drinking water:

   • Dental fluorosis
   • Skeletal fluorosis
   • Skeletal fractures

Detailed analyses ofthe suitability of studies that had been identified by NRC(2006) and those
retrieved by the OW for dose-response analysis are included as separate documents to
accompany this report. There are two separate collections of study evaluations, one covers dental
effects (Dental Fluorosis: Evaluations ofKey Studies, EPA Report No. 820-R-10-018) and the
other skeletal effects (Fluoride-Related Skeletal Effects: Evaluations ofKey Studies, EPA Report
No. 820-R-10-017).



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 EPA identified a point of departure(POD)of 1.87 mg F!L for severe dental fluorosis based on
 benchmark dose modeling ofthe prevalence for severe dental fluorosis associated with specific
 drinking water fluoride concentrations as reported by Dean (1942). In that era, drinking water
 and the diet were the major sources of fluoride exposure. The POD is a lower confidence bound
 on the concentration in drinking water associated with severe dental fluorosis in 0.5% ofthe
 population studied. This POD was the lowest concentration that was statistically justified by the
 population size. This value is consistent with other analyses ofthe Dean(1942) data set that
 identify 2 mg/L as the threshold drinking water fluoride concentration for severe dental fluorosis
(EPA, 1986, NRC 1993, 2006).

In this document drinking water intake information for ingestion of tap water delivered by public
drinking water systems, as reported in the USDA 1977-1978 Food Consumption Survey, is used
to estimate the fluoride dose from drinking water associated with the POD in children studied by
Dean(1942). Data from a publication on dietary fluoride by McClure (1943) were used to
estimate the dose from the diet for the children studied by Dean (1942). The combination ofthe
drinking water and dietary estimates thus become the basis for the OW inorganic fluoride
Reference Dose(RfD)estimate of 0.08 mg F/kg/day. The RfD is an estimate of the fluoride
dose that will protect against severe dental fluorosis, clinical stage II skeletal fluorosis and
skeletal fractures while allowing for a fluoride exposure adequate to protect against tooth decay
for children and adults. Confidence in the RfD is considered to be medium.

 The OW has also prepared and peer reviewed a second document that provides fluoride exposure
 estimates for the age groups susceptible to severe dental fluorosis. This second document,
Fluoride: Exposure and Relative Source Contribution Analysis(EPA Report No. 820-R-10-015),
can be accessed through the following url:
.http://water.epa.~ov/action/advisories/drinking/fluoride index.cfm




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 5.     Reference Dose Derivation

 Section 4 of this report establishes severe dental fluorosis as the critical effect for fluoride
 exposure during the period ofpre-eruptive, permanent tooth-enamel formation. Prior evaluations
 ofthe effects of excess fluoride(Koop, 1984; NRC, 1993) considered all stages of enamel
 fluorosis as a cosmetic effect, albeit one to avoid if possible. However, NRC(2006)classified
 severe dental fluorosis as adverse due to the associated thinning and/or pitting ofthe enamel that
 weakens its role in protecting the dentin.

 After examining the dose-response data for several aspects of dental fluorosis, EPA determined
 that data on the relationship between drinking water concentration and the occurrence of severe
 fluorosis was amenable to modeling. Dean (1942) was selected as the critical study because of
 the size of the population studied and the number of data points provided. In addition, this study
 was conducted prior to the introduction of fluoridation of water systems and the introduction of
 fluoride into dental products. Accordingly, the confounding contribution of non-dietary sources
 to total fluoride exposure was minimal at that time. In many of the localities evaluated by Dean
(1942), the source of fluoride in water was of geochemical origin. Therefore, the Dean(1942)
 dataset represents a population for which drinking water was the major source of fluoride
 exposure, with dietary intakes from local produce contributing only a small amount to total
 exposures.

 The Benchmark Dose analysis (Section 4)of the relationship between drinking water
 concentration and the severe enamel fluorosis identified a BMD of 2.14 mg/L and BMDL(95%
 confidence bound)of 1.87 mg/L for the prevalence of severe dental fluorosis in 0.5% of the
 children evaluated.

 Utilization of the BMDBMDL data in derivation of an RfD requires conversion of the exposure
 associated with a drinking water concentration of 1.87 mg F/L to a dose in mg/kg/day for the
 sensitive population and knowledge of the vulnerable ages for development of enamel fluorosis.
 Severe fluorosis of the permanent teeth is a condition that lasts for the lifetime ofthe tooth, but
 can only occur during a defined period of tooth development. Determination ofthe dose
 associated with severe dental fluorosis is not an easy task because data on drinking water intakes
 and body weights for the populations studied and the individuals with severe fluorosis were not
 collected. Accordingly, an indirect approach must be employed. Consideration of the beneficial
 fluoride doses that increase the resistance of enamel to cavities is also an important consideration
 in selecting a point of departure for the RfD determination.

5.1.    Nutritional Guidelines

 Risk assessment for elements such as fluoride with beneficial as well as adverse properties is a
 challenge, especially when there is a narrow boundary between the doses that are beneficial and
 those that have adverse effects. The NAS established the first dietary recommendations for
 fluoride in 1989(NRC, 1989). At that time, fluoride was not classified as an essential element,
 but was considered beneficial for humans because of its valuable contributions to dental health
(NRC, 1989). The estimated range of safe and adequate dietary intakes (including drinking
 water) for adults was defined as a daily intake of between 1.5 and 4 mg F/day. The estimated




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 safe and adequate intake range for the first year of life was identified as 0.1 to 1 mg/day and that
 for the 1-3 year old age group as 0.5 to 1.5 mg/day.

 The dietary guidelines for fluoride were revised by the Institute of Medicine(IOM)in 1997. The
 1997 revisions(see Table 5-1) considered fluoride as a nutrient based on its presence and
function in bones and tooth enamel. The dietary intake information (including fluoride from
 drinking water) was used to establish Adequate Intake(AI) guidelines for each age, life-stage
(i.e. pregnancy or lactation), and/or gender grouping covered by the Dietary Reference Intakes
(DRI). An AI is defined as an estimate of the average nutrient intake by a group or groups of
 healthy people within a designated age, life-stage, andlor gender grouping and is the
 recommended dietary guideline when data to determine a more precise Estimated Average
 Requirement(EAR)are not available. The AI is based on observed or experimentally
 determined estimates of average intakes by a group or groups of healthy people; in this case,
 those receiving drinking water optimally fluoridated to achieve optimal anticaries protection.
 The AI established for fluoride is 0.05 mg/kg/day for all age groups above 6 months, and is
 based on data from four studies ofthe dietary fluoride intake of children in the United States or
 Canada from optimally fluoridated communities(~ 1 mg/L)that were published after 1980. The
 IOM (1997)converted the 0.05 mg/kg/day AI to mg/day intakes based on the average body
 weights for the age groups of concern in the OW assessment(Table 5-1).

        Table 5-1. Adequate Intake(AI)Reference Values and Tolerable Upper Intake Levels(UL)for
                                          Select Age Groups.
                 Age Range                                                      AI m da e                UL
                                                       Criterion
               (Body wt. in kg)                                             Males     Females          (mg/day)
     0~ mon not re orted                         Human milk content         0.01        0.01              0.7
     7-12 mon 9 k                                Caries revention            0.5         0.5              0.9
     1-3 r 13 k                                  Caries revention            0.7         0.7              1.3
     4-8 r 22 k                                  Caries revention             1           1               2.2
     9-13 r 40 k                                 Caries revention             2           2               10
     14-18 r(bo s, 64 k       irls, 57 k         Caries revention             3           3               10
     SOURCE:IOM (1997).
     aAI is the observed estimate of nutrient intake that reduces the occurrence of dental caries in a group of
     healthy individuals.



 The IOM (1997)also established a Tolerable Upper Intake Level(UL)for fluoride in different
 age, life-stage, and/or gender groupings. A UL is defined as the maximum level of a total chronic
 daily intake of a nutrient that is unlikely to pose risks of adverse health effects for almost all
 individuals in the general population. In the case of fluoride, the UL for infants and children up
 to age 8 was selected based on prevention of moderate dental fluorosis; for all other age groups,
 the UL was selected based on the prevention of skeletal fluorosis.

 In the derivation of the UL for children, IOM (1997) used the Dean (1942) data and considered
 that there was a less than a 5%prevalence of moderate dental fluorosis at a 2 mglL drinking
 water concentration. At this concentration IOM estimated that fluoride intakes would range from
 0.08 to 0.12 mg/kg/day. The body weight and water intakes used for this estimate are not
 provided. The middle of the range (0.1 mg/kg/day) was identified as a LOAEL for moderate
 dental fluorosis "the threshold beyond which moderate enamel fluorosis appears in some


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children"(IOM, 1997). The LOAEL was divided by an uncertainty factor of 1 to establish a
dose of 0.1 mg/kg as the UL for infants and children through eight years of age. Based on
reference weights of7 kg and 9 kg, respectively, the UL for infants in the first six months of life
is 0.7 mg/day and that for the second six months is 0.9 mg/day. Children were divided into two
age groups, those one to three years old(bw = 13 kg)and those 4 through 8 years old(bw = 22
kg). The UL for the first group of children is 13 mg/day and that for the second group is 2.2
mg/day. The UL for all other age groups is 10 mg/day and was based on a NOAEL of 10
mg/day for the development of skeletal fluorosis.

5.2.    Period of Developmental Sensitivity to Dental Fluorosis

The U.S. EPA (1985) and the IOM (1997) have used birth to the age of 8 or 9 years as the period
of concern for dental fluorosis. These early assessments focused on fluorosis ofthe anterior teeth
because, from a cosmetic perspective, they are the most visible teeth. Data suggesting that
severe dental fluorosis may increase the risk for caries throughout the lifetime(NRC,2006;
Forsman, 1974) broadens the concern for severe fluorosis induction to cover the time period of
enamel formation of both the anterior and posterior teeth. A study by Groenveld et al.(1990)
concluded that about 66% ofthe anticaries impact of fluoride on pit and fissure cavities ofthe
posterior teeth with high caries susceptibility was due to pre-eruptive fluoride exposure, while
the pre-eruptive contribution to protection of the anterior teeth with smooth surfaces was 25%.

A study of fluorosis in 70 children, ages 6.5 to 13, living in a village in Greenland and who had
received sodium fluoride tablets (0.5 mg/day)showed that the age at which fluoride
administration was initiated increased the risk of developing dental fluorosis and the teeth
impacted (Larsen et al., 1985). Exposures during ages 2.5 to 5.5 years were associated with
fluorosis of the upper central incisors, from 2.5 to 4.5 years with the first molars, and from 5.5 to
8.5 years with the 2nd molars. The controls were children from the same age range who had not
receive the fluoride tablets; all children were lifetime residents ofthe same village. The local
water supply had a concentration of 0.1 mg F/L. Outside of these age periods the risk was not
significantly greater than that for the controls. None of the children had TFI scores greater than
3. It is important to note that the third molars would not have erupted and thus would not have
been included in the analysis.

The dose-response curve developed from the Dean data is for the secondary teeth since, at the
time of examination, approximately 94% ofthe permanent teeth were present(Dean, 1942).
There are no dose-response data for primary teeth comparable to that from Dean (1942)for
secondary teeth. The mineralization of the secondary teeth begins at about 6f 2 months with the
incisors, whereas that for the primary teeth begins in utero (Massler and Schour, 1958). The
developing secondary teeth remain rather quiescent until age 2 years ~ 6 months when formation
ofthe other permanent teeth begins and the incisors begin to increase in size. Tooth
mineralization continues until age 10 years when all teeth except the wisdom teeth appear to be
completely calcified. Eruption of all teeth except for the wisdom teeth is complete by about age
13(ADA,2005). The wisdom teeth erupt between ages 17 and 21 but are formed by age 15
years ~ 6 months. Since enamel formation appears to be complete by age 15 years, EPA has
considered the period of greatest sensitivity to severe enamel fluorosis as the time from six
months through 14 years of age in this assessment in order to cover the formation ofthe wisdom
teeth.


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The data indicate that fluoride exposure and developmental age are the major factors influencing
the occurrence of severe dental fluorosis. However, as described in Section 3.1.4, there are other
stressors that influence fluorosis development including diet, climate, altitude and possibly
genetics. Low intakes of enamel-forming nutrients such as calcium and phosphorous could,
when combined with exposure to excess fluoride, increase the tendency for fluorotic defects in
the hydroxyapatite crystal lattice of the tooth enamel. However, no data were identified that
directly support this hypothesis. Co-exposure to some other minerals (strontium, zinc; see
Section 3.1.4.3) can influence the staining of teeth but not the enamel (pitting) defects of severe
dental fluorosis.

Some studies (Section 3.1.4.1) show that there is an impact of climate on the prevalence of
severe dental fluorosis. Areas with higher ambient air temperatures have a greater prevalence of
fluorosis than those with a more temperate climate, hypothetically because ofthe direct
relationship between temperature and drinking water intake (Galagan and Lamson, 1953;
Galagan and Vermillion, 1957). Neither climate nor diet is likely to have had a major impact on
the fluorosis data in the Dean (1942) study since all ofthe key cities represented in the
concentration-response assessment have fairly comparable latitudes and average ambient air
temperatures(See Figure 5-1 and Table 3-15).




     Figure 5-1. Sampling sites used in Dean (1942) dental fluorosis study.


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There are some data (Section 3.1.4.2)from countries outside ofthe United States that suggest the
prevalence of dental fluorosis may be increased at elevated altitudes(>2000 m). Respiratory
water loss may account for the altitude effects because at higher altitudes and low atmospheric
pressure there is a greater than normal loss of water vapor from the lungs(IOM,2005). In areas
where ambient air temperatures are high, respiratory water losses may be accompanied by
increased water intake. None of the sites in the Dean (1942)data set fell at altitudes over 2000 m
although Colorado Springs, CO (one of 21 sites) has an altitude of 1900 m. Dose-response
modeling in the presence and absence ofthe high temperature and high altitude sites, as well as
both combined, showed there was little impact on the BMD and BMDL. Other factors discussed
in Section 3.1.4 such as acid base balance would not be influenced by the geographic position of
the Dean(1942)observation sites.

5.3.    Dose Determination for Severe Dental Fluorosis

As mentioned above, an indirect approach was required in order to estimate the dose associated
with severe dental fluorosis in the affected segment of the populations studied by Dean(1942)
because data on drinking water intakes were not collected. In the absence of drinking water
intake data from the time ofthe Dean (1942) study, EPA used data collected during the
1977/1978 Nationwide Food Consumption Survey (Ershow and Cantor, 1989) on drinking water
intakes and body weights of children during the susceptible age period to estimate their fluoride
doses in mg/kg/day for the mean, 75th,90t", and 95th percentile tap water consumer groupings.
These data were selected because they provide the drinking water intake information that lie
closest to the time ofthe Dean study and the body weight data are consistent with the growth
curves for children from 1923 (Proudfit, 1923) and 1958(Cooper et al., 1958); these dates
bracket the time ofthe Dean(1942) studies. The water intake and body weight data were
converted to estimated fluoride doses using the following equation:

         Estimated Fdose =.F concentration at the BMDL x L tap water consumed
                                        body weight

The assumption that drinking water was the primary source ofexposure to fluoride in the
communities studied is justified by the fact that, at the time of the Dean (1942)study, there was
no fluoride in toothpaste or other dental products and no use of fluoride supplements. In
addition, there was no intentional fluoridation of community water supplies thus limiting the
introduction of fluoride from drinking water into commercial foods and beverages processed in
the many areas of the country with low natural levels of fluoride.

This calculation provides a range of doses for different age grouping at mean and each percentile
of drinking water intake evaluated. Any drinking water intakes(mean or percentile) that resulted
in doses that were less than or equal to the 0.05 mg/kg/day IOM AI value associated with
optimal, anticaries protection were eliminated from consideration as doses causing severe dental
fluorosis. At the time of the Dean(1942)study there were no data to suggest that severe dental
fluorosis was present in situations where the drinking water fluoride concentration fell between
0.7 and 1.1 mg/L,the drinking water concentrations from the seven studies that were used as the
basis for the IOM (1997) AI recommendation of0.05 mg/kg/day.




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The BMDL is a lower bound estimate ofthe tap water fluoride concentration associated with
0.5% severe dental fluorosis in a large population (5,824)of children as determined by the
drinking water concentration-response observed in 20 locations studied. The sensitivity analysis
presented in Section 4.3 shows that the BMDL is not affected appreciably by differences in the
modeling approach. Because it is the deposition of fluoride in the crystal lattice ofthe tooth
enamel that causes dental fluorosis, it is assumed that the small number of children who
displayed severe dental fluorosis in the Dean (1942) publication were either sensitive to its
effects or those that received excess exposure to fluoride during the period when the affected
enamel was being formed. Where exposure was the main contributor to the effects it was
assumed that tap water was the source of almost all of the fluoride exposure. Nutritional and/or
genetic factors may have played a role in the development of severe dental fluorosis for some
affected individuals, however, these factors were assumed to have a minimal impact on the
concentration-response noted in communities studied by Dean(1942) with drinking water
concentrations near the BMDL. Doses generated from drinking water intakes(mean or
percentile) that were greater than 0.05 mg/kg/day AI were considered as points of departure for
the drinking water component ofthe RfD analysis.

5.3.1. Body Weight and Drinking Water Intakes

 As mentioned in Section 5.3, EPA was not ably to identify data that provide a detailed analysis
of average body weights and water intakes for the sensitive population during the time the Dean
(1942)data were collected. Comprehensive body weight and drinking water intake data were
 identified in two important sources covering later time periods. The first source (Ershow and
Cantor, 1989), provided body weight and drinking water intake information (direct and indirect)
from the 1977-1978 U.S. Department of Agriculture(USDA)Nationwide Food Consumption
survey. The other source is the U.S. EPA analysis of the data from the USDA 1994-1998
Continuing Survey of Food Intake by Individuals (CSFII) as presented in U.S. EPA,2004.

There are some differences in the methodologies used to generate the 1989 and 2004 reports, but
the general approach to data analysis and the framework for the analysis are the same. The data
are reported by Ershow and Cantor(1989) as gram intakes oftap water per day rather than the
milliliters per day (mL/day) used in the EPA reports. Thus, the gram intakes were converted to
milliliters using a density for water of 1 g/ml.

Ershow and Cantor(1989)reported mean body weights and tap water intakes; tap water included
direct and indirect uses. Tap water intake was defined as the sum of drinking water intake and
water added in final home or restaurant preparation of beverages and food. U.S. EPA (2004)
reported mean body weights and direct and indirect drinking (tap) water intakes Direct drinking
water refers to ingestion of plain drinking water and indirect water was defined as water used in
the final preparation of foods and beverages at home or by food service establishments such as
school cafeterias and restaurants(U.S. EPA,2004). The combination of direct and indirect water
reported in the U.S. EPA (2004)report is equivalent to the total tap water consumption in the
Ershow and Cantor(1989)report. Both groups reported the mean body weights and water
intakes using the same age groupings. The Ershow and Cantor data(1989) were derived from
survey data contributed by about 26,000 participants(8621 children in the age range of interest)
and collected during the 1970's. The data from the 1994-1998 CSFII(U.S. EPA,2004) were
contributed by about 21,000 participants (9687 children in the age range of interest).


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Table 5.2 summarizes the body weight and tap water intake data (direct and indirect) from the
Ershow and Cantor(1989)report for the age groups of interest; Table 5-3 summarizes
comparable data (consumers only for the children)from the EPA (2004)report. Ershow and
Cantor(1989) did not provide consumer only data in their report but did use three-days of dietary
recall information rather than the two-days used for the EPA (2004) analysis. The consumer-
only analysis from(EPA,2004) was based only on recall data where water intake was provided
for both days. It was the judgment of Ershow and Cantor(1989)that their estimates of average
intakes were fully representative of population intakes for all age groups other than the infants.
They felt that intakes reported for formula-fed infants could be underestimations of actual
exposures because the recall information did not distinguish between powdered, concentrate and
ready-to-feed formula.

    Table 5-2. Bod Wei ht and Ta Water Intake in the United States rshow and Cantor 1989
                                                          Ta water Intake
                    Mean Body
     Age Range         ~,t.                            75th            90th          95th
      (years)          ~kg~          Mm~~            Percentile     Percentile     Percentile
                                                        ml              ml            ml
       0.5 .9            9.2          328               480              688           764
         1-3            14.1          646               820             1162          1419
         4~             20.3          742               972             1302          1520
        7-10            30.6            787            1016             1338            1556
        1 1-14          47.7            925            1196             1621            1924


As is apparent from a comparison of Table 5-2 and 5-3, tap water intake seems to have been
greater in the 1970's than in the 1990's, with the exception of the 0.5 to 0.9 year-old infants.
This is consistent with dietary data indicating that there has been an increase in the intake of
bottled water and commercial beverages in place oftap water over the last decade(EPA,2004;
IOM, 1997). Measures of bottled water intakes and commercial bottled beverages are not
included in the Ershow and Cantor(1989)report because at the time ofthe Nationwide Food
Consumption survey in 1977/1978, bottled water was not as important a commercial product as
it was at the time ofthe 1993-1998 survey. Based on the EPA (2004)report, bottled water
accounts for 13 % of mean total water intake. Mean body weights have also increased slightly
for the older age groups. The Ershow and Cantor(1989) data were used in the dose analysis that
follows because they were collected during a time period closer to the Dean(1942)study.

   Table 5-3. Body Weight and Drinking Water Intake Data(Consumers Only)from Estimated Body
   Wei ht and Per Ca ita Water In estion in the United States — An U date .S. EPA 2004
                     Mean Body                              Ta water Intake
    Age Range                                                                       to
     (years)            ~'~'t•             Mean               90 Percentile      95 Percentile
                        ~kg)                 ml                     ml                   ml
      0.5-0.9             9                 467                    971                 1,147
        1-3             14                  349                    723                  946
        4~              21                442                  943                 1,176
       7-10             32                487                  993                 1,241
       11-14            51                641                  1415                1,742


The children studied by Dean(1942) were largely 9 to 14 years old; however, their severe
fluorosis developed during the pre-eruptive earlier period of enamel formation. The age ranges


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used in this U.S. EPA assessment range from six-months (the beginning of enamel formation on
the secondary teeth (Massler and Schour, 1958)through age 14 in order to cover late enamel
development ofthe wisdom teeth. Since wisdom teeth were not likely to have erupted in the
children evaluated by the Dean study, they would not be reflected in the severe fluorosis values
observed by Dean (1942).

5.3.2. Dose Estimates

The dose estimates generated using the drinking water intake values and mean body weights in
Table 5-2 are summarized in Table 5-4. The values in Table 5-4 represent the doses associated
with drinking water intakes and body weights for each of the age groups evaluated.

    Table 5-4. Estimates of Fluoride Doses at Specific Tap Water Intakes for Age Groupings During the
              Sensitive Window for Development of Severe Enamel Fluorosis (at 1.87 mg F/L)
        Age Range                                        Fluoride Ex osure m            da
        (Years)                    Mean               75th Percentile         90th Percentile           95th Percentile
                                                Ershow and Cantor, 1989
         0.5 -0.9a                  0.07                     0.10                   0.14                      0.16
            1-3                      0.09                    0.10                   0.15                      0.19
            4~                       0.07                    0.09                   0.12                      0.14
           7-10                      0.05                    0.06                   0.08                      0.10
           11-14                    0.04                     0.05                   0.06                      0.08
    aDose estimates for infants may underestimate the actual doses because ofthe lack of reliable information on the type
    offormula used for bottle-fed infants.

As children grow, their body weights, eating, and drinking water consumption patterns change. It
is therefore important to evaluate each combination of water intake and body weight variables to
determine the appropriate point of departure for the RfD determination. Consideration of more
than one age grouping with associated estimates of drinking water intake provides a fuller picture
ofthe impact of age, water intake and body weight on fluoride dose from ingestion of drinking
water containing 1.87 mg F/L, the derived BMDL for 0.5%severe fluorosis (see Section 4.3).

Examination ofthe dose estimates for individuals based on mean water intakes in Table 5-4
demonstrates that two of the doses, 0.04 and 0.05 mg/kg/day, are not appropriate as the point of
departure for the RfD because they fall at or below the recommended fluoride intake level of
0.05 mg/kg/day(IOM, 1997). The same is true ofthe 0.04 and 0.06 mglkg/day dose estimates at
the 75t"and 90t"percentile drinking water intakes. The OW selected 0.07 mg/kg/day as the
contribution of the drinking water to the RfD because it provided a reasonable difference (0.02
mg/kg/day) between it and the IOM (1997)intake (0.05 mg/kg/day)that was the basis for the AI
considering day-to-day dietary variability. Although the lower 0.06 mg/kg/day dose estimate
also exceeded the IOM (1997)estimate of need, OW felt that a 0.01 mg/kg/day difference
between the IOM estimate and a dose from drinking water that caused severe dental fluorosis
was too small given the range of dose estimates in Table 5-4 and the uncertainties surrounding
both the AI and the drinking water component ofthe RfD. The range of estimates for the mean
water intakes is 0.04 to 0.09 mg/kg/day and that for the full range of water intakes is 0.04 to 0.19
mg/kg/day. The Dean (1942)report provided only drinking water concentration information; it
included no data on diet or drinking water intakes for the children studied. It is thus unclear
whether high water intakes, individual sensitivity, or a combination of both factors predisposed


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some children to severe rather than mild or moderate fluorosis in the populations studied by
Dean (1942).

Support for the EPA fluoride dose estimates, as derived from drinking water intake estimates and
the calculated BMLD for severe dental fluorosis, is provided by the data from the Iowa Fluoride
Study(Hong et al., 2006a, b). As part of this study, 579 children were evaluated for dental
fluorosis ofthe eight permanent incisors and four first molars at 8-10 years of age(mean 9.2
years). The fluoride intake ofthese same children had been followed from birth through 48
months by means of questionnaires their parents completed every 3~ months(Hong et al.,
2006b). Daily fluoride intake in mg/kg/day was estimated from water, beverages, and selected
foods, fluoride supplements and dentifrice. Fluorosis was evaluated using the Fluorosis Risk
Index (FRI). Severe Fluorosis cases were defined as having FRI definitive staining and/or
pitting on both maxillary central incisors.[This characterization of severe fluorosis differs from
that ofthe Dean Index in that it includes staining without pitting.] Individuals with FRI
questionable fluorosis were excluded. The importance of fluoride intake during different time
periods was assessed using t-tests and logistic regression.

One hundred and thirty-nine(24%)subjects had fluorosis(mostly mild)on both maxillary
central incisors. Mean age-specific fluoride intake per unit body weight(bw)ranged from 0.040
to 0.057 mg/kg bw, with higher intake during earlier time periods and relative stability after 16
months(Hong et al., 2006a). In bivariate categorical analyses, fluoride intakes during each ofthe
first 4 years were individually significantly related to fluorosis on maxillary central incisors, with
the first year most important(P < 0.01), followed by the second(P < 0.01), third(P < 0.01), and
fourth year(P < 0.03). Multivariable logistic regression analyses showed that, after controlling
only for the first year, the later years individually were still statistically significant. When all four
time periods were in the model,the first(P < 0.01)and second years(P = 0.04) were still
significant, but the third(P = 0.32) and fourth(P = 0.82) were not. The lack of severe fluorosis
in this population provides some support for considering intakes of0.04 and 0.05 mg/kg day as
below the threshold for severe fluorosis.

In a second publication,(Hong et al., 2006a)reported estimated fluoride intakes from birth to 36
months based on the questionnaire mentioned above. Relative risks for fluorosis were
significantly elevated for intakes of0.04 to 0.06 mg/kg/day and >0.06 mg/kg/day, compared with
intakes <0.04 mg/kg/day. The highest relative risk 4.76(2.39-9.41; 95% CI) was found for the
average 24 to 36 month period. The few subjects(8)classified as having severe dental fluorosis
all had fluoride intakes >0.06 mg/kg/day. Severe fluorosis was defined by the FRI as including
staining and/or pitting ofthe central incisors or first molars. In that respect, this categorization
differed from that of Dean where "discrete or confluent pitting" was necessary in order to
categorize the fluorosis as severe.

EPA contacted Dr. Steven Levy, director ofthe Iowa Study and asked if he would be able to
determine if any ofthe eight cases identified as severe by the FRI demonstrated pitting ofthe
enamel. Dr. Levy(2010)reported back to EPA that only one ofthe eight cases(0.2% ofthe
subjects with dietary records) had pitting according to photographs ofthe children's teeth. The
pictures for a second child could not be located. Dr. Levy also provided EPA with the fluoride
intake estimates(mg/kg bw)from water, selected foods, supplements and dentifrice for each of
eight severe fluorosis cases.


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The child that had the pitting of the enamel was apparently breast fed for at least the first 6
months. Starting at about 6 months the baby received substantial amounts of infant formula
reconstituted with tap water. At 8 months, the tap water source was changed from one with 0.05
mg/L F to one with 1 mg/L F. The 9-month exposure record had the highest estimated daily
fluoride intake (0.118 mg/kg bw)reported over the three-year period. The average daily intake
from 16 through 36 months was 0.079 mg/kg bw. Between 20 months and 36 months, the
fluoride exposure estimate exceeded 0.08 mg/kg/day in 4 of 5 reports. The affected child's
average fluoride intake for 3 to 9 months was the lowest of the 8 children in the data set shared
by Dr Levy likely reflecting breast feeding for the first six to nine months.

For the 16 month to 36 month period, 2 of seven children had higher estimated average intakes
than the child with pitted enamel. Their teeth developed staining, but no pitting. Exposure
records for the 8th child were deficient after the first year, with data for only one of seven reports.
The child with the missing pictorial dental record had only two exposure reports ofthe five
expected over the first year and both were > 0.1 mg/kg bw. That child's average intake for the
16 month to 36 month period was 0.056 mg/kg bw.

There are limitations to the exposure records from this study as discussed in Hong et al.(2006a).
There was no direct verification ofthe data reported by the parents in the questionnaires. Also
the questionnaire was administered at 3 to 4 months intervals and could not capture day to day
variations in the children's exposures. The questionnaire did not ask for information on the use
of fluoride mouth washes or gels. In some cases, records were incomplete because parents did
not submit questionnaires for some ofthe time periods. Given these limitations, the data suggest
that both cumulative and episodic exposures during critical windows of enamel formation could
have an impact on staining and pitting ofthe central incisors and first molars in children when
they are exposed during the period 0.5 to 3 or 4 years of age. This is the approximate time these
teeth are forming (Massler and Schour, 1958). They are also supportive ofthe EPA fluoride dose
estimates in Table 5-4 for children in this age range with severe dental fluorosis as defined by
Dean when they are average consumers of drinking water at the BMDL (1.87 mg/L fluoride)for
0.5%severe fluorosis.


5.4.    RfD Determination

The point of departure for the drinking-water RfD is a dose of0.07 mg/kg/day as identified in
Section 5.3.2. This dose is greater than the beneficial dose of0.05 mg/kg/day and allows a 0.02
mg/kg/day difference between the AI and RfD. It is less than the IOM UL estimate of0.1
mg/kg/day, which was based on a <5 %increase in moderate dental fluorosis. The OW drinking
water RfD estimate is based on the lower bound confidence limit for the fluoride concentration
associated with a 0.5%prevalence of severe dental fluorosis. Thus, the two estimates are not
necessarily in conflict.

                         RfD = .0.07 mg/kg/day.= 0.07 mg/kg/day
                                      1




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 where:

  0.07 mg/kg/day = Lower Limit on Benchmark Dose estimates (in mg/kg bw/day) associated
                   with severe fluorosis in the population studied by Dean (1942).
                 1 = A composite Uncertainty Factor following EPA guidelines (see Section
                     5.4.2)

It is unfortunate that the Dean (1942) publication does not provide any data on which teeth were
the two most severely fluorotic teeth that became the basis of the fluorosis score. Had those
teeth been identified, it might have been possible to more precisely identify the age period of
greatest sensitivity. Without that data, it is necessary to consider the entire age period of enamel
formation as the time of vulnerability to fluorosis. Dean (1942) does mention that, in one
community with a drinking water concentration of 1.2 mg/L, 11.1 % of the teeth positive for
fluorosis were incisors or first molars and 88.9 percent were cuspids, bicuspids and second
molars; however, none ofthe children in this population had moderate or severe fluorosis.

When conducting risk assessments involving exposures through drinking water, the BMDL
concentration of 1.87 mg/L can be used in place of the RfD as the appropriate point of departure
for determination ofthe MCLG because it does not include the uncertainty associated with
assumptions used to calculate the drinking-water RfD. A relative source contribution(RSC)
factor would be applied to the BMDL concentration to account for exposure to fluoride through
media such as dental products that were not available at the time the Dean(1942) data were
collected.

 The drinking water-based RfD was adjusted to account for the additional fluoride intake from
foods at the time ofthe Dean (1942) study. OW determined from the data presented by McClure
(1943)that an intake of fluoride from a diet where solid foods had an average concentration of
0.50 ppm fluoride appeared to provide a reasonable basis for the contribution of solid foods to
 total fluoride exposure in the 1930 to 1940 time frame (see Appendix D). The dietary fluoride
 intakes estimated by McClure(1943)for the 1-3, 4-6, 7-9 and 10-12 year old age groups
 consuming foods with an average of0.5 ppm fluoride were divided by the midpoint ofthe ranges
 of body weights provided by McClure(1943)to derive the dose estimate for the contribution
from solid foods. The result of this calculation was an estimated dietary intake of 0.01 mg
 F/kg/day when the individual values for each age grouping were rounded to two decimal places
(see Appendix D).

The final OW estimated oral RfD for fluoride was therefore:

                    Oral RfD      = Intake from DW +Intake from food
                    Oral RfD     = 0.07 mg/kg/day + 0.01 mg/kg/day = 0.08 mg/kg/day




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5.4.1. Application of Estimated Oral RfD to Adult Populations

The estimated oral RfD (0.08 mg/kg/day) is protective against severe dental fluorosis in children
during the critical period of enamel formation. This value is likely also protective against
fluoride-related adverse effects in adults, including skeletal fluorosis and an increased risk of
bone fractures. The oral RfD includes a drinking water component of 4.9 mg/day [equivalent to
a drinking water concentration of 2.45 mg F!L(DWEL)fora 70 kg adult drinking 2 liters per
day], and a food component of 0.7 mg/day (fora 70 kg man), and resulting in a total daily intake
of 5.6 mg F/day.

In evaluating the data available for skeletal effects of fluoride (Section 3.3), EPA did not identify
data that were good candidates for dose- or concentration-response modeling. Unlike severe
enamel fluorosis which showed a linear concentration-response, the skeletal effects display a
biphasic relationship of fluoride exposure and its impact on bone strength which cannot be
accommodated by currently available models. Although the bone~effects could not be reliably
modeled for dose-response, the data examined in this current analysis indicated that the skeletal
effects are unlikely to occur at the 1.87 mg/L BMDL for severe dental fluorosis.

The NRC(2006)qualitatively suggested that adults could be at risk for bone fractures at a
fluoride drinking water concentration approaching 4 ppm (8 mg/day assuming a 2 L/day drinking
water intake). The World Health Organization (2002)concluded that there was an increased risk
of bone fractures at total fluoride intakes of> 14 mg/day in some countries and an increased risk
of bone effects at total intakes above about 6 mg/day based in part on a study of bone fractures
by Li et al.(2001)conducted in China. The oral RfD of 5.6 mg/day, including a drinking water
component of 4.9 mg/day (fora 70 kg person), is protective compared to each ofthese
benchmarks.

5.4.2. Uncertainty factors

In establishing an estimated oral RfD for fluoride, data on nutritional benefit were assessed in
combination with the data on severe dental fluorosis to define a level that provides anticaries
protection without causing severe dental fluorosis when consumed daily for a lifetime.
Conventional application of uncertainty factors is not always appropriate when carrying out a
risk assessment for nutrients and other beneficial substances, especially when there is a relatively
small difference between the levels that satisfy need and those that cause adverse effects. For
this reason the total uncertainty factor applied was 1. The widely recognized variability in
epidemiological data on the prevalence of severe dental fluorosis combined with the data
demonstrating the anticaries benefit of exposures to fluoride at concentrations at or below the
BMDL do not support any other approach. The margin of difference between the AI and RfD is
0.03 mg/kg/day.

The point of departure for the oral RfD analysis is the lower bound for 0.5 %severe dental
fluorosis in ohildren. The sample size was large (138 to 404 individuals per data. point in the
critical area around the BMD (1.9-2.6 mg/L)and the participants were randomly selected.
Geographic and climate differences related to the places of residence ofthe children examined
were unlikely to contribute to sensitivity. The population studied is the group vulnerable to


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dental fluorosis of the secondary teeth (children ages 6 months to 14 years) eliminating the need
for an intraspecies UF. The duration of exposure covered the full period of sensitivity to severe
dental fluorosis ofthe secondary teeth. An oral RfD of0.08 mg/kg/day appears to be protective
for possible impacts on bone fractures and skeletal fluorosis in adults, and should be protective
of severe dental fluorosis of the primary teeth as well. Accordingly, an uncertainty factor of other
than 1 is not needed for intrahuman variability(UFH)and for extrapolation from a subchronic to
chronic exposure(UFS). In addition, human data provide the basis ofthe estimated oral RfD.
Therefore, an adjustment for the use of animal data(UFA)is not necessary. The use of a BMDL
for 0.5%severe fluorosis as the POD eliminated the need for a LOAEL to NOAEL extrapolation
~UFL)

The standard toxicity database for fluoride is complete negating the need for a database
uncertainty factor(UFD). It includes chronic, reproductive, and developmental studies in animals
as well as a variety of epidemiology studies in humans(NRC,2006). Although NRC(2006) did
identify research needs for the endocrine, neurological and other effects of fluoride, they
generally concluded that available studies on other effects were not sufficient to assess public
health relevance to the U.S. population. To date, the best documented and established public
health consequences of fluoride exposure are severe dental fluorosis, skeletal fluorosis and
increased risk of bone fractures.

As a consequence, 1 is the chosen value for each ofthe following uncertainty factors used in this
estimate of the fluoride oral RfD: UFH, UFA, UFS,UFL. The composite OF is also equal to 1.

5.4.3. Confidence in the Estimated Oral RfD

Confidence in the BMDL for fluoride exposure from drinking water is high because ofthe large
number of children evaluated in the critical study and the fact that the data were collected before
drinking water fluoridation, fluoridated supplements, and dental products were introduced.
There remains some uncertainty that concentrations in water, especially in those communities
with high naturally occurring fluoride levels, adequately capture total fluoride exposure.
However, other exposures in those communities would increase, rather than decrease the BMDL.

Confidence in the estimated oral RfD may be impacted by uncertainties concerning the accuracy
and sensitivity of the method used to measure fluoride in the water sources for the municipalities
included in the Dean(1942)study (see Section 3.1.1). The method, modified zirconium-alizarin
reagent with visual color comparison to standard solutions, is no longer used; however, the
regent has been reported to be sensitive to small increments of fluoride over a range of 0.0 to 3.0
ppm,the critical range for assessing the threshold for severe fluorosis, and within this range it
approximates Beer's law (Megregian and Maier, 1952). In addition, Dean's data appear to be:

    • Internally consistent as evidenced by the BMD stability when end points at the high and
      low end of the curve were removed,

    • Supported by later studies on some of the same water sources showing similar
      concentrations,




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       • Used average concentration values from 12 consecutive months for all but the three
         systems with the highest prevalence of severe dental fluorosis, thereby compensating for
         potential individual and seasonal variation,

         Based on water quality data from the same time period, and not likely to have been
         compromised by high levels of interfering substances.

 Confidence in the estimated oral RfD is medium because of the difficulties encountered in
 converting the concentration-response data to dose estimates for the RfD derivation.

 5.4.4. Impact of nutritional requirements on dentition and other uncertainties

 There are a few studies that have identified severe dental fluorosis in individuals from the United
 States exposed to fluoride in drinking water at a concentration lower than 1.87 mg F/L (Driscoll
 et al., 1983; Galagan and Lamson, 1953). However, both studies were completed after the
 beginning of fluoridation and the introduction of fluoride from fluoridated water into the food
 supply. The Driscoll et al.(1983)study was conducted after fluoride was introduced into dental
 products. Accordingly, they do not contribute to uncertainty regarding the Dean (1942) results.

 The prevalence of fluorosis can be affected by factors which alter rates of intake and excretion.
 Of particular importance are water consumption rates(which may be affected by climate and
 altitude), the potential for increased fluoride intake through sources other than drinking water
(foods or food additives containing high levels of fluoride and cooking offoods in fluoridated
 water), the use of fluoridated dental products; inadequate intake of essential vitamins and
 minerals (e.g., Vitamin D and calcium); and physiological and pathological conditions which
 may alter excretion rates (acid-base balance and kidney diseases).

As discussed in Section 3.1.4, there are a number of additional factors that may produce
alterations in dental enamel that resemble those caused by fluoride. These include dental
changes caused by living at high altitudes, genetic abnormalities, malnutrition, or exposure to
minerals such as strontium or aluminum or medications, which may complicate the diagnosis of
dental fluorosis.

Because of fluoride-related and nonfluoride-related variables, the prevalence and severity of
fluorosis in a given population may be impacted by factors other than the levels of fluoride in
drinking water. However, for the data set from which the BMDL is derived, the only
confounding factor that was identified was the co-exposure in one ofthe study populations to
high levels of aluminum. This data point was excluded from the calculation.

5.5.     Summary and Conclusions

The estimated oral RfD for fluoride, based on the endpoint ofenamel pitting as manifest in severe
dental fluorosis is 0.08 mg F/kg/day for children during the period from 6 months to 14 years of
age. Beyond the period when the enamel forms on pre-eruptive teeth, the ingestion of fluoride
does not cause pitting of enamel. However,the RfD is applicable to the entire population since it is
also protective for the endpoints of severe fluorosis of primary teeth, skeletal fluorosis and
increased risk of bone fractures in adults.



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                          Exhibit A
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                          Exhibit A
        Adkins Declaration, Exhibit 03
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        United States                             EPA 740‐R17‐001| June 2017
        Environmental Protection Agency           Office of Chemical
                                                  Safety and Pollution Prevention




   Guidance to Assist Interested Persons
          in Developing and Submitting
                  Draft Risk Evaluations
                                 Under the
          Toxic Substances Control Act




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Pollution Prevention, Office of Pollution Prevention and Toxics.




GLOSSARY OF TERMS AND ABBREVIATIONS

 AOP             Adverse Outcome Pathway
 CFR             Code of Federal Regulations
 EPA             Environmental Protection Agency
 IRIS            Integrated Risk Information System
 MOA             Mode of action
 NRC             National Research Council
 OECD            Organization for Economic Cooperation and Development
 OPPT            Office of Pollution Prevention and Toxics
 TSCA            Toxic Substances Control Act
 U.S.            United States
 U.S.C           United States Code




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1 PURPOSE OF THIS GUIDANCE
On June 22, 2016, the “Frank R. Lautenberg Chemical Safety for the 21st Century Act” was
signed into law, thereby amending the 1976 Toxics Substances Control Act. The amended Toxic
Substances Control Act is referred to as TSCA hereafter. One of the key features of the amended
law is the requirement that EPA prioritize and assess existing chemicals, and manage identified
risks. Through a combination of new authorities, a risk-based assessment mandate, deadlines for
action, and minimum throughput requirements, TSCA effectively creates a “pipeline” by which
EPA will conduct risk evaluation and management of existing chemicals.

The law also requires EPA to develop guidance, which is presented in this document, to assist
interested persons (referred as external parties hereafter) in submitting draft risk evaluations
which shall be considered by EPA. In accordance with TSCA, the guidance shall, at a minimum,
address the quality of the information submitted and the process to be followed in developing
draft risk evaluations for consideration by EPA.

This guidance avoids being prescriptive as EPA’s approaches – and consequently the guidance
that EPA would provide to external parties ‒ will likely evolve over time, and new relevant
guidance documents will be developed. EPA’s goal is to ensure that external parties have
flexibility to use the best available science by adapting and keeping current with changing
science. Its contents may be refined, updated, or superseded in the future to capture the latest
changes to the risk evaluation process resulting from Agency experience, advances in science,
and future guidance which may be developed or updated.

EPA’s expectation is that external party draft risk evaluations will be of the same high quality as
those developed by EPA. To that end, this guidance discusses the science standards, data quality
considerations, and the steps of the risk evaluation process that external parties should follow
when developing draft TSCA risk evaluations. Having the key factors and risk evaluation
process laid out in this guidance will foster predictability by transparently communicating EPA’s
expectations.

EPA’s vision is to have a sustainable TSCA program that is meaningfully informed by high-
quality risk evaluations conducted by external parties. EPA will continue to consider other
approaches to ensure that external parties are provided with sufficient information to provide
high quality draft risk evaluations to the Agency. For example, EPA may consider the
development of a voluntary consensus standard for the conduct of risk evaluations that would be
consistent with the requirements in TSCA and would also meet the EPA quality standards

EPA values the opportunity for public involvement to strengthen the guidance document for
external party draft risk evaluations. External parties should contact EPA at TSCA-
externalparty@epa.gov to discuss any questions about the contents of this guidance document
including plans to submit draft risk evaluations for consideration by EPA. Furthermore, the


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public can provide comments on the guidance at www.regulations.gov, docket # EPA-HQ-
OPPT-2017-0341.

Concomitant with this guidance, EPA is issuing final rules to establish the procedures EPA will
use to prioritize chemical substances and conduct risk evaluations for existing chemicals (40
CFR Part 702). External parties are encouraged to read the final rules, including preambles to
both rules, to familiarize themselves with the TSCA prioritization and risk evaluation processes.
Please visit the EPA website for more information on the TSCA implementation activities.


2 BACKGROUND AND STATUTORY FRAMEWORK

2.1 Statutory Requirements for Risk Evaluations under TSCA
EPA’s Office of Pollution Prevention and Toxics (OPPT) is responsible for health and
environmental risk evaluations of existing chemicals under TSCA. These risk evaluations are
conducted to determine whether a chemical substance or category of chemicals, under the
conditions of use, presents an unreasonable risk of injury to health or the environment. The risk
evaluations have to be conducted without consideration of costs or other non-risk factors, and
must evaluate risks to potentially exposed or susceptible subpopulations that EPA identifies as
relevant to the risk evaluation.

TSCA section 6(b) identifies the minimum components EPA must include in all chemical risk
evaluations. For each risk evaluation, EPA must publish a document that outlines the scope of
the risk evaluation that will be conducted, and that includes the hazards, exposures, conditions of
use, and the potentially exposed or susceptible subpopulations the EPA expects to consider. The
statute provides that the scope of the risk evaluation must be published no later than six months
after the initiation of the risk evaluation. The statute also requires that EPA allow for at least one
30-day public comment period on the draft risk evaluation, prior to publishing a final risk
evaluation. Furthermore, there are statutory time limits for completing TSCA risk evaluations.
TSCA requires EPA to complete the final risk evaluation within three years from initiation, with
a possible six-month extension. External parties are encouraged to go to 40 CFR Part 702 for
more information about the procedures for chemical risk evaluations under TSCA.

Each risk evaluation must: (1) “integrate and assess available information on hazards and
exposure for the conditions of use of the chemical substance, including information on specific
risks of injury to health or the environment and information on potentially exposed or susceptible
subpopulations identified as relevant by the Administrator;” (2) “describe whether aggregate or
sentinel exposures were considered, and the basis for that consideration;” (3) “not consider costs
or other nonrisk factors”; (4) “take into account, where relevant, the likely duration, intensity,
frequency, and number of exposures under the conditions of use;” and (5) “describe the weight
of scientific evidence for the identified hazards and exposure.” When conducting risk evaluations



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of metals or metal compounds, EPA must use the March 2007 Framework for Metals Risk
Assessment of the Office of the Science Advisor (U. S. Environmental Protection Agency, 2007)
or a successor document that addresses metals risk assessment and is peer-reviewed by the
Science Advisory Board.

Moreover, the statute requires that EPA adhere to specific provisions regarding Scientific
Standards and Weight of the Scientific Evidence (herein after referred to as weight of the
evidence). Chapter 3 of this guidance document addresses the science standards for draft risk
evaluations as articulated in Section 26 (h) and (i) of TSCA [15 U.S.C. 2625(h) and (i)] and 40
CFR Part 702.

Pursuant to TSCA section 26(j) [15 U.S.C. 2625(j)], and subject to TSCA section 14, 40 CFR
Part 702 specifies that EPA will provide public access to the following information, as
applicable, for a particular risk evaluation: (1) the draft scope, final scope, draft risk evaluation,
and final risk evaluation; (2) all notices, determinations, findings, consent agreements, and
orders; (3) any information required to be provided to the Agency under 15 U.S.C. 2603; (4) a
nontechnical summary of the risk evaluation; (5) a list of the studies, with the results of the
studies, considered in carrying out each risk evaluation; (6) the final peer review report,
including the response to peer review and public comments received during peer review; and (7)
response to public comments received on the draft scope and the draft risk evaluation.

EPA will review this guidance document according to the statutory timeframes set forth in
section 26(l)(2) of TSCA, and revise it as EPA determines to be necessary to reflect new
scientific developments or understandings.

2.2 Definitions
This section defines key terms that are important to understand when developing a draft risk
evaluation. The following definitions are codified in TSCA (15 U.S.C. 2602) or 40 CFR Part
702.33. EPA recommends that external parties consult with the preamble of 40 CFR Part 702 for
EPA’s interpretation of those definitions that were established in the final rule establishing the
procedures for chemical risk evaluations under TSCA.

1. Aggregate exposure means the combined exposures to an individual from a single chemical
   substance across multiple routes and across multiple pathways.

2. Best available science means science that is reliable and unbiased. Use of best available
   science involves the use of supporting studies conducted in accordance with sound and
   objective science practices, including, when available, peer reviewed science and supporting
   studies and data collected by accepted methods or best available methods (if the reliability of
   the method and the nature of the decision justifies use of the data). Additionally, as stated in




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   EPA’s Procedures for Chemical Risk Evaluation Under the Amended Toxic Substances
   Control Act, under 40 CFR Part 702.33, EPA will consider as applicable:
       The extent to which the scientific information, technical procedures, measures,
          methods, protocols, methodologies, or models employed to generate the information
          are reasonable for and consistent with the intended use of the information;
       The extent to which the information is relevant for the Administrator’s use in making
          a decision about a chemical substance or mixture;
       The degree of clarity and completeness with which the data, assumptions, methods,
          quality assurance, and analyses employed to generate the information are
          documented;
       The extent to which the variability and uncertainty in the information, or in the
          procedures, measures, methods, protocols, methodologies, or models, are evaluated
          and characterized; and
       The extent of independent verification or peer review of the information or of the
          procedures, measures, methods, protocols, methodologies or models.

3. Chemical substance means any organic or inorganic substance of a particular molecular
   identity, including any combination of such substances occurring in whole or in part as a
   result of a chemical reaction or occurring in nature, and any element or uncombined radical.
   Chemical substance does not include
        any mixture;
        any pesticide (as defined in the Federal Insecticide, Fungicide, and Rodenticide Act)
           when manufactured, processed, or distributed in commerce for use as a pesticide,
        tobacco or any tobacco product;
        any source material, special nuclear material, or byproduct material (as such terms are
           defined in the Atomic Energy Act of 1954 and regulations issued under such Act);
        any article the sale of which is subject to the tax imposed by section 4181 of the
           Internal Revenue Code of 1954 (determined without regard to any exemptions from
           such tax provided by section 4182 or 4221 or any other provision of such Code), and
        any food, food additive, drug, cosmetic, or device (as such terms are defined in
           section 201 of the Federal Food, Drug, and Cosmetic Act) when manufactured,
           processed, or distributed in commerce for use as a food, food additive, drug,
           cosmetic, or device.

4. Conditions of use means the circumstances, as determined by the Administrator, under which
   a chemical substance is intended, known, or reasonably foreseen to be manufactured,
   processed, distributed in commerce, used, or disposed of.

5. Guidance: any significant written guidance of general applicability prepared by the EPA
   Administrator.


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6. Pathways means the mode through which one is exposed to a chemical substance, including
   but not limited to: food, water, soil, and air.

7. Potentially exposed or susceptible subpopulation means a group of individuals within the
   general population identified by the Agency who, due to either greater susceptibility or
   greater exposure, may be at greater risk than the general population of adverse health effects
   from exposure to a chemical substance or mixture, such as infants, children, pregnant
   women, workers, or the elderly.

8. Reasonably available information means information that EPA possesses or can reasonably
   generate, obtain, and synthesize for use in risk evaluations, considering the deadlines
   specified in TSCA section 6(b)(4)(G) for completing such evaluation. Information that meets
   the terms of the preceding sentence is reasonably available information whether or not the
   information is confidential business information, that is protected from public disclosure
   under TSCA section 14.

9. Routes means the particular manner which a chemical substance may contact the body,
   including absorption via ingestion, inhalation, or dermally (integument).

10. Sentinel exposure means the exposure from a single chemical substance that represents the
    plausible upper bound of exposure relative to all other exposures within a broad category of
    similar or related exposures.

11. Uncertainty means the imperfect knowledge or lack of precise knowledge of the real world
    either for specific values of interest or in the description of the system.

12. Variability means the inherent natural variation, diversity, and heterogeneity across time
    and/or space or among individuals within a population.

13. Weight of evidence means a systematic review method, applied in a manner suited to the
    nature of the evidence or decision, that uses a pre-established protocol to comprehensively,
    objectively, transparently, and consistently, identify and evaluate each stream of evidence,
    including strengths, limitations, and relevance of each study and to integrate evidence as
    necessary and appropriate based upon strengths, limitations, and relevance.

The terms “risk assessment” and “risk evaluation” are commonly used interchangeably in the
scientific literature and in certain EPA technical guidance documents. Risk assessment evaluates
available scientific information on the properties of an agent and its effects in biological systems
to provide an evaluation of the potential for harm as a consequence of environmental exposure
(EPA, 2005).




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On the other hand, the term “risk evaluation” is used exclusively in this guidance, consistent
with the specialized meaning of “risk evaluation” under TSCA. “Risk evaluation” is the process
specified under section 6(b)(4)(A) of determining whether a chemical substance presents an
unreasonable risk of injury to health or the environment under the conditions of use. A risk
evaluation has to be conducted without consideration of costs or other non-risk factors, and must
evaluate risks to potentially exposed or susceptible subpopulations that EPA identifies as
relevant to the risk evaluation. Risk assessment does not necessarily imply all aspects of TSCA
risk evaluation as specified under section 6(b)(4)(A).


3 SCIENTIFIC STANDARDS FOR TSCA RISK
  EVALUATIONS
TSCA requires that, to the extent that EPA makes a decision based on science under TSCA
sections 4, 5, or 6, EPA must use certain scientific standards and make those decisions consistent
with the best available science and based on the weight of the scientific evidence [15 U.S.C.
2625(h) and (i)]. In addition, TSCA section 6(b)(4) establishes specific substantive requirements
for EPA-conducted risk evaluations [15 U.S.C 2605 (b)(4)].

Given these TSCA requirements, EPA recommends that external parties, in preparing a draft risk
evaluation, adhere to the same scientific standards and other substantive requirements that apply
to EPA in the course of implementing TSCA section 6(b) and preparing risk evaluations.
External-party draft risk evaluations will be of little or no value to EPA if they do not explain
how they conform to the TSCA provisions mentioned above. Also, although it will be within
EPA’s purview to determine that the information received meets the TSCA scientific standards,
EPA will be more able to effectively utilize the information provided if external parties
understand and apply their best judgment in conforming to the standards in draft risk evaluations.

3.1 Best Available Science
EPA recommends that external parties prepare draft risk evaluations using the best available
science as described in 15 U.S.C. 2625(h) and defined in 40 CFR Part 702.33, establishing the
procedures for chemical risk evaluations under TSCA.

In determining that best available science is an integral component of section 6 risk evaluations,
EPA defined, by rulemaking, best available science as “science that is reliable and unbiased.
Use of best available science involves the use of supporting studies conducted in accordance
with sound and objective science practices, including, when available, peer reviewed science and
supporting studies and data collected by accepted methods or best available methods (if the
reliability of the method and the nature of the decision justifies use of the data).”




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As defined in 40 CFR Part 702.33, implementing the best available science also means “…to
consider, as applicable:

      The extent to which the scientific information, technical procedures, measures, methods,
       protocols, methodologies, or models employed to generate the information are reasonable
       for and consistent with the intended use of the information;
      The extent to which the information is relevant for the Administrator’s use in making a
       decision about a chemical substance or mixture;
      The degree of clarity and completeness with which the data, assumptions, methods,
       quality assurance, and analyses employed to generate the information are documented;
      The extent to which the variability and uncertainty in the information, or in the
       procedures, measures, methods, protocols, methodologies, or models, are evaluated and
       characterized; and
      The extent of independent verification or peer review of the information or of the
       procedures, measures, methods, protocols, methodologies or models."

EPA’s Procedures for Chemical Risk Evaluation Under the Amended Toxic Substances Control
Act, under 40 CFR Part 702.45, require EPA to peer review the risk evaluations. If EPA were to
use parts of a draft risk evaluation submitted by an external party, those parts would become part
of the EPA’s risk evaluation and would undergo the required peer review, regardless of the
source of the information.

EPA is not suggesting that external parties need to have their draft risk evaluation peer reviewed
before submission to EPA. Therefore, EPA has not described a peer review process for these
submissions in this guidance document. However, if an external party wanted to have an
assessment peer reviewed before submission to EPA, nothing would preclude those activities and
EPA would likely consider any peer review record that was provided with the submission.

3.2 Weight of Evidence
TSCA risk evaluations are required to rely on the weight of the scientific evidence [15 U.S.C.
2625 (i)]. EPA recommends that external parties use weight of the evidence approaches in the
draft risk evaluation. In accordance with the final rule (40 CFR Part 702.33), weight of evidence
is defined as “a systematic review method, applied in a fit-for-purpose manner, that uses a pre-
established protocol to comprehensively, objectively, transparently, and consistently, identify
and evaluate each stream of evidence, including strengths, limitations, and relevance of each
study and to integrate evidence as necessary and appropriate based upon strengths, limitations,
and relevance.”

Application of weight of the evidence analysis is an integrative and interpretive process. It is
more than simply tallying of the number of positive and negative studies and is applicable to
both human health and ecological risk evaluations.


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There are certain principles of weight of the evidence evaluations that are universal, including
foundational considerations such as objectivity and transparency, and the general process. This
process starts with assembling the relevant information, evaluating the information for quality
and relevance, and finally the synthesizing and integrating the different lines of evidence to
support conclusions (EPA, 2016). EPA recommends that interested persons explain the evidence
integration process and methods used to support the weight of evidence analysis in the draft risk
evaluation.

3.2.1 SYSTEMATIC REVIEW
EPA intends to use systematic review when conducting TSCA risk evaluations for existing
chemicals. As defined by the Institute of Medicine, systematic review “is a scientific
investigation that focuses on a specific question and uses explicit, pre-specified scientific
methods to identify, select, assess, and summarize the findings of similar but separate studies”
(Institute of Medicine, 2011). The goal of systematic review methods is to ensure that the review
is complete, unbiased, reproducible, and transparent (Bilotta, Milner, & Boyd, 2014).

The principles of systematic review have been well developed in the context of evidence-based
medicine (e.g., evaluating efficacy in clinical trials) (Higgins & Green, 2011) and are being
adapted for use across a more diverse array of systematic review questions, including answering
important public health questions. The National Academies’ National Research Council (NRC)
has encouraged EPA to move towards systematic review processes to enhance the transparency
of scientific literature review that support chemical-specific risk assessments to inform
regulatory decision making (National Research Council, 2011, 2014).

Key elements of systematic review include (Hoffmann et al., 2017; Stephens et al., 2016):

      A clearly stated set of objectives (defining the question)
      Developing a protocol which describes the specific criteria and approaches that will be
       used throughout the process
      Applying the search strategy criteria in a literature search
      Selecting the relevant papers using predefined criteria
      Assessing the quality of the studies using predefined criteria
      Analyzing and synthesizing the data using the predefined methodology
      Interpreting the results and presenting a summary of findings

EPA/OPPT plans to integrate systematic review into the TSCA risk evaluations to meet the
statutory requirements of TSCA. EPA strongly recommends that external parties use systematic
review approaches when developing draft TSCA risk evaluations. EPA also recommends that
external parties develop a pre-established systematic review protocol at the beginning of the draft
risk evaluation development process to ensure that the review is complete, unbiased,
reproducible, and transparent. The protocol should describe the pre-specified criteria,


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approaches, methods and/or procedures to identify, select, assess, and summarize the findings of
studies including strengths, limitations, and relevance of each study. The protocol should also
address how the evidence will be integrated, as necessary and appropriate, based upon strengths,
limitations and relevance. Expert judgement is often used throughout the process of evaluating
the studies. However, benchmarking interpretations to clear criteria for study quality will help
improve the transparency and objectivity of the evaluation.

3.3 Data Quality
Prior to developing a draft risk evaluation, EPA recommends that external parties implement a
data quality system that ensures that the draft risk evaluation uses quality data intended for risk
assessment purposes consistent with the requirements of TSCA [15 U.S.C. 2625(h) and (i); 2605
(b)(4)]. EPA encourages external parties to read EPA’s Guidelines for Ensuring and Maximizing
the Quality, Objectivity, Utility, and Integrity of Information Disseminated by the Environmental
Protection Agency. EPA will use the approaches set forth in the rule at 40 CFR Part 702 and the
accompanying preamble to prepare the various sections of TSCA risk evaluations. Thus, EPA
recommends that external parties familiarize themselves with those documents. In addition,
EPA’s Assessment Factors provides a summary of general assessment factors that the public
should consider when generating and documenting the quality of their information products
(EPA, 2003). Moreover, EPA strongly recommends that external parties disclose and make
publicly available all raw data used to support the draft risk evaluation, if not previously reported
in the literature.


4 TSCA RISK EVALUATION PROCESS
Since EPA's inception, human health and ecological risk assessment has informed decisions
made to protect humans and the environment. EPA uses risk assessment as a tool to integrate
exposure and health effects or ecological effects information into a characterization of the
potential for health hazards in humans or other hazards to our environment (U. S. Environmental
Protection Agency, 2004).

According to 40 CFR Part 702, the steps of the TSCA risk evaluation process include scope,
hazard assessment, exposure assessment, risk characterization and finally a risk determination.
The steps are applicable for both human health and environmental risk evaluations and rely on
EPA’s risk assessment frameworks described in the Framework for Ecological Risk Assessment
(EPA, 1992a), the Guidelines for Ecological Risk Assessment (EPA, 1998) and the Framework
for Human Health Risk Assessment to Inform Decision Making (EPA, 2014). External parties
should consider these frameworks when developing fit-for-purpose draft risk evaluations that are
consistent with the best available science and based on the weight of the evidence within the
context of TSCA. While EPA is ultimately most interested in the quality of the submitted



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external party draft risk evaluation, not the specific process by which the evaluation was
developed, EPA believes following these steps help to ensure a high-quality product.

TSCA includes an explicit requirement for EPA to publish the scope for any risk evaluation it
will conduct. Further, TSCA requires this scope to include the hazards, exposures, conditions of
use, and the potentially exposed or susceptible subpopulations that EPA expects to consider. In
the TSCA Risk Evaluation Rule (40 CFR Part 702), EPA has included the conceptual model and
an analysis plan as required components of the scope for a risk evaluation. As defined in EPA’s
guidance, problem formulation captures the exposure pathways, receptors and health endpoints
that would be included in the risk evaluations (EPA, 1992a; 1998; 2014). Furthermore, EPA’s
risk assessment frameworks explain that the outcome of problem formulation is a conceptual
model(s) and an analysis plan (EPA, 1992a; 1998; 2014). Hence, problem formulation has
essentially the same function as scoping under the amended TSCA, thereby aligning the
requirements of the scope for a TSCA risk evaluation with the components of a problem
formulation in EPA guidance (EPA, 1992a; 1998; 2014). Thus, EPA guidance on problem
formulation will be relevant and useful to external parties in scoping TSCA risk evaluations.

TSCA provides that external parties may submit to EPA a draft risk evaluation. EPA does not
expect that external parties would provide a separate scope to EPA. However, EPA recommends
that external party draft risk evaluations document problem formulation in the form of a
conceptual model and analysis plan.

Furthermore, since each risk evaluation is based on the specific circumstances surrounding the
chemical being assessed, this guidance does not single out of any specific guidance, method or
model for routine use, to ensure that there is flexibility to address the specific questions of the
TSCA risk evaluation. When conducting risk evaluations, EPA will take advantage of existing
guidance, tools, models and/or approaches that are relevant and available for use in conducting a
risk evaluation under TSCA as long as they are consistent with the various requirements of
section 26 of TSCA, including conforming to the best available science and weight of the
evidence requirements. A compendium of existing guidance typically consulted by EPA can be
found at the following websites:

          EPA’s Risk Assessment Portal
          EPA’s Pesticide Science and Assessing Pesticide Risks1
          EPA’s Predictive Models and Tools for Assessing Chemicals under TSCA
          OECD’s Assessment of Chemicals




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    Some of the risk assessment guidance for pesticides may be useful to address risk assessment issues in TSCA risk
     evaluations.


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4.1 Scope
As stated above, the scoping step of a TSCA risk evaluation identifies the hazards, exposures,
conditions of use and potentially exposed or susceptible subpopulations that EPA expects to
consider in a risk evaluation. EPA recommends that, in scoping a draft risk evaluation, external
parties follow the principles and approaches laid out in 40 CR Part 702 and the accompanying
preamble.

In addition, consistent with Part 702, EPA recommends that the outcome of the scoping phase of
the draft risk evaluation includes a conceptual model(s) and an analysis plan which are further
discussed in 4.1.1 and 4.2.2. In addition, it is also important to identify previous assessments and
regulatory history during scoping as this information may frame the draft risk evaluation by
understanding (1) what elements of the life cycle of the chemical substance are regulated by
EPA, other federal agencies, States, local governments, Tribes and other international
organizations; (2) how they are regulated; (3) the rationale for the regulation, and (4) how the
chemical substance has been evaluated in the past (e.g., previous risk assessments). Previous
assessments generally provide useful information about exposure, hazards and risks and any
potentially exposed or susceptible subpopulations that have been considered by others.

4.1.1 CONCEPTUAL MODEL
An important outcome of the scoping phase is a conceptual model that:

      Describes actual or predicted relationships between the chemical substance, the
       conditions of use and human and environmental receptors.
      Identifies human and ecological health hazards expected to be evaluated in the draft risk
       evaluation.
      Considers the life cycle of the chemical substance, including manufacture, processing,
       distribution in commerce, storage, use, and disposal, relevant to the conditions of use
       expected to be considered in the draft risk evaluation.

The conceptual model also addresses those aspects that might not be analyzed in the draft risk
evaluation (e.g., excluded exposure pathways), the recognition of which sometimes is important
in the overall decision-making process (EPA, 2014). Additional details and examples are
provided in EPA’s risk assessment guidance (EPA, 1998; 2014).

4.1.2 ANALYSIS PLAN
The analysis plan describes the analytical intentions for the TSCA risk evaluation (EPA, 2014).
During analysis planning, the relationships described in the conceptual model are evaluated to
determine how they will be assessed using available and new data. Although the conceptual
model may identify a larger set of pathways and relationships, the analysis plan focuses on the
pathways and relationships that will be pursued in the risk assessment. The rationale for selecting


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or omitting pathways and relationships is incorporated into the plan, as is acknowledgement of
data gaps and uncertainties.

The analysis plan may include these components: (1) the assessment design and rationale for
selecting specific pathways to include in the risk assessment; (2) a description of the data,
information, methods and models to be used in the analyses (including uncertainty analyses), as
well as intended outputs (e.g., risk metrics); (3) associated data gaps and limitations. The
analysis plan may describe the extent or aspects of the assessment that are qualitative rather than
quantitative. In all cases, the analysis plan addresses the quality of data to be used (EPA, 1998;
2014).

4.2 Exposure Assessment
Pursuant to TSCA section 6(b)(4)(F), EPA, “where relevant, will take into account the likely
duration, intensity, frequency, and number of exposures under the conditions of use in an
exposure assessment”. Consistent with TSCA, the exposure assessment evaluates, where
relevant, the likely duration, intensity, frequency and number of exposures to human populations
(e.g., general population, consumer, worker), including potentially exposed or susceptible
subpopulations, and ecological receptors (e.g., aquatic, terrestrial species) for the conditions of
use of the chemical substance. TSCA also requires that a risk evaluation describe whether
aggregate or sentinel exposures are considered in the exposure assessment and the basis for that
consideration.

An exposure assessment includes some discussion of the size, nature, and types of individuals or
populations exposed to the chemical substance, as well as discussion of the uncertainties in this
information. Exposure can be measured directly, but when data are unavailable, it is estimated
indirectly through consideration of measured concentrations in the environment, consideration of
models of chemical transport and fate in the environment, and/or estimates of human intake or
environmental exposure over time.

Using reasonably available information, exposures are estimated (usually quantitatively) for the
identified conditions of use. For human health exposure, the assessment would consider all
relevant potentially exposed or susceptible subpopulation(s) and utilize any combination, as
available, of population-based epidemiological studies, information related to geographic
location of susceptible subpopulations, models representing exposures to the population,
measurements in human tissues or relevant environmental or exposure media, and any other
relevant, scientifically valid information or methodology. In an environmental health exposure
assessment, the interaction of the chemical substance with ecological receptors is characterized
and evaluated.

EPA recommends that external parties document all aspects of the exposure scenarios being
evaluated in the draft risk evaluation (e.g., workers, general population, consumers). This also



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includes documentation for scenarios for relevant potentially exposed or susceptible
subpopulations. EPA also recommends that external parties document use of aggregate or
sentinel exposure analyses (if applicable). EPA recommends including the following information
in the exposure assessment:

      Chemical-specific factors including, but not limited to: physical- chemical properties and
       environmental fate and transport parameters.
      Characterization of exposure information relevant to exposure scenarios under evaluation
       including a discussion of the overall quality and main limitations of the exposure data,
       data sources and underlying principles and assumptions using weight of evidence
       approaches.
      Disclosure of all data used for the calculations (modeled and measured).
      If applicable, model framework and its scientific basis, including rationale for why the
       model is selected for risk assessment purposes, utilizes the proper modeling relationships,
       results in reasonable approximations, and meets the objectives of the evaluation in terms
       of acceptable levels of uncertainty and variability.
      Discussion of available exposure evidence on factors that may make potentially exposed
       or susceptible subpopulations more vulnerable to the exposure of the chemical of interest.
      Basis for selecting key and/or supporting exposure studies in the exposure assessment;
      List of equations and explanation of each input and output parameter that are used to
       calculate the exposure estimates.
      Where relevant, estimates of human exposure by pathway that consider likely duration,
       intensity, frequency, and number of exposures under the conditions of use under
       evaluation, including potentially exposed or susceptible subpopulations, in a manner
       appropriate for the intended risk characterization.
      If considered, aggregate and/or sentinel exposure estimates under the conditions of use
       and the basis for their estimation.
      Results of the sensitivity analysis when modeling is used (if applicable).
      Integrative discussion based on the best available science and the weight of the evidence.
       Discussion should include the strengths and limitations of the exposure evidence, along
       with a discussion on the uncertainties, variability, degree of confidence, and underlying
       assumptions including science policy assumptions supporting the exposure estimates.

Further discussion of these elements can be found in EPA’s Guidelines for Exposure Assessment
(EPA, 1992b). In addition, EPA encourages interested persons to consult EPA guidance on
various issues related to exposure assessment and exposure to susceptible subpopulations. The
guidance can be found at EPA’s Risk Assessment Portal, Protecting Children’s Environmental
Health web page or EPA’s ExpoBox. Other applicable policy for susceptible subpopulations can
be found in Executive Orders 12898 and 13045 and EPA guidance on evaluating health risks to
children (1995, 2006).



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EPA recommends that external parties use tables, figures, and appendices to increase
transparency and clarity of the exposure assessment.

4.3 Hazard Assessment
In compliance with TSCA section 6(b)(4)(F), EPA will conduct a hazard assessment on each
chemical substance or category, under the conditions of use as identified by the Administrator. A
hazard assessment identifies the types of adverse health or environmental effects or hazards that
can be caused by exposure to the chemical substance in question, and characterizes the quality
and weight of the evidence supporting this identification.

The hazard assessment has two components: the hazard identification and the dose-response
assessment. Hazard identification is the process of determining whether exposure to a chemical
substance or category can cause an increase in the incidence of specific adverse health or
environmental effects (e.g., cancer, developmental toxicity, reduced growth in aquatic
organisms). All hazard information is reviewed in a manner consistent with best available
science and weight of the evidence. This includes the identification, evaluation, and synthesis of
information to describe the potential health and environmental hazards of the chemical, under the
conditions of use, and documentation of all assessment methods.

As part of the hazard identification assessment, EPA typically reviews and summarizes all
available and relevant data. Specifically, for human health hazards, the assessment considers all
relevant potentially exposed or susceptible subpopulation(s). Potential information sources that
may support the health hazard assessment include, but are not limited to: population based
epidemiological studies that identify risk factors and susceptible subpopulations; information
related to geographic location of subpopulations; models that represent health effects of relevant
subpopulation; in vivo and/or in vitro laboratory studies; and mechanistic or kinetic studies in a
variety of test systems including, but not limited to, mode of action (MOA), adverse outcome
pathways (AOP)], toxicokinetics, toxicodynamics, and computational toxicology (e.g., high-
throughput assays, genomic response assays). The hazard identification will also include an
evaluation of the strength, limitations, and uncertainties associated with the available
information. Similarly, field or laboratory data and modeling strategies may be used in the
environmental hazard assessment.

In some cases, computer models using structure-activity relationships (i.e., predictions of
toxicological activity based on analysis of chemical structure) also may be used as supporting
evidence for both the human health and environmental hazard assessment. Read-across and
chemical category approaches can be used when data gaps occur in the hazard database of the
chemical of interest.

Dose-response assessment describes dose-response relationships in the hazard information, in
other words how the likelihood and severity of adverse health or environmental effects (the



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responses) are related to the amount and condition of exposure to a chemical substance (the dose
provided). The same principles generally apply for studies where the exposure is to a
concentration of the chemical substance (e.g., airborne concentrations applied in inhalation
exposure studies or water or other media concentrations for ecological exposure studies), and the
resulting information is referred to as the concentration-response.

EPA recommends that external parties document all aspects of the environmental and human
health hazard identification and dose-response assessments including the following information:

      Characterization of nature and severity of human health and ecological effects and their
       respective dose or concentration responses including a discussion of the overall quality
       and main limitations of the hazard data, data sources and underlying principles and
       assumptions.
      Disclosure of all data used for the calculations of hazard values (modeled and measured).
      If applicable, for any model used, the model framework and its scientific basis (e.g.,
       physiologically-based pharmacokinetic modeling), including rationale for why the model
       is selected for risk assessment purposes, utilizes the proper modeling relationships,
       results in reasonable approximations, and meets the objectives of the evaluation in terms
       of acceptable levels of uncertainty and variability.
      Incorporation of mechanistic data, if available, to inform the biological or chemical
       events associated with toxic effects (i.e., MOA/AOP) and guide the synthesis and
       integration of the effects evidence for both hazard identification and dose-response.
      Discussion of available hazard evidence on factors that may make potentially exposed or
       susceptible populations more vulnerable to adverse effects (e.g., life stages, windows of
       developmental susceptibility).
      If applicable, a discussion of the adequacy and robustness of data-gap filling approaches
       (e.g., analog data through read-across, category approaches, models based on structure-
       activity relationships) and basis for use.
      Integrative discussion based on the best available science and the weight of the evidence.
       Discussion should include the strengths and limitations of the hazard evidence, along
       with a discussion on the uncertainties, variability, degree of confidence, and underlying
       assumptions including science policy assumptions supporting the hazard values.
      The correspondence between the expected route(s) of exposure and the exposure route(s)
       utilized in the studies forming the basis of the dose-response assessment, as well as the
       interrelationships of potential effects from different exposure routes.
      Model(s) used to develop the dose-response curve and the basis for selecting the model,
       their strengths and limitations and underlying assumptions.
      Extrapolation methods and the basis for selecting them, including their strengths and
       limitations and underlying assumptions.
      The basis for selecting interspecies dose scaling factors to account for extrapolating doses
       from experimental animals to humans.


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      Rationale for route-to-route extrapolations, including strengths and limitations
      Discussion if the dose-response values are adopted from other sources (e.g., EPA’s
       Integrated Risk Information System (IRIS) assessments).
      Applicability of dose-response values (i.e., point of departures) and critical effects to
       susceptible populations,
      Basis for selecting key and/or supporting studies and corresponding human health and
       ecological hazards (or effects) including their basis and hazard values for pertinent
       exposure scenarios.
      List of equations and explanation of each input and output parameter that are used to
       calculate the hazard values.
      Major assumptions and uncertainties in the dose-response values affecting their
       confidence.
      Basis for the selection of uncertainty factors for estimating hazard values for the variety
       of scenarios under examination.

EPA’s Weight of Evidence in Ecological Assessment may provide useful information for
planning and using the weight of the evidence for the ecological component of the hazard
assessment (EPA, 2016). EPA recommends that external parties use tables, figures, and
appendices to increase transparency and clarity of the human health and environmental hazard
assessments.

4.4 Risk Characterization
According to EPA’s Risk Characterization Handbook, “the risk characterization integrates
information for the preceding components of the risk assessment and synthesizes an overall
conclusion about risk that is complete, informative, and useful for decision makers” (EPA,
2000). It should be prepared according to the Risk Characterization Principles of transparency,
clarity, consistency and reasonableness (EPA, 2000).

      Transparency ensures that any reader understands all the steps, logic, key assumptions,
       limitations, and decisions in the risk evaluation, and comprehends the supporting
       rationale that lead to the outcome (EPA, 2000).
      Clarity ensures that the risk characterization is clear and easy to understand (EPA, 2000),
      Consistency ensures that the content of the risk characterization is in harmony with
       statutory requirements, program precedents, and EPA’s assessment guidelines including
       science policy, and deviations are explained if need be (EPA, 2000).
      Reasonableness ensures that the integrative analysis of the risk characterization is
       scientifically sound and based on the best available science by following an acceptable
       logic and retaining common sense in applying relevant guidance (EPA, 2000).




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EPA recommends that external parties develop a risk characterization section that addresses the
following:

      Discussion of the risk estimation approach, including equations and pertinent
       assumptions.

      Discussion of how the hazard and exposure assessments are integrated into the
       quantitative and/or qualitative estimates of risk for the identified human and ecological
       receptors under the conditions of use of the chemical substance (e.g., exposure scenarios,
       hazard values and rationale for their selection, effects of concern based on weight of
       evidence approach).

      Summary of the magnitude of the human health and environmental risk estimates (in
       tabular form) for the various exposure scenarios assessing the conditions of use of the
       chemical substance, including risk estimates for aggregate or sentinel exposures (if
       applicable).

      Discussion of the major issues associated with determining the nature and extent of the
       risk in potentially exposed or susceptible populations, including data needs.

      Discussion of the overall characterization and/or analysis of the impact of the uncertainty
       and variability on estimated risks. This should include considerations regarding
       uncertainty and variability in each of the risk evaluation components (e.g., use of default
       assumptions such as uncertainty factors, exposure scenarios, choice of models and
       information used for quantitative analysis). It should also include discussion about data
       quality issues in the data/information supporting the risk characterization and the level of
       confidence in the human health and environmental hazard and exposure values used to
       estimate risks.

      If appropriate and relevant, discussion of plausible alternative interpretations of the data
       and analyses used in the draft risk evaluation.




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5 RISK DETERMINATION IN TSCA RISK EVALUATIONS
The final step of a risk evaluation is for EPA to determine whether the chemical substance, under
the conditions of use, presents an unreasonable risk of injury to health or the environment.
Determinations will specify whether a chemical substance does or does not present an
unreasonable risk of injury to health or the environment under the conditions of use. In general,
EPA may weigh a variety of factors in determining unreasonable risk and include, but not limited
to: the effects of the chemical substance on health and human exposure to such substance under
the conditions of use (including cancer and non-cancer risks); the effects on the chemical
substance on the environment and environmental exposure under the conditions of use; the
population exposed (including any susceptible populations); the severity of hazard (the nature of
the hazard, the irreversibility of hazard); and uncertainties.

TSCA expressly reserves to EPA the final determination of whether risk posed by a chemical
substance is “unreasonable.” External parties have the option of including their unreasonable risk
judgment in their draft risk evaluation, with the clear understanding that EPA reserves the
authority to determine and issue the final determination.




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                          Exhibit A
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           Thiessen Report ‐ Excerpts
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                         APPENDIX 6:
            Expert Report of Kathleen M. Thiessen, PhD




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       Assessment of the Neurotoxicity of Fluoride




                     Kathleen M. Thiessen, Ph.D.
                            June 27, 2019



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                        No. 17-cv--02162




               Oak Ridge Center for Risk Analysis, Inc.
                           102 Donner Drive
                          Oak Ridge, TN 37830

                         OAK RI DGE
                         CENTER for RISK
                                ANALYSIS
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Environmental Radioactivity, among others. My formal education is in biomedical sciences, with a
concentration in the field of genetics, and I remain interested in the effect of genetic background on
individual response to chemical or radiation exposures. A list of my publications and technical reports is
included in my resume, which is included herein as Appendix F.


C.         Summary of Opinions
         For the reasons described herein, I have reached the following conclusions to a reasonable degree
of scientific certainty:
           I. Based on the hazard identification principles set forth in EPA's Guidelines for Neurotoxicity
             Risk Assessment, there is sufficient evidence to conclude that neurotoxicity is a hazard of
             fluoride exposure.
          2. Convergent data from experimental animal studies and epidemiological studies of human
             populations, alongside consideration's of pharmacokinetics and biological plausibility, strongly
             indicate that neurotoxicity is- a more sensitive effect of fluoride exposure than 'severe dental
             fluorosis.
          3. Identifiable subsets of the population have heightened susceptibility to.the risk of harm from
             fluoridation chemicals. These populations include the fetus; bottle -fed infants; the elderly;
             individuals with nutrient deficiencies, kidney disease, and/or high -water intake; and
             populations with specific genotypes.
          4. The current EPA reference dose (RfD) for fluoride (0.08 mg/kg/day) is not protective against
             neurotoxicity, including loss of cognitive function.
          5. Fluoridation chemicals present an "unreasonable risk" of neurotoxic effects, including IQ loss,
             if assessed under the same analytical framework that EPA uses in its risk evaluations of other
             chemicals under the Toxic Substance Control Act (TSCA).


D.        Updates and Reservation
         The opinions expressed in this report are my own and are based on the data, documents, and facts
available to me at the time of writing. Should additional relevant or pertinent information become available,
I reserve the right to supplement the discussion and findings in my report.




E.        Compensation and Prior Litigation Work
         The hourly rate for my work in this case has been $225 to $300.     I have not been deposed in the
last four years. My hourly rate for depositions is $300.




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         The Guidelines recognize several types of human studies that can inform the hazard identification
analysis, including case reports and epidemiological studies.99 In contrast to the 9 chemicals for which
EPA has established RfDs or RfCs pursuant to the Guidelines (most of which did not have any human
studies available), both categories of human studies are available for fluoride, including the most reliable
kind of epidemiological study, prospective cohort studies.
          Ihave become familiar with the human epidemiological data on fluoride neurotoxicity, both
through my work for the National Research Council, and through my ongoing review of the literature. A
systematic review of the human literature was not considered necessary nor particularly helpful, since
systematic reviews have already been conducted,100 and those few studies reporting no effects are well
known to people familiar with fluoride research.101 As those familiar with the literature know, there are
many more studies reporting associations of fluoride exposure with neurotoxic outcomes than the reverse.
The number of studies reporting no association between fluoride and neurotoxic outcomes is quite small,
and, as such, a systematic review was not considered necessary to identify and address them. Each of these
"no effect" studies is addressed below. To ensure that there are no additional no- effect studies, I reviewed
the results of my PubMed searches for "fluoride and brain," "fluoride and learning," and "fluoride and
memory," and conducted additional PubMed searches for "fluoride and intelligence" and "fluoride and IQ."
These searches did not retrieve any additional no-effect studies, although they did retrieve additional studies
reporting adverse effects. Due to the sheer magnitude of studies reporting associations with neurotoxic
outcomes, I have not sought to review each of them. For purposes of completeness, however, I have
attached a reference list of all epidemiological studies of which I am aware that have reported associations
between fluoride exposure and cognitive deficits.102
         Case Reports: As noted in the Guidelines, "the first type of human data available is often the case
report or case series," including clinician observations of occupationally exposed workers.103 This
statement holds true for fluoride. Decades before the first study of fluoride and IQ was published, case
reports and clinician surveys of occupationally exposed workers identified neurological symptoms among
fluoride -exposed individuals, including general malaise, fatigue, headaches, and difficulties with
concentration and memory.1" As the NRC noted, "[t]here are numerous reports of mental and
physiological changes after exposure to fluoride from various routes (air, food, and water) and for various
time periods." los
        While case reports are generally not sufficient, by themselves, to establish a hazard, the Guidelines
consider them "useful when corroborating epidemiological data are available.s 106 Moreover, several of the
case reports could be characterized as "experimental studies," since they involved "individuals who
underwent withdrawal from their source of fluoride exposure and subsequent re-exposures under `blind'
conditions. In most cases, the symptoms disappeared with the elimination of exposure to fluoride and




99
   EPA (1998a), p. 15; Federal Register (1998), p. 26932.
100 See for example Tang et al. (2008); Choi et al. (2012); Duan et al. (2018).
101 Aggebom and Öhman (2017); Barberio et al. (2017); Broadbent et al. (2015); Morgan et al. (1998); Shannon et al.

(1986).
102 Appendix B contains a list of 67 studies associating fluoride exposures with cognitive deficits in humans.

103 EPA (1998a), p. 15; Federal Register (1998), p. 26932.

104 Roholm (1937), pp. 138 -140, 178; Spittle (1994).
'os NRC (2006), p. 208.
ms EPA (1998a), p. 15; Federal Register (1998), p. 26932.



 OAKfor RIDGE RISK ANALYSIS
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          Database Deficiency (UFM: EPA regularly applies an uncertainty factor of 3 to 10 to account for
  important research gaps in the literature, or when there are indications of other toxic effects that have not
 been adequately studied. According to EPA, "If there is concern that future studies may identify a more
 sensitive effect, target organ, population, or life stage, a.database uncertainty factor reflects the nature of
 the database deficiency."435 In the 2- Hexanone risk assessment, for example, EPA applied a UFD of 10
 because of both (a) the absence of multigenerational and developmental studies, and (b) the existence of
 studies which "suggest the possibility" of reproductive and immunological toxicity.436
          Composite uncertainty factors: As summarized in Table 4, the composite uncertainty factors that
 EPA has applied in its 9 neurotoxicity risk assessments under the Guidelines range from 100 to 3,000.
 Three of these risk assessments (those for Methanol, RDX, and Trimethylbenzenes437), were published after
 EPA's adoption (in 2011) of its current hierarchical framework for determining HEDs from animal data.438
 Prior to adoption of this method, UFA for interspecies variability had a value of 10 for each of the risk
 assessments; thereafter it has had a value of 3. As a practical matter, however, the adjustment is similar
 across the two periods of time, because the point of departure now starts at a lower dose under EPA's
 current approach, due to derivation of the HED prior to application of uncertainty factors.


      B) Identifying LOAEL/NOAELs for Fluoride Neurotoxicity from Animal Studies
         EPA prefers to use human data for identifying a POD in the rare instances where such data are
available.439 The recent prospective cohort studies «° with individual -level biomonitoring data provide
sufficient human data to establish a POD for fluoride neurotoxicity. I understand that Dr. Philippe
Grandjean has conducted an analysis of human data to establish a POD for fluoride neurotoxicity, and that
he has calculated a BMDL of 0.1 mg/L (maternal urinary fluoride during pregnancy) based on a Benchmark
Response (BMR) of I lost IQ point from prospective cohort data reported by Bashash et al.441 I understand
that Dr. Grandjean has not attempted to establish an RfD, but a BMDL of 0.1 mg/L in maternal urine would
result in an RfD well below the intake levels in fluoridated communities, particularly after the application
of appropriate uncertainty factors.
        To avoid duplication of Dr. Grandjean's analÿsis, and to determine whether his BMDL is consistent
with potential RfDs derived from animal data, I sought to determine the range of RfDs that are supported
by the current animal experimental data. My purpose was not to derive a single value for the RfD, but to
assess the approximate range of RID values that would be obtained if EPA's ordinary risk assessment
procedures are applied to examples selected from the fluoride database. Of primary interest to this analysis
is whether RfDs derived from neurotoxicity data would be greater than, equal to, or less than the current
RfD of 0.08 mg/kg/day.
         In light of the human data now available, animal data would no longer be the preferred source of
the POD for fluoride neurotoxicity.442 However, several considerations could justify use of animal data to
establish an MD for fluoride. First, EPA has used animal research as the principal study for each of the

435
    EPA (201 ga), p. xxii.
436
    EPA (2009c), pp. 74 -75.
437
    EPA (2013a; 2016; 2018a).
438
    EPA (20116).
439
    EPA (2018a), p. 2 -1.
440 Bashash et al. (2017; 2018); Valdez-Jiménez et al. (2017); Green (2018).
441
    Bashash et al. (2017).
442 EPA (2018a), p. 2 -l.



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 on learning at 11 mg/L did find changes in the brain at this level,458 consistent with 11 mg/L being a
 LOAEL, rather than a NOAEL. But, for purposes of illustration, the RfD calculation below will include
 an assumed NOAEL of 11 mg/L as one of the PODs.
          NOAEL of 20 mg/L: The highest possible NOAEL that could be selected from these prenatal
 studies is the 20 mg/L no- effect finding from McPherson et al.459 While it is difficult to justify reliance on
 McPherson et al.'s study for the RfD analysis (due to strain of rat tised, single sex, and lack of first -trimester
 exposure460), an RfD calculation will be done below using 20 mg/L as an assumed NOAEL, in order to
 highlight the upper bound RfD that would be permitted by the current animal data.
         '   Conversion offluoride concentration to intake per unit body weight
         Before RfDs can be calculated for the selected LOAELs or NOAELs, the unit of measurement has
to be converted from a water fluoride concentration (mg/L) to an intake rate or dose ( mg/kg/day). The 2016
NTP review provides data that facilitate this analysis.461 In its review, the NTP estimated the doses for
dozens of rodent studies by using EPA's default water consumption rates and body weight data for the
species, strain, and sex of the animals studied.462 A review of NTP's data in Appendix 20 shows that the
average ratio of fluoride concentration (mg/L) to intake rate or dose '(mg/kg/day) is 6.8, while a review of
NTP's data in Appendix I9'shows that the range of this ratio is generally higher for rats (typically 6 to 10)
than for mice (typically 3.8 to 5). For purposes of this analysis, I chose the low end of this range for each
species (6 for rats, 3.8 for mice); this results in probable overestimates of the actual intake rates of fluoride
by the animals, thereby overestimating the resulting PODs and inflating the RfDs derived from them.463

     D) Selection of Uncertainty Factors
        The next step in deriving an RID from animal data is to decide which, uncertainty factors are
applicable and to determine what the value of each uncertainty factor should be.
          Intraspecies Variability (UFH): As noted earlier, EPA applies a UFH of 10 to account for variability
among humans unless there is "convincing data to the contrary. "464 In the case of fluoride, the available
evidence (summarized in Section 2 above) confirms that susceptibility varies greatly across the population.
While the magnitude of the variability is difficult to quantify, the available evidence does not provide, any
justification for using a lower value than the default of 10. Therefore, UFH was assigned a value of 10.
        Interspecies Variability (UF): A full PBTK model has not yet been developed for fluoride that
would allow for the calculation of HEDs from doses given to animals. As such, EPA's preferred approach
for controlling for interspecies toxicokinetics is not available. There is, however, some chemical- specific
information for fluoride that could support application of EPA's intermediate approach. As discussed by
the NRC, rats require higher levels of fluoride in their water to achieve the shine level of fluoride in their



458 Sun et al. (2018); Wang et al. (2018a).                                                                  _
459
    McPherson et al. (2018).
460
    See also the review of McPherson et al. (2018) by Spencer and Limeback (2018).
461 NTP (2016), Appendix 19.
462
    NTP (2016), p. 118.
463
    Using this method gives an intake rate of 0.83 mg/kg/day for rats for the 5 mg/L fluoride concentration (Table 7).
However, Bartos et al. (2018; 2019) give an estimate of 0.6 mg/kg /day for their rats and this fluoride concentration.
Using the same approach described below with Table 7 for a LOAEL of 5 mg/L, equivalent to an intake rate of 0.6
mg /kg /day, gives an RID of 0.00005 (all four UFs) or 0.0005 (only UFH and UFA), compared with 0.00007 and 0.0007
in Table 7.
464 EPA
         (2013a), pp. 5 -17.

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                          Exhibit A
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                         U.S. FEDERAL COURT




                       ACTION NO. 17-CV-02162

               FOOD AND WATER WATCH, et al. v. U.S. EPA




                         EXPERT REPORT OF
                   PHILIPPE GRANDJEAN, MD, DMSc




                      PREPARED ON BEHALF OF
                           PLAINTIFFS


                             21 June 2019
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Research Program (National Institute of Environmental Health Sciences), where I serve as Center co-
lead and PI for one of the four center projects. The Center focuses entirely on perfluorinated alkylate
substances (PF ASs ), how they disseminate, biomagnify and lead to adverse health effects.

                I have published over 500 scientific papers, of which most are research articles in
international scientific journals with peer review. My h-index in the Web of Science database is 66, and
my work is cited well over a thousand times every year. Seven of my articles published in the last 10
years have earned the attribute "Highly Cited Paper," i.e., they received enough citations to place them
in the top 1% of published papers in the field. I just received notice that an article in PLOS Medicine
that I co-authored was selected as a "2018 Paper of the Year" by the funding NIH institute, among
2,900 publications considered. 1 I have also authored or edited 20 books, including textbooks on
environmental health and risk assessment.

               I am regularly invited as a speaker at international conferences and other scientific
events. I am (Founding) Editor-in-Chief of the open-access scientific journal, Environmental Health
(since 2002), which ranks among the top I 0% of journals in the field . I also serve or have served on
editorial boards of about a dozen journals in the fields of medicine, environmental science, and
toxicology. As editor and as reviewer for other major journals, I frequently evaluate manuscripts on
environmental epidemiology and toxicology.

               In addition to the appointments mentioned above, I have served on, sometimes chaired,
or acted as rapporteur for, expert committees under the auspices of the WHO, the International Agency
for Research on Cancer (IARC), the EPA, the European Commission, the European Food Safety
Authority (EFSA), and other organizations. During my six-year membership of the EFSA expert panel
on food contaminants, I participated in multiple expert groups and contributed to the ' Guidance of the
Scientific Committee on Use of the benchmark dose approach in risk assessment' [11]. I currently
serve on the Scientific Committee of the EU's European Environment Agency.

               A copy of my most recent CV is attached as Exhibit B. A list of publications which I
authored or co-authored during the past 10 years is attached as Exhibit C.

          B.       Materials relied upon

                      For the purposes of this report, I have relied on my own experience, education,
      and training, on my own research, and on major publications concerning fluoride, in particular
      the literature on human neurotoxicity risks associated with fluoride exposure. The numbered
      references are listed in Exhibit D . Among major sources of information, I have relied upon the
      National Research Council (NRC) report [1] on fluoride and, among reviews on human
      neurotoxicity, our own meta-analysis [9] and the more recent meta-analysis by Duan [1 2]. I have
      assessed in detail the recent prospective studies, of which the one from Canada has not been
      formally published, and I therefore rely on the presentation of the results at an international
      conference in August last year as well as a master's thesis from the Canadian research group.


1
    https://factor.niehs.nih.gov/2019/1/feature/2-feature-papers-of-the-year/index.htm



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                In addition to epidemiological studies, I have considered the most relevant
 supporting toxicological information from laboratory animal studies and in vitro models to assess
 biological plausibility, where emphasis is placed on the expert conclusions in the reviews
 published by the NRC [1] and the National Toxicology Program (NTP) [13]. My review focuses
 on the evidence that carries the greatest weight, and I do not necessarily cite all reports that may
 be relevant. While summarizing available documentation, I also outline the emergence over time
 of the knowledge on human fluoride exposures and associated neurotoxicity risks.

    C.      Exhibits

                I may use as exhibits part or all of any of the documents or papers cited in this
 report including this report itself; graphs or tables drawn from data in any of those documents or
 papers, or any document helpful as foundation for or illustration of my testimony.

    D.      Updates and reservation

                 The opinions expressed in this report are my own and are based on the data,
 documents, and facts available to me at the time of writing. Should additional relevant or
 pertinent information become available, I reserve the right to supplement the discussion and
 findings in my report. I also reserve the right to respond to any opinions on similar topics by
 other experts in this matter, and to respond to any criticism or comment on my opinions.

    E.      Compensation

               The Harvard T.H. Chan School of Public Health charges $300 per hour for my
time in preparing this report. This compensation does not depend in any way on the content of
my opinions.

    F.      Previous service as expert at deposition or trial during last 4 years

                State of Minnesota District Court for the County of Hennepin, Fourth Judicial
District, Civil Action No. 27-CV-10-28862, deposition only.

                United States district court for the Eastern District of Missouri (United States of
America, et al. v. Ameren Missouri, Case No 4:11Cv77), deposition only.

               United States district court for the District of Vermont, Case No. 5: 16-cv- 125,
deposition only. United States district court for the District of New Hampshire, Civil Action No.
1: 16-Cb-00242-Jl, deposition scheduled.


II. SUMMARY OF OPINIONS

                The opinions expressed in this report, which I hold to a reasonable degree of
scientific certainty, can be summarized as follows:




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               The lack of large and representative studies on fluoride concentrations in urine
and blood (serum or plasma) makes it hard to judge the overall fluoride exposure levels in U.S.
populations exposed to fluoridated drinking water. However, I shall consider the Canadian data
on urine-fluoride as reasonable guidance [65], although the high rate of dental fluorosis and
greater reach of water fluoridatic;m in the U.S. suggests that urine-fluoride concentrations may be
higher than in Canada.


V. EVIDENCE OF NEUROTOXICITY

               I shall now discuss the epidemiological evidence on neurotoxicity that I rely on, I
shall summarize the supporting toxicological evidence, and lastly, I shall discuss possible
mechanisms along with uncertainties and potential criticisms relating to the exposure assessment
or endpoint in question. My assessment follows the general approach formalized by WHO' s
International Agency for Research on Cancer [83] and also used by regulatory agencies, such as
the EPA. 5 Unfortunately, the most recent toxicity review of fluoride from EPA's Integrated Risk
Information System (IRIS) that aims at covering hazard identification and dose-response
assessment has not been updated for over 30 years. 6

                In the past, I have prepared evidence-based reviews on fluoride and fluorine for
the European Commission and the WHO. Due to my long-term research interest in fluoride, I
have followed the fluoride literature through weekly updates from the PubMed data base; for the
purpose of the present report, I have carried out supplementary literature searches using the same
data base. The present review therefore presents a reasonably comprehensive coverage of the
relevant epidemiological evidence. In the absence of any recent guidance from IRIS, I rely on the
most relevant studies, especially those that are prospective and therefore carry the greatest
weight, and I' have not aimed at covering studies of less validity or less strength, i.e., similar to
the approach, e.g., in the NRC review [1], to which I contributed as a reviewer.

    A.      Neurotoxicity findings in human studies

               It is my opinion, based on the weight of the epidemiological evidence, and the
supporting toxicity evidence, that fluoride poses a substantial hazard to human health as a
neurotoxicant. As noted by the NRC committee [1], past assessments of fluoride safety have
relied on incomplete information on potential risks of adverse effects and have not focused on
neurotoxicity.

               Opportunities for epidemiological studies depend on the existence of comparable
population groups exposed to fairly constant but differing amounts of fluoride from drinking
water. Such circumstances are difficult to find in many industrialized countries, as fluoride
concentrations in community water generally vary within a limited range, and because exposures
are affected by residence changes. Multiple epidemiological studies of developmental fluoride
5
  Environmental Protection Agency. (2017). Procedures for Chemical Risk Evaluation Under the Amended Toxic
Substances Control Act. Federal Register, Vol 82, July 20, 2017, pp. 33726-33753 .
https://www.govinfo.gov/content/pkg/CFR-20 I0-title40-vol2l/pdf/CFR-201 0-title40-vol2 l-partl 32-appC.pdf
6 https://cfpub.epa.gov/ncea/iris2/chemica!Landing.cfm?&substance_nmbr=53




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level likely also reflects past developmental exposures. In fact, some studies highlighted that the
children were born in the respective area, and/or had been using the same water supply since
birth. Any deviation from stable exposure would result in exposure misclassification and most
likely resulted in an underestimation of fluoride toxicity.

                Although the studies that were included in our meta-analysis were generally of
inadequate quality, mainly due to deficient reporting, the consistency of the findings supports the
likelihood that developmental fluoride exposure causes cognitive deficits. For example, limited
information was available on age adjustment of the cognitive test results reported as scaled
scores, butage was not found to be a significant co-factor. When we published these findings,
we recommended that future research should formally evaluate dose-response relations based on
individual-level measures of exposure over time, including more precise prenatal exposure
assessment and more extensive standardized measures of neurobehavioral performance, in
addition to improving the assessment and control of potential confounders. Recent North
American studies satisfy these requirernents, as discussed in the next section.

                 Many more IQ studies in endemic fluorosis areas have been published after our
 review. As with the previous studies, these newer studies continue to find associations between
 fluoride and IQ, although many of them suffer from the same limitations. A PubMed search
 using the terms "fluoride AND intelligence" shows that 14 studies have been published on
 fluoride and IQ since our meta-analysis was published in 2012. While I consider it beyond the
 present report to evaluate these studies in detail, 13 of them report clear associations between
 elevated fluoride exposure and reduced intelligence. I am aware of at least seven Chinese-
 language studies published since 2012 that report similar associations between fluoride exposure
·and reduced IQ [98, 126-130]. I also note that some of the recent studies have identified possible
 genetic predisposition to fluoride neurotoxicity [117, 131]. This means that some subgroups of
 the general population will be more vulnerable to fluoride exposure and that exposure limits
 aimed at protecting the average population may not protect those with susceptible genotypes, as
 we have shown for methylmercury neurotoxicity [132]. A comprehensive evaluation of these
 studies is beyond the scope of this report.

                To ascertain the validity of the Chinese reports on fluoride neurotoxicity, we
carried out a pilot study in Sichuan using methods commonly applied in neurobehavioral
epidemiology [10]. The children examined had lived in their respective communities since
conception. Although we examined only 51 children, our results support the notion that cognitive
deficits occur at elevated fluoride exposures. Interestingly, negative associations were found for
cognitive function tests regarding all three measures of fluoride exposure. One was the known
water-fluoride concentration at the residence where the child was born and had grown up,
another was the child's morning urine-fluoride after having ingested fluoride-free water the night
before (neither measure reached formal statistical significance as predictor of cognitive deficits).
The strongest and statistically significant association was seen with the degree of dental fluorosis
that served as a marker of early-life fluoride exposure. While the milder forms of dental fluorosis
have been considered a cosmetic effect [37, 133, 134], our study suggested that fluorosis can
serve as a useful marker of early fluoride exposure in studies of neurodevelopmental toxicity.




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  exposures in fluoridated communities, especially in adults with iodine deficiency [68]. In
  England, the diagnosis of hypothyroidism was nearly twice as frequent in medical practices
  located in a fully fluoridated area, as compared to a non-fluoridated area [165]. These findings
· are of particular concern, as the thyroid hormone is crucial for optimal brain development [166].
  I shall not discuss this evidence further, as I understand that fluoride toxicity to the thyroid gland
  is covered in a separate report.

                 The notion that fluoride is primarily a developmental neurotoxicant means that
 fluoride- like lead, methylmercury, and arsenic- can affect brain development at exposures
 much below those that cause toxicity in adults [167]. For lead and methylmercury, adverse
 effects are associated with blood concentrations as low as about 10 nmol/L. Blood-fluoride
 concentrations associated with elevated intakes from drinking-water may exceed 20 µg/L, or
 about 1 µmol/L, i.e., more than 100-fold greater than the serum concentrations of the neurotoxic
 metals that cause neurodevelopmental damage. Thus, although fluoride is neurotoxic, it appears
 to be much less potent than the neurotoxic metals, which are also present in the Earth's crust at
 much lower concentrations.

 VI. APPROACHES TO HAZARD EVALUATION

    A.      Interpretation of epidemiology studies

                 In evaluating the evidence on inorganic fluoride toxicity, a weight-of-the-
 evidence approach should be used, where human studies will contribute substantially. Because it
 would be unethical to conduct experimental studies in humans with substances that may cause
 cancer or other serious effects, the main human epidemiological evidence on fluoride comes
 from observational studies of occupational cohorts and from community studies of subjects
 exposed at different so-called background levels, such as through drinking water. Of particular
 relevance are prospective studies of population-based cohorts followed over time. Further, the
 validity of the exposure assessment is crucial and should rely on stable concentrations in
 drinking water or exposure biomarkers obtained at an appropriate time.

                 While most of the endemic fluorosis studies have rather simple cross-sectional
 designs and may have failed to control for the some confounding factors of possible importance,
 they also have important strengths, including: 1) Stable populations with stable water-fluoride
 concentrations. Many of the studies specifically limited the populations to those who had lived in
 the community their entire life (thus capturing prenatal exposures). 2) Unlike in the US, children
 in rural China (where most of these studies have been conducted) have very little exposure to
 fluoridated dental products [118], thus making water a more important and reliable metric of
 fluoride exposure. 3) The studies in endemic fluorosis areas that have controlled for or excluded
 key confounding factors (arsenic, iodine, parental education) were still capable of identifying
 associations with cognitive deficits [9].

                 Prospective information on exposed birth cohorts is desirable, as it is not just the
 dose that can matter but also the timing of the dosing in regard to the developmental stage of the
 subjects [33, 168]. In particular, birth cohorts are crucial, as they can reveal with greater
 certainty the impacts of exposures assessed during early life stages. The recent emergence of



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such prospective information is fortunate, especially because the studies represent different
settings and therefore, in concert, provide solid observational evidence.

                This new information is in overall agreement with less certain cross-sectional
studies, thereby sµpporting the strength of the evidence. In the past, the presence of limitations
and perhaps absence of statistical significance in individual cross-sectional studies may have
been misinterpreted as evidence that fluoride exposures are innocuous. However, in evaluating
the weight of the evidence, the question must be asked what each study could potentially reveal,
given the design and choice of study parameters, including such factors as imprecise exposure
assessment. As the NRC once warned, the apparent absence of convincing evidence of (fluoride)
toxicity should not be misinterpreted as proof that toxicity does not exist, and such erroneous
conclusion has been dubbed the "untested chemicals assumption" [169].

        1.    Bias toward the null

                 In the field of epidemiology, there is a well-known bias toward the null, of which
epidemiologists (and readers of epidemiology reports) need to be careful, especially when human
health is at stake. Studies that do not show a statistical significance are sometimes called
"negative," although this term is misleading. Joint analyses of several such studies may well
show a significant difference or trend. Table 1 highlights common causes of bias toward the null
in epidemiological studies, i.e. , reasons that a study might not show the existence of a risk that
indeed is present, though hidden due to the bias. While biases in the opposite direction also exist,
they are usually of much less significance [170].

               Table 1. Causes of bias toward the null in epidemiology studies [170].

                Inadequate statistical power in small studies
                Lost cases and inadequate follow-up for long-term effects
                Exposed or otherwise inappropriate comparison (control) group
                Exposure misclassification
                Insensitive or imprecise outcome measures
                Failure to adjust for confounders with effects in the opposite direction
                Disregarding vulnerable subgroups
                5% probability level to minimize risk of false positives (Type I error)
                20% probability level to minimize risk of false negatives (Type II error)
                Pressure to avoid false alarm                      ·

                 The bias toward the null is particularly problematic where human health is
concerned; scientists and public health officers therefore often assess and rely on the direction or
weight of the evidence and not solely on statistical significance, as it may take a very long time
to obtain complete and irrefutable proof. Thus, observational studies will rarely if ever provide a
100 percent proof, and it is always possible for someone critical of the weight of the evidence to
raise some type of doubt seeking to require additional or improved data before a conclusion can
be drawn [171, 172]. Again, the presence of uncertainties often tends to cause underestimations
of actual risks, not the opposite. This issue is of importance especially regarding substances that
have not yet been studied in the detail desired or cannot be examined in randomized clinical



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 trials. Again, many unfortunate past errors in regard to industrial chemicals have shown that
 initial assessments were often erroneous and led to an underestimation of the true risks [173].

                 In the present report, while considering the extent of possible biases, my
 conclusions are based on the strength of the evidence and are stated in terms of assessing
 whether fluoride poses an unreasonable health risk to the general public or to susceptible subsets
 of the population, such as pregnant women and small children. My evaluation as an expert
 therefore considers the weight of the evidence, the uncertainties involved, the plausibility, and
 what could possibly be known, given the study opportunities and methodologies applied, as well
 as the likely overall impact on public health.

    B.      Assessment of uncertainties

                In the absence of randomized clinical trials on fluoride, the hazard evaluation
 must be based on observational epidemiology studies, as supported by toxicological evidence
 from animal studies. As already noted, the NRC found the toxicological evidence sufficient to
 conclude that fluoride can cause neurotoxicity [l]. Although the more recent NTP review did not
 regard the studies on developmental neurotoxicity as conclusive [143], the report considered
 only attention and memory aspects rather than the additional and more extensive documentation
 on neurochemical and neuropathological effects.

                 True, the cross-sectional design of most of the human studies limits the ability to
 reach conclusions about causation (since the exposure is not ascertained before the development
 of the adverse outcome). Still, this design is appropriate in stable populations where water
 supplies and fluoride concentrations have remained virtually unchanged so that current
 exposures is likely also to reflect developmental exposures. Also, some of these studies
 measured urinary fluoride concentrations, which partially reflect long-term exposures due to the
 accumulation of fluoride in the calcified tissues. Thus, jointly with more informative prospective
 studies, the results provide convincing evidence of developmental neurotoxicity.

                 As indicated above and also discussed in Section VII.A, research into fluoride
 neurotoxicity appears to have been controversial and unwelcome, and the desire for fluoride
 supplementation may have resulted in suppression of studies or publications, as suggested by
 case reports [90, 174, 175]. Further, severe critique was launched against studies that reported
 adverse effects that could challenge the wisdom of water fluoridation. For example, because our
 meta-analysis [9] indicated consistent associations between fluoride and reduced IQ, our findings
 were challenged. One commentary indicated that our review had been severely criticized [39]
 and referred to a report by a UK consulting firm hired to criticize our work [176]. An additional
 source was the previously released SCHER report [103]. This EU committee had questioned the
 plausibility of neurotoxicity and did not directly comment on our report. The disapproving
 commentary [39] also alleged that our article had been used by anti-fluoridationists and referred
 to the "many flaws" - without specifying what these flaws were. A later article referred to
 fluoride neurotoxicity as "misinformation" in the title of the article [177].




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                Similar superficial and misleading critiques were aired at a web site belonging to
the American Academy of Pediatrics 14 and in additional journal articles [112, 178]. I particularly
note that the adverse ~ffects were said to be associated with elevated fluoride exposure from
water up to 11.5 mg/L [178], i.e., the highest fluoride concentration present in one of the studies,
while not mentioning that most of the studies included in our review referred to water-fluoride
concentrations below the EPA's MCLG for fluoride (4 mg/L) [9]. As previously noted, almost
the same wording was used by the EPA [113]. ·

                As our study [9] was misinterpreted in the media, we released a press statement
[ 179], which concluded: "These results do not allow us to make any judgment regarding possible
levels ofrisk at levels of exposure typical for water fluoridation in the U.S. On the other hand,
neither can it be concluded that no risk is present. We therefore recommend further research to
clarify what role fluoride exposure levels may play in possible adverse effects on brain
development, so that future risk assessments can properly take into regard this possible hazard."

               As alleged proof that water fluoridation poses no risk to cognitive development
the study from New Zealand has been highlighted [39]. This study [111] erroneously stated that
our press release "had to emphasize the fact that [our] research was irrelevant to CWF
[Community Water Fluoridation]". Also, while the authors [111] emphasized potential biases in
our meta-analysis [9], they downplayed the limitations to their own study (see Section V.A.4).

                A federal interagency panel in 2015 accepted the NRC's findings [1] as a
"summary of the hazard", and the panel recommended that the level of fluoride added to
community water be reduced to 0.7 mg/L [77]. The aim of this recommendation remained to
protect against dental fluorosis, as neurotoxicity was thought not to be relevant.


VII.        RISK ASSESSMENT

       A.       Changing approaches to fluoride exposure

        Fluoride ingestion has in the past been considered "essential" for optimal dental health.
Already in 1989, a National Research Council report on nutrition noted that fluoride is not an
essential nutrient, but a "beneficial element" for dental health purposes [180]. Further, fluoride's
predominant mechanism of action in preventing caries comes from topical contact with the
outside of the enamel, not from ingestion [1], as discussed in a separate report.

        The concept of an "optimal fluoride dose" for caries prevention purposes is at odds with
current knowledge as to fluoride's cariostatic mechanisms but is nevertheless still widely held
[39]. EPA concluded that a reference dose (RID) could not be below 0.05 mg/kg/day, in respect
of the so-called optimal dose [181]. For this reason, assessments of fluoride exposure have
mostly focused on securing sufficient intakes to obtain the assumed benefits, i.e., maintaining the
so-called optimal intake without any excess of importance to health. Accordingly, reports from
WHO and national agencies have generally focused on beneficial effects [37, 40, 182]. Given the
strong association with dental health benefits observed in past studies, the tendency was to

14
     https://ilikemyteeth.org/harvard-study-fluoride-neurotoxicity/


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    D.      Setting drinking water health limits

                 Available data show that maternal urinary fluoride excretion levels during
 pregnancy and calculated daily fluoride intake are significantly associated with lower IQ levels
 in the child. Data from the ELEMENT study in Mexico [142, 143) and the MIREC study in
 Canada [144) provide suitable data for dose-response analysis. In addition, a third study also
 documents developmental neurotoxicity, although for the Bayley scale at a younger age, not IQ
 [141]. These studies document the associations at maternal urine-fluoride concentrations within
 ranges occurring in fluoridated communities. As these data refer to the critical effect in a highly
 vulnerable population, they are appropriate as documentation for identifying a safe drinking
 water limit.

                 Visual inspection of the ELEMENT data (Figure 2, page 23) [142] suggest a
 possible threshold of perhaps 0.8 mg/Lin maternal urine when considering the IQ in 6-to-12-
 year-olds, while no threshold seemed to be present for deficits at age 4 years (Figure 1, page 22).
 Similarly, no threshold seemed to be present in the Canadian IQ study (Figures 4 and 5, pages
 24-25) [144) or in the Mexico ADHD study [143]. I also note. that cross-sectional studies in
 China have reported IQ deficits at elevated water-fluoride concentrations even below 1 mg/L [9].

                  Regulatory agencies are in overall agreement in using a benchmark dose approach
 to calculate non-cancer health-based limits for dietary intakes, such as drinking water [ 11, 196].
 In this approach, a dose-response function is fitted to the data or adopted from a default
 assumption (usually a linear relationship). The benchmark dose (BMD) is defined as the dose
 that leads to a specific loss (or degree of abnormality) known as the benchmark response (BMR)
 in the outcome variable. The BMR must be specified before the analysis. In previous BMD
 analyses of human neurotoxicity, the BMR has been set at 1 IQ point [197, 198]. The statistical
 uncertainty in the BMD estimation is taken into account by calculating its lower one-sided 95%
 confidence limit, which is called the benchmark dose level (BMDL). The BMDL is then used as
 the point of departure for calculation of the exposure limit, by dividing the BMDL by an
 uncertainty factor (usually fixed at 10) to obtain a protective RID [11 , 196]. I shall now discuss
 the calculation of a BMDL using the available data on fluoride neurotoxicity.

    E.      Benchmark dose calculations for fluoride

                 My colleague, Esben Budtz-J0rgensen, and I are formalizing an agreement with
 the authors of the ELEMENT fluoride report [142) to jointly assess benchmark dose results, and
 access to the raw data will likely happen in the near future to allow preparation of a scientific
 publication. In the absence of the original data at this point, we have applied benchmark dose
 algorithms to estimate the approximate BMD and BMDL, first by using the descriptive data on
 the distributions of urinary fluoride concentrations and the IQs as already published as Table 4
 [142].                                                                             .

                 The benchmark dose is the exposure dose leading to a specific decrease (denoted
 BMR) in the response (in this case, the IQ), when compared to unexposed individuals. The BMR
 must be defined before the analysis [196], and general guidelines have been developed for the
 selection of a BMR [11). A 1-to-2 IQ point reduction at the population level was recognized by
 the U.S. EPA Clean Air Scientific Advisory Committee, which emphasized that "an IQ loss on


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 be done using the data on the 95th percentiles, again assuming that the U.S. population in
 fluoridated areas have similar urine-fluoride concentrations as Canadians.

                I have made these calculations only to illustrate the significance and impact of
 neurotoxicity outcomes, and I offer these crude estimates to emphasize my concern that
 developmental neurotoxicity due to early-life exposure to fluoride must be controlled.

    G.      Conclusions

                In the past, health risks associated with elevated exposures to fluoride have been
 downplayed in the interest of promoting community water fluoridation to prevent caries
 development. Although this has resulted in a biased risk assessment and inappropriately high
 exposure limits for fluoride in water, the situation has changed due to two developments.

                First, it now appears that water fluoridation no longer has the same beneficial
 impact on caries prevention that it once had, and topical fluoride exposure in the oral cavity has
 emerged as the preferred intervention in much of the industrialized world, thereby making
 systemic fluoride exposure unnecessary.

                 Second, substantial research now documents the risks and consequences of
 developmental neurotoxicity associated with fluoride exposure in early life. The critical effect
 from fluoride exposure is no longer dental fluorosis with pitting, or crippling skeletal fluorosis
 that occur at highly elevated exposures. The risk assessment relied upon by the EPA is therefore
 outdated.

                 Recent research has shown that the most vulnerable life stage for many toxicants,
 particularly those that adversely affect the brain, is during intrauterine development. Fluoride fits
 into this paradigm, and efforts to control human fluoride exposures must therefore focus on
 pregnant women and small children.

                 Research on fluoride-exposed workers and laboratory animals suggest that
 elevated fluoride exposure is toxic to the brain and nerve cells. Epidemiological studies have
 identified links to learning, memory, and intelligence deficits, though most of the past studies
 focused on populations with fluoride exposures higher than those typically provided by U.S.
 water supplies.

                 Epidemiology studies from the most recent years document that adverse effects
 on brain development happen at elevated exposure levels that occur widely in North America, in
 particular in communities with fluoridated drinking water. These new prospective studies are of
 very high quality and leave little doubt that developmental neurotoxicity is a serious risk
 associated with elevated fluoride exposure. This evidence shows that community water
 fluoridation is associated with IQ losses that are substantial and of economic and societal
 concern.

                 While existing limits for fluoride in drinking water are known not to protect
 against early stages of fluorosis, they are even less protective regarding neurodevelopmental
 deficits. Applying methods for standards setting routinely used by the EPA, the recent studies on


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                          Exhibit A
        Adkins Declaration, Exhibit 06
                      Thiessen Dep.
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                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                    Page 1

1                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
2
3            FOOD & WATER WATCH, INC., et               )
             al.,                                       )
4                                                       )
                                                        )
5                                      Plaintiffs,      )
                                                        )    Case No.
6            vs.                                        )    3:17-cv-02162
                                                        )    -EMC
7            UNITED STATES ENVIRONMENTAL                )
             PROTECTION AGENCY, et al.,                 )
8                                                       )
                                                        )
9                                      Defendants.      )
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13                      VIDEO RECORD & ORAL DEPOSITION OF
14                         Kathleen M. Thiessen, Ph.D.
15                          Tuesday, August 27, 2019
16                                   9:00 A.M.
17                            U.S. Attorney's Office
18                               800 Market Street
19                         Knoxville, Tennessee 37902
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24
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1      mixed bag.    I would not be at all willing to use the --

2      the available data to say that -- that this country

3      experiences safe levels of exposure to it.

4             Q.        Okay.   In your opinion, if EPA were to

5      conduct a hazard assessment for fluoride, should it

6      look at the existing body of animal data or should it

7      look at the existing body of human data?

8             A.        It should look at both.        There's no

9      reason to not look at both.

10            Q.        Okay.   And how do those two work

11     together?

12            A.        With animal studies, you have the

13     opportunity for controlled experiments.               You can set

14     things up so that only one variable is being managed.

15     You can -- you have a better opportunity to control for

16     various things, to have blinding of the researchers and

17     so forth.

18                      With human studies, depending on the

19     specific kind of study, it can be much harder to

20     evaluate exposures.      It -- sometimes we have a large

21     body of human studies that have not been blinded, so

22     you've got the inherent bias in those studies, but they

23     should, in the bigger picture, they should reinforce

24     each other.

25            Q.        Okay.   If in your opinion, if EPA were to

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                                                                Page 222

1      conduct a dose-response assessment, should it rely on

2      animal data or human data?

3             A.        It should look at both.

4             Q.        Okay.   But let's -- let's back up.        For

5      dose-response assessment, how does a dose-response

6      assessment work?

7                       MR. CONNETT:     Overbroad.

8                       THE WITNESS:     For a given effect or

9             endpoint you look at what dose, if any, is

10            associated with that effect or dose or range of

11            doses and whether the effect is either more

12            prevalent or more severe or both with increasing

13            dose.

14                      In some cases, you can also get some

15            information on mechanism.

16     BY MS. CARFORA:

17            Q.        Are you familiar with the term point of

18     departure?

19            A.        Yes.

20            Q.        Okay.   What does that term mean?

21            A.        It's the selected combination of exposure

22     and effect used to -- as a starting place or point of

23     departure to set -- to calculate whether or not it's to

24     set what an RfD would be a reference dose.

25                      That in my experience, that's the main

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1      thing it's used for.      It's to -- as a way, a starting

2      place to estimate where to set an exposure level that

3      is probably going to be protective.

4                       MS. CARFORA:     Sorry.     What exhibit number

5             are we on?

6                       MR. CONNETT:     260.

7                       MS. CARFORA:     260.     I am going to mark

8             here 260.

9             (Exhibit 260 - Dose-Response Evaluation Graph.)

10     BY MS. CARFORA:

11            Q.        Have you ever seen a graph like this

12     before?

13            A.        Not exactly --

14            Q.        Okay.

15            A.        -- but I've seen the general idea for the

16     main part of it.

17            Q.        If I were to define point of departure to

18     be part of the first observation that effects at a

19     certain level, would that be accurate?

20            A.        That would be one possible point to

21     select as a point of departure.

22            Q.        Okay.   So there are other possible points

23     of depart -- or what else would you rely on to select a

24     point of departure?

25            A.        From what I've seen you can select,

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1      depending on the information available, you can select

2      a LOAEL, lowest adverse effect level, lowest observed

3      adverse effect level or a no observed adverse effect

4      level, NOAEL, or a benchmark dose.

5                          There may be other possibilities, but

6      those are the three that I'm aware of.

7               Q.         Okay.   So the NOAEL, that you refer to as

8      NOAEL.        That's the N-O-A-E-L?

9               A.         Yes.

10              Q.         And then the LOAEL is the lowest

11     observable adverse effect level, right?

12                         So we would measure those two points,

13     right?        And then so the idea is there's some sort of

14     threshold in between no observed effects, the lowest

15     observed effects that would be point of departure, so

16     to speak?

17                         MR. CONNETT:    Overbroad.

18                         THE WITNESS:    That's the principle that

19              that approach is based on, on practices.         It's not

20              necessarily quite that simple.

21     BY MS. CARFORA:

22              Q.         Okay.   What -- in terms of fluoride,

23     what's your opinion on what approach should be used?

24                         MR. CONNETT:    Overbroad.

25                         THE WITNESS:    What approach for?

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1      BY MS. CARFORA:

2              Q.         Setting -- setting point of departure for

3      health effective neurotoxicity?

4                         MR. CONNETT:     Same objection.

5                         THE WITNESS:     Well, you've got several

6              options.     You've got no effect levels, lowest

7              effect levels from animal studies.

8                         You've got the human studies.       Depending

9              on the endpoint, the human studies might or might

10             not be up to it, but the -- I don't know that

11             there's been much benchmark dose modeling done.

12     BY MS. CARFORA:

13             Q.         Okay.     In your scientific --

14             A.         The studies would lend themselves to

15     that.

16             Q.         You're saying there aren't enough studies

17     that would lend themselves to taking up point of

18     departure for fluoride?

19                        MR. CONNETT:     Misstates testimony.

20                        THE WITNESS:     That's not what I'm saying.

21             The -- in fact, basically we did this in the 2009

22             NRC report.        We listed a bunch of LOAELs and

23             NOAELs for human exposures.

24                        Those are -- in that case those were for

25             average, estimated average exposures associated

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1               with either a NOAEL or a LOAEL for human studies.

2      BY MS. CARFORA:

3               Q.      In your scientific opinion, which

4      approach should be used for identifying a point of

5      departure of neurotoxicity from fluoride exposure?

6                       MR. CONNETT:     Incomplete hypothetical.

7                       THE WITNESS:     I think you need to look at

8               the human data and you need to look at the animal

9               data and --

10     BY MS. CARFORA:

11              Q.      And do what with it?

12              A.      And run it both ways.

13              Q.      At some point you have to pick one,

14     right?

15              A.      Sure, but you don't have to do that too

16     soon.

17              Q.      What does that mean?       What would be too

18     soon?     Is it too soon right now to do that?

19                      MR. CONNETT:     Vague and ambiguous.

20                      THE WITNESS:     If you -- if you pick a

21              study too early in the evaluation process, you may

22              miss something else, but if you do it with -- with

23              several endpoints, and with the human and the

24              animal, you're probably going to see some

25              convergence if you're looking at something

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1               similar, at endpoints that are reasonably

2               comparable.

3      BY MS. CARFORA:

4               Q.      I'm just trying to understand what your

5      opinion is here.

6                       Is it your opinion that there's -- what

7      is your opinion here?

8                       MR. CONNETT:     Vague and ambiguous.

9      BY MS. CARFORA:

10              Q.      I mean, in order to do a dose-response

11     assessment you have to have a point of departure; isn't

12     that right?

13              A.      The point of departure is selected from

14     the dose-response information.

15              Q.      Okay.   And so -- but if you're -- if

16     you're going to do a dose-response assessment, you have

17     to have a point of departure, correct?

18              A.      That's what I just said.        You look at the

19     dose responses information and from that you select the

20     point of departure.

21              Q.      Okay.   So with the -- you have reviewed

22     the existing body of evidence for fluoride; isn't that

23     right?

24              A.      A lot of it.

25              Q.      Okay.   But you did not do a systematic

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1      review; is that right?

2             A.        That's correct.

3             Q.        Okay.   And why did you decide not to do a

4      systematic review?

5             A.        There's not enough time in the framework

6      of this case.     I didn't wish to bankrupt my client.          It

7      takes a lot of time and effort to do that kind of thing

8      in detail.

9                       There have been some systematic reviews.

10     There have been a lot of literature reviews already.

11     It was not -- not my place to do a formal systematic

12     review.

13                      I'm merely -- my -- my purpose has been

14     merely to say this kind of information is out there.

15     If EPA does its homework, this is the kind of thing

16     they can expect to see.

17            Q.        Okay.   So you just -- you're -- okay.         So

18     you just let EPA know it's out there, but are you

19     offering an opinion on what that data means?

20            A.        I offer an opinion that these data mean

21     that current levels of exposure in the United States

22     are not safe.

23            Q.        Okay.   Well, if that's your opinion, what

24     is the level -- what is the point of departure?

25            A.        You can take several.       I looked at animal

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1      points of departure from animal studies in this report.

2                       You could take some of the things from

3      the NRC 2006, 2009 reports, and use a point of

4      departure.    You can be very -- I don't know what the

5      word would be, simplistic about it and take the -- the

6      current MCLG that the NRC said was not protective, so

7      it's -- it's not a no-effect level, it probably isn't

8      the lowest effect level for those endpoints, the

9      skeletal and dental effects.

10                      I think you could call it a frank effect

11     level and say, well, we have in enough EPA documents

12     that if you don't have a no effect level on point,

13     you've got as a lowest effect level, a NOAEL, but you

14     need a factor of ten in there.

15                      If you take that factor of ten with the

16     MCLG, then I think you can feel confident that a safe

17     level is not going to be above that and it could, in

18     fact, be even lower.      You've got a variety of points of

19     departure.

20            Q.        Okay.   Which one, in your opinion, which

21     approach should be used to identify a point of

22     departure for the endpoint of neurotoxicity?

23                      MR. CONNETT:     Beyond the scope.

24     BY MS. CARFORA:

25            Q.        I'm sorry.     Are you not offering an

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1      opinion on that?      You don't have an opinion?        I'm

2      sorry, let's back up.

3                        MS. CARFORA:    Can you repeat my question

4              for me?

5                        (Last question read.)

6                        THE WITNESS:    You've got the prospective

7              studies in humans showing neurotoxic effects from

8              prenatal exposure and probably early childhood

9              exposure also.     You've got animal studies showing

10             neurotoxic effects.      I think all those need to be

11             looked at and you-- you pick the most sensitive of

12             those for your point of departure.

13     BY MS. CARFORA:

14             Q.        Okay.   So you don't have an opinion on

15     that?

16                       MR. CONNETT:    Misstates testimony.

17                       THE WITNESS:    I'm not going to be the one

18             that selects the individual study.

19     BY MS. CARFORA:

20             Q.        So you have not done that, you have not

21     picked --

22             A.        I -- I have provided examples of the RfD

23     you would get from several different possibilities.

24     You've got the Bartos animal studies with a lowest

25     effect level of five milligrams per kilogram per day.

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1             Q.        If -- if you're not going to be the

2      person who picks the point of departure, who is going

3      to be the person that picks the point of departure?

4                       MR. CONNETT:     Lacks foundation.

5                       THE WITNESS:     I would assume that -- that

6             -- that EPA would do that.

7      BY MS. CARFORA:

8             Q.        So you believe that it should be -- you

9      believe that your role here is to provide the available

10     information and that EPA should then, based on the

11     information you provided, choose a study that it would

12     use for a point of departure?

13                      MR. CONNETT:     Overbroad.     Vague and

14            ambiguous and lacks foundation.

15                      THE WITNESS:     EPA should look at the

16            information provided by several experts including

17            its own, and -- and do its due diligence to select

18            a point of departure and set -- and set the limits

19            it needs to set.

20     BY MS. CARFORA:

21            Q.        If you -- if time and money were not

22     factors in this particular litigation, would you have

23     preferred to conduct a systematic review?

24            A.        Michael has seen my office.          I -- I like

25     to look at all of the information that's available.

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1      It's not always possible.

2                        With the NRC report I did try to look at

3      -- at everything that was available to me.            There's

4      always the -- you look at somebody's reference list,

5      and there's one more paper that you didn't know

6      existed.      So it -- you have to cut it off somewhere, or

7      it becomes an endless -- an endless thing.

8                        But the -- there's also the case that

9      once you have the -- the main set of literature on a

10     topic, if you add to that, then does it change this,

11     does it not change this.        I would be surprised if I

12     missed something really important, significant that --

13     that nobody has told me has been published and is out

14     there.

15              Q.       So nobody has told you.       So just to be

16     clear, you haven't done any type of search on your own?

17              A.       Oh, I do literature searches myself, too,

18     and I -- I think I've got the important set of stuff.

19     That's why I say I'd be surprised if somebody told me

20     that I -- I missed something or that if I did another

21     search and there's something that's been sitting there

22     for five years and I didn't know about it.

23              Q.       In preparing your expert report, did you,

24     yourself, conduct a search for literature?

25              A.       Yes.

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1                       (Last question read.)

2                       MR. CONNETT:      Same objection.

3                       THE WITNESS:      I think your question is

4               whether the court and the EPA should use the same

5               criteria.

6      BY MS. CARFORA:

7               Q.      Well, if that's how you understand my

8      question let's -- why don't you answer that then?

9               A.      What's your question?

10              Q.      What's your -- what's your opinion on

11     that?     Should -- in your opinion, should the court be

12     using the same reasonableness criteria that EPA is

13     using?

14                      MR. CONNETT:      Calls for a legal opinion.

15                      THE WITNESS:      I have no idea what the

16              court should use.

17     BY MS. CARFORA:

18              Q.      Okay.    What would you --

19              A.      In terms of ordinary assessment of

20     whether something is an unreasonable risk, these

21     criteria would -- would hold generally as a human

22     health hazard.

23                      The extent of exposure is large.         The

24     estimated margin between the toxic effect level and the

25     human exposure is small.

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1      BY MS. CARFORA:

2             Q.        Okay.    But you, I mean, expressly said in

3      section E that fluoridation presents an unreasonable

4      risk as defined by EPA.       So you, yourself, relied on

5      EPA's criteria; is that right?

6             A.        I didn't say "as defined."           I said EPA

7      considers these basic things.

8             Q.        Well, the heading section, section E is

9      titled "Fluoridation chemicals present an unreasonable

10     risk of neurotoxicity as defined by EPA."

11                      Is that not what it says?

12            A.        Well, then it -- that applies to the

13     whole section, not just a few sentences.

14            Q.        Okay.    But you did -- the first section

15     is -- it has a footnote, right, 490, footnote 490?

16            A.        Right.

17            Q.        Okay.    In footnote 490 you reference a

18     number of EPA documents, don't you?

19            A.        Right.

20            Q.        So you did, in fact, rely on EPA's

21     criteria in forming your own opinion; is that right?

22            A.        Some of that -- that language came from

23     those EPA reports, whether or not EPA calls those

24     criteria, but those -- those are the things that EPA

25     would report or anybody else should use.

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1               Q.       Okay.     Are you aware that the documents

2      that you cited to are documents that were created under

3      TSCA section five?

4               A.       Yes.     That would -- that's the new

5      chemicals and those are the ones that I said were

6      basically for short screening assessments, but the --

7      the same principles would apply for new chemicals --

8      excuse me, for -- for existing chemicals.

9                        The same criteria apply regardless of the

10     context.      If the human exposure is extensive and high

11     enough and there's toxic effects, then -- then this

12     needs more attention.

13              Q.       You said that they are manufacturing

14     notices, right?         So section five of TSCA, you just

15     described as short screening assessments; is that

16     right?

17              A.       Uh-huh.

18              Q.       Okay.     Do you think EPA should provide a

19     short screening assessment on fluoride?

20              A.       No.

21              Q.       Do you think EPA should do something more

22     substantial?

23              A.       I think EPA should have done something

24     more substantial at several points in the last few

25     decades.      On -- yeah, it needs to be more substantial,

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1      but the same basic considerations still apply of the

2      human health hazard, the extent of human exposure and

3      the level of toxicity.

4             Q.        In all your work doing risk assessments

5      in the past 30 years; is that right?

6             A.        Something like.

7             Q.        Sorry?

8             A.        Something like.

9             Q.        Okay.    In all of your time doing risk

10     assessments, have you ever conducted a short screening

11     assessment to make a determination as to hazard

12     identification or dose-response?

13            A.        Part of that Oak Ridge dose

14     reconstruction project that you have the summary

15     reports for was to -- part of it we set up a screening

16     assessment to determine what of all of the long list of

17     things we -- that were discovered in all those boxes of

18     documents, which -- which ones needed more evaluation

19     and which ones did not need a whole lot.

20                      So I helped design that method and I'm

21     familiar with the purpose of screening assessments.

22            Q.        Okay.    Does it make any difference to you

23     that plaintiffs in this matter have petitioned EPA to

24     make a rule under section six of TSCA?

25                      MR. CONNETT:     Calls for a legal opinion.

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1                        THE WITNESS:    I'm not into all the

2             details, so that the legal parts are not in my

3             scope.

4                        Section six, as I understand it, is for

5             the existing chemicals.        I see no reason why

6             things for new chemicals should be inconsistent in

7             terms of the kinds of things.

8                        The section five ones in many cases will

9             not take much of an assessment because there's not

10            much of the information in, and especially there's

11            not much exposure.

12                       Fluoride you've got considerable exposure

13            of a large fraction of the population, and the --

14            the same considerations apply.          It's just they --

15            they do need to be addressed in more detail.

16     BY MS. CARFORA:

17            Q.         Okay.   Does learning that the plaintiffs

18     in this case petitioned EPA to make a rule under

19     section six, does that change your opinion at all on

20     whether it would be appropriate to apply criteria

21     listed under section five as opposed to section six?

22                       MR. CONNETT:    Asked and answered.

23                       THE WITNESS:    As I have said, the -- the

24            same considerations apply.         How people are

25            exposed?     What levels of exposure?          What are the

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1             toxic effects?

2                       It doesn't matter if it's a new chemical

3             or an existing chemical or -- you can't go saying

4             the number of people affected counts for new

5             chemicals, but -- but has no relevance to existing

6             chemicals.    You can't --

7      BY MS. CARFORA:

8             Q.        Well, let's clarify this.            Fluoride is

9      not a new chemical, correct?

10            A.        That's correct.

11            Q.        Fluoride is an existing chemical,

12     correct?

13            A.        Correct.

14            Q.        Fluoride naturally occurs, people have

15     been adding fluoride to water since at least the 1950s;

16     is that correct?

17            A.        Not all fluoride is naturally occurring.

18     Fluoride has been added to at least some drinking water

19     since, I think the 1940s.

20            Q.        Okay.   So there -- and there is a

21     plethora of information, literature available as to

22     fluoride and potential effects; is that right?

23            A.        There is a large body of information of

24     widely variable quality.        There is not good information

25     that clearly establishes safety as currently used.

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1             Q.        Okay.   But you agree fluoride is not a

2      new chemical, correct?

3             A.        It's not a new chemical.

4             Q.        Okay.   So I just want to understand.         The

5      basis for your application of section five to fluoride

6      is because they're general tenets of risk assessment

7      that should apply regardless of whether it's a new

8      chemical or an existing chemical; is that right?

9             A.        Those -- those are general tenets that

10     should apply and it is language that the EPA has used.

11            Q.        Okay.   But it is an existing distinction

12     that the statute makes, right, between new chemicals

13     and existing chemicals; isn't that right?

14            A.        But the -- the tenets of risk assessment

15     should apply to either.

16            Q.        Sure.   But the idea under section five is

17     that a manufacturer that wants to come to the market

18     with a new chemical is the only person, so to speak,

19     that has information about that chemical that they can

20     offer; you understand that?

21                      MR. CONNETT:     Overbroad.

22                      THE WITNESS:     I understand that that

23            could be the case.

24     BY MS. CARFORA:

25            Q.        Okay.   And understand the purpose of

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1      BY MS. CARFORA:

2             Q.        Okay.    So just so I understand.       The risk

3      assessment, the steps of hazard identification, the

4      dose-response assessment, the exposure assessment and

5      then the risk characterization; is that right?

6                       And then the risk evaluation under TSCA

7      requires EPA to go one step further and that is to make

8      a determination as to whether the risk characterization

9      is unreasonable or not.

10                      Do you understand that?

11            A.        Whether the risk characterization is

12     unreasonable in terms of accuracy or in terms of we

13     need to do something?

14            Q.        In terms of we need to do something.

15                      Do you understand that?

16            A.        Yes.

17            Q.        Okay.    So it's an additional step that

18     does not exist in normal risk assessment.

19                      You understand that?

20            A.        Right.

21            Q.        Okay.    So I just, you know, I just want

22     to understand.     You have not done a risk evaluation

23     under section six here, have you?

24                      MR. CONNETT:     Vague and ambiguous.

25            Misstates testimony.

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1                       THE WITNESS:     That would be -- well, to

2              -- to meet EPA's requirements for something for a

3              term with a specific definition is going to be

4              outside of the scope of what I can do.

5      BY MS. CARFORA:

6              Q.       Why do you say that?

7              A.       Because I'm not an EPA staff member.

8              Q.       Are you aware that EPA offered guidance

9      to the public to help them draft risk evaluations under

10     TSCA?

11             A.       I saw that somewhere.

12             Q.       Okay.   When did you see that, the

13     guidance?

14             A.       Somewhere in the last few weeks.

15             Q.       Okay.   So you were not aware prior to

16     doing this report that EPA provided guidance for people

17     in the general public to provide draft risk evaluations

18     under TSCA?

19             A.       I don't think I saw the specific --

20             Q.       Okay.

21             A.       -- something labeled members of the

22     public.

23             Q.       If you had known that that existed, would

24     that -- would you have followed that guidance as

25     opposed to using section five?

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1                       MR. CONNETT:     Incomplete hypothetical.

2                       THE WITNESS:     Very possible I would have

3             put both of them in there.

4      BY MS. CARFORA:

5             Q.        Okay.   And -- and why do you say that?

6             A.        Because basically every set of criteria

7      or every set of language from various EPA contexts,

8      fluoride would qualify as a chemical that needs further

9      evaluation.

10            Q.        Further evaluation, but you don't have an

11     opinion as to whether it's a reasonable risk or not,

12     right, because the evaluation is not done?

13                      MR. CONNETT:     Misstates the testimony.

14                      THE WITNESS:     Fluoride would constitute

15            an unreasonable risk regardless of which set of

16            EPA language you use.

17     BY MS. CARFORA:

18            Q.        And how do you know that if the

19     assessment is not done?

20            A.        Well, because the -- a large fraction of

21     the population is exposed, two hundred million people.

22     The exposures are high enough to cause a toxic effect.

23                      The toxic effects are there.         That would

24     be an informal evaluation, but it -- it's enough to say

25     that an unreasonable risk appears.

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1             Q.        You testified earlier that you were not

2      in a position to identify a point of departure for

3      neurotoxic -- neurotoxic effects of fluoride.

4                       MR. CONNETT:     Misstates testimony.

5      BY MS. CARFORA:

6             Q.        Did you not testify?

7             A.        There are several possible points of

8      departure.    They all should be examined.

9             Q.        As possible points of departure, right?

10            A.        Sure.

11            Q.        But you are unwilling to identify any one

12     particular point of departure that should be used for

13     the purposes of risk assessment?

14            A.        I'm not --

15                      MR. CONNETT:     Vague and ambiguous.

16            Misstates testimony.

17                      THE WITNESS:     I'm not going to say that

18            one particular study should be used, and others

19            should be ignored.

20     BY MS. CARFORA:

21            Q.        So if you are not willing to identify a

22     point of departure, how could you identify -- how could

23     you -- how could you even do an exposure assessment if

24     you haven't identified a point of departure yet?

25                      MR. CONNETT:     Misstates the record.

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1                          THE WITNESS:     We -- we did identify

2               several possible points of departure and we did

3               follow those through into --

4      BY MS. CARFORA:

5               Q.         I understand that you --

6               A.         -- into RfDs.

7               Q.         I understand you identified potential

8      points but, in your scientific judgment, you do risk

9      assessments.

10                         Which one of those points of departure

11     should be used?

12              A.         The most sensitive.

13              Q.         Which one is the most sensitive?

14              A.         The lowest one.

15              Q.         Okay.     Which one is the lowest one, which

16     study?        The lowest animal point of departure are you

17     talking about now, or human?

18              A.         I haven't done it for the humans.        But

19     for the -- for the animal studies that would probably

20     have been Bartos.           That would have -- that would have

21     -- would come up with an RfD, several orders of 92

22     below the Office of Water's RfD.

23              Q.         So you're using, but we said -- are you

24     using the Office of Water's RfD or are you picking a

25     new RfD?

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1              A.       The Office of Water has an RfD.         There's

2      still an RfD in IRIS.        Neither of those is protective.

3      If you take the Bartos study and calculate a new RfD,

4      it would be waters of 92 below either of the existing

5      ones.

6              Q.       Okay.   And that's after applying five

7      uncertainty factors; is that right?

8                       MR. CONNETT:     Misstates the record.

9                       THE WITNESS:     Four.

10     BY MS. CARFORA:

11             Q.       Four.   It's actually five, right, because

12     you already included an uncertainty factor of ten in

13     the study itself?

14                      MR. CONNETT:     Misstates the record.

15                      THE WITNESS:     That's not correct.

16     BY MS. CARFORA:

17             Q.       That's not correct?       What page are you

18     on?

19             A.       You're talking about the LOAEL-to-NOAEL?

20             Q.       Yeah.

21             A.       Oh, okay.

22             Q.       Yeah, so it's five, correct?

23             A.       That's -- that's --

24                      MR. CONNETT:     Misstates the record.

25                      THE WITNESS:     That's not an uncertainty

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1             Q.        Which table was that?

2             A.        Table 1, page nine.

3             Q.        Oh, this was the table that counsel was

4      asking questions about earlier, correct?

5             A.        Yes.

6             Q.        Okay.   So you -- these -- the IRIS

7      assessments that you looked at, they were assessments

8      that considered the neurotoxicity literature according

9      to the EPA's guidelines for neurotoxicity risk

10     assessment?

11            A.        Yes.

12            Q.        Do the guidelines provide criteria and

13     considerations for how we review scientific literature

14     on neurotoxicity?

15            A.        They give at least some of that

16     information, and they -- they tell the types and kinds

17     of studies that would constitute sufficient cause to be

18     looking seriously at neurotoxicity.

19            Q.        Okay.   And when you assessed the

20     literature, did you assess the literature according to

21     the considerations and methods and principles set forth

22     in the guidelines?

23                      MS. CARFORA:     Objection, leading.

24                      THE WITNESS:     Yes.

25     BY MR. CONNETT:

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1             Q.        Do the -- do EPA's guidelines for

2      neurotoxicity risk assessment, do they require

3      systematic reviews?

4             A.        No.

5             Q.        Dr. Chang, did you read her report in

6      this case?

7             A.        Yes.

8                       MS. CARFORA:     Objection, scope.

9      BY MR. CONNETT:

10            Q.        Okay.   Did Dr. Chang -- do you understand

11     that Dr. Chang -- strike that.

12                      Did Dr. Chang perform any systematic

13     review?

14                      MS. CARFORA:     Objection, scope.

15                      THE WITNESS:     I believe she said she did,

16            yes.

17     BY MR. CONNETT:

18            Q.        Okay.   Did Dr. Chang identify studies

19     that you did not discuss in your report?

20                      MS. CARFORA:     Objection, scope.

21                      THE WITNESS:     She may have had some that

22            I didn't, but I did not discuss the entire set of

23            epidemiologic papers.

24     BY MR. CONNETT:

25            Q.        If she identified studies of fluoride

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1      that found or reported adverse effects -- adverse

2      neurotoxic effects from fluoride exposure, if she

3      identified such studies and you did not discuss those

4      studies in your report, should we conclude that you

5      were biased in your assessment of the literature?

6                        MS. CARFORA:       Objection, scope.       Scope

7              and hypothetical and complex question.              Compound

8              question.

9                        THE WITNESS:       If she discussed reports

10             finding an effect --

11                       MR. CONNETT:       Right.

12                       THE WITNESS:       -- that would simply

13             support what I had.

14     BY MR. CONNETT:

15             Q.        Okay.    Now, Dr. Chang discusses a -- an

16     abstract by Dr. Bruce Spittle that was published in

17     1998.

18                       Are you familiar at all with that

19     abstract?

20                       MS. CARFORA:       Objection, scope.

21                       THE WITNESS:       I looked it up after I saw

22             her report.

23     BY MR. CONNETT:

24             Q.        Do you recall whether Dr. Spittle in his

25     abstract identified controlling for any confounding

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                          Exhibit A
        Adkins Declaration, Exhibit 07
                      Bashash 2017
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Research                                                        A Section 508–conformant HTML version of this article
                                                                                                                   is available at https://doi.org/10.1289/EHP655.




Prenatal Fluoride Exposure and Cognitive Outcomes in Children at 4 and 6–12
Years of Age in Mexico
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BACKGROUND: Some evidence suggests that ﬂuoride may be neurotoxic to children. Few of the epidemiologic studies have been longitudinal, had
individual measures of ﬂuoride exposure, addressed the impact of prenatal exposures or involved more than 100 participants.
OBJECTIVE: Our aim was to estimate the association of prenatal exposure to ﬂuoride with oﬀspring neurocognitive development.
METHODS: We studied participants from the Early Life Exposures in Mexico to Environmental Toxicants (ELEMENT) project. An ion-selective elec-
trode technique was used to measure ﬂuoride in archived urine samples taken from mothers during pregnancy and from their children when 6–12 y
old, adjusted for urinary creatinine and speciﬁc gravity, respectively. Child intelligence was measured by the General Cognitive Index (GCI) of the
McCarthy Scales of Children’s Abilities at age 4 and full scale intelligence quotient (IQ) from the Wechsler Abbreviated Scale of Intelligence
(WASI) at age 6–12.
RESULTS: We had complete data on 299 mother–child pairs, of whom 287 and 211 had data for the GCI and IQ analyses, respectively. Mean (SD)
values for urinary ﬂuoride in all of the mothers (n = 299) and children with available urine samples (n = 211) were 0:90 ð0:35Þ mg=L and
0:82 ð0:38Þ mg=L, respectively. In multivariate models we found that an increase in maternal urine ﬂuoride of 0:5 mg=L (approximately the IQR)
predicted 3.15 (95% CI: −5:42, −0:87) and 2.50 (95% CI −4:12, −0:59) lower oﬀspring GCI and IQ scores, respectively.
CONCLUSIONS: In this study, higher prenatal ﬂuoride exposure, in the general range of exposures reported for other general population samples of
pregnant women and nonpregnant adults, was associated with lower scores on tests of cognitive function in the oﬀspring at age 4 and 6–12 y. https://
doi.org/10.1289/EHP655


Introduction                                                                       standards for intentional drinking-water ﬂuoridation. In 2006 the
Community water, salt, milk, and dental products have been ﬂuo-                    U.S. EPA asked the U.S. National Research Council (NRC) to
ridated in varying degrees for more than 60 y to prevent dental                    reevaluate the existing U.S. EPA standards for ﬂuoride contamina-
caries, while ﬂuoride supplementation has been recommended to                      tion, including the maximum contaminant level goal (MCLG, a
prevent bone fractures (Jones et al. 2005). In addition, people                    concentration at which no adverse health eﬀects are expected) of
may be exposed to ﬂuoride through the consumption of naturally                     4 mg=L, to determine if the standards were adequate to protect pub-
contaminated drinking water, dietary sources, dental products,                     lic health (Doull et al. 2006). The committee concluded that the
and other sources (Doull et al. 2006). Whereas ﬂuoride is added                    MCLG of 4 mg=L should be lowered because it puts children at
to drinking water [in the United States at levels of 0:7–1:2 mg=L                  risk of developing severe enamel ﬂuorosis, and may be too high to
(Doull et al. 2006)] to promote health, populations with exception-                prevent bone fractures caused by ﬂuorosis (Doull et al. 2006). The
ally high exposures, often from naturally contaminated drinking                    Committee also noted some experimental and epidemiologic evidence
water, are at risk of adverse health eﬀects, including ﬂuorosis.                   suggesting that ﬂuoride may be neurotoxic (Doull et al. 2006).
    In the United States, the U.S. Environmental Protection                            The National Toxicology Program (NTP) recently reviewed
Agency (EPA) is responsible for establishing maximum permissi-                     animal studies on the eﬀects of ﬂuoride on neurobehavioral out-
ble concentrations of contaminants, including ﬂuoride, in public                   comes and concluded that there was a moderate level of evidence
drinking-water systems. These standards are guidelines for restrict-               for adverse eﬀects of exposures during adulthood, a low level of
ing the amount of ﬂuoride contamination in drinking water, not                     evidence for eﬀects of developmental exposures on learning and
                                                                                   memory, and a need for additional research, particularly on the
                                                                                   developmental eﬀects of exposures consistent with those result-
  Please send correspondence to M. Bashash, Dalla Lana School of Public            ing from water ﬂuoridation in the United States (Doull et al.
Health, 6th ﬂoor, 155 College St., Toronto, Ontario M5R3M7 Canada.                 2006; NTP 2016). Human studies have shown a direct relation-
Telephone: +1-416-978-6512. Email: m.bashash@utoronto.ca                           ship between the serum ﬂuoride concentrations of maternal ve-
  Supplemental Material is available online (https://doi.org/10.1289/EHP655).
  The authors declare they have no actual or potential competing ﬁnancial          nous blood and cord blood, indicating that the placenta is not a
interests.                                                                         barrier to the passage of ﬂuoride to the fetus (Shen and Taves,
  Received 14 June 2016; Revised 8 May 2017; Accepted 9 May 2017;                  1974). Fluoride was shown to accumulate in rat brain tissues after
Published 19 September 2017.                                                       chronic exposures to high levels, and investigators have specu-
  Note to readers with disabilities: EHP strives to ensure that all journal        lated that accumulation in the hippocampus might explain eﬀects
content is accessible to all readers. However, some ﬁgures and Supplemental
                                                                                   on learning and memory (Mullenix et al. 1995). An experimental
Material published in EHP articles may not conform to 508 standards due to the
complexity of the information being presented. If you need assistance accessing    study on mice has shown that ﬂuoride exposure may have
journal content, please contact ehponline@niehs.nih.gov. Our staﬀ will work with   adverse eﬀects on neurodevelopment, manifesting as both cogni-
you to assess and meet your accessibility needs within 3 working days.             tive and behavioral abnormalities later in life (Liu et al. 2014).


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    Most epidemiologic studies demonstrating associations between    blood lead levels (Ettinger et al. 2009). Eligibility criteria were
ﬂuoride exposure and lower neuropsychological indicators have        the same as for Cohort 2A, and 670 agreed to participate.
been conducted in populations living in regions with endemic
ﬂuorosis that are exposed to high levels of ﬂuoride in contami-      Exposure Assessment
nated drinking water. The epidemiologic evidence is limited,         By virtue of living in Mexico, individuals participating in the
however, with most studies using an ecologic design to estimate      study have been exposed to ﬂuoridated salt (at 250 ppm)
childhood exposures based on neighborhood measurements of            (Secretaría-de-Salud 1995, 1996) and to varying degrees of natu-
ﬂuoride (e.g., drinking water levels) rather than personal expo-     rally occurring ﬂuoride in drinking water. Previous reports, based
sure measures. Moreover, almost all existing studies of childhood    on samples taken from diﬀerent urban and rural areas, indicate
outcomes are cross-sectional in nature, rendering them weak con-     that natural water ﬂuoride levels in Mexico City may range from
tributors towards causal inference.                                  0.15 to 1:38 mg=L (Juárez-López et al. 2007; Martínez-Mier
    The main objective of this study was to assess the potential     et al. 2005). Mean ﬂuoride content for Mexico City’s water sup-
impact of prenatal exposures to ﬂuoride on cognitive function        ply is not available because ﬂuoride is not reported as part of
and test hypotheses related to impacts on overall cognitive func-    water quality control programs in Mexico.
tion. We hypothesized that ﬂuoride concentrations in maternal            Mother–child pairs with at least one archived urine sample from
urine samples collected during pregnancy, a proxy measure of         pregnancy and measures of neurocognitive function in the oﬀspring
prenatal ﬂuoride exposure, would be inversely associated with        were included in this study. In terms of when the archived samples
cognitive performance in the oﬀspring children. Overall, to our      were collected, the pregnant mothers were invited for assessments
knowledge, this is one of the ﬁrst and largest longitudinal epide-   with the collection of samples during trimester 1 (13:6 ± 2:1 wk for
miologic studies to exist that either address the association of     Cohort 3 and 13:7 ± 3:5 wk for Cohort 2A), trimester 2
early life exposure to ﬂuoride to childhood intelligence or study    (25:1 ± 2:3 wk for Cohort 3 and 24:4 ± 2:9 wk for Cohort 2A), and
the association of ﬂuoride and cognition using individual bio-       trimester 3 (33:9 ± 2:2 wk for Cohort 3 and 35:0 ± 1:8 wk for
marker of ﬂuoride exposure.                                          Cohort 2A).
                                                                         A spot (second morning void) urine sample was targeted for
Methods                                                              collection during each trimester of pregnancy of ELEMENT
This is a longitudinal birth cohort study of measurements of ﬂuo-    mothers as well as the oﬀspring children at the time of their
ride in the urine of pregnant mothers and their oﬀspring (as indi-   measurements of intelligence at 6–12 y old. The samples were
cators of individual prenatal and postnatal exposures to ﬂuoride,    collected into ﬂuoride-free containers and immediately frozen at
respectively) and their association with measures of oﬀspring        the ﬁeld site and shipped and stored at −20 C at the Harvard T.
cognitive performance at 4 and 6–12 y old. The institutional         H. Chan School of Public Health (HSPH), and then at −80 C at
review boards of the National Institute of Public Health of          the University of Michigan School of Public Health (UMSPH).
Mexico, University of Toronto, University of Michigan, Indiana           A procedure for urine analysis of ﬂuoride described elsewhere
University, and Harvard T.H. Chan School of Public Health and        (Martínez-Mier et al. 2011) was adapted and modiﬁed for this
participating clinics approved the study procedures. Participants    study. The ﬂuoride content of the urine samples was measured
were informed of study procedures prior to signing an informed       using ion-selective electrode-based assays. First, 3 M sulfuric
consent required for participation in the study.                     acid saturated with hexamethyldisiloxane (HMDS) was added to
                                                                     the sample to allow ﬂuoride to diﬀuse from the urine for
Participants                                                         20–24 hr. The diﬀused ﬂuoride was allowed to collect in 0.05 M
                                                                     of sodium hydroxide on the interior of the petri dish cover. Once
Mother–child pairs in this study were participants from the suc-     the diﬀusion was complete, 0.25 M of acetic acid was added to
cessively enrolled longitudinal birth cohort studies in Mexico       the sodium hydroxide to neutralize the solution and then analyzed
City that comprise the Early Life Exposures in Mexico to             directly using a ﬂuoride ion-selective electrode (Thermo Scientiﬁc
Environmental Toxicants (ELEMENT) project. Of the four               Orion, Cat#13-642-265) and pH/ISE meter (Thermo Scientiﬁc
ELEMENT cohorts [that have been described elsewhere (Afeiche         Orion, Cat#21-15-001). All electrode readings (in millivolts) were
et al. 2011)], Cohort 1 and Cohort 2B recruited participants at      calculated from a standard curve. Analyses were performed in a
birth and did not have archived maternal-pregnancy urine sam-        Class 100/1,000 clean room. Quality control measures included
ples required for this analysis; they were thus excluded. Mothers    daily instrument calibration, procedural blanks, replicate runs,
for Cohort 2A (n = 327) and 3 (n = 670) were all recruited from      and the use of certiﬁed reference materials (Institut National de
the same three hospitals in Mexico City that serve low-to-           Santé Publique du Québec, Cat #s 0910 and 1007; NIST3183,
moderate income populations. Cohort 2A was an observational          Fluoride Anion Standard). Urinary ﬂuoride concentrations were
study of prenatal lead exposure and neurodevelopmental out-          measured at the UMSPH and the Indiana University Oral Health
comes in children (Hu et al. 2006). Women who were planning          Research Institute (OHRI) as previously described (Thomas et al.
to become pregnant or were pregnant were recruited during May        2016). A validation study comparing measures taken by the two
1997–July 1999 and were considered eligible if they consented to     labs in the same samples revealed a between-lab correlation of
participate; were ≤14 wk of gestation at the time of recruitment;    0.92 (Thomas et al. 2016).
planned to stay in the Mexico City study area for at least               There were a total of 1,484 prenatal samples measured at
5 y; did not report a history of psychiatric disorders, high-        the UMSPH lab. All of these samples were measured in dupli-
risk pregnancies, gestational diabetes; did not report current       cate. Of these, 305 (20%) of them did not meet the quality con-
use of daily alcohol, illegal drugs, and continuous prescription     trol criteria for ion-selective electrode-based methods (i.e.,
drugs; and were not diagnosed with preeclampsia, renal disease,      RSD <20% for samples with F level <0:2 ppm or RSD <10%
circulatory diseases, hypertension, and seizures during the index    when F level >0:2 ppm) (Martinez-Mier et al. 2011). Of these
pregnancy.                                                           305, 108 had a second aliquot available and were successfully
    Cohort 3 mothers were pregnant women (≤14 wk of gesta-           measured at the OHRI lab in Indiana (suﬃcient urine volume
tion) recruited from 2001 to 2003 for a randomized trial of the      was not available for the remaining 197 samples). The OHRI lab
eﬀect of calcium supplementation during pregnancy on maternal        in Indiana also measured an additional 289 samples. Of the 397


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total samples measured at the OHRI lab in Indiana, 139 (35%)          evaluated by having all three psychologists participate in assess-
were measured in duplicate, for which >95% complied with the          ments on a set of 30 individuals. For these 30, the inter-examiner
quality control criteria above; thus, all 139 values were retained.   reliability of the psychologists was evaluated by calculating the
The remaining 258 (65%) were not measured in duplicate                correlation in GCI scores by two of the psychologists with the
because of limitations in available urine volume, but were            scores of a third psychologist whom they observed applying
included in the study given the excellent quality control at the      the test in all three possible combinations with 10 participants
OHRI lab. In total, we ended up with 1,576 prenatal urine sam-        for each observers–examiner pair (i.e., psychologist A (applicant)
ples with acceptable measures of ﬂuoride.                             was observed by psychologist B and psychologist C; psychologist
    Of these 1,576 urine samples, 887 also had data on urinary        B (applicant) was observed by psychologist A and psychologist C;
creatinine and were associated with mother–oﬀspring pairs who         and psychologist C (applicant) was observed by psychologist A
had data on the covariates of interest and GCI or IQ in the oﬀ-       and psychologist B). The mean observer–examiner correlation
spring. The urinary creatinine data were used to correct for          was 0.99. All raw scores were standardized for age and sex
variations in urine dilution at the time of measurement (Baez         (McCarthy 1991). Inter-examiner reliability was not examined
et al. 2014). Creatinine-adjusted urinary ﬂuoride concentrations      on the WASI test.
were obtained for each maternally derived sample by dividing
the ﬂuoride concentration (MUF) in the sample by the sample’s         Measurement of Covariates
creatinine concentration (MUC), and multiplying by the average
creatinine concentration of samples available at each trimester       Data were collected from each subject by questionnaire on mater-
(MUCaverage ) using the formula: ðMUF=MUCÞ × MUCaverage .             nal age (and date of birth), education, and marital status at the
The values of average creatinine concentration used for the           ﬁrst pregnancy visit; on birth order, birth weight, and gestational
MUCaverage at each trimester were derived from the larger pool        age at delivery; and on maternal smoking at every prenatal and
of trimester-1, -2, and -3 samples from Cohorts 2A and 3 exam-        postnatal visit. Gestational age was estimated by registered
ined in our previous report on maternal ﬂuoride biomarker levels      nurses. Maternal IQ was estimated using selected subtests of the
(Thomas et al. 2016): 100.81, 81.60, and 72.41 (mg/L), respec-        Wechsler Adult Intelligence Scale (WAIS)-Spanish (Information,
tively. For each woman, an average of all her available               Comprehension, Similarities, and Block Design), which was
creatinine-adjusted urinary ﬂuoride concentrations during preg-       standardized for Mexican adults (Renteria et al. 2008; Wechsler
nancy (maximum three samples and minimum one sample) was              et al. 1981). Maternal IQ was measured at the study visit
computed and used as the exposure measure (MUFcr ). For chil-         6 mo after birth or at the 12-mo visit if the earlier visit was not
dren, as creatinine measurements were not available, urinary ﬂuo-     completed.
ride values (CUF) were corrected for speciﬁc gravity (SG) using           The quality of the children’s individual home environments
the formula CUFsg = CUFð1:02 − 1Þ=ðSG −1Þ (Usuda et al.               was assessed using an age-appropriate version of the HOME
2007).                                                                score. However, the measure was not available for all observa-
    After calculating MUFcr for the 887 urine samples noted           tions because it was only added to on-going cohort evaluation
above, 10 values of MUFcr were identiﬁed as extreme outliers          protocols beginning in April 2003, when a version of the HOME
(>3:5 SDs) and were dropped, leaving 877 measures of MUFcr .          score instrument that is age-appropriate for children 0–5 y old
These 877 measures of MUFcr stemmed from 512 unique moth-             was adopted, following which a version of the HOME score
ers. Of these 512, 71 participants had measurements from each of      instrument that is age-appropriate for children ≥6 y old was
the three trimesters; 224 had measurements from two of the three      adopted in September 2009 (Caldwell and Bradley 2003). Thus,
trimesters (74, T1 and T2; 131, T1 and T3; and 19, T2 and T3);        we adjusted for HOME score using the measures for 0- to 5-y-old
and 217 had measurements from only one of the trimesters (159,        children in the subset of children who had this data in our analy-
T1; 34, T2; and 24, T3).                                              ses of GCI, and we adjusted for HOME score using the measures
                                                                      for >6-y-old children in the subset of children who had this data
Measurement of Outcomes                                               in our analyses of IQ.
At age 4 y, neurocognitive outcomes were measured using a             Statistical Analyses
standardized version of McCarthy Scales of Children’s Abilities
(MSCA) translated into Spanish (McCarthy 1991). MSCA evalu-           Univariate distributions and descriptive statistics were obtained
ates verbal, perceptual-performance, quantitative, memory, and        for all exposure variables, outcome variables, and model covari-
motor abilities of preschool-aged children, and it has previously     ates. For each variable, observations were classiﬁed as outliers if
been successfully used in translated versions (Braun et al. 2012;     they were outside the bounds of the mean ± 3:5 SDs. Primary
Julvez et al. 2007; Kordas et al. 2011; Puertas et al. 2010).         analyses were conducted with exposure and outcome outliers
For this analysis, we focused on the General Cognitive Index          excluded. Statistical tests of bivariate associations were con-
(GCI), which is the standardized composite score produced             ducted using chi-square tests for categorical variables and analy-
by the MSCA (McCarthy 1991). For children 6–12 y old a                sis of variance (ANOVA) to compare the means of the outcomes
Spanish-version of the Wechsler Abbreviated Scale of                  or exposure within groups deﬁned according to the distribution of
Intelligence (WASI) (Wechsler 1999) was administered. WASI            each covariate. Spearman correlation coeﬃcients were used to
includes four subtests (Vocabulary, Similarities, Block Design,       measure the correlation between MUFcr and CUFsg . Regression
and Matrix Reasoning), which provide estimates of Verbal,             models were used to assess the adjusted associations between
Performance, and Full-Scale IQ (Wechsler 1999). Both tests            prenatal ﬂuoride and each neurocognitive outcome separately.
were administered by a team of three psychologists who were           Generalized additive models (GAMs) were used to visualize the
trained and supervised by an experienced developmental psychol-       adjusted association between ﬂuoride exposure and measures of
ogist (L.S.). This team of three psychologists applied all of the     intelligence [SAS statistical software (version 9.4; SAS Institute
McCarthy tests as well as the WASI-FSIQ tests. At the time of         Inc.)]. Because the pattern appeared curvilinear, and because
follow-up visits (age 4 and 6–12 y), each child was evaluated by      GAMs do not yield exact p-values for deviations from linearity,
one of the psychologists who was blind to the children’s ﬂuoride      we used a Wald p-value of a quadratic term of ﬂuoride exposure
exposure. The inter-examiner reliability of the psychologists was     to test the null hypothesis that a quadratic model ﬁt the data better


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                                                            STUDY SUBJECT INCLUSION FLOWCHART


 STUDY BASE (Element Cohorts mothers recru ited at tri mester 1 of pregnancy; i.e. prenata l data ava ilab le)




                      Cohort 2A (1997-2001)                                                                Cohort 3 (2001-2006)                                   Ca (n=334)

                                                                                                                                                              {
                     Observational (N=327)                                                              Supplementation (N=670)                                    Pl acebo (n=336)

          ----------------------------------~---------------------------------
  EXPOSU RE
                                                                                                                                                              2 A ( n=148)
                                    I        Mothers with Fluoride and Creatinine data (N:512)                                         I                    {,3 Ca     (n=183)
                                                                                                                                                                 Pl acebo (n=181)

           -------------- ~ ---------------
 OUTCOM E (AG E 4)
                                                                                       -------------------                          -------------
                               Children with data               { "3 Ca I oom   (
                                                                           (n=lOS)
                               on GCI (N=312)                     3 Pl acebo (n=lOO)
           -----                                               ----------- ------------------                                       --------------
 OUTCOM E (AG E 6-12)

                                                                                                                               ",..
                                                                                                                  Children with data
                                                                                                                   on IQ (N=234)                           {!     A ( n=82)
                                                                                                                                                                  Ca   (n=83)
                                                                                                                                                                 Pl acebo (n =69 )



      l nco mp lete vari ab les(N=35)                                                                                                      Incomp lete vari ab l es(N=23)
          ---------------                    ------------------- ------------------- 1---------------
  FINALA NALYSIS
                                         "'v,..                                                                               "'v'"
              Children with data on GCI                                                                  Children with data on IQ                                A ( n=78)

              and complete covariates                                                                    and complete covariates                                 Ca    (n =75)
                                                                { 3" Ca I"''"'
                                                                         (n=93)                                                                            {:    Placebo (n=58)
                       (N=287)                                    3 Placebo (n=84)                               (N=211)
                                                    fl           ---------              ======                                '"'
                                                    II   Ch ildren w ith comp lete covari ates, data on GCI and IQ (N=199)     ::
                                                    II    Ch ildren w ith comp lete covari ates, data o n GCI Qr IQ (N=299)    II

                                                    ~------------------------------a
Figure 1. Flowchart describing source of mother–oﬀspring subject pairs, ﬂuoride and cognition study. Cohort 2A was designed as an observational birth cohort
of lead toxicodynamics during pregnancy, with mothers recruited early during pregnancy from 1997 to 2001. Cohort 3 was designed as a randomized double-
blind placebo-controlled trial of calcium supplements, with mothers recruited early during pregnancy from 2001 to 2006. “Ca” denotes subjects who were
randomized to the calcium supplement; “placebo” denotes subjects who were randomized to the placebo. GCI is the McCarthy Scales General Cognitive Index
(administered at age 4 y). IQ is the Wechsler Abbreviated Intelligence Scales Intelligence Quotient (administered at age 6–12 y and age-adjusted).



than the model assuming a linear relationship, and thus obtained                             smoker), age at delivery, IQ, and education (itself also a proxy
a p-value for deviation from linearity of the ﬂuoride–outcome                                for socioeconomic status). Finally, all models adjusted for poten-
associations. Residual diagnostics were used to examine other                                tial cohort eﬀects by including indicator variables denoting from
model assumptions and identify any additional potentially inﬂu-                              which cohort (Cohort 2A, Cohort 3 + Ca supplement, and Cohort
ential observations. Visual inspection of default studentized re-                            3 -placebo) the participants came. We used 0:5 mg=L, which was
sidual versus leverage plot from SAS PROC REG did not                                        close to the interquartile range of MUFcr for the analyses of both
identify potential inﬂuential observations. Visual inspection of                             GCI (IQR = 0:45) and IQ (IQR = 0:48), as a standard measure of
the histogram of the residuals did not indicate lack of normality;                           incremental exposure. SAS statistical software (version 9.4; SAS
however, a fanning pattern in the residual versus predicted value                            Institute Inc.) was used for all data analyses described.
plot indicated lack of constant variance (data not shown). Hence,
robust standard errors were obtained using the “empirical” option
in SAS PROC GENMOD.                                                                          Sensitivity Analyses
    Our overall strategy for selecting covariates for adjustment                             Models were further adjusted for variables that relate to relatively
was to identify those that are well known to have potential associ-                          well-known potential confounders (but for which we were miss-
ations with either ﬂuoride exposure or cognitive outcomes and/or                             ing a signiﬁcant amount of data) and variables that were less-well
are typically adjusted for as potential confounders in analyses of                           known but possible confounders. The HOME scores were subject
environmental toxicants and cognition. All models were adjusted                              to sensitivity analyses because, as noted in the “Methods” sec-
for gestational age at birth (in weeks), birthweight (kilograms),                            tion, they were not added to the subject evaluation protocols until
birth order (ﬁrst born yes vs. no), sex, and child’s age at the time                         2003, resulting in a signiﬁcantly smaller subsample of partici-
of the neurocognitive test (in years). All models were also                                  pants with this data. Models of the association between prenatal
adjusted for maternal characteristics including marital status                               ﬂuoride exposure (MUFcr ) and IQ at 6–12 y old were also
(married vs. others), smoking history (ever-smoker vs. never-                                adjusted for the child’s urine ﬂuoride concentration at 6–12 y of


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Table 1. Comparisons across cohorts with respect to the distributions of biomarkers of exposure to prenatal fluoride (MUFcr ), prenatal lead (maternal bone
Pb), prenatal mercury (maternal blood Hg), and contemporaneous childhood fluoride (CUFsg ); and cognitive outcomes (GCI and IQ).
                                                                                                                                 Percentiles
Analysis                                Measurement                    Cohort              N     Mean     SD     Min      25       50       75       Max     p-Valuea
GCI Analysis                     GCI                             Cohort 3-Ca                84   96.88   14.07   50      88        96      107      124       0.997
                                                                 Cohort 3-placebo           93   96.80   13.14   50      89        96      105      125
                                                                 Cohort 2A                 110   96.95   15.46   56      88        98      110      125
                                                                 Totalb                    287   96.88   14.28   50      88        96      107      125
                                 MUFcr (mg/L)                    Cohort 3-Ca                84    0.92    0.41    0.28    0.60      0.84     1.14     2.36    0.57
                                                                 Cohort 3-placebo           93    0.87    0.34    0.23    0.62      0.82     1.10     2.01
                                                                 Cohort 2A                 110    0.92    0.33    0.23    0.68      0.86     1.11     2.14
                                                                 Totalb                    287    0.90    0.36    0.23    0.65      0.84     1.11     2.36
                                 Maternal bone Pb (lg=g)         Cohort 3-Ca                62    7.30    7.37    0.05    0.75      4.40    12.93    26.22   <0:01
                                                                 Cohort 3-placebo           43    9.21    7.31    0.11    1.50      8.60    13.97    27.37
                                                                 Cohort 2A                  62   13.60   11.36    0.15    5.35     10.52    19.46    47.07
                                                                 Totalc                    167   10.13    9.41    0.05    2.37      8.22    15.37    47.07
                                 Maternal blood Hg (lg=L)        Cohort 3-Ca                38    3.32    1.40    0.73    2.40      3.00     4.15     7.06    0.12
                                                                 Cohort 3-placebo           28    2.80    1.33    1.27    1.89      2.53     3.40     7.22
                                                                 Cohort 2A                  75    4.53    5.61    0.77    2.30      3.24     4.37    35.91
                                                                 Totalc                    141    3.86    4.25    0.73    2.20      3.08     4.15    35.91
IQ Analysis                      IQ                              Cohort 3-Ca                58   94.91    9.86   76      87        96      100      120       0.69
                                                                 Cohort 3-placebo           75   96.29    9.63   75      89        97      102      124
                                                                 Cohort 2A                  78   96.47   13.20   67      87        96      107      131
                                                                 Totald                    211   95.98   11.11   67      88        96      107      131
                                 MUFcr (mg/L)                    Cohort 3-Ca                58    0.89    0.38    0.29    0.57      0.84     1.10     1.85    0.86
                                                                 Cohort 3-placebo           75    0.87    0.35    0.23    0.61      0.82     1.11     2.01
                                                                 Cohort 2A                  78    0.90    0.34    0.23    0.67      0.85     1.09     2.14
                                                                 Totald                    211    0.89    0.36    0.23    0.64      0.82     1.07     2.14
                                 Maternal bone Pb (lg=g)         Cohort 3-Ca                67    6.97    7.20    0.05    0.76      4.36    11.73    26.22   <0:01
                                                                 Cohort 3-placebo           48    9.07    7.42    0.11    1.00      8.49    14.41    27.37
                                                                 Cohort 2A                  62   13.60   11.36    0.15    5.35     10.52    19.46    47.07
                                                                 Totale                    177    9.86    9.33    0.05    2.29      7.95    15.22    47.07
                                 Maternal blood Hg (lg=L)        Cohort 3-Ca                43    3.25    1.41    0.51    2.43      2.87     4.02     7.06    0.067
                                                                 Cohort 3-placebo           31    2.66    1.36    0.78    1.81      2.40     3.26     7.22
                                                                 Cohort 2A                  75    4.53    5.61    0.77    2.30      3.24     4.37    35.91
                                                                 Totale                    149    3.77    4.16    0.51    2.19      2.90     4.11    35.91
                                 CUFsg (mg/L)                    Cohort 3-Ca                71    0.84    0.4     0.31    0.53      0.78     1.12     2.8     0.29
                                                                 Cohort 3-placebo           53    0.85    0.38    0.35    0.57      0.75     1.14     1.85
                                                                 Cohort 2A                  65    0.76    0.34    0.18    0.51      0.7      0.89     1.76
                                                                 Totale                    189    0.82    0.38    0.18    0.54      0.73     1.01     2.8
All available measurements       GCI                             Cohort 3-Ca               133   97.32   13.67   50      88        96      107      124       0.57
                                                                 Cohort 3-placebo          149   95.99   13.07   50      88        96      106      125
                                                                 Cohort 2A                 150   97.57   14.63   56      88        99      109      131
                                                                 Totalf                    432   96.95   13.80   50      88        96      107      131
                                 IQ                              Cohort 3-Ca                91   95.92   10.15   76      88        95      103      120       0.92
                                                                 Cohort 3-placebo          114   96.56    9.84   75      89        96      102      124
                                                                 Cohort 2A                 111   96.25   12.67   67      87        95      105      131
                                                                 Totalf                    316   96.27   10.97   67      88        96      103      131
                                 MUFcr (mg/L)                    Cohort 3-Ca               181    0.89    0.36    0.28    0.64      0.83     1.09     2.36    0.11
                                                                 Cohort 3-placebo          183    0.84    0.31    0.02    0.61      0.81     1.02     2.01
                                                                 Cohort 2A                 148    0.91    0.35    0.23    0.67      0.86     1.10     2.15
                                                                 Totalf                    512    0.88    0.34    0.02    0.64      0.82     1.07     2.36
                                 Maternal bone Pb (lg=g)         Cohort 3-Ca                97    7.07    7.26    0.01    0.83      4.36    11.78    26.22   <0:01
                                                                 Cohort 3-placebo           74    9.15    8.38    0.11    0.85      8.62    13.41    40.8
                                                                 Cohort 2A                  86   13.77   11.30    0.15    5.49     10.52    20.58    47.07
                                                                 Totalf                    257    9.91    9.51    0.01    2.01      7.64    15.31    47.07
                                 Maternal blood Hg (lg=L)        Cohort 3-Ca                55    3.03    1.41    0.51    2.12      2.77     3.62     7.06    0.09
                                                                 Cohort 3-placebo           48    2.87    2.09    0.34    1.82      2.37     3.34    13.47
                                                                 Cohort 2A                 104    4.06    4.88    0.77    2.14      3.10     4.16    35.91
                                                                 Totalf                    207    3.51    3.70    0.34    2.07      2.80     3.79    35.91
                                 CUFsg (mg/L)                    Cohort 3-Ca               104    0.84    0.39    0.31    0.56      0.75     1.07     2.80    0.227
                                                                 Cohort 3-placebo           84    0.90    0.46    0.35    0.58      0.75     1.09     2.89
                                                                 Cohort 2A                  96    0.79    0.34    0.18    0.53      0.73     0.92     2.11
                                                                 Totalf                    284    0.84    0.40    0.18    0.57      0.74     1.00     2.89
a
  Analysis of variance across cohorts.
b
  Total number of subjects included in GCI main analysis.
c
  Total number of subjects included in GCI sensitivity analysis.
d
  Total number of subjects included in IQ main analysis.
e
  Total number of subjects included in IQ sensitivity analysis.
f
 Total number of subjects with available measurements, combining Cohort 2A and Cohort 3.




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Table 2. Analysis comparing subjects with and without data of interest [n (%) or mean ± SD] with respect to characteristics of mothers and children and sensi-
tivity analysis covariates.
                                                                     GCI analysis                                                      IQ analysis
Characteristic                                        Included                         Excluded                          Included                        Excluded
Total numbera                                            287                              710                               211                             786
Sex
 Female                                              160 (56%)                         244 (47%)                        116 (55%)                        288 (48%)
 Male                                                127 (44%)                         275 (53%)                         95 (45%)                        307 (52%)
Birth order
 First child                                          96 (33%)                         184 (35%)                         93 (32%)                       279 (36%)
 ≥2nd child                                          191 (67%)                         335 (65%)                        118 (68%)                       507 (65%)
 Birth weight (kg)                                   3:11 ± 0:45                       3:11 ± 0:44                      3:11 ± 0:46                    3:11 ± 0:43
 Gestational age (wk)                               38:66 ± 1:84                      38:58 ± 1:68                     38:56 ± 1:80                   38:63 ± 1:72
 Age at outcome assessment (y)                       4:04 ± 0:05                       4:05 ± 0:05                      8:50 ± 1:31                    8:83 ± 1:64
 Maternal age at delivery (y)                       26:78 ± 5:53                      26:49 ± 5:37                     27:16 ± 5:61                   26:41 ± 5:36
 Maternal education (y)b                            10:63 ± 2:76                      10:75 ± 3:08                     10:80 ± 2:85                   10:69 ± 3:03
 Maternal IQc                                       88:63 ± 12:17                     89:27 ± 14:6                     89:01 ± 12:45                  88:27 ± 13:00
 Marital statusd                                     3:11 ± 0:45                       3:11 ± 0:44                      3:11 ± 0:46                    3:11 ± 0:43
 Married                                             201 (70%)                         493 (70%)                        149 (71%)                       544 (69%)
 Other                                                86 (30%)                         216 (30%)                         62 (29%)                       240 (31%)
Maternal smokinge
 Ever                                                141 (49%)                         335 (51%)                        102 (48%)                        374 (51%)
 Never                                               146 (51%)                         325 (49%)                        109 (52%)                        362 (49%)
Cohort
 Cohort 3-Ca                                          93 (32%)                         241 (34%)                          76 (36%)                       259 (33%)
 Cohort 3-placebo                                     84 (29%)                         252 (36%)                          59 (28%)                       278 (35%)
 Cohort 2A                                           110 (38%)                         217 (31%)                          78 (37%)                       249 (32%)
Sensitivity Analyses
 HOME score f                                         N † = 138                         N ‡ = 87                        N † = 124                         N ‡ = 55
                                                    35:24 ± 6:31                      33:23 ± 6:55                     35:54 ± 7:46                     35:8 ± 7:44
    SESg                                              N † = 188                        N ‡ = 110                        N † = 199                         N ‡ = 98
                                                     6:35 ± 2:43                       6:94 ± 2:72                      6:36 ± 2:41                     6:98 ± 2:79
    Maternal Bone Pb (lg=g)h                          N † = 167                         N ‡ = 91                        N † = 177                         N ‡ = 80
                                                     9:26 ± 10:55                      8:97 ± 10:32                     9:02 ± 10:43                    9:48 ± 10:55
    Maternal Blood Hg (lg=L)i                         N † = 141                         N ‡ = 67                        N † = 149                         N ‡ = 58
                                                     3:86 ± 4:25                       2:76 ± 1:95                      3:77 ± 4:16                     2:83 ± 2:01
    CUFsg j (mg/L)                                                                                                      N † = 124                         N ‡ = 55
                                                                                                                       35:54 ± 7:46                     35:8 ± 7:44
a
  The total number of subjects (n = 997) are all mother–offspring pairs who participated in the original Cohort 2A and Cohort 3 studies.
b
  Maternal education at the time of the child’s birth.
c
  Maternal IQ measured at 6 mo after child’s birth.
d
  Mother’s marital status at the time of the child’s birth.
e
  History of any maternal smoking.
f
 HOME score measured using the separate age-appropriate instruments pertaining to children of ≤5 y old; and children >5 y old.
g
  Family socioeconomic status (SES) measured by questionnaire of family possessions at follow-up.
h
  Maternal patella bone lead measured by KXRF after birth.
i
 Maternal average blood mercury during pregnancy.
j
 Children’s specific gravity–corrected urinary fluoride measured at the time of each child’s IQ test (6–12 y old).
N† Number of subjects with measurements of MUFcr , cognitive outcome, main covariates, and sensitivity covariates (they are included in the sensitivity model).
N‡ Number of subjects with measurements of sensitivity covariates, but missing data on exposure, outcomes, or main covariates (they are excluded from the sensitivity
model).



age (CUFsg ), a measure that was collected in a signiﬁcantly                         with suﬃcient volume to be analyzed using a Direct Mercury
smaller subset of individuals, to evaluate the potential role of                     Analyzer 80 (DMA-80, Milestone Inc., Shelton, CT, USA) as
contemporaneous exposure. Associations between prenatal ﬂuo-                         previously described (Basu et al. 2014).
ride exposure (MUFcr ) and GCI at 4 y old could not be adjusted                          To address the potential confounding eﬀect of socioeconomic
for contemporaneous ﬂuoride exposure because urine samples                           status (SES) we conducted sensitivity analyses that adjusted our
were not collected from children when the MSCA (from which                           model for SES (family possession score). The socioeconomic
the GCI is derived) was administered. Maternal bone lead meas-                       questionnaire asked about the availability of certain items and
ured by a 109-Cd K-X-ray ﬂuorescence (KXRF) instrument at                            assets in the home. Point values were assigned to each item, and
1 mo postpartum, a proxy for lead exposure from mobilized                            SES was calculated based on the sum of the points across all
maternal bone lead stores during pregnancy (Hu et al. 2006), was                     items (Huang et al. 2016). Given that the calcium intervention
included in the model to test for the possible confounding eﬀect                     theoretically could have modiﬁed the impact of ﬂuoride, in exam-
of lead exposure during pregnancy. We focused on the subset of                       ining our results, we repeated the analyses with and without the
women who had patella bone lead values because these were                            Cohort 3 participants who were randomized to the calcium
found to be most inﬂuential on our previous prospective study of                     intervention to omit any potential confounding eﬀect of this
oﬀspring cognition (Gomaa et al. 2002). Average maternal mer-                        intervention. Another sensitivity test was performed to examine
cury level during pregnancy was also tested for being a potential                    the potential eﬀect of the psychologist who performed the
confounder (Grandjean and Herz 2011). Mercury was measured                           WASI test by including tester in the regression model. The in-
as total mercury content in the subsample of women who had                           formation about psychologists who performed the WASI was
samples of archived whole blood samples taken during pregnancy                       available for 75% of participants, as recording this data was


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Table 3. Distributions of maternal creatinine-adjusted urinary fluoride (MUFcr ) and offspring cognitive scores across categories of main covariates.
                                                   GCI Analysis                                                                     IQ Analysis
Covariate               n         MUFcr a         p-Value      GCI (Age 4)             p-Value         n          MUFcr a         p-Value     IQ (Age 6–12)            p-Value
Mothers
Age
 ≥25 y                123       0:88 ± 0:36         0.45          96:22 ± 14:12          0.50          88       0:89 ± 0:37        0.98          95:75 ± 11:64           0.80
 <25 y                164       0:92 ± 0:36                       97:37 ± 14:43                       123       0:89 ± 0:35                      96:15 ± 10:76
Education
 <12 y                153       0:91 ± 0:4          0.92          94:22 ± 14:23          0.001        111       0:87 ± 0:37        0.53          93:09 ± 10:54         <0:001
 12 y                  97       0:89 ± 0:34                       98:56 ± 14:46                        70       0:93 ± 0:35                      98:29 ± 10:72
 >12 y                 37       0:89 ± 0:42                      103:49 ± 11:21                        30       0:85 ± 0:31                      101:3 ± 11:16
Marital status
 Married              201       0:90 ± 0:37         0.81          96:40 ± 14:46          0.39          62       0:90 ± 0:35        0.79          96:55 ± 11:06           0.63
 Other                 86       0:91 ± 0:33                       98:00 ± 13:88                       149       0:88 ± 0:36                      95:74 ± 11:16
Smoking
 Ever smoker          141       0:90 ± 0:36         0.80          97:77 ± 13:9           0.30         102       0:90 ± 0:36        0.56          97:21 ± 10:7            0.12
 Nonsmoker            146       0:91 ± 0:35                       96:01 ± 14:63                       109       0:87 ± 0:35                      94:83 ± 11:41
HOME score b
 Mid-low ≤30           49       0:88 ± 0:37         0.47          90:73 ± 13:36         <0:001         32       0:87 ± 0:36        0.85          89:88 ± 8:45           0.011
 High >30             137       0:92 ± 0:38                       99:29 ± 14:61                        92       0:88 ± 0:38                      99:05 ± 11:65
Maternal IQ
 Mid-low ≤85          116       0:95 ± 0:35         0.09          93:16 ± 15:04         <0:001         86       0:92 ± 0:36        0.23          91:26 ± 9:72          <0:001
 High >85             171       0:87 ± 0:36                        99:4 ± 13:21                       125       0:86 ± 0:35                      99:23 ± 10:87
Children
Sex
 Boy                  127       0:94 ± 0:36         0.09          93:93 ± 13:98          0.002         95       0:96 ± 0:38        0.008         96:82 ± 12:02           0.32
 Girl                 160       0:87 ± 0:36                       99:22 ± 14:12                       116       0:83 ± 0:32                      95:29 ± 10:31
Birthweight
 ≥3:5 kg              241       0:91 ± 0:36         0.57          96:52 ± 14:36          0.33         201       0:89 ± 0:36        0.88          95:66 ± 11:29           0.58
 <3:5 kg               46       0:87 ± 0:35                       98:76 ± 13:88                        10       0:88 ± 0:34                      97:38 ± 9:42
Gestational age
 ≤39 wk               192       0:90 ± 0:35         0.90          96:66 ± 14:23           716         146       0:89 ± 0:36        0.712         95:71 ± 11:62           0.65
 >39 wk                95       0:90 ± 0:37                       97:32 ± 14:46                        65       0:88 ± 0:34                      96:58 ± 9:91
First child
 Yes                   96       0:91 ± 0:38         0.75          99:97 ± 12:87          0.009         68       0:88 ± 0:36        0.91          97:00 ± 11:00           0.36
 No                   191       0:90 ± 0:35                       95:32 ± 14:73                       143       0:89 ± 0:36                      95:50 ± 11:17
CUFsg c
 ≥0:80 mg=L                                                                                           112       0:86 ± 0:32        0.49          96:80 ± 11:16           0.37
 <0:80 mg=L                                                                                            77       0:90 ± 0:38                      95:37 ± 10:31
a
  Maternal creatinine-adjusted urinary fluoride (mg/L).
b
  Home Observation for the Measurement of the Environment (HOME) score, measured using the separate age-appropriate instruments pertaining to children of ≤5 y old; and children
>5 y old.
c
 Child contemporaneous specific gravity–adjusted urinary fluoride (available at the time of each child’s IQ test).



added later to the study protocol. We also re-ran models with                              6–12 (i.e., IQ). Of these, complete data on all the covariates of
exposure outliers included as a sensitivity step. Finally, we ran                          main interest (as speciﬁed in the “Methods” section) were avail-
models that focused on the cross-sectional relationship between                            able on 287 mother–child pairs for the GCI analysis and 211
children’s exposure to ﬂuoride (reﬂected by CUFsg ) and IQ                                 mother–child pairs for the IQ analysis. A total of 299 mother–
score, unadjusted; adjusting for the main covariates of interest;                          child pairs had data on either GCI or IQ, and 199 mother–child
and adjusting for prenatal exposure (MUFcr ) as well as the                                pairs had data on both GCI and IQ (Figure 1).
covariates of interest.
                                                                                           Number of Exposure Measures per Subject
Results                                                                                    In terms of repeated measures of MUFcr across trimesters, of the
Flow of Participants                                                                       287 participants with data on GCI outcomes; 25 participants had
                                                                                           MUFcr data for all three trimesters (11 from Cohort 2A and 14
Of the 997 total mothers from two cohorts evaluated, 971 were                              from Cohort 3), 121 participants had MUFcr data from two tri-
eligible after removing mothers <18 y old. Of these 971, 825 had                           mesters (48 from Cohort 2A and 73 from Cohort 3), and 141 par-
enough urine sample volume to measure ﬂuoride in at least one                              ticipants had MUFcr data from one trimester (51 from Cohort 2A
trimester urine sample, and of these 825 participants, 515 partici-                        and 90 from Cohort 3). Of the 211 participants with data on IQ
pants had urine samples with previously measured creatinine val-                           outcomes, 10 participants had MUFcr data for all three trimesters
ues, enabling calculation of creatinine-adjusted urinary ﬂuoride                           (6 from Cohort 2A and 4 from Cohort 3), 82 participants had data
(MUFcr ) concentrations. Of these 515, 3 participants were                                 from two trimesters (32 from Cohort 2A and 50 from Cohort 3),
excluded based on the 10 extreme outlier values identiﬁed for                              and 119 participants had data from one trimester (40 from Cohort
MUFcr (see the “Methods” section, “Exposure Assessment” sub-                               2A and 79 from Cohort 3).
section) and not having any other MUFcr values to remain in the
analysis. Thus, we had a total of 512 participants (mothers) with
at least one value of MUFcr for our analyses (Figure 1).                                   Comparisons across the Cohorts
    Of these 512 mothers, 312 had oﬀspring with outcome data at                            In terms of the mother–child pairs who had data on all covariates
age 4 (i.e., GCI), and 234 had oﬀspring with outcome data at age                           as well as data on either GCI or IQ (n = 299), the mean (SD)


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Table 4. Multivariate regression models: unadjusted and adjusted differences in GCI and IQ per 0:5 mg=L higher maternal creatinine-adjusted urinary fluoride
(MUFcr ).
                                                                GCI                                                                              IQ
Estimate                           n                       b (95%CI)                        p-Value                 n                   b ± S:E (95%CI)                    p-Value
Unadjusted                        287               −3:76 (−6:32, −1:19)                     <0:01                 211               −2:37 (−4:45, −0:29)                     0.03
model Aa                          287               −3:15 (−5:42, −0:87)                      0.01                 211               −2:50 (−4:12, −0:59)                     0.01
Model A −HOME                     138               −3:63 (−6:48, −0:78)                     <0:01                 124               −2:36 (−4:48, −0:24)                     0.03
Model A + HOME                    138               −3:76 (−7:08, −0:45)                      0.03                 124               −2:49 (−4:65, −0:33)                     0.02
Model A −CUFsg                                                                                                     189               −1:79 (−3:80, 0.22)                      0.08
Model A + CUFsg                                                                                                    189               −1:73 (−3:75, 0.29)                      0.09
Model A − SES                     188               −4:55 (−7:23, −1:88)                      0.01                 199               −2:10 (−4:02, −0:18)                     0.03
Model A + SES                     188               −4:45 (−7:08, −1:81)                      0.01                 199               −2:10 (−4:06, −0:15)                     0.04
Model A −Pb                       167               −5:57 (−8:48, −2:66)                     <0:01                 177               −3:21 (−5:17, −1:24)                    <0:01
Model A + Pb                      167               −5:63 (−8:53, −2:72)                     <0:01                 177               −3:22 (−5:18, −1:25)                    <0:01
Model A −Hg                       141               −7:13 (−10:26, −4:01)                    <0:01                 149               −4:59 (−7:00, −2:17)                    <0:01
Model A + Hg                      141               −7:03 (−10:19, −3:88)                    <0:01                 149               −4:58 (−6:99, −2:16)                    <0:01
Model A −Ca                       194               −3:67 (−6:57, −0:77)                      0.01                 136               −3:23 (−5:88, −0:57)                     0.02
a
 Coefficients from linear regression models adjusted for gestational age, weight at birth, sex, parity (being the first child), age at outcome measurement, and maternal characteris-
tics including smoking history (ever smoked during the pregnancy vs. nonsmoker), marital status (married vs. others), age at delivery, IQ, education, and cohort (Cohort 3-Ca,
Cohort 3-placebo and Cohort 2A). Model A–HOME, model A for subset of cases who have data on Home Observation for the Measurement of the Environment (HOME) scores
(but the model did not include HOME score). Model A + HOME, model A for subset of cases with HOME score, adjusted for HOME score. Model A −CUFsg , model A for subset
of cases who have data on child contemporaneous specific gravity–adjusted urinary fluoride CUFsg (but the model did not include CUFsg ). Model A + CUFsg , model A for subset of
cases with CUFsg , adjusted for CUFsg . Model A−SES, model A for subset of cases who have data on socioeconomic status (family possession measured by questionnaire of family
possessions) (but the model did not include SES). Model A + SES, model A for subset of cases with SES data, adjusted for SES. Model A–Pb, model A for subset of cases who
have data on maternal bone lead (but the model did not include maternal bone lead). Model A + Pb, model A for subset of cases with data on maternal bone lead, adjusted for
maternal bone lead. Model A−Hg, model A for subset of cases who have data on maternal blood mercury (but the model did not include maternal blood mercury). Model A + Hg,
model A for subset of cases who have data on maternal blood mercury, adjusted for maternal blood mercury. Model A − Ca, model A for subset of cases who did not receive the Ca
supplement (they received the placebo).


values of creatinine–corrected urinary ﬂuoride for the mothers                                   In terms of the sensitivity analyses, for each sensitivity vari-
was 0:90 ð0:36Þ mg=L. The distributions of the urinary ﬂuoride,                              able of interest, we compared participants who had data on our
outcomes (GCI and IQ), and additional exposure variables exam-                               exposures, outcomes, covariates, and the sensitivity variable of
ined in our sensitivity analyses (maternal bone lead, maternal                               interest (and were thus included in the sensitivity analysis) versus
blood mercury, and children’s contemporaneous urinary ﬂuoride)                               participants who had data on the sensitivity variable of interest
across the three cohort strata (Cohort 3-Calcium, Cohort 3-pla-                              but were missing data on the exposure, outcomes, and/or covari-
cebo, and Cohort 2A) and all strata combined are shown in Table                              ates of interest (and were thus excluded from the sensitivity anal-
1 for the mother–child pairs who had data for the GCI outcome                                ysis; Table 2). It can be seen that for each sensitivity analysis,
(n = 287) and the IQ outcome (n = 211). The distributions                                    most of the participants with data on the sensitivity variable of in-
showed little variation across the cohort strata except for bone                             terest also had data on the exposures, outcomes, and covariates
lead and possibly blood mercury, for which, in comparison with                               and were therefore included in the sensitivity analysis. In addi-
Cohort 3, Cohort 2A clearly had higher mean bone lead levels                                 tion, the distributions appeared to be similar comparing those
(p < 0:001) and possibly higher blood mercury levels (p = 0:067).                            included with those excluded in each sensitivity analysis (means
The mean (SD) values of speciﬁc gravity–corrected urinary ﬂuo-                               were within 10% of each other), with the exception of maternal
ride for the children who had these measures (only available for                             blood Hg, for which the mean levels for those included were
those children who had IQ; n = 189) were 0:82 ð0:38Þ mg=L.                                   28.5% and 24.9% higher than the mean levels for those excluded
    In terms of the comparability of the participants across                                 in the GCI and IQ analyses, respectively.
Cohort 2A and Cohort 3 with respect to our covariates, the distri-
bution of the covariates was very similar with the exception of                              Comparisons of GCI and IQ across Covariates
age of the oﬀspring when IQ was measured, for which the mean
ages were 7.6 and 10.0 y, respectively; and birth weight in the                              Table 3 shows mean and SD values for MUFcr and oﬀspring cog-
GCI analysis, for which Cohort 3 participants were slightly heav-                            nitive scores across categories of the covariates. In the partici-
ier than Cohort 2 participants (see Table S1).                                               pants with GCI data, the oﬀspring cognitive scores were higher
                                                                                             among mothers with higher levels of education, measured IQ,
                                                                                             and HOME scores for both analyses; and scores were higher
GCI versus IQ Scores                                                                         among ﬁrst children and girls. In the IQ analysis a statistically
                                                                                             signiﬁcant diﬀerence was observed in MUFcr as a function of
There was a signiﬁcant correlation between GCI at 4 y and IQ at
                                                                                             child sex. No signiﬁcant diﬀerences in MUFcr values across lev-
6–12 y old (Spearman r = 0:55; p < 0:01). There was no signiﬁ-
                                                                                             els of other covariates were observed. A modest diﬀerence (not
cant correlation between prenatal MUFcr and oﬀspring CUFsg
                                                                                             statistically signiﬁcant), was observed in MUFcr as a function of
(Spearman r = 0:54, p = 0:44).
                                                                                             maternal IQ (p = 0:09), and MUFcr as a function of child sex
                                                                                             (p = 0:09). Among other co-variates there were signiﬁcant diﬀer-
Comparisons of Participants in Relation to Missing Data                                      ences in age (p < 0:01) in both analyses.
In comparing the participants who were included for the GCI and
IQ analyses with the participants who were not included (based                               Regression Models of GCI
on data missing on GCI, IQ or other covariates), the distribution                            Before adjustment, a 0:5 mg=L increase in MUFcr was negatively
of covariates were similar except for sex, for which the propor-                             associated with GCI at 4 y old [mean score −3:76; 95% conﬁ-
tion of females was somewhat higher in the included versus                                   dence interval (CI): −6:32, −1:19] (Table 4). The association
excluded group for both the GCI and IQ analyses (Table 2).                                   was somewhat attenuated after adjusting for the main covariates


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                                                             Prenatal MUF" (mg/L)                                                                                 Prenatal MUF" (mg/L)

Figure 2. Adjusted association of maternal creatinine-adjusted urinary ﬂuo-                             B 0
ride (MUFcr ) and General Cognitive Index (GCI) scores in children at age                                       C')


4 y. Adjusted for gestational age, weight at birth, sex, parity (being the ﬁrst
child), age at outcome measurement, and maternal characteristics including
smoking history (ever smoked vs. nonsmoker), marital status (married vs.                                        0
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others), age at delivery, IQ, education, and cohort (Cohort 3-Ca, Cohort 3-
placebo and Cohort 2A). Shaded area is 95% conﬁdence interval. Short verti-
cal bars on the x-axis reﬂect the density of the urinary ﬂuoride measures.                              "O
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Individual data points are individual observations, n = 287.                                             r
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(model A, −3:15; 95% CI: −5:42, −0:87). The smooth plot of
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the association between GCI and maternal prenatal urinary ﬂuo-                                                                                                                  ;s
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ride from an adjusted GAM model suggested a linear relation
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over the exposure distribution (Figure 2).                                                              ~
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Regression Models of IQ                                                                                         0
                                                                                                                a:,
A 0:5 mg=L increase in prenatal ﬂuoride was also negatively
associated with IQ at age 6–12 y based on both unadjusted
(−2:37; 95% CI: −4:45, −0:29) and adjusted models (−2:50;                                                       0
                                                                                                                r--
95% CI: −4:12, −0:59) (Table 4). However, estimates from the                                                                 0.5                                      1.0                         1.5   2.0
adjusted GAM model suggest a nonlinear relation, with no clear                                                                                                    Prenatal MUF" (mg/L)
association between IQ scores and values below approximately
                                                                                                       Figure 3. (A) Adjusted association of maternal creatinine-adjusted urinary
0:8 mg=L, and a negative association above this value (Figure                                          ﬂuoride (MUFcr ) and children’s IQ at age 6–12 y. Adjusted for gestational
3A). There was a nonsigniﬁcant improvement in the ﬁt of the                                            age, weight at birth, sex, parity (being the ﬁrst child), age at outcome mea-
model when a quadratic term was added to the linear model                                              surement, and maternal characteristics including smoking history (ever
(p = 0:10).                                                                                            smoked vs. nonsmoker), marital status (married vs. others), age at delivery,
                                                                                                       IQ, education, and cohort (Cohort 3-Ca, Cohort 3-placebo and Cohort 2A).
                                                                                                       Short vertical bars on the x-axis reﬂect the density of the urinary ﬂuoride
Sensitivity Analyses                                                                                   measures. Individual data points are individual observation, n = 211. (B)
                                                                                                       Association of maternal creatinine-adjusted urinary ﬂuoride (MUFUcr ) and
In sensitivity analyses, adjustment for HOME score increased the
                                                                                                       children’s IQ at age 6–12 y, adjusted for speciﬁc gravity–adjusted child uri-
magnitude of the association between MUFcr and GCI, though                                             nary ﬂuoride (CUFsg ). Adjusted for gestational age, weight at birth, sex, par-
the diﬀerence was less pronounced when associations with and                                           ity (being the ﬁrst child), age and CUFsg at outcome measurement, and
without adjustment for HOME score were both estimated after                                            maternal characteristics including smoking history (ever smoked vs. non-
restricting the model to the subset of 138 children with HOME                                          smoker), marital status (married vs. others), age at delivery, IQ, education.
score data (Table 4). The association of IQ scores with MUFcr                                          and cohort (Cohort 3-Ca, Cohort 3-placebo and Cohort 2A). Shaded area is
                                                                                                       95% conﬁdence interval. Short vertical bars on the x-axis reﬂect the density
did not substantially change after adding HOME score to the                                            of the urinary ﬂuoride measures. Individual data points are individual obser-
model (Table 4).                                                                                       vation, n = 189.
    The association between MUFcr and IQ was attenuated
slightly after adjusting for contemporaneous children’s urinary
ﬂuoride (CUFsg ) and comparing estimates with [−1:73 (95% CI:                                          based on the GAM model (Figure 3B), and a signiﬁcant improve-
−3:75, 0.29)] and without [−1:94 (95% CI: −4:15, 0.26)] adjust-                                        ment in model ﬁt when a quadratic term was added to the linear
ment for CUFsg among the 189 children with this data (Table 4).                                        regression model (p = 0:01).
In addition, the evidence of nonlinearity was more pronounced,                                            When we restricted models to subsets of children with avail-
with no clear evidence of an association for MUFcr <1:0 mg=L                                           able data for each additional covariate, there was little diﬀerence


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between adjusted and unadjusted associations between MUFcr             our study, which was longitudinal with repeated measures of ex-
and GCI or IQ when socioeconomic status (family possession),           posure beginning in the prenatal period, found associations with
maternal bone lead, and blood mercury, were added to models            respect to prenatal ﬂuoride exposures.
(Table 4). However, the eﬀect estimates associated with MUFcr              To our knowledge, the only other study that is similar to ours
for these analyses appear to be higher in the subsets with avail-      was only recently published. Valdez Jiménez et al. (2017) studied
able data for these variables.                                         the association of prenatal maternal urinary ﬂuoride levels (not
    Adding tester (psychologist who performed WASI) in the             corrected for dilution) and scores on the Bayley Scales of Infant
model did not substantially change the results (data not shown).       Development II among 65 children evaluated at age 3–15 mo (av-
In the sensitivity analyses in which we excluded Cohort 3 partici-     erage of 8 mo). The mothers in their study had urinary ﬂuoride
pants who received the calcium supplement, we continued to             levels of which the means at each of the three trimesters of preg-
observe a negative association between MUFcr and GCI                   nancy (1.9, 2.0, 2:7 mg=L) were higher than the mean MUFcr
[0:5 mg=L increase in MUFcr associated with 3.67 lower GCI             in our participants (0:88 mg=L) (Valdez Jiménez et al. 2017).
(95% CI: −6:57, −0:77), n = 194]; and between MUFcr and IQ             These levels of exposure were found to be associated with statis-
[0:5 mg=L increase in MUFcr associated with 3.23-lower IQ              tically signiﬁcantly lower scores on the Bayley Scales’ Mental
(95% CI: −5:88, −0:57), n = 136].                                      Development Index (MDI) score after adjusting for gestational
    In sensitivity analyses in which we re-ran models that             age, age of child, a marginality index, and type of drinking water
included the 10 outliers with respect to ﬂuoride exposure (for         (Valdez Jiménez et al. 2017). By comparison, our study had
each of seven participants already in our models, an additional        much longer periods of follow-up and larger sample sizes, con-
value of MUFcr [from a diﬀerent trimester]; for three partici-         trolled for a much larger set of covariates and sensitivity varia-
pants, a value of MUFcr that then allowed the participants to be       bles, and used creatinine–corrected urinary ﬂuoride measures
added to our models), the results did not change in any mean-          (which, by adjusting for urinary dilution eﬀects, provides a more
ingful way (data not shown). There were no outliers with               reliable measure of internal ﬂuoride exposure).
respect to cognitive outcomes.                                             With respect to understanding the generalizability of our
                                                                       ﬁndings to other populations, there are very few studies that
Independent Influence of Child Fluoride Exposure                       measured prenatal ﬂuoride levels among women derived from
                                                                       population-based samples. Gedalia et al. (1959) measured uri-
Finally, in models that focused on the cross-sectional relationship
                                                                       nary ﬂuoride in multiple samples collected from each of 117
between children’s exposure to ﬂuoride (reﬂected by their spe-
                                                                       healthy pregnant women living in Jerusalem, where ﬂuoride in
ciﬁc gravity–adjusted urinary ﬂuoride levels) and IQ score and
                                                                       the water was approximate 0:50 mg=L, and reported mean lev-
that contained the main covariates of interest, there was not a
                                                                       els per person that ranged from 0.29 to 0:53 mg=L. However,
clear, statistically signiﬁcant association between contemporane-      these analysis were not conducted utilizing modern analytical
ous children’s urinary ﬂuoride (CUFsg ) and IQ either unadjusted       techniques. In a study of 31 pregnant women living in Poland,
or adjusting for MUFcr . A 0:5 mg=L increase in CUFsg was asso-        Opydo-Szymaczek and Borysewicz-Lewicka (2005) measured
ciated with a 0.89 lower IQ (95% CI: −2:63, 0.85) when not             urinary ﬂuoride in healthy pregnant women patients of a mater-
adjusting for MUFcr ; and 0.77-lower IQ (95% CI: −2:53, 0.99),         nity hospital in Poland, where ﬂuoride in the water ranged from
adjusting for MUFcr (n = 189).                                         0.4 to 0:8 mg=L, and found a mean level of 0:65 mg=L for
                                                                       women in their 28th week of pregnancy, 0:84 mg=L in their
Discussion                                                             33rd week, and 1:30 mg=L in healthy non-pregnant women of
In our study population of Mexican women and children, which           similar age. This would suggest that the mothers in our study,
accounted for two of the three cohorts included in the                 who had a mean MUFcr value of 0:90 mg=L, had ﬂuoride expo-
ELEMENT study, higher prenatal exposure to ﬂuoride (as indi-           sures slightly higher than prior-mentioned populations.
cated by average creatinine-adjusted maternal urinary ﬂuoride              In terms of comparing our ﬁndings with other studies of ﬂu-
concentrations during pregnancy) was associated with lower GCI         oride (using urinary ﬂuoride as a biomarkers of exposure) and
scores in children at approximately 4 y old, and with lower Full-      intelligence (i.e., those not involving prenatal exposures), of the
Scale IQ scores at 6–12 y old. Estimates from adjusted linear          27 epidemiologic studies on ﬂuoride and IQ reviewed by Choi
regression models suggest that mean GCI and IQ scores were             et al. in their 2012 meta-analysis, only 2 had measures of uri-
about 3 and 2.5 points lower in association with a 0:5 mg=L            nary ﬂuoride. Both were of urinary ﬂuoride measures in chil-
increase in prenatal exposure, respectively. The associations with     dren (not pregnant mothers), and neither corrected for dilution
GCI appeared to be linear across the range of prenatal exposures,      (either by correcting for urinary creatinine or speciﬁc gravity).
but there was some evidence that associations with IQ may have         Of these two, in comparison with the urinary ﬂuoride levels of
been limited to exposures above 0:8 mg=L. In general, the nega-        both our mothers (0:88 mg=L) and our children (0:82 mg=L),
tive associations persisted in sensitivity analyses with further       the mean levels of children’s urinary ﬂuoride were higher in
adjustment for other potential confounders, though the results of      the non-ﬂuorosis (1:02 mg=L) and high-ﬂuorosis (2:69 mg=L)
sensitivity analyses were based on subsets of the population with      groups found by Li et al. (1995) as well as the control
available data.                                                        (1:5 mg=L) and high-ﬂuorosis (5:1 mg=L) groups described by
    Overall, our results are somewhat consistent with the ecologi-     Wang et al. (2007).
cal studies suggesting children who live in areas with high ﬂuo-           Among the limitations of our study are that we measured ﬂuo-
ride exposure (ranging from 0.88 to 11:0 mg=L ﬂuoride in water,        ride in spot (second morning void) urine samples instead of 24-hr
when reported) have lower IQ scores than those who live in low-        urine collections. However, others have noted a close relationship
exposure or control areas (ranging from 0.20 to 1:0 mg=L ﬂuo-          between the ﬂuoride concentrations of early morning samples
ride in water) (Choi et al. 2012) and with results of a pilot study    and 24-hr specimens (Watanabe et al. 1994; Zohouri et al. 2006).
of 51 children (mean age 7 y) from southern Sichuan, China, that       Another limitation relates to the potential diﬀerences in the distri-
reported that children with moderate or severe dental ﬂuorosis         bution of covariates over our study cohorts, raising the issue of
(60% of the study population) had lower WISC-IV digit span             potential bias. In the analyses we conducted across cohorts, we
scores than other children (Choi et al. 2015). A distinction is that   saw that, in comparison with Cohort 3, Cohort 2A clearly had


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higher mean bone lead levels (p < 0:001) and possibly higher            community preventive programs (Marthaler 1999). As part of
blood mercury levels (p = 0:067). However, we saw no other dif-         the NRC’s review of the ﬂuoride drinking-water standard, it
ferences and the diﬀerences in these measures have a clear likely       was noted that healthy adults exposed to optimally ﬂuoridated
explanation: Cohort 2A had bone lead levels measured in 1997–           water had urinary ﬂuoride concentrations ranging from 0.62 to
2001 and Cohort 3 had bone lead levels measured in 2001–2005.           1:5 mg=L.
Given that environmental lead and mercury exposures were
steadily decreasing during this time interval (due to the phase-out     Conclusion
of lead from gasoline), this diﬀerence likely relates to an expo-       In this study, higher levels of maternal urinary ﬂuoride during
sure–time–cohort eﬀect. We do not anticipate that this phenom-          pregnancy (a proxy for prenatal ﬂuoride exposure) that are in the
enon would have introduced a bias in our analyses of ﬂuoride and        range of levels of exposure in other general population samples
cognition controlling for bone lead.                                    of pregnant women as well as nonpregnant adults were associated
     Another limitation relates to the missing data that pertain to     with lower scores on tests of cognitive function in the oﬀspring at
our covariate and sensitivity variables. In the comparisons of par-     4 and 6–12 y old.
ticipants in relation to missing data (Table 2A,B), the proportion          Community water and salt ﬂuoridation, and ﬂuoride tooth-
of females was somewhat higher in the included versus excluded          paste use, substantially reduces the prevalence and incidence of
group for both the GCI and IQ analyses, and the mean levels of          dental caries (Jones et al. 2005) and is acknowledged as a public
maternal blood Hg for those included were 28.5% and 24.9%               health success story (Easley 1995). Our ﬁndings must be con-
higher than the mean levels for those excluded in the GCI and           ﬁrmed in other study populations, and additional research is
IQ analyses, respectively. We also note that the coeﬃcients for         needed to determine how the urine ﬂuoride concentrations meas-
the associations between ﬂuoride on cognition varied substan-           ured in our study population are related to ﬂuoride exposures
tially in some of the sensitivity analyses, particularly with           resulting from both intentional supplementation and environmen-
respect to the subgroups of participants who have data on SES,          tal contamination. However, our ﬁndings, combined with evi-
lead exposure, and mercury exposure (of which, for the latter,          dence from existing animal and human studies, reinforce the
the eﬀect estimates almost doubled). We do not have a ready             need for additional research on potential adverse eﬀects of ﬂuo-
explanation for this phenomenon, given that there is no                 ride, particularly in pregnant women and children, and to ensure
obvious way that each of the selection factors governing which          that the beneﬁts of population-level ﬂuoride supplementation out-
mothers had these measurements (discussed above) could have             weigh any potential risks.
inﬂuenced the ﬂuoride–cognition relationship. Nevertheless, it
is not possible to entirely rule out residual confounding or in
the population as a whole (that might have been detected had
                                                                        Acknowledgments
we had full data on larger sample sizes) or bias (should the            This study was supported by the U.S. National Institutes of
subpopulations that had the data for analysis have a diﬀerent           Health (NIH; grants R01ES021446 and R01-ES007821);
ﬂuoride–cognition relationship than those participants who              the National Institute of Environmental Health Sciences/the
were excluded from the analyses).                                       U.S. Environmental Protection Agency (NIEHS/EPA; grant
     Other limitations include the lack of information about iodine     P01ES022844), the NIEHS (grant P42-ES05947 and NIEHS
in salt, which could modify associations between ﬂuoride and            Center Grant P30ES017885), and by the National Institute of
cognition; the lack of data on ﬂuoride content in water given           Public Health/Ministry of Health of Mexico. The American
that determination of ﬂuoride content is not reported as part of        British Cowdray Hospital provided facilities used for this
the water quality monitoring programs in Mexico; and the lack           research. The contents of this article are solely the responsibility
of information on other environmental neurotoxicants such as            of the authors and do not necessarily represent the oﬃcial views
arsenic. We are not aware of evidence suggesting our popula-            of the NIEHS, NIH, or the U.S. EPA. David Bellinger
tions are exposed to signiﬁcant levels of arsenic or other known        collaborated on the design and execution of this study’s
neurotoxicants; nevertheless, we cannot rule out the potential          cognitive testing.
for uncontrolled confounding due to other factors, including
diet, that may aﬀect urinary ﬂuoride excretion and that may be          References
related to cognition.                                                   Afeiche M, Peterson KE, Sánchez BN, Cantonwine D, Lamadrid-Figueroa H,
     Another potential limitation is that we adjusted maternal uri-         Schnaas L, et al. 2011. Prenatal lead exposure and weight of 0- to 5-year-old
nary ﬂuoride levels based on urinary creatinine, whereas we                 children in Mexico City. Environ Health Perspect 119(10):1436–1441, PMID:
adjusted children’s urinary ﬂuoride levels based on urinary spe-            21715242, https://doi.org/10.1289/ehp.1003184.
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ciﬁc gravity; however, these two methods are almost equivalent
                                                                            Fluoride Excretion in Community Prevention Programmes for Oral Health.
in their ability to account for urinary dilution. We also had no            Geneva, Switzerland:World Health Organization.
data to assess the inter-examiner reliability of the testers admin-     Basu N, Tutino R, Zhang Z, Cantonwine DE, Goodrich JM, Somers EC, et al. 2014.
istering the WASI test; however, the excellent reliability of               Mercury levels in pregnant women, children, and seafood from Mexico City.
these same testers in administering the McCarthy tests provides             Environ Res 135:63–69, PMID: 25262076, https://doi.org/10.1016/j.envres.2014.08.
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may impact on the general population is limited given the lack of           https://doi.org/10.1016/j.neuro.2012.04.022.
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                          Exhibit A
        Adkins Declaration, Exhibit 08
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Prenatal fluoride exposure and attention deficit hyperactivity disorder
(ADHD) symptoms in children at 6–12 years of age in Mexico City
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A RT ICLE INFO                                            ABSTRACT

Handling Editor: Yong Guan Zhu                            Background: Epidemiologic and animal-based studies have raised concern over the potential impact of fluoride
                                                          exposure on neurobehavioral development as manifested by lower IQ and deficits in attention. To date, no
Keywords:
                                                          prospective epidemiologic studies have examined the effects of prenatal fluoride exposure on behavioral out-
Fluoride
Pregnancy                                                 comes using fluoride biomarkers and sensitive measures of attention.
Neurobehavioral                                           Objective: We aimed to examine the association between prenatal fluoride exposure and symptoms associated
ADHD                                                      with attention-deficit/hyperactivity disorder (ADHD).
                                                          Method: 213 Mexican mother-children pairs of the Early Life Exposures to Environmental Toxicants (ELEMENT)
                                                          birth cohort study had available maternal urinary samples during pregnancy and child assessments of ADHD-like
                                                          behaviors at age 6–12. We measured urinary fluoride levels adjusted for creatinine (MUFcr) in spot urine samples
                                                          collected during pregnancy. The Conners' Rating Scales-Revised (CRS-R) was completed by mothers, and the
                                                          Conners' Continuous Performance Test (CPT-II) was administered to the children.
                                                          Results: Mean MUFcr was 0.85 mg/L (SD = 0.33) and the Interquartile Range (IQR) was 0.46 mg/L. In multi-
                                                          variable adjusted models using gamma regression, a 0.5 mg/L higher MUFcr (approximately one IQR higher)
                                                          corresponded with significantly higher scores on the CRS-R for DSM-IV Inattention (2.84 points, 95% CI: 0.84,
                                                          4.84) and DSM-IV ADHD Total Index (2.38 points, 95% CI: 0.42, 4.34), as well as the following symptom scales:
                                                          Cognitive Problems and Inattention (2.54 points, 95% CI: 0.44, 4.63) and ADHD Index (2.47 points; 95% CI:
                                                          0.43, 4.50). The shape of the associations suggested a possible celling effect of the exposure. No significant
                                                          associations were found with outcomes on the CPT-II or on symptom scales assessing hyperactivity.
                                                          Conclusion: Higher levels of fluoride exposure during pregnancy were associated with global measures of ADHD
                                                          and more symptoms of inattention as measured by the CRS-R in the offspring.




  Abbreviations: ADHD, attention-deficit hyperactivity disorder; cm3, cubic centimeters; CNS, Central Nervous System; CPT-II, Conners' Continuous Performance Test
– Second Edition; CRS-R, Conners' Rating Scale – Revised; CUFsg, specific gravity adjusted child urinary fluoride; DSM-IV, Diagnostic and Statistical Manual of Mental
Disorders – Fourth Edition; ELEMENT, Early Life Exposures in Mexico to Environmental Toxicants; EPA, U.S. Environmental Protection Agency; HOME, Home
Observation for Measurement of the Environment; L, liter; mg, milligram; MUFcr, creatinine adjusted maternal urinary fluoride; SD, Standard Deviation; SE, Standard
Error
  ⁎
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1. Introduction                                                                   Mexico to Environmental Toxicants (ELEMENT) project (Aafeiche et al.,
                                                                                  2011; Bashash et al., 2017). We included mother-child pairs from two
    Fluoride, the ionized form of the halogen element fluorine, exists            of the four ELEMENT cohorts (cohorts 2A and 3) for which maternal
widely in the environment and is the most electronegative and reactive            urinary samples during trimesters of pregnancy were available. Parti-
among all elements (ATSDR, 2010). Its well-known cariostatic effect led           cipants in cohort 2A (Bashash et al., 2017) were recruited between
to the addition of fluoride to water, salt, and milk in some countries.           1997 and 1999 whereas participants in cohort 3 were recruited be-
Other sources of fluoride include dental products, such as toothpastes,           tween 2001 and 2003. We included participants if they had at least one
mouth rinses, and varnishes, supplements, processed foods made with               archived urine sample from pregnancy, were ≤14 weeks of gestation at
fluoridated water, fluoride-containing pesticides, teas, and fluorinated          the time of recruitment, and their children underwent behavioral
pharmaceuticals. Systemic ingestion of fluoride through water and                 testing between the ages of 6 and 12, as described elsewhere (Bashash
water-based beverages is the main source of fluoride intake, accounting           et al., 2017). Participants were excluded if they reported a history of
for approximately 75% of dietary fluoride intake among adults living in           psychiatric disorder(s), if there were medical complications (i.e. high-
communities that fluoridate their water supply in the United States               risk pregnancy, gestational diabetes, pre-eclampsia, renal disease, cir-
(U.S. Environmental Protection Agency, 2010; USDA (U.S. Department                culatory diseases, hypertension, continuous use of prescription drugs,
of Agriculture), 2005). However, in Mexico City, individuals are pri-             or seizures during the index pregnancy), or if there was known ma-
marily exposed to fluoride through fluoridated salt (mean concentra-              ternal alcohol or illegal drug use during pregnancy. The study proce-
tion of fluoride in salt is 250 ± 50 ppm), and to varying degrees of              dures were approved by the Institutional Review Boards of the National
naturally-occurring fluoride in water, which have been reported to                Institute of Public Health of Mexico, University of Michigan, Indiana
range from 0.15 to 1.38 mg/L (Juárez-López et al., 2007; Martinez-Mier            University, University of Toronto, and Harvard School of Public Health,
et al., 2005). Public water supplies are not fluoridated in Mexico and            as well as participating clinics. Written informed consent was obtained
the mean fluoride content of the water supply is not publicly available.          from all participating families prior to study evaluation.
    Long-term exposure to fluoride is regarded by the World Health
Organization as being beneficial, including both prevention of dental             2.2. Fluoride measurements
caries and treating osteoporosis, though excess intake can also cause
potential health hazards, including dental and skeletal fluorosis.                    Concentration of fluoride measured in maternal urinary samples
Fluoride is also shown to readily cross the placenta (Shen and Taves,             was used as biomarker of prenatal fluoride exposure. Urine has been
1974) and accumulate in fetal brain tissues (Narayanaswamy and Piler,             described as a suitable biomarker for fluoride since it serves as the main
2009), thereby inducing toxicity (Dong et al., 1993; Jiang et al., 2014).         pathway through which fluoride is eliminated from the body and ex-
Several animal (Chen et al., 2003; Mcpherson et al., 2018; Mullenix               cretion is proportional to the total fluoride intake, but modified by
et al., 1995) and human studies (Bashash et al., 2017; Choi et al., 2012)         factors like diet and various systemic conditions, such as recent fluoride
have explored associations between early-life exposure to fluoride and            exposure and urinary pH, as well as variation in creatinine excretion by
decrements in cognitive function and attention-related behaviors. An              muscle mass, age, sex, and other factors (Barr et al., 2005; Aylward
ecologic study reported an association between state level prevalence of          et al., 2015). Ideally, overnight fasting or 24-hour urine samples are
community water fluoridation and prevalence of ADHD among youth                   considered to be the optimal dosimeter for measuring chronic fluoride
living in the United States (Malin and Till, 2015). Given the increased           exposure in order to limit diurnal variations and the influence of diet
vulnerability of the developing fetus to environmental exposures                  associated with spot samples (Petersen et al., 2014). Because 24-hour
(Lanphear, 2015), as well as the widespread distribution of fluoride in           urinary samples were not available in our sample, we used spot samples
society, the potential impact of prenatal exposure to fluoride warrants           that were corrected for urinary dilution using urinary creatinine, as
further study.                                                                    described elsewhere (Petersen et al., 2014). Each woman in the current
    Attention-deficit hyperactivity disorder (ADHD) is the most                   sample provided at least one spot (second morning void) urine sample
common neurodevelopmental disorder in school-aged children and                    (Thomas et al., 2016) during pregnancy (range: 10 to 38 weeks). We
adolescents, with a worldwide prevalence estimated at about 5%                    then calculated the average of all available creatinine-adjusted ma-
(Polanczyk et al., 2007). Symptoms of ADHD include difficulties with              ternal urinary fluoride (MUF) concentrations (Bashash et al., 2017).
attention, impulsivity, and/or hyperactivity at a level that is severe            Further information regarding participant recruitment, data collection
enough to be associated with impairments in academic and social                   methods, as well as methods for fluoride sample shipping, storage, and
functioning (American Psychiatric et al., 2013). Although genetics have           analysis can be found elsewhere (Bashash et al., 2017).
been shown to play an important role in an individual's susceptibility to
ADHD, with estimates of heritability from twin studies in the range of            2.3. Attention outcomes
60–70% (Posthuma and Polderman, 2013), several environmental fac-
tors have also been implicated. Environmental risk factors for ADHD                   Behaviors associated with ADHD were assessed using the Spanish
include prenatal tobacco and alcohol exposure, heavy metal and che-               version of the Conners' Rating Scales-Revised (CRS-R) (Conners, 1997),
mical exposures, including lead (Huang et al., 2016), mercury, orga-              which has been validated for the evaluation of ADHD (Ortiz-Luna and
nochlorines, air pollution (Fuertes et al., 2016; Perera et al., 2018;            Acle-Tomasini, 2006). The CRS-R contains three ADHD scales that
Sentís et al., 2017) and nutritional factors (Polańska et al., 2012).             correspond with the Diagnostic and Statistical Manual of Mental Dis-
    The purpose of the current study was to prospectively assess the              orders – 4th edition (DSM-IV) criteria for ADHD: 1) DSM-IV Inattention
relationship between prenatal exposure to fluoride and parent-reported            Index, 2) DSM-IV Hyperactive-Impulsive Index, and 3) DSM-IV Total
behaviors associated with ADHD among 6–12 year old children born to               Index (inattentive and hyperactive-impulsive behaviors combined). It
mothers living in Mexico City. We tested whether fluoride exposure                also examines seven types of behavior problems that were derived
associated with inattentive and/or hyperactive behaviors.                         through factor analysis, including: Oppositional, Anxious-Shy, Cogni-
                                                                                  tive Problem/Inattention, Hyperactivity, Perfectionism, Psychosomatic,
2. Methods                                                                        and Social Problems. In addition, the CRS-R contains four index scores
                                                                                  that were derived based on theory and prior research: Conners' ADHD
2.1. Study population                                                             Index; Conners' Global Index (CGI): Restless-Impulsive; CGI: Emotional
                                                                                  Lability, and CGI. For the purpose of the current study, we examined
   Participants included a subset of mother-child dyads enrolled in               the three DSM-IV ADHD scales as our primary outcomes because these
various longitudinal birth cohort studies of the Early Life Exposure in           scales are intended to screen for ADHD, and are commonly used to

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study the association between diverse environmental contaminants and                 adjusted for potential cohort and Ca intervention effects through in-
ADHD-behavior problems (Huang et al., 2016; Perera et al., 2018). We                 clusion of a variable denoting from which study the participants ori-
also examined outcomes from two behavior scales (Cognitive Problem/                  ginated (cohort 2 - A, an observational cohort), cohort 3 subjects who
Inattention and Hyperactivity) and two index scores (Conners' ADHD                   were randomized to the calcium supplement (cohort 3 - Ca+), and
Index and CGI: Restless-Impulsive), as done in our prior work with lead              cohort 3 subjects who were randomized to the placebo (cohort 3 -
(Huang et al., 2016). The Conners' ADHD Index, in particular, has been               Placebo) (Bashash et al., 2017).
shown to exhibit favorable specificity and sensitivity in ADHD assess-                   Other potential confounders that were examined in sensitivity
ment (Chang et al., 2016). In addition, we assessed sustained attention              analyses involving subsets of participants included the home environ-
and inhibitory control using the Conners' Continuous Performance Test                ment (i.e. HOME score) (Thomas et al., 2016) assessed at the time of
(CPT-II, 2nd Edition), a computer-administered signal detection para-                outcome measurement, child contemporaneous fluoride exposure
digm (Conners, 2000). Using the CPT-II, we measured errors of omis-                  measured by child urinary fluoride adjusted for specific gravity (CUFsg)
sion and commission, and hit reaction time (response latency). Mothers               (Bashash et al., 2017), as well as maternal blood mercury and maternal
completed the CRS-R at the same follow-up visits that the child com-                 bone lead levels (a proxy for prenatal lead exposure to the fetus) given
pleted the CPT-II. All measures were standardized for age- and sex.                  that both are established neurodevelopmental toxicants (Bashash et al.,
Higher T-scores (mean of 50, SD of 10) indicate poorer performance. All              2017). This was done through identifying and including the subset of
psychometric tests were applied under the supervision of an experi-                  cases with data on each respective variable. In each subset, results were
enced psychologist (LS).                                                             then compared between the model adjusting for that variable and the
                                                                                     model not adjusting for that variable.
2.4. Measurement of covariates                                                           Model diagnostics were used to assess for violations of the model
                                                                                     assumptions and for identification of remaining influential observa-
    Covariate data were individually obtained throughout the duration                tions. Cook's D identified three exposure observations as potentially
of the study. During the first pregnancy visit, questionnaires were used             influential to the model results, and models were run with and without
to collect information concerning maternal age, maternal education,                  these observations (Supplementary Fig. S1). Generalized additive
history of smoking, and marital status. At delivery, information re-                 models (GAMs), estimated via cross validation in the R software, were
garding birth weight, child sex, birth order, and gestational age (cal-              used to visualize the adjusted association between fluoride exposure
culated by nurses) was obtained. Mothers also responded to a socio-                  and measures of attention to examine potential non-linearity. Non-lin-
economic status questionnaire (Bashash et al., 2017) during the visit                earity of the fluoride-outcome association was tested through the in-
when the psychometric tests were administered. Individual items on                   clusion of a quadratic term in the model, and found to be significant in
this questionnaire assess the ability of households to meet the needs of             four out of ten of the models (see Fig. 2 and Supplementary Fig. 1). We
its members in terms of housing, health, energy, technology, prevention              applied the Benjamini–Hochberg false discovery rate (FDR) procedure
and intellectual development; an overall score was derived by summing                to address multiple testing corrections, using a false discovery rate of
across each item. The Home Observation for Measurement of the En-                    Q = 0.05 and m = 10 tests to determine significance (Benjamini and
vironment (HOME) Inventory, a semi-structured interview that mea-                    Hochberg, 1995).
sures quality and quantity of the caregiving environment, was ad-
ministered in a subset of participants at approximately the same time as             3. Results
the visits for the neurobehavioral tests.
                                                                                     3.1. Population characteristics
2.5. Data analysis
                                                                                         Overall, 231 mothers with a minimum of one MUFcr and a matching
    Univariate statistics, appropriate transformations, and graphical                outcome (CRS-R or CPT-II) were identified for this project. However,
displays were obtained for all variables before bivariate analyses.                  complete demographic and outcome information were missing among
Bivariate analysis of the data included Chi-square tests for categorical             17 mother-child pairs, leaving 214 participants for our analyses, of
variables and analysis of variance (ANOVA) to compare the continuous                 whom 210 mother-child pairs had data for the CRS-R and CPT-II ana-
outcomes or exposure within groups defined according to the dis-                     lyses (206 had data for both) (Fig. 1). Demographic information on
tribution of each covariate. In initial fully adjusted linear regression             participants including data on exposure, outcomes, and key covariates
models, the outcomes demonstrated highly skewed residuals (with the                  by cohort is shown in Table 1. Of the mothers included in our analysis,
exception of CPT-II commission score and hit reaction time). Thus, to                154 (72%) were married at the time of recruitment, and 103 (48%) had
address the skewness of the residuals, gamma regression was used to                  reported a history of ever smoking. Among the children, 147 (69%)
examine the adjusted association between prenatal fluoride and each                  were not of firstborn status and 116 (54%) were female. Besides for
neurobehavioral outcome instead of log transformation, which may                     younger age of participants in cohorts 3 relative to cohort 2-, there were
obscure model interpretation. In the gamma regression, we selected an                no significant differences of maternal and children characteristics
identity link, so that the interpretation for the regression coefficients is         across cohorts.
the same as the linear regression (i.e., absolute difference in the mean
of the outcome per unit change in predictor). All statistical analyses               3.2. Exposure and outcome assessment
were performed in SAS software version 9.4. Covariates were selected a
priori based on their theoretical relevance or observed associations with                Of the 214 participants included in the study, 175 participants had
fluoride exposure, and/or the analyzed neurobehavioral outcomes. As                  measurements of MUFcr from trimester 1, 80 from trimester 2, and 62
such, models were adjusted for the following maternal characteristics:               from trimester 3; 14 (6.5%) participants had all three measures, 78
age at delivery (continuous, in years), years of education (continuous,              (36.4%) had two measures, and 122 (57.0%) had one. The overall mean
in years), marital status (married vs. others), and smoking history (ever-           level of MUFcr averaged across all the trimesters was 0.85 mg/L, with
smoker vs. non-smoker). Models were further adjusted for the following               an Interquartile Range (IQR) of 0.46 mg/L. There was no significant
child characteristics: gestational age at birth (continuous, in weeks),              difference of MUFcr across cohorts (Table 1A).
age at neurobehavioral measurement (continuous, in years), sex (fe-                      Overall, Mean ± SD scores across all of the CRS-R scales fell within
male vs. male), and birth order (first born vs. others), and socio-                  the average range (i.e. mean T = 50 ± 10) (Table 1B). Around 10% of
economic status through a continuous measure based on reported                       participants fell in the clinically significant range (i.e. T-score ≥ 70 on
possessions and household assets (Thomas et al., 2016). Lastly, models               the Index scores); specifically, clinically elevated scores were found

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                                                  STUDY SUBJECT INCLUSION FLOWCHART (Mothers-Children age 6-12)



             STUDY BASE (Element Cohorts mothers rec ruited at tri mester 1 of pregnan cy; i.e. prenata l data ava ila ble)




                                 Cohort 2A (1997-2001)                                                                 Cohort 3 (2001-2006)                              Ca (n=334)

                                                                                                                                                                       { Pla cebo (n=336)
                               Observational (N=327)                                                              Ca Supplementation (N=670)
                       --------------------------------- - u = = -----------------------------
             EX POSU RE

                                                                             Mothers with Fluoride and                             { 2 A ( n=1 46)
                                                                                                                                     3 Ca (n=182)
                                                                              Creatinine data(N=509)                                3 Placebo (n=lS l)


                      ------------------------~ ~------- ------------                                                     ~ ----------------------
             OUTCOM E
                                                                       '\)"                                           "7
                                                                                                                                                                      n=76)
                                     Children with CRS-R*                    { 2 A ( n=74)                                    Children with CPT-II **          { 2A (
                                                                               3 Ca (n=80)                                                                       3 Ca (n=81)
                                         scores (N=223)                        3 Placebo (n=69)                                 scores (N=225)                  3 Plac eb o( n=68)



                       ----- ----------
             FINALA NALYSIS
                                                   ...   ,.--------------------------------------... --------------                         :,,
                                                                                                                                                           Incomp lete variab les(N=23)



                                       Children with                                                                            Children with                         n=67)
                                                                            { 2 A ( n=68)                                                                      { 2A (
                                     complete variables                       3 Ca (n=79)                                     complete variables                 3 Ca (n=B0)
                                                                              3 Placebo (n=63)                                                                   3 Plac ebo(n=63)
                                               (N=210)                                                                               (N=210)




                    • Conners' Rating Scale - Revised
                '* Conners ' Continuous Performance Test
Fig. 1. Flowchart describing source of mother–offspring subject pairs, fluoride and cognition study. Cohort 2A was designed as an observational birth cohort from
1997 to 2001. Cohort 3 was designed as a randomized double-blind placebo-controlled trial of calcium supplements, with mothers recruited early during pregnancy
from 2001 to 2006. “Ca” denotes subjects who were randomized to the calcium supplement; “placebo” denotes subjects who were randomized to the placebo. CRS-R
denotes Conners' Rating Scale – Revised and CPTII is Conners' Continuous Performance Test.


among 22 (10.5%) children on the DSM-IV Hyperactivity-Impulsivity                                          subset that also had HOME scores, CUFsg (there was no correlation
scale, 18 (8.6%) children on the DSM-IV ADHD Total scale, and 17                                           between MUFcr and CUFsg), maternal lead and mercury exposures did
(8.1%) children on the DSM-IV Inattention scale.                                                           not appreciably change the results for the CRS-R scores (Supplementary
    Mean ± SD for CPT-II scores for Omission Errors (55.53 ± 13.67),                                       Table 1). There was no significant interaction between sex and MUFcr
Commission Errors (49.93 ± 9.22), and Hit Reaction Time                                                    when we added an interaction term to the models.
(52.51 ± 10.53) also fell within the average range (Table 1B).
                                                                                                           4. Discussion
3.3. Models of neurobehavioral outcomes
                                                                                                               The current study aimed to characterize the longitudinal association
    MUFcr was significantly associated with measures of the CRS-R in                                       between prenatal fluoride exposure and symptoms of ADHD in offspring
the adjusted model (Table 2). Higher concentrations of MUFcr were                                          as measured by parent-ratings on the CRS-R and a computerized test of
associated with a higher likelihood of parent-endorsed symptoms on the                                     sustained attention and inhibitory control (CPT-II). In our cohort, higher
following scales: DSM-IV Inattention, DSM-IV Total ADHD, Cognitive                                         prenatal fluoride exposure, as measured by MUFcr, corresponded to more
Problem/Inattention, and the ADHD Index. On average, a 0.5 mg/L                                            ADHD-like symptoms on the CRS-R, particularly related to inattention as
higher MUFcr corresponded with a 2.84 (p < 0.01) higher score on the                                       indicated by the strong association with the following two scales:
DSM-IV Inattention Index; 2.38 (p = 0.02) higher score on the DSM-IV                                       Cognitive Problem/Inattention, and DSM-IV Inattention. In contrast,
Total ADHD Index; a 2.54 (p = 0.02) higher score on the Cognitive                                          MUFcr during pregnancy did not predict child performance on any of the
Problem/Inattention Index; and 2.47 (p = 0.02) higher score on the                                         hyperactivity measures (i.e. Restless-Impulsive; Hyperactivity; DSM-IV
ADHD index. The associations between MUFcr and CRS-R scales re-                                            Hyperactivity-Impulsivity) nor the CPT-II outcomes.
mained significant after correction for the multiple testing. As shown in                                      In general, a 0.5 mg/L higher MUFcr (approximately the IQR) cor-
Fig. 2, a subset of the CRS-R outcomes exhibit a non-linear association                                    responded to higher scores on the CRS-R for DSM-IV Inattention (2.84
with the relationship between MUFcr and behavioral outcomes in-                                            points) and Cognitive Problems and Inattention (2.54 points).
creasing at first, followed by a plateau. There were no significant as-                                    Consistency in these results across both of these outcome measures
sociations between MUFcr and any of the outcomes on the CPT-II                                             strengthens the conclusion that inattention appears to be associated
(Table 2; and Supplementary Fig. S2).                                                                      with prenatal exposure to fluoride. These two scales contribute to the
                                                                                                           global ADHD Index and the DSM-IV Total scores, which were also as-
3.4. Sensitivity analyses                                                                                  sociated with higher levels of prenatal fluoride exposure; a 0.5 mg/L
                                                                                                           increase in MUFcr corresponded to a 2.38 higher point score on the
    Sensitivity analyses on adjusted models for the study population                                       DSM-IV ADHD Total Index and a 2.47 higher point score on the ADHD

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Table 1
Cohort characteristics including key covariates, urinary fluoride levels, and outcome measurements. Statistical differences across the cohorts are reported upon in the
final column.
                                                           Cohort *                       N                         Mean (95% CI) %                             p

  A) PARTICIPANTS
  Child Sex (Girl)                                         2A                             37                        52.90%                                      .831
                                                           3 Ca                           43                        53.10%
                                                           3 Placebo                      36                        57.10%
                                                           Total                          116                       54.00%
  First Child                                              2A                             24                        34.30%                                      .839
                                                           3 Ca                           25                        30.90%
                                                           3 Placebo                      18                        28.60%
                                                           Total                          67                        31.00%
  Birth Weight (Kg)                                        2A                             70                        3.05 (2.94, 3.16)                           .103
                                                           3 Ca                           81                        3.20 (3.10, 3.30)
                                                           3 Placebo                      63                        3.11 (3.01, 3.21)
                                                           Total                          214                       3.13 (3.07, 3.18)
  Gestational Age (Weeks)                                  2A                             70                        38.60 (38.21, 38.99)                        .647
                                                           3 Ca                           81                        38.74 (38.46, 39.02)
                                                           3 Placebo                      63                        38.49 (38.01, 38.97)
                                                           Total                          214                       38.62 (38.41, 38.84)
  Age At Outcome Assessment (Year)                         2A                             70                        10.04 (9.89, 10.21)                          < .01
                                                           3 Ca                           81                        7.63 (7.52, 7.75)
                                                           3 Placebo                      63                        7.57 (7.44, 7.69)
                                                           Total                          214                       8.40 (8.23, 8.57)
  Marital Status (Married)                                 2A                             46                        65.70%                                      .428
                                                           3 Ca                           60                        74.10%
                                                           3 Placebo                      48                        76.20%
                                                           Total                          154                       72.00%
  Maternal Smoking (Ever Smoked)                           2A                             32                        46.40%                                      .726
                                                           3 Ca                           42                        51.90%
                                                           3 Placebo                      29                        45.70%
                                                           Total                          103                       48.10%
  Maternal Education (Years)                               2A                             70                        10.73 (10.08, 11.37)                        .580
                                                           3 Ca                           81                        11.11 (10.47, 11.75)
                                                           3 Placebo                      63                        10.68 (10.03, 11.34)
                                                           Total                          214                       10.86 (10.49, 11.23)
  SES1                                                     2A                             70                        6.69 (6.10, 7.27)                           .604
                                                           3 Ca                           81                        6.32 (5.82, 6.82)
                                                           3 Placebo                      63                        6.33 (5.64, 7.02)
                                                           Total                          214                       6.44 (6.11, 6.78)

  B) EXPOSURE AND OUTCOMES
  MUFcr 2                                                  2A                             70                        0.87 (0.80, 0.95)                           0.889
                                                           3 Ca                           81                        0.85 (0.78, 0.92)
                                                           3 Placebo                      63                        0.85 (0.76, 0.95)
                                                           Total                          214                       0.85 (0.81, 0.90)
  CRS-R 3
  Cognitive Problems + Inattention                         2A                             68                        55.16 (52.45, 57.87)                        .884
                                                           3 Ca                           79                        54.32 (51.85, 56.78)
                                                           3 Placebo                      63                        54.43 (51.78, 57.08)
                                                           Total                          210                       54.62 (53.14, 56.10)
  Restless-Impulsive                                       2A                             68                        55.43 (52.56,58.30)                         .490
                                                           3 Ca                           79                        55.19 (52.32, 58.07)
                                                           3 Placebo                      63                        54.28 (52.11, 56.45)
                                                           Total                          210                       54.35 (52.94, 55.75)
  Hyperactivity                                            2A                             68                        56.67 (53.62, 56.35)                        .217
                                                           3 Ca                           79                        54.52 (52.42, 56.62)
                                                           3 Placebo                      63                        53.70 (51.74, 55.66)
                                                           Total                          210                       54.97 (53.59, 56.35)
  ADHD 4 Index                                             2A                             68                        54.53 (51.77, 56.29)                        .865
                                                           3 Ca                           79                        54.56 (52.29, 56.82)
                                                           3 Placebo                      63                        53.70 (51.25, 56.14)
                                                           Total                          210                       54.30 (52.88, 55.71)
  DSM-IV 5 Inattention                                     2A                             68                        54.42 (51.60, 57.23)                        .825
                                                           3 Ca                           79                        53.92 (51.65, 56.22)
                                                           3 Placebo                      63                        53.29 (50.98, 55.60)
                                                           Total                          210                       53.89 (52.48, 55.30)
  DSM-IV Hyperactivity-Impulsivity                         2A                             68                        57.54 (54.77, 60.32)                        .685
                                                           3 Ca                           79                        56.80 (54.59, 59.01)
                                                           3 Placebo                      63                        56.00 (53.76, 58.24)
                                                           Total                          210                       56.80 (55.42, 58.18)
  DSM-IV ADHD Total                                        2A                             68                        56.35 (53.72, 58.99)                        .670
                                                           3 Ca                           79                        55.63 (53.46, 57.81)
                                                           3 Placebo                      63                        54.79 (52.47, 57.12)
                                                           Total                          210                       55.61 (54.26, 56.97)
  CPT-II 6
                                                                                                                                               (continued on next page)


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Table 1 (continued)

                                                              Cohort *                           N                        Mean (95% CI) %                            p

  Omission Errors                                             2A                                 67                       51.76 (48.49, 55.03)                       .024
                                                              3 Ca                               80                       57.56 (54.25, 60.87)
                                                              3 Placebo                          63                       56.80 (53.89, 59.70)
                                                              Total                              210                      55. 48 (53.62, 57.34)
  Commission Errors                                           2A                                 67                       46.99 (44.43, 49.55)                       .007
                                                              3 Ca                               80                       51.18 (49.17, 53.20)
                                                              3 Placebo                          63                       51.37 (49.59, 53.16)
                                                              Total                              210                      49.90 (48.65, 51.15)
  Hit Reaction Time                                           2A                                 67                       49.43 (47.00, 51.86)                       .016
                                                              3 Ca                               80                       53.77 (51.35, 56.18)
                                                              3 Placebo                          63                       54.05 (51.49, 56.60)
                                                              Total                              210                      52.46 (51.03, 53.90)

*Cohort: 2 A; ELEMENT Cohort 2A, an observational birth cohort from 1997 to 2001. 3 Ca and 3 Placebo, ELEMENT Cohort 3, a randomized double-blind placebo-
controlled trial of calcium supplements from 2001 to 2006. “Ca” denotes subjects who were randomized to the calcium supplement; “placebo” denotes subjects who
were randomized to the placebo. 1) SES, socioeconomic status; 2) MUFcr, Creatinine adjusted maternal urinary fluoride; 3) CRS-R, Conners’ Rating Scale – Revised;
CPT-II; 4) ADHD, Attention Deficit Hyperactivity Disorder; 5) DSM-IV, Diagnostic and Statistical Manual of Mental Disorders – Fourth Edition; 6) CPT-II, Conners’
Continuous Performance Test – Second Edition.

Table 2                                                                                       are exposed to “optimal” levels of fluoride either through water or salt
Multivariatea gamma regression models of differences across CRS-R and CPT-II                  fluoridation schemes. The exposure level in the Mexico City cohort is
scores per 0.5 mg/L higher maternal creatinine-adjusted urinary fluoride                      generally lower than the populations living in endemic fluorosis areas
(MUFcr).                                                                                      studied in China (Choi et al., 2012) where natural levels of fluoride are
                                        β            95% CI                 p                 often higher (> 2 mg/L) than recommended levels for North American
                                                                                              (0.7 mg/L). The mean concentration of MUF in our study is in the range
  CRS-R scores (N = 210)                                                                      of the Canadian cohort (in review), and a New Zealand cohort of 59
  Cognitive Problems + Inattention      2.54         0.44        4.63       .0178
  Restless-Impulsive                    1.92         −0.07       3.91       0.0586
                                                                                              pregnant women (median MUF = 0.82 mg/L) (Skeaff and Te Morenga,
  Hyperactivity                         1.05         −0.91       3.00       0.2953            2017).
  ADHD Index                            2.47         0.43        4.50       0.0175                Our finding of an association between MUFcr and symptoms of in-
  DSM-IV Inattention                    2.84         0.84        4.84       0.0054            attention are consistent with the growing body of evidence showing
  DSM-IV Hyperactivity-Impulsivity      1.69         −0.33       3.70       0.1016
                                                                                              dose-response relationships between early-life exposure to fluoride and
  DSM-IV ADHD Total                     2.38         0.42        4.34       0.0176
                                                                                              attention outcomes. Animal studies (Mullenix et al., 1995) reported
  CPT-II scores (N = 210)                                                                     fewer behavioral initiations and less time exhibiting exploration be-
  Omission Errors                       0.22         −2.30       2.74       0.8643
  Commission Errors                     −0.43        −2.38       1.51       0.6641
                                                                                              haviors among male and female rats exposed to 100 or 125 ppm
  Hit Reaction Time                     1.07         −1.19       3.32       0.3546            fluoride as weanlings (21 days postnatal) and among male rats whose
                                                                                              mothers were injected with 0.13 mg/L of sodium fluoride on gestational
  a
     Adjusted for gestational age, birth weight, sex, parity (being the first child),         days 17–19. These particular behavioral effects are suggestive of hy-
age at outcome measurement, and maternal characteristics including smoking                    poactivity. In human studies, high exposure to fluoride, as reflected by
history (ever smoked vs. non-smoker), marital status (married vs. others),                    the presence of moderate to severe dental fluorosis in primary teeth of
education, socioeconomic status and cohort (Cohort 3 - Ca, Cohort 3 - placebo
                                                                                              children living in southern Sichuan, China, was associated with poor
and Cohort 2A).
                                                                                              working memory, but not with other cognitive domains that were as-
                                                                                              sessed (Choi et al., 2015). Working memory is linked with the ability to
Index. Our observed association of MUFcr and CRS-R seems to demon-
                                                                                              control attention and it is common for youth with ADHD to have
strate a ceiling effect, suggesting that higher levels of urinary fluoride
                                                                                              weaknesses in working memory (Kasper et al., 2012). A possible ex-
concentration did not substantially increase risk of ADHD-like symp-
                                                                                              planation for the specific effect on inattention (Dugbartey, 1998) is that
toms.
                                                                                              fluoride exposure is contributing to thyroid hormone insufficiency.
    Overall, our results are consistent with the ecological study by Malin
                                                                                              Recent studies demonstrate that even relatively subtle changes in cir-
and Till (2015). Their cross-sectional study used national health surveys
                                                                                              culating levels of TH in pregnancy (i.e. subclinical hypothyroidism) can
conducted by the Centers for Disease Control and Prevention to esti-
                                                                                              have adverse outcomes, including preterm birth, lowered IQ (Hollowell
mate the prevalence of ADHD and water fluoridation for each state.
                                                                                              et al., 1999; Murphy et al., 2015; Stagnaro-Green and Rovet, 2016;
Their findings showed that, after controlling for household income,
                                                                                              Thompson et al., 2018) (Yang et al., 2008) and increased risk for at-
states in which a greater proportion of people received community
                                                                                              tention disorders (Modesto et al., 2015; Pakkila et al., 2014) (Rovet and
water fluoridation in 1992 tended to have a greater proportion of
                                                                                              Hepworth, 2001). Some (Swarup et al., 1998) (Swarup et al., 1998), but
children and adolescents who received an ADHD diagnosis in 2003,
                                                                                              not all (Mcpherson et al., 2018), animal studies showed reductions in
2007, and 2011. The prevalence of ADHD increased from 7.8% in 2003
                                                                                              T3 and T4 levels from fluoride exposure, even at low doses. Several
to 11% in 2011. A distinction between this U.S. study and the current
                                                                                              human studies have shown that elevated levels of fluoride in drinking
study is that our study was a longitudinal birth cohort with individual
                                                                                              water predict higher TSH and lower T3 levels (Bachinskii et al., 1985;
biomarkers of fluoride exposure obtained during pregnancy when the
                                                                                              Kheradpisheh et al., 2018; Singh et al., 2014), especially among chil-
developing brain is thought to be at the highest risk for fluoride neu-
                                                                                              dren (Yasmin et al., 2013), as well as an increased likelihood for a di-
rotoxicity (Bashash et al., 2017). Moreover, the current study controlled
                                                                                              agnosis of hypothyroidism. However, further research is needed to
for relevant confounders that may be associated with ADHD, including
                                                                                              examine how exposure to fluoride may affect thyroid function in
smoking, maternal education, child sex, HOME score, and exposure to
                                                                                              pregnancy. Another potential mechanism through which fluoride may
other contaminants. Further, our measure for ADHD was not physician-
                                                                                              contribute to ADHD relates to the dopamine system. Animal studies
diagnosed but rather approximated through validated questionnaires
                                                                                              have shown that fluoride exposure can alter the levels of dopamine (Pal
and performance-based tests. Both studies examined populations that
                                                                                              and Sarkar, 2014). Dopamine is an important modulatory


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             Cognitive Problems + Inattention

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            Hyperactivity

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Fig. 2. Association of maternal creatinine-adjusted urinary fluoride (MUFcr) and Conners' Parent Rating Scales-Revised (CRS-R) measures in children at age 6 to
12 years.
Outcome data are adjusted for gestational age, birth weight, sex, parity (being the first child), age at outcome measurement, and maternal characteristics including
smoking history (ever smoked vs. non-smoker), marital status (married vs. others), education, socioeconomic status and cohort (Cohort 3 Ca, Cohort 3 placebo and
Cohort 2A). Shaded area is the 95% confidence interval. The short vertical bars on the x-axis reflect the density of urinary fluoride measures. Individual data points
are individual observations, n = 210.


neurotransmitter in planning and initiation of motor responses, acti-                                                                                    Our study also has some limitations. The cohort was not initially
vation, switching, reaction to novelty and processing of reward                                                                                      designed to study fluoride exposure and so we are missing some aspects
(Faraone et al., 2015).                                                                                                                              of fluoride exposure assessments (e.g., detailed assessments of diet,
    The stronger association between prenatal fluoride exposure and                                                                                  water, etc.) that are now underway. The urinary samples were not
parent-reports of attention problems may be explained by the CRS-R                                                                                   available for all trimesters of pregnancy for majority of the participants;
measuring distinct and more extensive constructs that rely on attention                                                                              in particular, for those with only one sample, we cannot rule out the
(e.g. new learning, ability to hold information and complete tasks, or-                                                                              possibility that some samples may reflect acute exposure. Differences in
ganizational skills, etc.) than those assessed by the CPT-II. Additionally,                                                                          the proportion of fluoride that is excreted in the urine have been de-
it has been shown that CPT-II performance and parent rating scales are                                                                               scribed for different age groups as well as for pregnant women. Data on
moderately correlated at best (Gualtieri and Johnson, 2005), suggesting                                                                              the percentage of fluoride excreted for children and adults are avail-
that these measures are assessing different constructs. Other studies                                                                                able, which makes estimation of intake feasible. On the other hand,
examining prenatal Polychlorinated Biphenyis (PCBs) exposure and                                                                                     data for pregnant women are sparse, making estimates of intake from
sustained attention (Vreugdenhil et al., 2004) that report using the                                                                                 urinary concentration not feasible. Therefore, while urinary fluoride is
computerized continuous performance test with children aged 4 and                                                                                    a valid biomarker to identify differences in exposure levels in pregnant
11 years also fail to show an association with this measure, but do find                                                                             women, it is not possible, with the currently available data, to estimate
an association using other psychometric tests of attention (e.g. digit                                                                               how concentration levels relate to intake. With regards to our outcome
cancellation task). Further investigation of cognitive performance on                                                                                measure, we did not have information on family history or genetic
other domains, such as learning and memory, is warranted in our study                                                                                markers associated with ADHD, nor were children assessed clinically
cohort.                                                                                                                                              for a diagnosis of ADHD. Only parent reports were used for the CRS-R,
    Key strengths of this study include the relatively large pregnancy                                                                               and not teacher reports. This is a limitation to our study as previous
cohort that has a biorepository with a capacity to capture high quality                                                                              studies have shown that there can be considerable variation between
individual biomarker exposure across multiple developmental time                                                                                     the two sources in terms of identifying ADHD-associated behaviors
points, longitudinal follow-up, detailed assessment of ADHD-like be-                                                                                 (Lavigne et al., 2012). Nevertheless, parents were unaware of their
haviors using both rating scales and performance based measures, as                                                                                  offspring's fluoride exposure status, removing reporting bias as a lim-
well as measurement of additional health outcomes and potential                                                                                      itation. Although elevated scores on behavioral checklists like the CRS-
covariates using validated techniques (Thomas et al., 2016). Assess-                                                                                 R may be associated with a diagnosis of ADHD, the functional con-
ment of attention, hyperactivity, and impulsivity using multiple mea-                                                                                sequences of the symptoms must also be characterized for clinically
sures allowed us to examine different types of ADHD-like behaviors                                                                                   diagnosing the disorder.
using continuous scales that are sensitive to both clinical and sub-
clinical symptoms of ADHD. This approach minimizes the limitations of
viewing ADHD as a categorical and conceptually distinct disorder.


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5. Conclusion                                                                                           Prim. 1, 15020.
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                          Exhibit A
        Adkins Declaration, Exhibit 09
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                                                                                  NeuroToxicology


        Full Length Article

        In utero exposure to fluoride and cognitive development delay
                                                                                                                                                            in
        infants                                                                                                                                                                 CrossMark


        L. Valdez Jiméneza, O.D. López Guzmán", M.
                                                   Cervantes Flores", R. Costilla-Salazar`,
       J. Calderón Hernándeza, Y. Alcaraz Contreras', D.O. Rocha
                                                                                                              -Amador&*                                                      Exhibit 297
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       ARTICLE INFO                                               ABSTRACT
      Article history:
      Received 21 December 2015                                   The objective of this study was to evaluate the
      Received in revised form 24 November2016                                                                      association between in utero exposure to fluoride (F) and
                                                                  Mental and Psychomotor Development (MDI and PDI)
      Accepted 15 December 2016                                                                                                evaluated through the Bayley Scale of Infant
                                                                  Development II (BSDI -11) in infants. The sample included 65 mother
      Available online 8 January 2017                                                                                                   -infant pairs. Environmental exposure
                                                                  to F was quantified in tap and bottled water samples
                                                                                                                         and F in maternal urine was the biological exposure
                                                                 indicator; samples were collected during the 1st, 2nd and 3rd
      Keywords:                                                                                                                   trimester of pregnancy. The mean values of
                                                                 F in tap water for the 1st, 2nd and




o     Fluoride exposure in utero                                                                          3rd trimester were 2.6±1.1 mg/I, 3.1 ±1.1 mg /I and 3.7 t1.0
                                                                 respectively; above to 80% of the samples exceeded the reference                                             mg /I
      Infant                                                                                                                               value of 1.5 mg/1 (NOM- 127-SSAI-
      Cognitive development delay                                1994). Regarding F in maternal urine, mean values were 1.9 ±
                                                                                                                                  1.0 mg /I, 2.0 ±1.1 mg /I and 2,7 ± 1.1 mg /I for
                                                                 the 1st, 2nd and 3rd trimester respectively. The infants with
                                                                                                                                 MDI and POI scores less than 85 points were
                                                                 38.5% and 20.9% respectively. After adjusting for
                                                                                                                      potential confounding factors (gestational age, age of
                                                                 child, marginalization index and type of water for consumption),
                                                                                                                                      the MDI showed an inverse association
                                                                 with F levels in maternal urine for the first (ß= -19.05, p- 0.04)
                                                                 p- 0.01). Our data suggests that cognitive alterations in children        and second trimester            (ß-
                                                                                                                                                                           19.34,
                                                                                                                                       born from exposed mothers to F could
                                                                 start in early prenatal stages of life.
                                                                                                                                                      ® 2017 Published by Elsevier B.V.


     1. Introduction
                                                                                                    Valiez et al., 2015). The bioavailability of F through
                                                                                                                                                                        ingestion 80-
                                                                                                     100% (ATSDR, 2003).
        Fluorides are naturally-occurring components in rocks and soil
                                                                                                         Epidemiological research conducted in school age children
     and are also found in air, water, plants, and animals. The
                                                                 general                             living in endemic hydrofluorosis areas have evaluated
     population is exposed to fluoride (F) through the consumption of                                                                                                the
                                                                                                     influence of exposure of F on cognitive development assessed as
     drinking water, foodstuff, and dental products. Populations living
                                                                                                    intelligence quotient scores (IQ). Different intelligence tests
    in areas with naturally high F levels in water and soil may                                                                                                     have
                                                                      be                            been used (RAVEN -Chinese version, Wechsler Intelligence
    exposed to high levels of F in water, especially if drinking water is                                                                                                       Scales,
                                                                                                    Stanford -Binet Intelligence Scale) and have reported lower IQ
    provided from wells (ATSDR, 2003; Vineet Dharl, 2009). In the
                                                                                                    points associated with F exposure at concentrations of
    central and north areas of Mexico there are groundwater
                                                                    with                            2.20-3.94 mg /1 compared with residents from control
    elevated levels of F (Ortega-Guerrero, 2009). In this areas, almost                                                                                            areas
                                                                                                    (concentrations of F in water <0.41 mg /1). The lack of biomarkers
    90% of the population has the practice of use tap
                                                          water for food                           of exposure and control of potential confounders is an issue
    preparation and direct consumption as drinking water Qarquin-                                                                                                   that
                                                                                                   has to be considered in these studies (Karinlzade et
                                                                                                                                                              al., 2014;
                                                                                                   Trivedi et al., 2012). Other well conducted research papers
                                                                                                                                                                    also
                                                                                                   reported that F decreases IQ scores (Ding et al., 2011;
                                                                                                   Rocha -Amador et al., 2007).
     ' Corresponding author at: Departamento de Farmacia, División de Ciencias                         Cognitive development alterations associated with F exposure
    Naturales y Exactas, Universidad de Guanajuato Noria Alta                                      could start in early prenatal stages of life and come up later
                                                               S /N, C.P. 36050                                                                                       at
    Guanajuato, Guanajuato, México.                                                                school age; and likely continue into adulthood. Few studies


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       E -mail address: drochaa@ugto.mx (13.0.
                                                                                                                                                                   have
                                               Rocha -Amador).                                     explored this hypothesis and the evidence is inconclusive.
                                                                                                                                                                     For
    http: / /dx.doi.org/ 10.1016)j,neuro.2016.12.011
    0161 -813X/0 2017 Published by Elsevier B.V.
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     example, Chinese newborns; scored lower in the Standard                       housing conditions, number of rooms and bedrooms, type of

o    Neonatal Behavioral Neurological Assessment (NBNA) test in the
     high exposure group (F in urine 3.58 ± 1.47) compared with the
                                                t
     control group (1.7410.96 mg/I); 36.48 1.09 vs 38.28 1.10,
     p <0.05, respectively (Li et al., 2008). Another study in aborted
                                                                      t
                                                                                   Floor, toilet, and availability of goods. Two additional surveys were
                                                                                   applied during the 2nd and 3rd trimester of pregnancy to get
                                                                                   information about the mother's health, pregnancy evolution and
                                                                                   sources of water consumption.
     fetuses of mothers living in an endemic hydrofluorosis area
     (4.3 ± 2.9 mg /I of F in urine) reported changes in neurotransmitters         2.3. Fluoride exposure assessment
     compared with levels of aborted fetuses of mothers living in non -
    endemic areas (F in urine 1.67±0.8mg /I) (Yu et al., 2008).                        Tap and bottled water samples were collected at participant's
    Regarding experimental studies, data shows that F accumulates in               home. First morning voided urine samples were collected in plastic
    the brain, specifically in the hippocampus; a region associated with           bottles at each trimester of pregnancy (as described in participants
    memory, attention and learning (Shivarajashankara et al., 2001;                and recruitment). All samples were kept refrigerated at -4 °C until
    Bhatnagar et al., 2006; Basha et al., 2011). About gestational                 processed.
    exposure, some experimental studies, indicated that F alters                       Fluoride in water (FW) was quantified by adding a TISAB buffer
    learning and memory (Mullenix et al.,1995; Bera et al., 2007; Basha            to the samples just prior to the analysis with a specific ion sensitive
    et al., 2011).                                                                 electrode. As an internal quality control, primary standard
         In endemic hydrofluorosis areas millions of people consume                reference material "Fluoride standard solution" (NIST SRM 3183;
    contaminated water daily, including pregnant women and there is                National Institute of Standards and Technology, United States) was
    evidence that support the F capacity to cross the placental and the            analyzed. The accuracy was 98 ± 3%. F in maternal urine (FU) was
    blood -brain barriers and accumulate in critical areas of the brain            analyzed according to the method 8308 (Fluoride in urine) from
    related to cognitive development. The objective of this research               the National Institute of Occupational Safety and Health (NIOSH,
    was to evaluate the influence of in utero exposure to F in Mexicans            1984). As quality control "Urine Control Lyophilized for Trace
    infants born from mothers living in endemic hydrofluorosis areas               Elements" ClinChek'^' of Iristech Co was analyzed. The accuracy
    on the Mental and Psychomotor Development (MDI and PDI)                        was 97 ± 6%. The F urine levels were corrected by specific gravity
    through the Bayley Scale of Infant Development II (BSDI -II).                  and were reported as mg /I (AIHA, 2004).

    2. Methodology                                                                 2.4 Maternal interview about child's health

    2.1. Participants and recruitment                                                A survey was conducted to get information about childbirth
                                                                                  (type of birth, week of birth, weight and length at birth, Apgar and
          Authorizations from the authorities of the Ministry of Health           health conditions of the baby during the first month of life). This
    (SSA) of the selected municipalities included for the study were              information was corroborated with the birth certificate. The
    obtained. The project protocol was conducted in accordance with               gestational age of the babies was calculated and classified into
    the Declaration of Helsinki and was approved by the bioethics                 three categories: immature (21 -27 weeks of gestation and birth
    committees of the SSA from the municipalities. Follow up was                  weight <1.0 kg); preterm (28 -37 weeks of gestation and birth
    conducted in pregnant women recruited from 2013 to 2014 who                   weight between 1.0 to 2.5 kg); and term (37 -41 weeks and birth
    received prenatal care in health centers located in Durango City              weight >2.5 kg) according to the Official Mexican Norm 007 (NOM -
    and Lagos de Moreno, Jalisco, Mexico. Both are endemic hydro -                 007-SSA2- 1993).
    fluorosis areas (Hurtado- Jiménez and Gardea -Torresdey, 2005;
    Rocha -Amador et al., 2007). Inclusion criteria were: <12 weeks of            2.5. Neurodevelopmental and behavioral evaluation in young children
    gestation, with no history of thyroid disease, without clinically
    diagnosed diabetes, and a minimum 5 years of residence in the                     Neurodevelopment was assessed with the Bayley Scales of
    study area; 182 potential participants were identified. Each woman            Infant Development II (BSDI -II) (Bayley, 1993). This test has good
    was visited at home to explain the objective of the study, the risks          reliability and validity; it is applied to evaluate developmental
    and the benefits of their participation. A written informed consent           delay in children between 3 months to 5 years in Mexico by the SSA
    was obtained from those who agree to participate (n =90) and 65               (CNPSS, 2013). The Mental Development Index scale (MDI) of the
    women approved the participation of their infants in the                      Bayley test evaluate aspects of functioning such as eye -hand
    neuropsychological evaluation. Water and urine sample .were                   coordination, manipulation, understanding of object relation,
    obtained at three periods through pregnancy; 1st trimester                    imitation and early language development whereas the Psycho-
    (between the 8 to 12 week), 2nd trimester (between the 24 to                  motor Development Index (PDI) scale assesses gross motor
    28 week) and the 3rd trimester (after the 30 week); 65, 46 and 29             development. A trained psychologist who was blinded about
    women provided water and urine samples for the 1st, 2nd and 3rd               mother's F exposure evaluated the infants at the participant's
    trimesters, respectively.                                                     home; the application lasted 30 -45 min. All young children were
                                                                                  healthy at the time of the test application and accompanied by the
    2.2. Maternal interviews                                                      mother. The raw scores of MDI and PDI were standardized by age
                                                                                  with an average of 100 and a standard deviation of 15. To
        In the 1st trimester of pregnancy a questionnaire was applied to          standardize the raw scores for children who were born prema-
    obtain information about sociodemographic, prenatal history,                  turely, the number of months of prematurity was subtracted from
    mother's health status before pregnancy (use of drugs, vaccines,              their chronological age. The scores below 85 points indicated a
    diseases, etc.) and the type of water for drinking and cooking. The           possible developmental delay.
    marginalization index (MI) was obtained from the National
    Population Council (CONAPO). The mother's address was geo-                    2.6. Statistical analysis
    graphically referenced to identify the basic geostatistical area
    (AGEB) to which she belonged. The marginalization index                          The sample size was calculated with data from a previous study
    integrates information from educational level variables to health             of decreased IQand F exposure in school age children. In this study
    services and social assistance, living and deceased children,                 near to 60% of the children consumed contaminated water and the
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       prevalence of children with IQ below 90 points was 25% in the                    Table 1
       control group (F urine 1.5 mg /g creatinine) in comparison with the              Comparison of general characteristics between the pregnant women who
                                                                                        consented to their children's cognitive evaluation and participants that only
      58% of children in the exposed group (F urine >5 mg/g creatinine)
-/    (OR 4.1, CI 95% 1.3 -13.2) (data unpublished). A meta -analysis of F
                                                                                        participated in the biological monitoring.
                                                                                                                             (n =65)             (n =25)              pa.b
      and children's intelligence also reported a similar OR (Tang et al
      2008). The two -side confidence level and power were 95% and 80%                    Age`
      respectively. The method followed was the X- Sectional, Cohort, &                   Years                              22.0±4.0            20.7±5.0             0.09
                                                                                                                             (15 -30)            (20 -28)
      Randomized Clinical Trials. The final sample was 86, in our study
      90 women accepted to participate in the pregnancy follow up. The                    Education°
      calculation was done with Open Epi.                                                 Illiterate                        10.7 (7)             12.0(3)
          Regarding statistical analysis, first we examined the univariate                Incomplete elementary             12.3 (8)             4.0 (1)              0.13
      (mean, standard deviation, and proportions) characteristics of                      school                            16.9 (11)            8.0 (2)
                                                                                          Elementary school                 41.5 (27)            44.0 (11)
      demographic, maternal and child factors. The variables, concen-                     High school                       18.4 (12)            32.0 (8)
      tration of F in tap water, F in bottled water and F in maternal urine
      were log10- tranformed and reported as geometric mean and                           Marital status°
      standard error. Normality, homoscedasticity and linearity assump-                   Married                           69.7 (45)            80.0 (20)            0.72
                                                                                          Single                            30.2 (20)            20.0 (5)
      tion were satisfied for MDI and PDI scores and were modeled as
      continuous variables. For qualitative variables, frequency and                      Occupation°
      percentage (education, marital status, occupation, parity, type of                  Housewife                         70.8 (46)            44.0 (11)            0.72
      water used for drinking or cooking) are reported. F levels in tap                   Works                             23.1 (15)            32.0 (8)
      water, bottled water and maternal urine across trimesters were                      Student                           6.1 (4)              8.0 (2)
                                                                                          Search works                                           16.0 (4)
      compared with paired t- test (1st and 2nd, 2nd and 3rd and 1st and
      3rd). The relationship between education, occupation and marital                    Parity°
      status of the mother, the type of water for drinking and food                       First pregnancy                   44.6 (29)            64.0 (16)            0.76
     preparation, child sex, type of birth, breastfeeding, birth weight,
                                                                                          Drinking water°
     number of antenatal care visits and MDI and PDI scores were                          Bottled water                     64.6(43)             48.0 (12)            0.20
     analyzed using bivariate tests as applied (correlations, t- student,                Tap water                          33.8 (22)            52.0 (13)
     ANOVA). Previous to run multivariable regression linear models we
     explored the goodness of fit between the dependent variables (MDI                   Cooking water
     or PDI) and the F in maternal urine exposure by each trimester with                 Bottled water                      33.8 (22)            16.0 (4)             0.46
                                                                                         Tap Water                          66.1 (43)            84.0 (21)
     the curve fitting method to find the best -fit line. Also, scatterplots
     were conducted as a visual exploratory tool between the F                           Marginalization Index°
     exposure- outcome. To examine the association between BSID II                       Very high
     scores and maternal F exposure, we performed separate adjusted                      High                               12.3 (8)             12.0 (3)            0.90
                                                                                         Medium                             52.3 (34)            48.0 (12)
     multiple regression linear models (MRLM) for MDI and PDI by the                     Low                                24.6 (16)            28.0 (7)
     1st and 2nd trimesters of pregnancy. All models were adjusted for                   Very Low                           10.8 (7)             12.0 (3)
     the same set of covariates (gestational age, children age, MI and
                                                                                       'Continuous variables were compared through t-test
     type of drinking water) even if they were not significant in the                  ^categorical variables were analyzed by chi -square test.
     bivariate analysis. Finally, we reported two MRLM including only                  `Arithmetic mean ±standard deviation (minimun -maximun).
     children with data of F in maternal urine for both the 1st and the                °Percentage (n).
     2nd trimester (n =46). The stepwise method was used to select the
     best-fit model. To assess the validity model, residual analysis was
                                                                                       Table 2
     performed. All statistical analysis was performed with SPSS 20                    Fluoride concentration (water, bottled and urine) by trimester of pregnancy.
     (SPSS Inc., Chicago, IL, USA) the significance level was set at
     p < 0.05.                                                                           F concentration    (mg(I)       GM±SE'          (min-max.)
                                                                                         Trimester
     3. Results                                                                            Tap water                                                         %<NOM127'
                                                                                         First                           2.6±1.1         (0.5-10,8)          81.5
                                                                                         Second                          3.1±1.1         (0.7-10.0)          86.7
         Table i shows the comparison of general characteristics of the                  Third                           3.7±1.0         (0.6-12.5)          92.2
      pregnant women between participants in the biological monitor-                       Bottled Water                                                     %<NOM41b
     ing and the women who agreed to their child's cognitive                             First                           23 ±1.1         (0.01 -5.7)         52.0
      evaluation. The average age of the participants was 22.4±4.0, in                   Second                          2.0±1.1         (0.02-8.1)          50.0
                                                                                         Third                           2.9±1.0         (0.02-7.9)          66.7
      education 41.5% of the participants had completed high school.                       Urine %>0.65`
      Regarding marital status, 69.7% of the participants were married,                  First                           1.9±1.0         (0.16 -4.9)         96.0
     70.7% of the participants reported being housewives, and for 44.6%                  Second                          2.0 ±1.1        (0.7 -6.0)          100.0
     of the participants it was their first birth. About marginalization                 Third                           2.7±1.1"        (1.3 -8.2)          100.0
     index 52.3% of participants were classified in the mid -level. Almost             aNOM- 127 -SSA1 -1994 (1.5 mg/l); bNOM- 041 -55A1 -1993 (0.7 mg/l): `0.65 mg /I level
     64.6% of the participants reported tap water for drinking and 56.6%               in pregnant women determined by ion selective electrode (Opydo- Szymaczek and
     use tap water for prepare food (data not shown). No statistical                   Borysewicz- Lewicka, 2005b); 1st trimester n -65; 2nd trimester n =46; 3rd
                                                                                       trimester n =29; Geometric mean ±standard error; " Differences were observed
     significant differences (p> 0.05) in education level, marital status,             with the 1st, 2nd vs the 3rd trimester (p =0.004 and p =0.009 respectively trought
     occupation, parity, MI or type of drinking water were observed                    paired r test; n -29).
     between pregnant women whose children participated in the
     study and those who were did not participate in the neuropsycho-
U    logical evaluation (n =25).
        Table 2 shows information about F levels in tap water. The
     values ranged from 0.5 to 12.5 mg /I, 81.5 %, 86.7% and 92.2% of
                                                                                       samples in each trimester exceeded the NOM -127 -SSA1 -1994
                                                                                       (1.5 mg /I). No statistically significant differences were observed
                                                                                       between trimesters (1st vs 2nd p = 0.35; 1st vs 3rd p = 0.28 and 2nd
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     vs 3rd p = 0.79). Regarding bottled water 52.0 %, 50.0% and 66.7% of                                                        f
                                                                                           average 3.1 ±0.5 kg and 50 6.0 cm, respectively. We found higher
    Osamples in each of the trimesters exceeded the NOM- 041 -SSA1-                        levels of F in urine across trimester in premature compared with
     1993 (0.7 mg/I). The mean concentration of F in the urine of the                      full term 2.4 vs 1.6 mg/1 (1st); 2.3 vs 1.8 mg/1 (2nd); and 4.1 vs
     mothers was 1.9±1.0 mg/1 (0.16 -4.9 mg /I) for the 1st trimester,                     2.8 mg/I (3rd) (data not shown). During pregnancy, women
     2.0±1.1 mg /1 (0.7 -6.0 mg /I) for the 2nd and 2.7±1.1 mg /1 (1.3-                    reported having an average of 8 prenatal control visits and
    8.2 mg /I) for the 3rd trimester. There is not a biological exposure                   92.3% reported that they breastfed their children (with a duration
    index for F in urine in pregnant women. However, we compared                           between 3 to 7 months). Regarding, BSID -II the mean of MDI score
    our data with the mean value of F in urine (0.65 mg/I) of pregnant                    was 91.6 ± 14.3 (ranged from 60 to 135 points), the normal range of
    women residents in areas with low levels of F in drinking water                        MDI is between 85 to 115, 38.5% of the newborns scored below 85
    (0.4 -0.8 mg /I) and 96% to 100% of the samples for the three                         while 11.9% scored above 115. Regarding PDI, the average was
    trimesters exceeded this value (Opydo -Szymaczek and Boryse-                           90.9 ± 13.5 (ranged from 54 to 131 points). The proportion of
    wicz- Lewicka, 2005). No statistically significant differences were                    infants scored less than 85 was 20.9% and 6% scored over 115
    observed between the levels of F in urine of the mother between                        points.
    the 1st and the 2nd trimester (p >0.05). Only differences were                             Table 4 shows results of MRLM between F in urine and MDI and
    observed with the 1st, 2nd vs the 3rd trimester (p =0.004 and                         PDI. After adjusting for potential confounders, an inverse associa-
    p = 0.009 respectively; n = 29). Nevertheless, when we correlate F in                 tion was observed between levels of F in urine in the 1 st and 2nd
    urine levels into trimesters we found a relationship between the                      trimesters with MDI scores (ß =- 19.05; p =0.04; (3 =- 19.35;
    1st and 2nd trimester r =0.40, p =0.05 (n =46) and 2nd and 3rd                        p =0.013 respectively). No differences in general characteristics
    r =0.37, p =0.05 (n =29).                                                             and F in urine levels (2.2 vs 2.1 mg /1, p =0.47) were observed
        In Table 3 pregnancy and childbirth characteristics are listed.                   between the 46 women who provided environmental and
    The average age of children assessed was 8 months (3 -15 months)                      biological samples in the 1st and 2nd trimester with the 19
    and almost 70% were girls. Only 66.2% of the babies were at term.                     women who do not provided samples for the 2nd trimester (data
    From this 66.2% were born vaginally and weighed and measured on                       no shown).

                                                                                          4. Discussion
    Table 3
    Characteristics of pregnancy, childbirth and development indices of infant               The objective of this research was to evaluate the influence of in
    evaluated.
                                                                                          utero exposure to F on Mental and Psychomotor Development
      Variable                                                                            evaluated through the BSDI II in Mexican children born from
                                                                    %    (n)              mothers living in endemic hydrofluorosis areas. The proportion of
      Gender                                                                              children with values of MDI less than minus one standard
      Male                                                          30.7 (20)             deviation (SD) was 38.5 %; scores under 85 points are considered

O     Female

      Gestational age (NOM 007)'
      Immature
                                                                    69.2 (45)             as an indicator of possible developmental delay. This test evaluates
                                                                                          psychological processes such as attention, memory, sensory
                                                                                          processing, exploration and manipulation, and concept formation
      Premature                                                     33.8 (22)             (Bayley, 1993). F in maternal urine ( logro) for the 1st and the 2nd
      Term                                                          66.2 (43)             trimester were negatively associated with MD1 ((3 =- 19.05;
      Type of delivery
      Vaginal                                                       66.2 (43)
      Caesarean section                                             33.8 (22)             Table 4
                                                                                          Multiple Regression Linear Models of MDI and maternal fluoride exposure after
      Feeding type
                                                                                          adjustments forgestational age, age of child, marginality index and type of drinking
      Breast feeding                                                92.3 (60)             water (1s' and 2"d trimester).
      Formula                                                       7.6 (5)
                                                                   R 3SOd                   1" trimester                             Standard error    Standard p     p
                                                                   (min- max.)              (Constant)                     95.9      3.3                              0.00
      Birth weight (kg)                                             3.1 ±0.5                Maternal exposure to F         -15.8     9.07              -0.27          0.08
                                                                    (1.8 -4.0)              Adjusted Model
                                                                                            (Constant)                     46.1      19.36                            0.022
      Size at birth (cm)                                            50.0 ± 6.0              Gestational age b              -10.0     6.59              -0.23          0.13
                                                                    (27.0 54.0)-            Age of child                   0.55      0.76              0.11           0.47
                                                                                            Marginality index              1.5       2.49              0.09           0.54
      Number of antenatal care visits                              8.0+3.0
                                                                   (4.0 -20.0)
                                                                                            Type of drinking water `
                                                                                            Maternal exposure to     r     -13.3
                                                                                                                           -19.05
                                                                                                                                     5.4
                                                                                                                                     8.9
                                                                                                                                                       0.38
                                                                                                                                                       -0.32
                                                                                                                                                                      0.02
                                                                                                                                                                      0.04

      MDIb                                                         91.6+14.3                2" trimester                   ß         Standard error    Standard ß     p
                                                                   (60.0-135.0)             (Constant)                     97.0      3.1                              0.00
                                                                                            Maternal exposure to F         -18.1     7.6               -0.34          0.02
      MDI` % < 85                                                  38.5                     Adjusted Model
      MDI %> 115                                                    11.9                    (Constant)                     47.31     18.31                            0.014
      PDI°                                                         90.9313.5                Gestational age b              -10,51    6.23              -0.24          0.1
                                                                   (54.0- 131.0)            Age of child                   0.57      0.73              0.11           0.43
                                                                                            Marginality index              2,22      2.35              0.14           0.35
     PDI` % <85                                                    20.9                     Type of drinking water `       -11.39    4.88              0.34           0.025
     POIS> 115                                                     6.0                      Maternal exposure to F a       -19.34    7.46              -0.36          0.013
    'N0M007 Immature (21 -27 weeks, weight> 1.0 kg; Premature 28 -37 weeks                'Log of F in urine.
    gestation weight between 1.001 to 2.5 kg); term 37 -41 weeks gestation, weight        °Gestational age was coded like In term, 2= preterm and 3= immature.
    > 2.5 kg).                                                                            `Type of drinking water was coded like 1 = bottled and 2 -tap; 1st trimester:
    "Reference value 100315.                                                              R -0.26; R2 -0.07; 1st trimester adjusted model: R -0.50; R2-0.25; Durbin -
    `Possible developmental delay (n =65).                                                Watson=2.2, p =0.05: 2nd trimester: R=0.34; R2 =0.11; 2nd trimester adjusted
    dArithmetic mean ± standard deviation.                                                model: R=0.53; R2 =0.28; Durbin -Watson -1.88, p -0.02; n =46 for both MLRM.
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      p = 0.04; ß = -19.34; p = 0.01, respectively) and the R- squared was           The incidence of prematurity according to the National Institute

o     24 %. These coefficients indicate that for every additional F in
      maternal urine (login) we can expect MDI to decrease by an average
      of 19.5 scores. In previous studies conducted by our group we
      reported similar results between F levels in urine in school age
                                                                                     of Perinatology is 19.7 %. The World Health Organization (WHO) in
                                                                                     Mexico reported a rate of 7.3 cases per 100 births (Zamudio et al.,
                                                                                     2013); compared with 33.8% of cases per 100 births that we
                                                                                     observed in our study. We have 26.5% more cases than expected. A
      children and IQ scores (R2 =25 %; ß= -16.9; p =0.05) (Rocha-                   study conducted in and endemic hydrofluorosis area (F water
      Amador et al., 2007). In the present study the highest value                   levels on average 4.7 mg/I) reported 25.9% of newborns weighing
      quantified of F in maternal urine was 8.2 mg/I for the 3rd trimester;          less than 2.5 kg compared with 6.9% in the control area (F water
      in other endemic hydrofluorosis areas of Mexico it is possible that            <0.009 mg/1).A risk of 1.99 (95% CI 1.3 -3.67) of having babies with
     women have similar levels of F in urine. It is particularly important           low birth weight (Diouf et al., 2012). None of the mothers
     because critical periods of development are most likely to occur in             involved in this research, reported drink alcohol or smoke during
     utero, the development of the CNS begins in the third week of                   pregnancy; thus the high proportion of low birth weight babies is
     gestation and continues maturation into adolescence (Selevan                    not explained by these factors. Another fact that stands out, is the
     et al., 2000); thus F exposure in utero could possible explain the              high proportion of girls born in the cohort (69.2 %) compared to
     cognitive alterations observed in school age children chronically               the 51.2% reported by CONAPO for Mexican population. In the
     exposed to this element (Rocha -Amador et al., 2007; Poureslami                 present study we did not find differences between gender
     et al., 2011). Some authors mention that attention, memory and                  (p> 0.05).
     visuospatial organization could be impacted by F exposure                          This study has some limitations including the small sample size
     (Calderón et al., 2003; Jiang et al., 2014) and recent reports have             of evaluated children, the low participation to provide biological
     linked F exposure to attention problems and hyperactivity in                    and environmental samples in the last trimester and it was
     adolescents (Malin and Till, 2015).                                             conducted in residents from endemic areas. However, in Mexico F
         The BSID -II has been used in other risk settings to test pesticides        in water remains as the main source of F exposure. In endemic
     exposure or low socioeconomic status contribution to children                   hydrofuorosis areas of Mexico only non -fluorinated salt is
     cognitive development (Eskenazi et al., 2006; Kolobe 2004). In this             distributed according to the NOM -040 -SSA7 -1993.
     stud, we did not find any differences between MDI and MI
     (p>0.05), nevertheless this variable was included in the final
                                                                                     5. Conclusion
     models. Regarding PDI and F in maternal urine we did not find any
     association with F in urine in the 1st and 2nd trimesters before and
                                                                                         Due the importance of cognitive development in children and
     after performing multivariable modeling (1st 0=6.28, p =0.48;
     2nd ß =5.33, p =0.48, respectively) (data not shown).                           the amount of people (millions) exposed daily; more studies need
                                                                                     to be conducted to support the in utero exposure of F and effects in
         Regarding F levels in tap water mean concentrations for each
                                                                                     young children. Considering previous data supporting the poten-

o    trimester were: 2.6±1.1 mg/I, 3.1 ±1.1 mg/I and 3.7±1.0 mg /I
     respectively. It is worthy to note that over 81.5% of the samples
    of tap water were above 1.5 mg /I (NOM -127- SSA1 -1994) with the
    highest value of 12.5 mg /I. These higher values are consistent with
    reports of F in groundwater in the study sites (Hurtado- Jiménez
                                                                                     tial neurotoxicity of F in school -age children, preventive measures
                                                                                     in affected communities should be implemented (communication
                                                                                     programs, treatments water methods and a continuous monitoring
                                                                                     to guarantee water quality) to decrease the F intake through
     and Gardea -Torresdey, 2005; Rocha -Amador et al., 2007). About                 drinking water along with an early intervention cognitive program
                                                                                     in infants who are at risk of developmental delay or disabilities.
     maternal exposure to F, the data indicate that over 96.0% had levels
    of F in urine above 0.65 mg /I (reported in pregnant women exposed
                                                                                     Conflict of interest
    to low levels of F in water; Opydo- Szymaczek and Borysewicz-
    Lewicka, 2005) in the 1st trimester, while in the 2nd and 3rd
                                                                                        None.
    trimester were 100% and 100% respectively. The F levels in urine
    were similar as expected in endemic hydrofluorosis areas (F in
    water 1.7 -6.0 mg/1; F in urine 3.58 ± 1.47 mg /I) (Li et at, 2008).            Acknowledgements
    Comparing the average values of F in urine by each trimester, we
                                                                                       The authors acknowledge the financial support of this research
    noted that the first two trimesters remained constant (1.9 ± 1.0 mg/
                                                                                    by CONACYT with number 181577, FONSEC 2012 and the
    I vs 2.0 ± 1.1 mg /I), except for the 3rd trimester the average values
    were 1.5 times higher (2.7 ± 1.1 mg /I). Some authors mention that              University of Guanajuato through DAIP support with number
                                                                                    FO- DAI -05, 2013. The present work was carried out during the first
    metabolism of F change with gestation, decreasing the absorption
    of F in calcified tissues and decreasing fetal bone calcification at the
                                                                                    period of the first author postdoctoral training (fellowship number
    end of pregnancy (Opydo- Szymaczek and Borysewicz -Lewicka,                     239404).
    2005). It is possible that the observed increment in F in urine for
    the 3rd trimester could be explained by this mechanism. However,                 References
    we only get samples for 41.5% of participants. In our study 92.3% of            American Industrial Hygiene Association, 2004. Biological Monitoring. A Practical
    women reported breastfeed their babies and F is poorly transferred                  Field Manual. United States of America. pp. 15.
    from plasma to mill< (Ekstrand et al., 1981). However, it is                    Agency for Toxic Substances and Disease Registry (ATSDR), 2003. Toxicological
                                                                                        Profile for Fluoride. Department of Health and Human Services, Atlanta, GA.
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                          Exhibit A
        Adkins Declaration, Exhibit 10
                        Green 2019
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                 Research



                 JAMA Pediatrics | Original Investigation

                 Association Between Maternal Fluoride Exposure
                 During Pregnancy and IQ Scores in Offspring in Canada
                 Rivka Green, MA; Bruce Lanphear, MD; Richard Hornung, PhD; David Flora, PhD; E. Angeles Martinez-Mier, DDS;
                 Raichel Neufeld, BA; Pierre Ayotte, PhD; Gina Muckle, PhD; Christine Till, PhD


                                                                                                                                    Editorial and Editor's Note
                    IMPORTANCE The potential neurotoxicity associated with exposure to fluoride, which has                          Supplemental content
                    generated controversy about community water fluoridation, remains unclear.

                    OBJECTIVE To examine the association between fluoride exposure during pregnancy and
                    IQ scores in a prospective birth cohort.

                    DESIGN, SETTING, AND PARTICIPANTS This prospective, multicenter birth cohort study used
                    information from the Maternal-Infant Research on Environmental Chemicals cohort. Children
                    were born between 2008 and 2012; 41% lived in communities supplied with fluoridated
                    municipal water. The study sample included 601 mother-child pairs recruited from 6 major
                    cities in Canada; children were between ages 3 and 4 years at testing. Data were analyzed
                    between March 2017 and January 2019.

                    EXPOSURES Maternal urinary fluoride (MUFSG), adjusted for specific gravity and averaged
                    across 3 trimesters available for 512 pregnant women, as well as self-reported maternal daily
                    fluoride intake from water and beverage consumption available for 400 pregnant women.

                    MAIN OUTCOMES AND MEASURES Children’s IQ was assessed at ages 3 to 4 years using the
                    Wechsler Primary and Preschool Scale of Intelligence-III. Multiple linear regression analyses
                    were used to examine covariate-adjusted associations between each fluoride exposure
                    measure and IQ score.

                    RESULTS Of 512 mother-child pairs, the mean (SD) age for enrollment for mothers was
                    32.3 (5.1) years, 463 (90%) were white, and 264 children (52%) were female. Data on MUFSG
                    concentrations, IQ scores, and complete covariates were available for 512 mother-child
                    pairs; data on maternal fluoride intake and children’s IQ were available for 400 of 601
                    mother-child pairs. Women living in areas with fluoridated tap water (n = 141) compared with
                    nonfluoridated water (n = 228) had significantly higher mean (SD) MUFSG concentrations
                    (0.69 [0.42] mg/L vs 0.40 [0.27] mg/L; P = .001; to convert to millimoles per liter, multiply
                    by 0.05263) and fluoride intake levels (0.93 [0.43] vs 0.30 [0.26] mg of fluoride per day;
                    P = .001). Children had mean (SD) Full Scale IQ scores of 107.16 (13.26), range 52-143, with
                    girls showing significantly higher mean (SD) scores than boys: 109.56 (11.96) vs 104.61
                    (14.09); P = .001. There was a significant interaction (P = .02) between child sex and MUFSG
                    (6.89; 95% CI, 0.96-12.82) indicating a differential association between boys and girls.
                    A 1-mg/L increase in MUFSG was associated with a 4.49-point lower IQ score (95% CI, −8.38
                    to −0.60) in boys, but there was no statistically significant association with IQ scores in girls
                    (B = 2.40; 95% CI, −2.53 to 7.33). A 1-mg higher daily intake of fluoride among pregnant
                    women was associated with a 3.66 lower IQ score (95% CI, −7.16 to −0.14) in boys and girls.

                    CONCLUSIONS AND RELEVANCE In this study, maternal exposure to higher levels of fluoride
                    during pregnancy was associated with lower IQ scores in children aged 3 to 4 years. These
                    findings indicate the possible need to reduce fluoride intake during pregnancy.
                                                                                                                               Author Affiliations: Author
                                                                                                                               affiliations are listed at the end of this
                                                                                                                               article.
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                    Published online August 19, 2019.                                                                          ON M3J 1P3, Canada (ctill@yorku.ca).



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                 Research Original Investigation              Association Between Maternal Fluoride Exposure During Fetal Development and IQ Scores in Offspring in Canada




                 F
                        or decades, community water fluoridation has been used
                        to prevent tooth decay. Water fluoridation is supplied                   Key Points
                        to about 66% of US residents, 38% of Canadian resi-
                                                                                                 Question Is maternal fluoride exposure during pregnancy
                 dents, and 3% of European residents.1 In fluoridated commu-                     associated with childhood IQ in a Canadian cohort receiving
                 nities, fluoride from water and beverages made with tap wa-                     optimally fluoridated water?
                 ter makes up 60% to 80% of daily fluoride intake in adolescents
                                                                                                 Findings In this prospective birth cohort study, fluoride exposure
                 and adults.2
                                                                                                 during pregnancy was associated with lower IQ scores in children
                      Fluoride crosses the placenta,3 and laboratory studies show                aged 3 to 4 years.
                 that it accumulates in brain regions involved in learning and
                                                                                                 Meaning Fluoride exposure during pregnancy may be associated
                 memory4 and alters proteins and neurotransmitters in the cen-
                                                                                                 with adverse effects on child intellectual development, indicating
                 tral nervous system.5 Higher fluoride exposure from drink-
                                                                                                 the possible need to reduce fluoride intake during pregnancy.
                 ing water has been associated with lower children’s intelli-
                 gence in a meta-analysis6 of 27 epidemiologic studies and in
                 studies7,8 including biomarkers of fluoride exposure. How-                  the testing during the data collection period. Of the 610 chil-
                 ever, most prior studies were cross-sectional and conducted                 dren, 601 (98.5%) completed neurodevelopmental testing;
                 in regions with higher water fluoride concentrations (0.88-                 254 (42.3%) of these children lived in nonfluoridated regions
                 31.6 mg/L; to convert to millimoles per liter, multiply by                  and 180 (30%) lived in fluoridated regions; for 167 (27.7%)
                 0.05263) than levels considered optimal (ie, 0.7 mg/L) in                   fluoridation status was unknown owing to missing water
                 North America.9 Further, most studies did not measure expo-                 data or reported not drinking tap water (Figure 1).
                 sure during fetal brain development. In a longitudinal birth co-                This study was approved by the research ethics boards
                 hort study involving 299 mother-child pairs in Mexico City,                 at Health Canada, York University, and Indiana University.
                 Mexico, a 1-mg/L increase in maternal urinary fluoride (MUF)                All women signed informed consent forms for both mothers
                 concentration was associated with a 6-point (95% CI, −10.84                 and children.
                 to −1.74) lower IQ score among school-aged children.10 In this
                 same cohort, MUF was also associated with more attention-                   Maternal Urinary Fluoride Concentration
                 deficit/hyperactivity disorder–like symptoms.11 Urinary fluo-               We used the mean concentrations of MUF measured in urine
                 ride concentrations among pregnant women living in fluori-                  spot samples collected across each trimester of pregnancy at
                 dated communities in Canada are similar to concentrations                   a mean (SD) of 11.57 (1.57), 19.11 (2.39), and 33.11 (1.50) weeks
                 among pregnant women living in Mexico City.12 However, it                   of gestation. Owing to the variability of urinary fluoride
                 is unclear whether fluoride exposure during pregnancy is                    measurement and fluoride absorption during pregnancy,14
                 associated with cognitive deficits in a population receiving                we only included women who had all 3 urine samples. In our
                 optimally fluoridated water.                                                previous work, these samples were moderately correlated;
                      This study examined whether exposure to fluoride dur-                  intraclass correlation coefficient (ICC) ranged from 0.37
                 ing pregnancy was associated with IQ scores in children in a                to 0.40.12
                 Canadian birth cohort in which 40% of the sample was sup-                       Urinary fluoride concentration was analyzed at the Indi-
                 plied with fluoridated municipal water.                                     ana University School of Dentistry using a modification of
                                                                                             the hexamethyldisiloxane (Sigma Chemical Co) microdiffu-
                                                                                             sion procedure15 and described in our previous work.12 Fluo-
                                                                                             ride concentration could be measured to 0.02 mg/L. We
                 Methods                                                                     excluded 2 samples (0.002%) bec ause the readings
                 Study Cohort                                                                exceeded the highest concentration standard (5 mg/L) and
                 Between 2008 and 2011, the Maternal-Infant Research on                      there was less certainty of these being representative expo-
                 Environmental Chemicals (MIREC) program recruited 2001                      sure values.
                 pregnant women from 10 cities across Canada. Women who                          To account for variations in urine dilution at the time of
                 could communicate in English or French, were older than 18                  measurement, we adjusted MUF concentrations for specific
                 years, and were within the first 14 weeks of pregnancy were                 gravity (SG) using the following equation: MUFSG = MUFi
                 recruited from prenatal clinics. Participants were not re-                  × (SGM-1)/(SGi-1), where MUFSG is the SG-adjusted fluoride
                 cruited if there was a known fetal abnormality, if they had any             concentration (in milligrams of fluoride per liter), MUFi is
                 medical complications, or if there was illicit drug use during              the observed fluoride concentration, SGi is the SG of the
                 pregnancy. Additional details are in the cohort profile                     individual urine sample, and SG M is the median SG for
                 description.13                                                              the cohort.16 For comparison, we also adjusted MUF using
                     A subset of 610 children in the MIREC Study was evalu-                  the same creatinine adjustment method that was used
                 ated for the developmental phase of the study at ages 3 to 4                in the 2017 Mexican cohort.10
                 years; these children were recruited from 6 of 10 cities
                 included in the original cohort: Vancouver, Montreal,                       Water Fluoride Concentration
                 Kingston, Toronto, Hamilton, and Halifax. Owing to budget-                  Water treatment plants measured fluoride levels daily if
                 ary restraints, recruitment was restricted to the 6 cities with             fluoride was added to municipal drinking water and weekly
                 the most participants who fell into the age range required for              or monthly if fluoride was not added to water.12 We matched

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                 Association Between Maternal Fluoride Exposure During Fetal Development and IQ Scores in Offspring in Canada                       Original Investigation Research




                 Figure 1. Flowchart of Inclusion Criteria

                                                                          IQ data available for 601 children aged
                                                                          3-4 y (254 lived in a nonfluoridated area
                                                                          and 180 lived in a fluoridated area;
                                                                          fluoridation status unknown for 167)


                                                             89 Excluded                           201 Excluded
                                                                75 Missing MUF data at                  59 Does not drink tap
                                                                   1 or more trimesters                     water
                                                                14 Missing covariates                  108 Lives outside water
                                                                                                            treatment zone
                                                                                                        20 Missing beverage data
                                                                                                        14 Missing covariates




                                                             512 Mother-child pairs                 400 Mother-child pairs with
                                                                 with data on MUF, IQ,                  fluoride intake, IQ, and
                                                                 and complete covariates                complete covariates

                        143 Excluded
                            44 Does not drink tap water                                    238 Living in                162 Living in
                            98 Lives outside water                                             nonfluoridated               fluoridated
                                treatment zone                                                 area                         area
                             1 Missing beverage data

                                                             369 Mother-child pairs with
                                                                 both MUF and water
                                                                 fluoride data


                                                     228 Living in            141 Living in
                                                         nonfluoridated           fluoridated
                                                         area                     area
                                                                                                                                                MUF indicates maternal urinary
                                                                                                                                                fluoride.

                 participants’ postal codes with water treatment plant zones,                          Primary Outcomes
                 allowing an estimation of water fluoride concentration for                            We assessed children’s intellectual abilities with the
                 each woman by averaging water fluoride concentrations (in                             Wechsler Preschool and Primary Scale of Intelligence, Third
                 milligrams per liter) during the duration of pregnancy. We                            Edition. Full Scale IQ (FSIQ), a measure of global intellectual
                 only included women who reported drinking tap water dur-                              functioning, was the primary outcome. We also assessed
                 ing pregnancy.                                                                        verbal IQ (VIQ), representing verbal reasoning and compre-
                                                                                                       hension, and performance IQ (PIQ), representing nonverbal
                 Daily Fluoride Intake in Mothers                                                      reasoning, spatial processing, and visual-motor skills.
                 We obtained information on consumption of tap water and
                 other water-based beverages (tea and coffee) from a self-                             Covariates
                 report questionnaire completed by mothers during the first and                        We selected covariates from a set of established factors asso-
                 third trimesters. This questionnaire was used in the original                         ciated with fluoride metabolism (eg, time of void and time since
                 MREC cohort and has not been validated. Also, for this study,                         last void) and children’s intellectual abilities (eg, child sex, ma-
                 we developed methods to estimate and calculate fluoride in-                           ternal age, gestational age, and parity) (Table 1). Mother’s race/
                 take that have not yet been validated. To estimate fluoride in-                       ethnicity was coded as white or other, and maternal educa-
                 take from tap water consumed per day (milligrams per day),                            tion was coded as either bachelor’s degree or higher or trade
                 we multiplied each woman’s consumption of water and bev-                              school diploma or lower. The quality of a child’s home envi-
                 erages by her water fluoride concentration (averaged across                           ronment was measured by the Home Observation for
                 pregnancy) and multiplied by 0.2 (fluoride content for a                              Measurement of the Env ironment (HOME)–Rev ised
                 200-mL cup). Because black tea contains a high fluoride con-                          Edition19 on a continuous scale. We also controlled for city
                 tent (2.6 mg/L),17,18 we also estimated the amount of fluoride                        and, in some models, included self-reported exposure to
                 consumed from black tea by multiplying each cup of black tea                          secondhand smoke (yes/no) as a covariate.
                 by 0.52 mg (mean fluoride content in a 200-mL cup of black
                 tea made with deionized water) and added this to the fluo-                            Statistical Analyses
                 ride intake variable. Green tea also contains varying levels of                       In our primary analysis, we used linear regression analyses
                 fluoride; therefore, we used the mean for the green teas listed                       to estimate the associations between our 2 measures of fluo-
                 by the US Department of Agriculture (1.935 mg/L).18 We mul-                           ride exposure (MUFSG and fluoride intake) and children’s
                 tiplied each cup of green tea by 0.387 mg (fluoride content in                        FSIQ scores. In addition to providing the coefficient corre-
                 a 200-mL cup of green tea made with deionized water) and                              sponding to a 1-mg difference in fluoride exposure, we also
                 added this to the fluoride intake variable.                                           estimated coefficients corresponding to a fluoride exposure

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                 Table 1. Demographic Characteristics and Exposure Outcomes for Mother-Child Pairs With MUFSG (n = 512)
                 and Fluoride Intake Data (n = 400) by Fluoridated and Nonfluoridated Statusa

                                                                No. (%)
                                                                                   Maternal-Child Pairs With Fluoride Intake, IQ,
                                                                                   and Complete Covariate Data (n = 400)
                                                                MUFSG Sample       Nonfluoridated            Fluoridated
                 Variableb                                      (n = 512)c         (n = 238)                 (n = 162)
                 Mothers
                    Age of mother at enrollment, mean (SD), y   32.33 (5.07)       32.61 (4.90)              32.52 (4.03)
                    Prepregnancy BMI, mean (SD)                 25.19 (6.02)       25.19 (6.35)              24.33 (5.10)
                    Married or common law                       497 (97)           225 (95)                  159 (98)
                    Born in Canada                              426 (83)           187 (79)                  131 (81)
                    White                                       463 (90)           209 (88)                  146 (90)
                    Maternal education
                      Trade school diploma/high school          162 (32)           80 (34)                   38 (24)
                      Bachelor’s degree or higher               350 (68)           158 (66)                  124 (76)                   Abbreviations: BMI, body mass index
                    Employed at time of pregnancy               452 (88)           205 (86)                  149 (92)                   (calculated as weight in kilograms
                                                                                                                                        divided by height in meters squared);
                    Net income household >$70 000 CAD           364 (71)           162 (68)                  115 (71)
                                                                                                                                        CAD, Canadian dollars; FSIQ, Full
                    HOME total score, mean (SD)                 47.32 (4.32)       47.28 (4.48)              48.14 (3.90)               Scale IQ; HOME, Home Observation
                    Smoked in trimester 1                       12 (2)             7 (3)                     2 (1)                      for Measurement of the
                                                                                                                                        Environment; MUFSG, maternal
                    Secondhand smoke in the home                18 (4)             9 (4)                     2 (1)
                                                                                                                                        urinary fluoride adjusted for
                    Alcohol consumption, alcoholic drink/mo                                                                             specific gravity.
                      None                                      425 (83)           192 (81)                  136 (84)                   SI conversion factor: To convert
                      <1                                        41 (8)             23 (10)                   11 (7)                     fluoride to millimoles per liter,
                                                                                                                                        multiply by 0.05263.
                      ≥1                                        46 (9)             23 (10)                   15 (9)
                                                                                                                                        a
                                                                                                                                            Owing to missing water treatment
                    Parity (first birth)                        233 (46)           119 (50)                  71 (44)
                                                                                                                                            plant data and/or MUF data, the
                 Children                                                                                                                   samples are distinct with some
                    Female                                      264 (52)           118 (50)                  83 (51)                        overlapping participants in both
                                                                                                                                            groups (n = 369).
                    Age at testing, mean (SD), y                3.42 (0.32)        3.36 (0.31)               3.49 (0.29)                b
                                                                                                                                            All of the listed variables were
                    Gestation, mean (SD), wk                    39.12 (1.57)       39.19 (1.47)              39.17 (1.81)                   tested as potential covariates, as
                    Birth weight, mean (SD), kg                 3.47 (0.49)        3.48 (0.48)               3.47 (0.53)                    well as the following: paternal
                    FSIQ                                        107.16 (13.26)     108.07 (13.31)            108.21 (13.72)                 variables (age, education,
                                                                                                                                            employment status, smoking status,
                      Boysd                                     104.61 (14.09)     106.31 (13.60)            104.78 (14.71)                 and race/ethnicity); maternal
                      Girlsd                                    109.56 (11.96)     109.86 (12.83)            111.47 (11.89)                 chronic condition during pregnancy
                 Exposure variables                                                                                                         and birth country; breastfeeding
                                                                                                                                            duration; and time of void and time
                    MUFSG concentration, mg/Le                                                                                              since last void.
                      No.                                       512                228                       141                        c
                                                                                                                                            Maternal urinary fluoride (averaged
                      Mean (SD)                                 0.51 (0.36)        0.40 (0.27)               0.69 (0.42)                    across all 3 trimesters) and
                    Fluoride intake level per day, mg                                                                                       corrected for specific gravity.
                                                                                                                                        d
                                                                                                                                            The FSIQ score has a mean (SD) of
                      No.                                       369a               238                       162
                                                                                                                                            100 (15); US population norms used.
                      Mean (SD)                                 0.54 (0.44)        0.30 (0.26)               0.93 (0.43)                e
                                                                                                                                            Owing to missing water treatment
                    Water fluoride concentration, mg/L                                                                                      plant data, the samples in the
                      No.                                       369a               238                       162                            fluoridated and nonfluoridated
                                                                                                                                            regions do not add up to the MUF
                      Mean (SD)                                 0.31 (0.23)        0.13 (0.06)               0.59 (0.08)
                                                                                                                                            sample size.


                 difference spanning the 25th to 75th percentile range (which                     with MUFSG or fluoride intake (variance inflation factor <2
                 corresponds to a 0.33 mg/L and 0.62 mg F/d difference in                         for all covariates). Residuals from each model had approxi-
                 MUFSG and fluoride intake, respectively) as well as the 10th                     mately normal distributions, and their Q-Q plots revealed no
                 to 90th percentile range (which corresponds to a 0.70 mg/L                       extreme outliers. Plots of residuals against fitted values did
                 and 1.04 mg F/d difference in MUFSG and fluoride intake,                         not suggest any assumption violations and there were no
                 respectively).                                                                   substantial influential observations as measured by Cook
                     We retained a covariate in the model if its P value was                      distance. Including quadratic or natural-log effects of MUFSG
                 less than .20 or its inclusion changed the regression coeffi-                    or fluoride intake did not significantly improve the regres-
                 cient of the variable associated factor by more than 10% in                      sion models. Thus, we present the more easily interpreted
                 any of the IQ models. Regression diagnostics confirmed that                      estimates from linear regression models. Additionally, we
                 there were no collinearity issues in any of the IQ models                        examined separate models with 2 linear splines to test

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                 Association Between Maternal Fluoride Exposure During Fetal Development and IQ Scores in Offspring in Canada                                                                   Original Investigation Research



                 whether the MUF S G association significantly differed
                                                                                                 Figure 2. Distribution of Fluoride Levels in Maternal Urine and for
                 between lower and higher levels of MUFSG based on 3 knots,                      Estimated Fluoride Intake by Fluoridation Status
                 which were set at 0.5 mg/L (mean MUFSG), 0.8 mg/L (thresh-
                 old seen in the Mexican birth cohort),10 and 1 mg/L (optimal                            A Maternal urine                                                       B               Fluoride intake
                 concentration in the United States until 2015).20 For fluoride                                                      3.0                                                        3.5




                                                                                                 Maternal Urinary FluorideSG, mg/L
                 intake, knots were set at 0.4 mg (mean fluoride intake),
                                                                                                                                     2.5                                                        3.0
                 0.8 mg, and 1 mg (in accordance with MUFSG). We also exam-




                                                                                                                                                                          Fluoride Intake, mg
                                                                                                                                                                                                2.5
                 ined sex-specific associations in all models by testing the                                                         2.0
                 interactions between child sex and each fluoride measure.                                                                                                                      2.0
                                                                                                                                     1.5
                      In sensitivity analyses, we tested whether the associa-                                                                                                                   1.5
                 tions between MUFSG and IQ were confounded by maternal                                                              1.0
                                                                                                                                                                                                1.0
                 blood concentrations of lead,21 mercury,21 manganese,21,22                                                          0.5                                                        0.5
                 perfluoro-octanoic acid,23 or urinary arsenic.24 We also con-
                                                                                                                                      0                                                          0
                 ducted sensitivity analyses by removing IQ scores that were                                                               Nonfluoridated   Fluoridated                               Nonfluoridated   Fluoridated
                 greater than or less than 2.5 standard deviations from the                                                                 Water Fluoridation Status                                  Water Fluoridation Status
                 sample mean. Additionally, we examined whether using
                 MUF adjusted for c reatinine instead of SG affected                             To convert fluoride to millimoles per liter, multiply by 0.05263.
                 the results.
                      In additional analyses, we examined the association be-                    238 (50%) in the group living in a nonfluoridated region were
                 tween our 2 measures of fluoride exposure (MUFSG and fluo-                      female and 83 of 162 (51%) in the group living in a fluoridated
                 ride intake) with VIQ and PIQ. Additionally, we examined                        region were female.
                 whether water fluoride concentration was associated with
                 FSIQ, VIQ, and PIQ scores.                                                      Fluoride Measurements
                      For all analyses, statistical significance tests with a type I             The median MUFSG concentration was 0.41 mg/L (range, 0.06-
                 error rate of 5% were used to test sex interactions, while 95%                  2.44 mg/L). Mean MUFSG concentration was significantly
                 confidence intervals were used to estimate uncertainty.                         higher among women (n = 141) who lived in communities with
                 A n a l y s e s we r e c o n d u c t e d u s i ng R s o f t w a r e (t h e R    fluoridated drinking water (0.69 [0.42] mg/L) compared with
                 Foundation).25 The P value level of significance was .05, and                   women (n=228) who lived in communities without fluori-
                 all tests were 2-sided.                                                         dated drinking water (0.40 [0.27] mg/L; P < .001) (Table 1;
                                                                                                 Figure 2).
                                                                                                     The median estimated fluoride intake was 0.39 mg per day
                                                                                                 (range, 0.01-2.65 mg). As expected, the mean (SD) fluoride in-
                 Results                                                                         take was significantly higher for women (162 [40.5%]) who
                 For the first measure of fluoride exposure, MUFSG, 512 of 601                   lived in communities with fluoridated drinking water (mean
                 mother-child pairs (85.2%) who completed the neurodevel-                        [SD], 0.93 [0.43] mg) than women (238 [59.5%]) who lived in
                 opmental visit had urinary fluoride levels measured at each                     communities without fluoridated drinking water (0.30 [0.26]
                 trimester of the mother’s pregnancy and complete covariate                      mg; P < .001) (Table 1; Figure 2). The MUFSG was moderately
                 data (Figure 1); 89 (14.8%) were excluded for missing MUFSG                     correlated with fluoride intake (r = 0.49; P < .001) and water
                 at 1 or more trimesters (n = 75) or missing 1 or more covariates                fluoride concentration (r = 0.37; P < .001).
                 included in the regression (n = 14) (Figure 1). Of the 512 mother-
                 child pairs with MUFSG data (and all covariates), 264 children                  Maternal Urinary Fluoride Concentrations and IQ
                 were female (52%).                                                              Before covariate adjustment, a significant interaction (P for
                      For the second measure of fluoride exposure, fluoride in-                  interaction = .03) between MUFSG and child sex (B = 7.24;
                 take from maternal questionnaire, data were available for 400                   95% CI, 0.81- 13.67) indicated that MUFSG was associated
                 of the original 601 mother-child pairs (66.6%): 201 women                       with FSIQ in boys; an increase of 1 mg/L MUFSG was associ-
                 (33.4%) were excluded for reporting not drinking tap water                      ated with a 5.01 (95% CI, −9.06 to −0.97; P = .02) lower FSIQ
                 (n = 59), living outside of the predefined water treatment plant                score in boys. In contrast, MUFSG was not significantly asso-
                 zone (n = 108), missing beverage consumption data (n = 20),                     ciated with FSIQ score in girls (B = 2.23; 95% CI, −2.77 to
                 or missing covariate data (n = 14) (Figure 1).                                  7.23; P = .38) (Table 2).
                      Children had mean FSIQ scores in the average range (popu-                       Adjusting for covariates, a significant interaction (P for in-
                 lation normed) (mean [SD], 107.16 [13.26], range = 52-143), with                teraction = .02) between child sex and MUFSG (B = 6.89; 95%
                 girls (109.56 [11.96]) showing significantly higher scores than                 CI, 0.96-12.82) indicated that an increase of 1 mg/L of MUFSG
                 boys (104.61 [14.09]; P < .001) (Table 1). The demographic char-                was associated with a 4.49 (95% CI, −8.38 to −0.60; P = .02)
                 acteristics of the 512 mother-child pairs included in the pri-                  lower FSIQ score for boys. An increase from the 10th to 90th
                 mary analysis were not substantially different from the origi-                  percentile of MUFSG was associated with a 3.14 IQ decrement
                 nal MIREC cohort or subset of mother-child pairs without 3                      among boys (Table 2; Figure 3). In contrast, MUFSG was not sig-
                 urine samples (eTable 1 in the Supplement). Of the 400 mother-                  nificantly associated with FSIQ score in girls (B = 2.43; 95% CI,
                 child pairs with fluoride intake data (and all covariates), 118 of              −2.51 to 7.36; P = .33).

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                 Table 2. Unadjusted and Adjusted Associations Estimated From Linear Regression Models of Fluoride Exposure Variables and FSIQ Scores

                                                             Difference (95% CI)
                                                                                            Adjusted Estimates, Regression Coefficients Indicate Change in Outcome pera
                     Variable                                Unadjusted                     1 mg                            25th to 75th Percentiles         10th to 90th Percentiles
                     MUFSGb,c                                −2.60 (−5.80 to 0.60)          −1.95 (−5.19 to 1.28)           −0.64 (−1.69 to 0.42)            −1.36 (−3.58 to 0.90)
                        Boys                                 −5.01 (−9.06 to −0.97)         −4.49 (−8.38 to −0.60)          −1.48 (−2.76 to −0.19)           −3.14 (−5.86 to −0.42)
                        Girls                                2.23 (−2.77 to 7.23)           2.40 (−2.53 to 7.33)            0.79 (−0.83 to 2.42)             1.68 (−1.77 to 5.13)
                     Fluoride intaked,e                      −3.19 (−5.94 to −0.44)         −3.66 (−7.16 to −0.15)          −2.26 (−4.45 to −0.09)           −3.80 (−7.46 to −0.16)
                                                                                                          b
                 Abbreviations: FSIQ, Full Scale IQ; HOME, Home Observation for Measurement                   n = 512.
                 of the Environment; MUFSG, maternal urinary fluoride adjusted for specific               c
                                                                                                              Adjusted for city, HOME score, maternal education, race/ethnicity, and
                 gravity.                                                                                     including child sex interaction.
                 a
                     Adjusted estimates pertain to predicted FSIQ difference for a value spanning         d
                                                                                                              n = 400.
                     the interquartile range (25th to 75th percentiles) and 80th central range (10th      e
                                                                                                              Adjusted for city, HOME score, maternal education, race/ethnicity, child sex,
                     to 90th percentiles): (1) MUFSG: 0.33 mg/L, 0.70 mg/L, respectively;
                                                                                                              and prenatal secondhand smoke exposure.
                     (2) fluoride intake: 0.62 mg, 1.04 mg, respectively.



                 Figure 3. Covariate Results of Multiple Linear Regression Models of Full Scale IQ (FSIQ) from Maternal Urinary Fluoride Concentration by Child Sex
                 (n = 512) and Total Fluoride Intake Estimated from Daily Maternal Beverage Consumption (n = 400)

                     A Maternal urinary fluoride concentration                                             B     Total fluoride intake
                        150                                                                                     150



                        125                                                                                     125
                 FSIQ




                                                                                                         FSIQ




                        100                                                                                     100



                        75                                                                                       75
                                                                                      Baby sex                                                                                CWF status
                                                                                        Male Female                                                                            Fl Non-fl
                        50                                                                                       50
                              0           0.5          1.0             1.5            2.0          2.5                0                    1                       2                       3
                                          Maternal Urinary Fluoride Concentration, mg/L                                                    Total Fluoride Intake, mg

                 B, Community fluoridation status (CWF) is shown for each woman; black dots represent women living in nonfluoridated (non-Fl) communities and blue dots
                 represent women living in fluoridated (Fl) communities.


                 Estimated Fluoride Intake and IQ                                                         (B = 4.51; 95% CI, −1.02 to 10.05; P = .11). An increase of 1 mg/L
                 A 1-mg increase in fluoride intake was associated with a 3.66                            MUFSG was not significantly associated with VIQ in boys
                 (95% CI, −7.16 to −0.15; P = .04) lower FSIQ score among boys                            (B = −2.85; 95% CI, −6.65 to 0.95; P = .14) or girls (B = 0.55; 95%
                 and girls (Table 2; Figure 3). The interaction between child sex                         CI, −4.28 to 5.37; P = .82); the interaction between MUFSG and
                 and fluoride intake was not statistically significant (B = 1.17;                         child sex was not statistically significant (P for interaction =
                 95% CI, −4.08 to 6.41; P for interaction = .66).                                         .25) (eTable 3 in the Supplement).
                                                                                                               Consistent with the findings on estimated maternal fluo-
                 Sensitivity Analyses                                                                     ride intake, increased water fluoride concentration (per 1 mg/L)
                 Adjusting for lead, mercury, manganese, perfluorooctanoic                                was associated with a 5.29 (95% CI, −10.39 to −0.19) lower FSIQ
                 acid, or arsenic concentrations did not substantially change the                         score among boys and girls and a 13.79 (95% CI, −18.82 to −7.28)
                 overall estimates of MUFSG for boys or girls (eTable 2 in the                            lower PIQ score (eTable 4 in the Supplement).
                 Supplement). Use of MUF adjusted for creatinine did not sub-
                 stantially alter the associations with FSIQ (eTable 2 in the
                 Supplement). Including time of void and time since last void
                 did not substantially change the regression coefficient of MUFSG
                                                                                                          Discussion
                 among boys or girls.                                                                     Using a prospective Canadian birth cohort, we found that
                     Estimates for determining the association between MUFSG                              estimated maternal exposure to higher fluoride levels during
                 and PIQ showed a similar pattern with a statistically signifi-                           pregnancy was associated with lower IQ scores in children.
                 cant interaction between MUFSG and child sex (P for interac-                             This association was supported by converging findings from
                 tion = .007). An increase of 1 mg/L MUFSG was associated with                            2 measures of fluoride exposure during pregnancy. A differ-
                 a 4.63 (95% CI, −9.01 to −0.25; P = .04) lower PIQ score in boys,                        ence in MUFSG spanning the interquartile range for the entire
                 but the association was not statistically significant in girls                           sample (ie, 0.33 mg/L), which is roughly the difference in

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                 MUFSG concentration for pregnant women living in a fluori-                      2012, 68% of adolescents had very mild to severe enamel
                 dated vs a nonfluoridated community, was associated with a                      fluorosis.39 The higher prevalence of enamel fluorosis, espe-
                 1.5-point IQ decrement among boys. An increment of                              cially in fluoridated areas, 40 triggered renewed concern
                 0.70 mg/L in MUFSG concentration was associated with a                          about excessive ingestion of fluoride. In 2015, in response
                 3-point IQ decrement in boys; about half of the women liv-                      to fluoride overexposure and rising rates of enamel
                 ing in a fluoridated community have a MUFSG equal to or                         fluorosis,39,41,42 the US Public Health Service recommended
                 greater than 0.70 mg/L. These results did not change appre-                     an optimal fluoride concentration of 0.7 mg/L, in line with
                 ciably after controlling for other key exposures such as lead,                  the recommended level of fluoride added to drinking water
                 arsenic, and mercury.                                                           in Canada to prevent caries. However, the beneficial effects
                      To our knowledge, this study is the first to estimate                      of fluoride predominantly occur at the tooth surface after
                 fluoride exposure in a large birth cohort receiving optimally                   the teeth have erupted.43 Therefore, there is no benefit of
                 fluoridated water. These findings are consistent with that of                   systemic exposure to fluoride during pregnancy for the pre-
                 a Mexican birth cohort study that reported a 6.3 decrement                      vention of caries in offspring.44 The evidence showing an
                 in IQ in preschool-aged children compared with a 4.5 decre-                     association between fluoride exposure and lower IQ scores
                 ment for boys in our study for every 1 mg/L of MUF.10 The                       raises a possible new concern about cumulative exposures to
                 findings of the current study are also concordant with eco-                     fluoride during pregnancy, even among pregnant women
                 logic studies that have shown an association between                            exposed to optimally fluoridated water.
                 higher levels of fluoride exposure and lower intellectual
                 abilities in children.7,8,26 Collectively, these findings support               Strengths and Limitations
                 that fluoride exposure during pregnancy may be associated                       Our study has several strengths and limitations. First, urinary
                 with neurocognitive deficits.                                                   fluoride has a short half-life (approximately 5 hours) and
                      In contrast with the Mexican study,10 the association be-                  depends on behaviors that were not controlled in our study,
                 tween higher MUFSG concentrations and lower IQ scores was                       such as consumption of fluoride-free bottled water or swal-
                 observed only in boys but not in girls. Studies of fetal and early              lowing toothpaste prior to urine sampling. We minimized
                 childhood fluoride exposure and IQ have rarely examined dif-                    this limitation by using 3 serial urine samples and tested for
                 ferences by sex; of those that did, some reported no differ-                    time of urine sample collection and time since last void, but
                 ences by sex.10,27-29 Most rat studies have focused on fluoride                 these variables did not alter our results. Second, although
                 exposure in male rats,30 although 1 study31 showed that male                    higher maternal ingestion of fluoride corresponds to higher
                 rats were more sensitive to neurocognitive effects of fetal ex-                 fetal plasma fluoride levels,45 even serial maternal urinary
                 posure to fluoride. Testing whether boys are potentially more                   spot samples may not precisely represent fetal exposure
                 vulnerable to neurocognitive effects associated with fluoride                   throughout pregnancy. Third, while our analyses controlled
                 exposure requires further investigation, especially consider-                   for a comprehensive set of covariates, we did not have mater-
                 ing that boys have a higher prevalence of neurodevelopmen-                      nal IQ data. However, there is no evidence suggesting that
                 tal disorders such as ADHD, learning disabilities, and intellec-                fluoride exposure differs as a function of maternal IQ; our
                 tual disabilities.32 Adverse effects of early exposure to fluoride              prior study did not observe a significant association between
                 may manifest differently for girls and boys, as shown with other                MUF levels and maternal education level. 12 Moreover, a
                 neurotoxicants.33-36                                                            greater proportion of women living in fluoridated communi-
                      The estimate of maternal fluoride intake during preg-                      ties (124 [76%]) had a university-level degree compared with
                 nancy in this study showed that an increase of 1 mg of fluo-                    women living in nonfluoridated communities (158 [66%]).
                 ride was associated with a decrease of 3.7 IQ points across                     Nonetheless, despite our comprehensive array of covariates
                 boys and girls. The finding observed for fluoride intake in both                included, this observational study design could not address
                 boys and girls may reflect postnatal exposure to fluoride,                      the possibility of other unmeasured residual confounding.
                 whereas MUF primarily captures prenatal exposure. Impor-                        Fourth, fluoride intake did not measure actual fluoride con-
                 tantly, we excluded women who reported that they did not                        centration in tap water in the participant’s home; Toronto, for
                 drink tap water and matched water fluoride measurements to                      example, has overlapping water treatment plants servicing
                 time of pregnancy when estimating maternal fluoride intake.                     the same household. Similarly, our fluoride intake estimate
                 None of the fluoride concentrations measured in municipal                       only considered fluoride from beverages; it did not include
                 drinking water were greater than the maximum acceptable                         fluoride from other sources such as dental products or food.
                 concentration of 1.5 mg/L set by Health Canada; most (94.3%)                    Furthermore, fluoride intake data were limited by self-report
                 were lower than the 0.7 mg/L level considered optimal.37                        of mothers’ recall of beverage consumption per day, which
                      Water fluoridation was introduced in the 1950s to pre-                     was sampled at 2 points of pregnancy, and we lacked infor-
                 vent dental caries before the widespread use of fluoridated                     mation regarding specific tea brand. 17,18 In addition, our
                 dental products. Originally, the US Public Health Service set                   methods of estimating maternal fluoride intake have not
                 the optimal fluoride concentrations in water from 0.7 to                        been validated; however, we show construct validity with
                 1.2 mg/L to achieve the maximum reduction in tooth decay                        MUF. Fifth, this study did not include assessment of postna-
                 and minimize the risk of enamel fluorosis.38 Fluorosis, or                      tal fluoride exposure or consumption. However, our future
                 mottling, is a symptom of excess fluoride intake from any                       analyses will assess exposure to fluoride in the MIREC cohort
                 source occurring during the period of tooth development. In                     in infancy and early childhood.

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                                                                                                       nancy were associated with lower IQ scores in children mea-
                 Conclusions                                                                           sured at age 3 to 4 years. These findings were observed at
                                                                                                       fluoride levels typically found in white North American
                 In this prospective birth cohort study from 6 cities in                               women. This indicates the possible need to reduce fluoride
                 Canada, higher levels of fluoride exposure during preg-                               intake during pregnancy.


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                                                                          regarding water fluoridation. We also thank staff        hyperactivity disorder (ADHD) symptoms in
                 Institute, British Columbia Children’s Hospital,                                                                  children at 6-12 years of age in Mexico City. Environ
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                                                                          who helped to provide water fluoride data for this       Int. 2018;121(Pt 1):658-666. doi:10.1016/
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                         Case 3:17-cv-02162-EMC Document 116-1 Filed 10/09/19 Page 222 of 334
                 Association Between Maternal Fluoride Exposure During Fetal Development and IQ Scores in Offspring in Canada                          Original Investigation Research



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                          Exhibit A
        Adkins Declaration, Exhibit 11
                  Hu Dep. ‐ Excerpts
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                                                                   Page 1

1                         UNITED STATES DISTRICT COURT

2                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

3      ___________________________________________________________

4       FOOD & WATER WATCH, INC., et al.,         )

                                                  )

5       Plaintiff,                                )

                                                  )

6                 vs.                             )No. 3:17-cv-02162-EMC

                                                  )

7       US ENVIRONMENTAL PROTECTION AGENCY,       )

       et al.,                                    )

8                                                 )

        Defendant.                                )

9      ___________________________________________________________

10                    Deposition Upon Oral Examination Of

11                                 HOWARD HU

12     ___________________________________________________________

13

14

15

16

17                                 9:15 a.m.

18                             September 24, 2019

19                             700 Stewart Street

20                            Seattle, Washington

21

22

23

24     Job No. CS3560042

25     REPORTED BY:     Yvonne A. Gillette, CCR No. 2129.

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1      A            Correct.

2      Q            And Thomas 2016 considered two birth cohorts

3      within the ELEMENT project, cohort 2A and cohort 3; is

4      that correct?

5      A            Correct.

6      Q            Mothers in cohort 3 were recruited later in

7      time compared to the mothers in cohort 2A; is that

8      correct?

9      A            Correct.

10     Q            And you found -- well, Thomas 2016 found

11     that the mean levels of urinary fluoride were lower

12     before the creatinine adjustment for the mothers who

13     were recruited later in the ELEMENT study; is that

14     correct?

15     A            Correct.

16     Q            Other than the socio-demographic variables

17     that we discussed, did Thomas 2016 make any other

18     items to control for potential confounding factors in

19     its analysis of maternal urinary flouride

20     concentrations?

21     A            Talking about the Thomas paper?

22     Q            Yes, Thomas 2016.        We'll talk about the

23     others later.

24     A            Thomas didn't control for anything.             Like I

25     said, it's just looking at the relationship between

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                                   Howard Hu                  September 24, 2019

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1      the urinary fluoride levels and these various

2      covariants.      It didn't really control for anything

3      except for dilution.

4      Q            Okay.     When you say it didn't control for

5      anything, what factor did the socio-demographic

6      variables play in the analysis?

7      A            As variables that were evaluated for their

8      potential correlation or association with the urinary

9      flouride levels.

10     Q            And Thomas 2016 did not compare its results

11     for maternal urinary flouride levels found in Canada;

12     is that correct?

13     A            Correct.

14     Q            Thomas 2016 did not compare its results for

15     maternal urinary fluoride levels found in the United

16     States; is that correct?

17     A            My recollection is that we sought such data

18     and found none.

19     Q            Okay.     So in the publication, Thomas 2016,

20     you did not compare the results of maternal urinary

21     fluoride levels with those levels found in the United

22     States; is that correct?

23     A            Correct.      And, again, because we could not

24     find such data.

25     Q            A limitation of Thomas 2016 was that the

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1      study was not initially designed to address fluoride

2      exposure; is that correct?

3      A            I think we state that.

4      Q            So is it your answer that it is a limitation

5      or that you stated it's a limitation, but you

6      disagree?

7                   MR. CONNETT:       Asked and answered.

8      A            Okay.     Wait a minute.

9                   MR. CONNETT:       Take a second.

10     Q            Take a second.        Look at page 494, if that's

11     helpful.

12     A            Yeah.     I'm there.      Okay.     Repeat the

13     question.

14     Q            Sure.     A limitation of Thomas 2016 was that

15     the study was not initially designed to address

16     fluoride exposure, correct?

17     A            Correct.

18     Q            A limitation of Thomas 2016 was also that

19     the study did not ascertain specific sources of

20     fluoride exposure, correct?

21     A            I think that's a limitation in understanding

22     how to interpret the results with respect to questions

23     regarding source apportionment and exposure

24     assessment, but I don't consider it a limitation with

25     regards to what we then used this data to do, which is

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                                   Howard Hu                  September 24, 2019

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1      too fast.     You're quoting our critique of their study?

2      Q            Some of the limitations of Valdez-Jimenez

3      2017 were their small sample size?

4      A            Yeah.

5      Q            Small number of covariants for control and

6      sensitivity variables and lack of correction for

7      variability in urine, correct?

8                   MR. CONNETT:       Misstates the record.

9      A            Lack of adjustment for urinary dilution.

10     Q            And those are limitations in Valdez-Jimenez,

11     2017, correct?

12     A            Yes.

13     Q            Are there any limitations in that study that

14     are not listed in Bashash 2017?

15     A            Maybe, but I'd have to review the paper to

16     refresh my --

17     Q            When is the last time you read it?

18     A            At least a year ago.

19     Q            Okay.     Do you recall whether you believed

20     there were other limitations, and you don't remember

21     what they were, or you just don't recall whether there

22     are any other limitations or not without having

23     reviewed it in a while?

24     A            The latter.

25     Q            So Bashash 2017 did not attempt to

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                                   Howard Hu                  September 24, 2019

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1      generalize its findings to Canada, correct?

2      A            No.

3      Q            And Bashash 2017 did not attempt to

4      generalize its findings to the United States, correct?

5      A            Correct.

6      Q            Bashash 2017 did not compare its results

7      with maternal urinary fluoride levels found in Canada

8      or the United States, correct?

9      A            Correct.

10     Q            A limitation of Bashash 2017 was the lack of

11     information regarding the fluoride content in the

12     water of the participants, correct?

13     A            That's a limitation only if the aim of the

14     study was to understand the sources of fluoride

15     exposure, but it was not a limitation with respect to

16     the hypotheses we tested in this paper.

17     Q            The authors of the paper state that it was a

18     limitation.        What -- do you think they drew that

19     distinction as well?

20     A            Yes.

21     Q            So why didn't it state that this was a

22     limitation with respect to how the study is used and

23     not with respect to the conclusions drawn in the

24     paper?

25     A            I think that's pretty self-evident for

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1      scientists.      But now that you mention it, it probably

2      should have stated so it's clearer.

3      Q            A limitation in Bashash 2017 was the lack of

4      information about iodine in salt, which could modify

5      associations between fluoride and cognition; is that

6      correct?

7      A            Potentially.

8      Q            So this is a limitation that could

9      potentially be to the conclusions reached in this

10     study; is that correct?

11     A            I would think not.          You know, if you -- if

12     you lack control of an effect modifier, you're not

13     likely to see a spurious association if it didn't

14     really truly occur.         What you may lack is the ability

15     to discern the subpopulation of people who are

16     particularly sensitive to the exposure of interest.

17     It's just you haven't measured the effect modifier to

18     understand that.

19     Q            Okay.     So with -- with respect to the lack

20     of information about fluoride in water, the limitation

21     was only with respect to trying to use this study to

22     identify the source of fluoride exposure, but not

23     necessarily the conclusions reached in this study?

24     A            Correct.

25     Q            But with -- with respect to iodine in salt,

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                          Exhibit A
        Adkins Declaration, Exhibit 12
            Grandjean Dep. ‐ Excerpts
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1                       UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
4      FOOD & WATER WATCH, INC., et al.,              ) Case No.
                                                      ) 3:17-CV-02162-EMC
5                   Plaintiffs,                       )
                                                      )
6            v.                                       )
                                                      )
7      UNITED STATES ENVIRONMENTAL                    )
       PROTECTION AGENCY, et al.,                     )
8                                                     )
                    Defendants.                       )
9      -----------------------------------)
10
11                                    - - -
12                          FRIDAY, SEPTEMBER 13, 2019
13                                    - - -
14
15           Videotaped deposition of PHILLIPE GRANDJEAN,
16     M.D., PH.D., taken at the offices of U.S. Department
17     of Justice, 4 Constitution Square, 150 M Street N.E.,
18     Room 5.1405, Washington, D.C., beginning at 9:10 a.m.,
19     before Nancy J. Martin, a Registered Merit Reporter,
20     Certified Shorthand Reporter.
21
       Job No. CS3520657
22

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1      the academic tradition.

2            Q.    Okay.    But I don't know if that answers my

3      question.     My question is did you write it?

4                  MR. CONNETT:      Asked and answered.

5                  THE WITNESS:      Okay.     I think it's the same

6      thing in legal practice, that if you produce a

7      document from the DOJ, it may be submitted on behalf

8      of the secretary but the secretary didn't write it,

9      but the secretary was the one responsible for the

10     thinking behind it and for the approach, and then

11     there were people contributing to various parts of it.

12                 And I don't remember how many percent of the

13     wording -- maybe it was 50 percent.              But in science

14     when you collaborate -- I mean as a journalist, I have

15     to say if the person is listed as an author, that

16     person must have contributed intellectually, not just

17     lending the colleagues an instrument or sending them a

18     useful reference.

19     BY MS. CARFORA:

20           Q.    Okay.    So what was your intellectual

21     contribution to the BMD calculations for lead?

22                 MR. CONNETT:      Asked and answered.        Overbroad.




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1                  THE WITNESS:      Let me explain -- I wrote my

2      doctoral thesis on lead.          I'm well versed in the

3      field.     I know the colleagues who have done studies.

4      I mean WHO sent me to Australia to participate on

5      their behalf in a meeting to coordinate efforts in

6      New Zealand and Australia in regard to controlling led

7      exposure in children.         I know these colleagues.

8                  And therefore I initiated this project so

9      that we could provide the best and highest quality

10     evidence as guidance for, you know, improved public

11     health in this field because lead is an ongoing hazard

12     to brain development even in America where we have

13     regulated lead in various ways and lead exposures have

14     decreased, but it's still a hazard.

15     BY MS. CARFORA:

16           Q.    Okay.    Did you do the BMD calculations in

17     that paper?

18           A.    No.

19           Q.    Okay.    Did you do the BMD calculations in

20     your expert report in this matter?

21           A.    I can do them, and I know how to do it.                 The

22     formula is here.       So it's easy to do.            I think you




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1      could do it.

2            Q.   But did you do it?

3            A.   No.     I decided I would rather have the

4      chairman of biostatistics be responsible for that

5      because he is a world expert on benchmark dose.                 I

6      wouldn't trust myself.

7            Q.   Okay.     So you sent Exben an E-mail and asked

8      him to do the benchmark dose analysis for your expert

9      report in this matter; is that right?

10           A.   That is correct.

11           Q.   Okay.     And then he responded to you and,

12     presumably, I'm pretty sure you cut-and-pasted what

13     was in his E-mail into your expert report; is that

14     right?

15           A.   As I explained in my report.

16           Q.   Just very quickly, you testified a little bit

17     earlier about not -- I think you said you didn't

18     understand exactly how all of EPA's processes went for

19     reference dose in BMD calculations.              And I guess my

20     question for you, then, is if you weren't sure how

21     they worked, why did you use them for your expert

22     report here?




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1                 MR. CONNETT:       Overbroad.       Argumentative.

2      Vague and ambiguous.

3                 THE WITNESS:       Okay.     So let me just be clear.

4      I have a reasonable understanding of what EPA does

5      because I mean I was working so closely with EPA on

6      methylmercury because EPA and the National Research

7      Council decided that my research should provide the

8      basis for a reference dose.           You know, that was in

9      2001, and I think the National Research Council report

10     was in 2000.

11                And we worked together on using the research

12     data that I had gathered so that EPA could do a proper

13     risk assessment and generate a reference dose for

14     methylmercury.       And this is now what's being updated

15     with the people.

16                So I do have a fair understanding of the

17     procedures and, you know, how risk assessments are

18     carried out in EPA.        I wouldn't say that I'm able to

19     give you a detailed explanation of all the details.

20     BY MS. CARFORA

21           Q.   Okay.     Does fluoride's toxicity depend on

22     root of exposure?




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1      number of buckets.

2                  THE WITNESS:      Okay.     So what you're calling a

3      confounder, just for clarification, I talk about

4      co-variants.      Confounding is a situation where that

5      additional factor correlates both with the exposure

6      and the outcome and can conceivably have caused that

7      outcome that you think is associated with your primary

8      exposure.     That's confounding.

9                  And let's say we are looking at the

10     children's age, and certainly, all the children will

11     perform better on cognitive tests.              So if it happens

12     that the mother's urinary fluoride is higher, if the

13     children are younger at the time of testing, then age

14     could be a confounder.

15                 But even if there's no confounding like this,

16     adjustment for that co-variant will improve the

17     outcome and perhaps also decrease the P-value because

18     age is helping to explain some of the noise, some of

19     the variability in the outcome that is a cognitive

20     test.    So the more we can explain that, the better.

21                 However, in a situation where we have

22     imprecision on the horizontal scale, that is, the




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1      fluoride exposure, then if we have a co-variant

2      without imprecision -- and age is usually very exactly

3      measured -- it can steal some of the variants from

4      fluoride so that statistics will attribute some of the

5      variation in the IQ to the differences in age

6      improperly because it's really due to the fact that

7      you don't know exactly what the fluoride exposure was.

8      You just have the proxy variable that suggests the

9      approximate exposure level.

10                So there are issues like that that you have

11     to take into regard.         So for me to give you a

12     straight, general answer, if you just check these

13     points here, you're safe.           You know, weight of

14     evidence assessment has to -- it depends on the

15     circumstances.       It's a specific field, and the

16     particular methods used and having done research in

17     this field for many, many years, I think I know the

18     pitfalls and I know the strengths and weaknesses of

19     the methodologies used, and that's what I rely on.

20     BY MS. CARFORA:

21           Q.   You rely on your own knowledge?

22           A.   We all do.      I think I have a respectable




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1      record in the field so that I can properly -- and

2      also, I assess maybe 500 manuscripts a year from my

3      journal.     I have a reasonable experience so that I can

4      judge the quality and the reliability, the weight of

5      the evidence.

6             Q.   Do you think that it's important for somebody

7      who might be reading your opinion, or any opinion or

8      any research paper that you do, to understand what

9      considerations you're taking into account by judging

10     the validity of a study?

11            A.   I think I understand this suggestion and I

12     put --

13            Q.   I'm not -- no.       Hang on a second.       We've been

14     through this.      Okay?     I would ask you to -- you know,

15     if you don't understand my question, ask me.                But,

16     please, if you could just answer the question I'm

17     asking you as opposed to assuming I'm asking you about

18     something different, it's really going to make

19     things -- I'm just asking you general questions right

20     now.

21                 MR. CONNETT:      The witness was directly

22     answering your question, and you just cut him off




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1      again.

2                 So I'd ask the witness if there's additional

3      testimony that you were going to provide, please

4      provide it.

5                 MS. CARFORA:       He said --       I asked the

6      question, and the answer was, "I think I understand

7      this suggestion."        That's how he started his question.

8      All I'm asking is --

9                 MR. CONNETT:       He went on to answer your

10     question and you cut him off.

11                MS. CARFORA:       He went on to answer a question

12     he thought I was asking.          He said, "I think I

13     understand this suggestion," which --

14                MR. CONNETT:       That's not a basis to cut the

15     witness off.

16                MS. CARFORA:       I think it is.          I think what

17     that suggests is that he doesn't understand my

18     question and I --

19                MR. CONNETT:       I think he just said, "I think

20     I understand" your question, and he's going to now

21     answer the question.

22                MS. CARFORA:       No, I'm sorry.          The testimony




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1      answer them.      He is going to be here as long as

2      seven -- you have seven hours, and that's how long he

3      will be here regardless of how he answers your

4      questions.

5                 So don't create the impression for the

6      witness that he could leave earlier today if he just

7      answers the questions the way you want him to.

8                 MS. CARFORA:       Okay.     Well, I mean that's your

9      interpretation.       I actually believe that if we can get

10     through these questions quicker, we'll get out of here

11     quicker.

12                Can we just go off the record.             I need a

13     break.

14                THE VIDEOGRAPHER:          We're going off the

15     record.    The time on the video is 12:17 p.m.

16                (A recess was taken from 12:17 p.m.

17                to 12:26 p.m.)

18                THE VIDEOGRAPHER:          We're back on the record.

19     The time on the video is 12:26 p.m.

20     BY MS. CARFORA:

21           Q.   Doctor, I apologize for all that commotion

22     just before the break.         I was going back to find the




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1      exact question that caused all the commotion.

2            A.   I didn't think it was a commotion.

3            Q.   Okay.     Fair enough.

4                 (Pause in proceedings.)

5      BY MS. CARFORA:

6            Q.   Do you think it's important for somebody who

7      might be reading your opinion, or any opinion for any

8      research paper that you -- what you do to understand

9      the considerations you've taken into account by

10     judging the validity of the study?

11           A.   That seems fair to me.

12           Q.   Okay.     So it's not just enough to say, "I

13     have experience in this.          I inherently know what I

14     should be looking at."         You actually have to explain

15     what your considerations were.            Is that fair?

16           A.   It's fair, as I believe I've demonstrated in

17     my opinion.

18           Q.   And for the purposes of public policy, do you

19     have -- you had said earlier this morning that you

20     helped the Danish ministry of health interpret issues

21     for public policy?

22           A.   Not directly with regard to public policy,




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1      but I have been helping to translate science in terms

2      so that proper and prudent public health policies can

3      be developed.      I'm not part of the policy development.

4            Q.   Do you have an opinion, one way or the other,

5      whether public -- do you think public policy should be

6      transparent?

7            A.   As a citizen, I would think that would be

8      reasonable, but I mean this is not as a scientist.

9      It's sort of what one would expect from a modern

10     democracy.

11           Q.   Transparency in policy making?

12                MR. CONNETT:       Vague and ambiguous.

13     Overbroad.

14     BY MS. CARFORA:

15           Q.   I'm just asking if that's what you're

16     referring to.

17           A.   Yeah.     But I mean I don't have a

18     science-based opinion on this.            This is a matter of

19     what all personal preferences are.

20           Q.   I understand.

21                Is it true that certain health effects can be

22     demonstrated by chance from a sample study?




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1            Q.   Okay.     So they followed them -- they went

2      through examination at age seven and then also later

3      on.   And so what they did was to characterize the

4      children, whether they lived in a fluoridated

5      community or not.        And the way was -- I think in the

6      meeting environment.         So this was the southern part of

7      the south island in New Zealand.             And the way it

8      happened, very few of the children -- I think about

9      100 of them -- lived in a fluoridated community.

10                And one of the uncertainties is that at the

11     time when these children were born in the 1970's, it

12     was common to dispense fluoride tablets, and Broadbent

13     actually talks about that.           And it's a little unclear

14     how many children from the non-fluoridated community

15     at age three had, you know, been exposed to fluoride

16     supplements, whether through the mother during

17     pregnancy or, you know, sometime later.               It's a little

18     unclear.

19                But at least it was only 139 kids, and

20     therefore, this study doesn't really address the

21     concern about prenatal exposure and early post-natal

22     exposure because they recruited the kids at age three.




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1            Q.   Okay.     But the study -- the result of the

2      study was that there was no impact to IQ.               That was

3      the result of the Broadbent -- the finding in the

4      Broadbent study between non-fluoridated control groups

5      and water community fluoridated exposure groups.

6            A.   They found no definite, no detectable

7      difference in IQ.

8            Q.   Okay.     And how did you weigh that study in

9      your analysis here?

10           A.   It's relevant.        It seems to be well conducted

11     with a high participation rate.             The trouble is that

12     the exposure assessment is not very good.               We call

13     this an ecological study when you are classifying

14     people's exposure based on some general parameter.

15                Ecological, let's say you're interested in

16     air pollution, and then you test kids from D.C. and

17     compare them to kids from the countryside in Maryland.

18     That's an ecological study because you assume --

19     because the air pollution will be less in the

20     countryside and then it's higher here in D.C.                But you

21     don't know what the individual exposures are because

22     within D.C. there are variations, and likewise, in the




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1      countryside.

2                 And so this study here has the problem of

3      not -- I mean they didn't have urine samples, for

4      example, to assess what the exposures were.                They

5      didn't have any information on prenatal exposures.

6      And so I mean, Myron Allukian, the dentist, has

7      promoted this study, and he has claimed that it proves

8      that fluoride does not interfere with brain

9      development, and I must say that's an inappropriate

10     conclusion.

11           Q.   Do you know what the average difference in

12     exposure between the control group and the test group

13     was estimated to be in the Broadbent study?

14           A.   What they had reported is a difference of 0.3

15     milligrams per day.        Yeah.     0.3 milligrams per day.         I

16     think that was the difference they reported.

17           Q.   Does that seem reasonable to you?

18                MR. CONNETT:       Vague and ambiguous.

19                THE WITNESS:       I mean if they reported it, I

20     have no reason to doubt it.           But it is a small

21     difference, and the point is that there's just about

22     100 kids from the non-fluoridated community.




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1      I believe that my literature search is as, you know,

2      complete as it can be.         I may have missed a paper or

3      two.

4                  But I tried to cover the complete literature,

5      and I didn't think it was -- I mean within the time

6      that I had available to do this report, I didn't think

7      that I would need to do a meta-analysis.               I hope EPA

8      can do it.

9      BY MS. CARFORA:

10            Q.   What did you -- how much time did you have to

11     complete the report?

12            A.   I don't remember.        More time than I wanted.

13     I mean too many weekends.

14            Q.   More time than you wanted, but not enough

15     time to do a meta-analysis?

16                 MR. CONNETT:      Argumentative.

17                 THE WITNESS:      Do you really want to know how

18     much time it takes to do a meta-analysis?               I mean this

19     is not something you do in an afternoon, and it

20     requires a lot of thinking about how you adjust for

21     different scales and different ages of the children,

22     and I just decided I'm not going to do that.




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1                 An hour to review like I have provided here

2      was, to me, just as convincing because there is a

3      meta-analysis here with a P-value of below

4      0.000-something-1.        An extremely low P-value.           It is

5      very, very improbable that what we showed in 2012 is

6      an artifact or accidental.           We were on April -- we did

7      all sorts of stratifications to take into account

8      arsenic and lead and iron deficiency, those sorts of

9      things.

10                We took into account ages.            We took into

11     account the outcome scales used.             So we did everything

12     we could to show that fluoride is not causing this,

13     but it's something else and now we'll look at that,

14     and we failed every time.

15     BY MS. CARFORA:

16           Q.   Wait.     So that was 2012.         So just so I

17     understand, what process did you use, for the purposes

18     of your expert report, to assess the quality of the

19     studies from 2012 to today?

20           A.   Right.     First of all, I scanned the

21     literature.      I have been collecting that literature

22     over the years.       So, anyway, I got hold of the




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1      published peer reviewed literature in this field, and

2      then I assessed the quality and relevance -- you know,

3      I weighted the evidence.

4              Q.     But how?

5              A.     We talked about that already.           I looked at

6      the validity of the methods used.               I looked at the

7      biostatistics methods.           I looked at the, you know,

8      covariants and -- I mean like I explained before.                    And

9      then I wrote a narrative review here and -- anyway,

10     it's about Page 20, something like that.                 And I also

11     relied on Duan's.         He actually did a meta-analysis for

12     the studies with water levels below 4 milligrams per

13     liter and showed that, you know, essentially, the same

14     findings, but narrow down the concern about fluoride

15     exposures from higher levels to those that are below

16     EPA's MCGL.

17             Q.     But the Duan -- for example, the Duan was

18     2018; is that right?           The meta-analysis?

19             A.     I can look it up.      Duan should be -- well, at

20     least it's more recent than my own work from 2012.

21                    MR. CONNETT:     If you need to look, that's

22     fine.        Take your time.




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1                   THE WITNESS:      Okay.

2                   MR. CONNETT:      Dr. Grandjean, if you want to

3      find the date, that's fine, if you want to look in

4      your report.

5                   (The witness reviewed the document.)

6                   THE WITNESS:      Duan, 2018.

7      BY MS. CARFORA:

8              Q.   2018.   Okay.     And do you know what average

9      concentrations of fluoride were in the Duan

10     meta-analysis?

11             A.   I think I report that -- this is Page 20, the

12     first full paragraph.

13                  (The witness further reviewed the document.)

14     BY MS. CARFORA:

15             Q.   Did you find it?

16             A.   2018.

17             Q.   I'm sorry.      I asked you do you know what the

18     average concentrations of fluoride were in the Duan

19     meta-analysis?       Do you know what the answer is to

20     that?

21             A.   The average -- I didn't bring the paper.

22             Q.   But you did write about it in your report;




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1      measures.     I think it's the -- I seem to remember the

2      name Sheyoung, which is one of the recent studies in

3      China, where they had individual data on fluoride

4      exposures, and that's a real strength.

5                  And I would say if those studies had found

6      there was no effect on fluoride and Broadbent had

7      said, "Oh, there's a strong effect," I would not have

8      gone with Broadbent because it's a weaker study.                  It's

9      a very weak study.

10                 It's three prospective studies with

11     individual data.       They have the strength.           That's

12     where the strength of the evidence is, and I know that

13     Dr. Chang agrees on that because she selected those

14     studies as the most important in regard to causality.

15     We agreed.     I mean her overall conclusion is

16     different, but that's another story.

17                 But, anyway, we are limited by the fact that

18     we cannot ethically dose fluoride to pregnant mothers

19     or small children to see what happens.                We would never

20     do that.     And so we have to live with the fact that

21     there are limitations to the evidence, but then we

22     need to -- to interpret that responsibly.




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1            Q.    Okay.     Let's talk about what you did and what

2      Dr. Chang did.        You say that you both relied on the

3      same three studies -- the same three prospective

4      studies; is that right?

5            A.    Well, what I should say is that in her

6      conclusion, she's citing 10 studies that she thinks

7      are important, and one of them is Broadbent.                  And I

8      don't think Broadbent is as strong a survey as you

9      understand.      But she does cite the same prospective

10     studies, and all of the studies that she highlights

11     are in my report and I have evaluated them as part of

12     my assessment.

13           Q.    Okay.     What criteria did you use to evaluate?

14           A.    Well, we've gone over this.               I'm looking at

15     the strength of the evidence.

16           Q.    Okay.     Did you set forth in your report what

17     criteria you used to assess the strength of the

18     evidence?

19           A.    Uh-huh.     Yes.

20           Q.    Can you point me to it?

21           A.    Okay.

22                 MR. CONNETT:       Point to every place in the




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1      report where he does that?

2      BY MS. CARFORA:

3            Q.    I mean is there a general place where you

4      talk about "These are the things I considered in

5      looking at the strength of the evidence"?

6                  MR. CONNETT:      Or if there's multiple

7      places --

8                  MS. CARFORA:      Are you going to testify for

9      him now?

10                 MR. CONNETT:      No.     But I just want -- I'm a

11     little concerned that sometimes you mischaracterize

12     the answer to get an answer that you want that might

13     misstate the record.         So I just want to make it clear.

14                 MS. CARFORA:      Okay.     The record will speak

15     for itself.      Thank you, Counsel.         If you cannot

16     testify for the witness, that would be wonderful.

17                 THE WITNESS:      Okay.     If you go to Page 30,

18     there's a section called "Approaches to Hazard

19     Evaluation," and here I give a brief summary with

20     interpretation of epidemiology studies.               And then I

21     highlight the bias towards the null.

22                 And under Section 6B, I emphasize the




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1      assessment on uncertainties.

2                 REPORTER MARTIN:         Emphasize the assessment on

3      uncertainties?

4                 THE WITNESS:       Of uncertainties, yeah.

5                 And in the subsequent section on risk

6      assessment, I review the changing approaches to

7      fluoride exposure where we have moved from the opinion

8      that fluoride was somehow essential to health and then

9      into the, you know, fluorosis concern, and then most

10     recently, the developmental neurotoxicity.               And I

11     developed that in great detail on Page 15 in a

12     separate section, Section 5.            And that way I think

13     I -- I've tried to explain this in, you know,

14     reasonably understandable terms so that you can see

15     this is an -- entirely in agreement with the way that

16     EPA has done risk assessments for lead and

17     methylmercury and other substances like that.

18                So, anyway, I think I've really written, you

19     know, a substantial part of my report to explain what

20     the strength of the evidence is and what the

21     weaknesses are, what the uncertainties are, and how to

22     draw conclusions.




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1      World Health Organization?

2            A.   I did.

3            Q.   And is it true that you withdrew from that

4      committee?

5            A.   Yes.

6            Q.   And can you tell me why you withdrew from

7      that committee?

8            A.   I was recruited to draft the environmental

9      health criteria report and, you know, this is part of

10     a series done by the international program on chemical

11     safety to which WHO contributes, and it has the

12     secretariat, and also the international labor

13     organization, which is another UN organization.                 I

14     think UNKEPT is also involved.            So that's the

15     United Nations Environment Program.

16                Anyway, so this is joint for UN programs,

17     including World Health.          And so I drafted the report

18     and they were very pleased about it, and then they

19     called a working group to, you know, elaborate on that

20     report and finalize it so it could be published as an

21     IPCS, international program on chemical safety, and

22     IPCS, environmental health criteria report.




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1                 What happened, which was beyond my control,

2      was that WHO recruited members of the committee to

3      reflect various expertise and countries because it's

4      under UN, it's international.            And some of the most, I

5      would say, outspoken colleagues represented oral

6      health.

7                 And my report was not on oral health and

8      water fluoridation.        My report was environmental

9      fluoride that, of course, includes water fluoride.

10     But what they did -- and I've, you know, written a

11     letter that summarized this to Dr. Ward.               I think he

12     was from EPA because he had an assignment with WHO.

13                Anyway, so it's not a secret what happened,

14     but that committee decided to change my report.                 So

15     every time that I had referred to scientific evidence

16     that fluoride could cause changes in enzymes in the

17     brain or, you know, something like that, they would

18     add wording "but only in huge doses of fluoride" or

19     something like that.         So every time there was

20     something that could be interpreted like fluoride is

21     toxic, they changed the wording, and in my opinion,

22     against the evidence.




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1                 So, you know, I was considered part of the

2      secretariat with Professor Michelle Marshay, who was

3      the director of the program within the World Health

4      Organization, and I then said, "I'm sorry.               The

5      evidence -- this report says that the concentrations

6      were not humongous."         But they still insisted.          And

7      when I said, "It's not correct," the response was,

8      "You're part of the secretariat.             We decide."

9                 I thought I had the expertise.             I had been

10     appointed by WHO to write the report, but people who

11     were in oral health were concerned that WHO would

12     raise concerns about fluoride toxicity, which was

13     against their interest.

14                And at some point one of them said, "I hear

15     your concern, but you know what?             I think you should

16     go to the library and find that paper."               And, you

17     know, for a colleague, a member of a working group to

18     say that to a professor who had served -- I think I

19     got paid like $500 to do this draft report.                For a

20     member of the working group to say, "Could you kindly

21     go to the library and find that report" -- that was

22     before digital publication.




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                          Exhibit A
        Adkins Declaration, Exhibit 13
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                             Exhibit G
               Declaration of Audrey Adams
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 1
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11
12
13 FOOD & WATER WATCH, INC., et al.,                  )   Case No. 17-cv-02162-EMC
                                                      )
14                                 Plaintiffs,        )
                                                      )
15          v.                                        )   DECLARATION OF AUDREY ADAMS
                                                      )
16 ENVIRONMENTAL PROTECTION                           )
     AGENCY, et al.,                                  )
17
                                                      )
                                   Defendants.
18                                                    )
                                                      )
19
     I, AUDREY ADAMS, declare as follows:
20
     1.     I am over the age of eighteen years and am competent to make this declaration. All the
21
22 facts stated herein are within my personal knowledge.
23 2.       I am the legal guardian and primary caretaker of my son, Kyle, age 33, who lives with me

24 and my husband at our home in Renton, which is located in King County, Washington. The water
25 has been fluoridated here ever since my husband and I purchased our house in 1978.
26
     3.     Kyle is severely hypersensitive to fluoride. I did not realize this for the first 14 years of
27
     Kyle’s life, nor did I know of his countless other chemical sensitivities. We’ve traveled a long and
28

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  Case
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 1 painful road together, his pain physical (and profound), my pain emotional (when I can't stop his
 2 suffering).
 3 4.       In 1999, when Kyle was 13 and 14 years old, he was in pain constantly, particularly in his
 4
     extremities (hands, feet, lips, and tongue) and back of his head. Kyle’s pain had increased
 5
     considerably in the aftermath of a horrific reaction to a doctor prescribed “over the counter” (OTC)
 6
     treatment that is completely benign to most people. After this reaction, Kyle developed
 7
 8 incapacitating pain in his fingers that forced him to stop playing his beloved cello in the school
 9 orchestra. His school sent him home repeatedly with horrific headaches during this time, and he
10 would scream and race around the house as if pursued by killer bees. At night the house shook
11 with Kyle’s leg-pounding that was more like a grand mal seizure than “restless leg.”
12
     5.     We went to numerous medical specialists during this time and not one of them could
13
     diagnose the source of Kyle’s pain, let alone help relieve it. We tried using Tylenol, but this always
14
15 seemed to result in a migraine the next day; other pain-relievers were ineffective.
16 6.       During this time, I began experimenting with removing chemicals from Kyle’s food and

17 environment. Among other things, I changed Kyle’s diet to organically grown food, stopped using
18 chemical cleaners or scented products, and got Kyle’s school to cooperate with providing him a
19
     low-chemical environment. These changes improved Kyle’s symptoms, but he still manifested
20
     symptoms of intense pain each day and continued to report pain in the back of his head, though
21
     less often and less severe.
22
23 7.       In or about May 2000, a mom from Beaverton, Oregon, with two autistic teenagers of her

24 own, recommended that I stop Kyle’s exposure to fluoridated water. Since Kyle’s only beverage
25 was tap water and because I was willing to try anything that could help relieve Kyle’s pain, I
26 followed her recommendation. Within three days of drinking filtered, fluoride-free water, Kyle
27
     experienced a substantial improvement in his symptoms, including with the pain he had been
28

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 1 suffering in his extremities. After eliminating fluoridated drinking water from his diet, Kyle was
 2 able to resume playing cello in the school orchestra, and his remaining high school and transition
 3 school years were more successful and productive than they otherwise would have been.
 4
     8.     Having observed first-hand the pronounced improvement that Kyle experienced after we
 5
     eliminated fluoridated drinking water, I have gone to great lengths to ensure that he is never again
 6
     exposed to fluoridated drinking water. I consider this of paramount importance to protecting Kyle.
 7
 8 9.       In April 2007, after 7 years of hauling thousands of gallons of reverse osmosis and spring

 9 water to my home for drinking and cooking, Kyle’s improved quality of life enabled him to work
10 a part-time office job at Highline Community College, where he continues to work to the present
11 day, scanning and archiving documents to a computer. I am convinced that this would not have
12
     been possible if we had not eliminated fluoridated drinking water.
13
     10.    To be clear, Kyle was not (and is not) free of all pain. Indeed, Kyle still regularly
14
15 experiences pain when he is exposed to a variety of chemical and food triggers; such as chemicals,
16 pesticides and toxins that are hidden in food; airborne fumes, such as auto exhaust or perfumes;
17 and certain allergic foods; as well as for reasons I cannot always identify. Kyle has also
18 experienced pain as the result of Lyme Disease (diagnosed in 2007 but now resolved), as well as
19
     gut dysbiosis and acute infections, including ear infections. But, by providing Kyle with fluoride-
20
     free water, the severity, frequency and consistency of his pain was reduced. This allowed me, in
21
     turn, to better detect other triggers of Kyle’s symptoms.
22
23 11.      In or about 2008/2009, I discovered that one of the triggers of Kyle’s symptoms was

24 another source of fluoride that I did not previously appreciate: skin contact to fluoridated water in
25 the shower. This discovery was prompted after Kyle began experiencing regular morning
26 headaches. Each morning he woke up without a headache, but a headache would inevitably seem
27
     to set in prior to leaving for work or starting his day. We had multiple conversations with his doctor
28

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 1 about it, and over several months, we investigated various possible causes, such as possible mold
 2 or toxins in his bedroom, and experimented with his already organic, highly specialized breakfast.
 3 12.      Prior to, and during the time when Kyle developed the morning headaches, I was not
 4
     filtering fluoride out of Kyle’s shower water, as I did not believe at that time that skin contact to
 5
     fluoride could pose a problem. I did have a carbon filter on the shower to prevent chlorine fumes,
 6
     but this filter did not remove fluoride.
 7
 8 13.      After hearing of Kyle’s headaches, a mother of a child with autism from Snoqualmie, WA

 9 persuaded me to limit Kyle’s exposure to fluoridated water in the shower. The next day after this
10 conversation I had Kyle skip his morning shower and the morning headache that had become a
11 routine did not develop. That evening, I had Kyle shower before bed, and the headache returned.
12
     Based on this initial “shower trial,” I heated bottled water on the stove for Kyle to sponge bathe
13
     over the course of the next week. There were no morning headaches at all during this week.
14
15 14.      These “trials,” which included several more tests of the shower water (each of which were

16 followed by headaches), convinced me that Kyle was sensitive to fluoride in shower water. For
17 the next 8 to 10 months, therefore, I continued to heat bottled spring water on the stove for sponge
18 bathing, intermittently experimenting on ways to limit Kyle’s exposure to fluoridated water during
19
     showers. After many failed attempts with various filtering products, I finally purchased a filter
20
     that removed enough fluoride to avoid Kyle’s headaches if I do all of the following four things:
21
     (1) Set a timer and limit the shower to 4 minutes; (2) Use warm water, not hot; (3) Keep water
22
23 pressure at the lowest possible, about 1 gal/min, for maximum filtration contact; and (4) Change
24 the filter at 3 months, not 6 as the manufacturer suggests..
25 15.      Kyle has camped with our family in state and national parks for all of his 33 years, usually
26 25 or more nights per year, showering daily in those campgrounds. After I became aware of Kyle’s
27
     pain from fluoridated water, I'd call ahead and ask about the fluoridation status. Based on my
28

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 1 experience, campgrounds almost never have water with added fluoride, but they do have
 2 chlorine. Kyle does not get headaches when showering at campgrounds or when we visit relatives
 3 near Portland (an area with no fluoridation). Likewise, when we stay at motels in areas with
 4
     chlorinated, but not fluoridated, water, Kyle does not report head pain and does not demonstrate
 5
     symptoms of headaches following a shower.
 6
     16.    On one family camping trip, I wrongly assumed that the campground we visited did not
 7
 8 use fluoridated water. I let Kyle take a shower at the campground, assuming it was safe. To my
 9 horror, he had a very painful reaction to the shower; with the manifestations of the pain lasting
10 over a day—which is longer than the pain used to last. I asked the park ranger about the water and
11 he informed me that the campground used fluoridated municipal water. This experience left me
12
     concerned that Kyle’s sensitivity to fluoride has increased over time.
13
     17.    Based on Kyle’s longstanding sensitivity to fluoride, his two current treating doctors (Dr.
14
15 Charles Butler and Dr. Nooshin Darvish) have both advised that he continue refraining from
16 exposure to fluoridated water, and other forms of fluoride ingestion. (Exhibits A, B, C, D, E).
17 Consistent with this, the Washington State Department of Health & Human Services, in its annual
18 care needs assessments of Kyle, called Person Centered Service Plans (PCSP), has recognized the
19
     need to limit Kyle’s exposure to fluoride, including fluoridated water. (Exhibit F).
20
     18.    Ever since 2000, I have incurred whatever financial expense is necessary to protect Kyle
21
     from the fluoridation chemicals contained in the tap water in our home; and most other
22
23 communities in King County, including the nearby cities where he works, attends medical
24 appointments and recreates in Special Olympics sports and other recreational activities with the
25 Renton Parks Department. He cannot leave the house without carrying an adequate supply of
26 fluoride-free water in his backpack. When we travel we must pack multiple gallons of fluoride-
27
28

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 1 free water and buy spring water at grocery stores during our trip. I will continue incurring these
 2 expenses so long as fluoridation chemicals pose a risk to Kyle.
 3 19.      A small fraction of the financial costs I have incurred purchasing fluoride-free spring water,
 4
     and filtering fluoride from our home water, are reflected in the documents included in Exhibit G.
 5
     20.    The cost of my time and extraordinary inconvenience providing safe, fluoride-free water
 6
     for Kyle’s drinking, cooking and bathing needs is incalculable.
 7
 8 21.      Far more important to me than the financial costs and physical burden associated with

 9 avoiding fluoridated water is the painful reactions Kyle experiences when exposed to fluoridated
10 water and other sources of fluoride ingestion. As Kyle’s legal guardian and primary caregiver, it
11 causes me profound distress to see my son suffer, and I will continue to do whatever I can to keep
12
     him out of harm’s way.
13
     22.    I am concerned that the presence of fluoride in the tap water of nearly every community in
14
15 King County will jeopardize Kyle’s future home care placement options. With the help of Kyle's
16 case manager, we are targeting a move in the next 2-3 years out of my home to a state residential
17 placement. However, the type of living arrangements available to Kyle are limited because the
18 Adult Family Homes that Kyle currently qualifies for are paid a flat rate and are not paid extra to
19
     provide fluoride-free water for drinking, cooking and bathing. Moreover, the Adult Family Homes
20
     do not have any allowances for special filtration equipment. Further, all caregivers in any future
21
     living arrangement will have to become fluoride-avoidance experts—an extreme expectation when
22
23 that means tap water avoidance—and will expect to be paid for the complex fluoride-removal tasks
24 that I currently do. Obtaining the state funding for such a high level of care, which is exacerbated
25 by wide-spread water fluoridation in our area, is very challenging.
26
27
28

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                          Exhibit A
        Adkins Declaration, Exhibit 14
                        Simms Decl.
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2                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

3       _____________________________________________________

4       FOOD & WATER WATCH,             )

5       et al.,                         )

6                 Plaintiffs,           )

7          vs.                          ) No. 17-cv-02162-EMC

8       US ENVIRONMENTAL                )

9       PROTECTION AGENCY,              )

10      et al.,                         )

11                Defendants.           )

12      _____________________________________________________

13

14                   DEPOSITION UPON ORAL EXAMINATION

15                                      OF

16                                AUDREY ADAMS

17       _____________________________________________________

18                                 2:08 p.m.

19                              November 28, 2018

20                                 700 Stewart

21                            Seattle, Washington

22

23

24      REPORTED BY: Margaret Walkky, CCR, RPR, RMR, CRR

25      Court Reporter, License No. 2540

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1       sensitivity.     I'm chemically sensitive, but a lot

2       less than he is.      I've had genetic testing done on

3       him and myself as well, and I don't understand the

4       implications of all of that, but I do know that our

5       testing has shown genetic defects or variance in

6       genes that are responsible for detoxification.            So we

7       don't get rid of stuff as efficiently as quickly as

8       other people, and the letter from Kyle's doctors

9       refers to that.

10                  Q.    Is that the MTHFR --

11                  A.    MTHFR is just one of them, but yes,

12      it's one of them.      There are others.

13                  Q.    There are others that Kyle suffers

14      from?

15                  A.    No, there are other genes that are

16      involved in detoxification.         There's many different

17      genes that might be, but that's the one that is most

18      looked at right now.

19                  Q.    For Kyle specifically or --

20                  A.    For a lot -- there's a number of us

21      that have the MTHFR genetic variant.

22                  Q.    But Kyle we know has that; is that

23      right?

24                  A.    Right.

25                  Q.    And that genetic variant we know causes

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1       hypersensitivity to chemicals and things like that?

2                          MR. CONNETT:     Calling for an expert

3       opinion.     You can answer.

4                    Q.    In your experience with Kyle, is that

5       correct?

6                          MR. CONNETT:     Same objection.

7                    A.    Well, again, that's drawing a line from

8       one thing to the next, and I don't know that it's

9       that simple.      I suspect that there are multiple other

10      things that are involved.         You know, is it one thing?

11      No.     Is autism caused by one thing?        Heavens, no.

12                   Q.    Have you ever been given any indication

13      of what caused Kyle's autism?

14                   A.    Have I been given any indication?

15      That's a huge question.        Do we want to go down that

16      road?     That's a huge question for any parent with a

17      child of autism.      How do we know?      I don't know.

18                         I do know that I was exposed to way too

19      much mercury.      Based on what I know about my ability

20      to get rid of mercury now, he was exposed to way too

21      much mercury while I was pregnant with him.              So that

22      would have set him up for, you know, some, definitely

23      some potential neurodevelopmental harm.              I mean, what

24      causes autism?      I mean, that's a huge question.

25                   Q.    But there's no event, single event that

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1       happened during your pregnancy or at the time of

2       birth that gave rise to the autism that you know of?

3                   A.    Well, I would say that each one of the

4       mercury exposures that I had would certainly have

5       contributed to his susceptibility, and the mercury

6       exposures as vaccines which they then -- and his

7       reaction to the vaccines.

8                         And so the straw that broke the camel's

9       back but it certainly is not the only thing, is

10      the -- when he had his MMR.         So there was many other

11      things building up that would have led to other

12      issues, but, you know, when it became apparent that

13      he had symptoms that looked like what I later learned

14      to be autism, was after the MMR.

15                  Q.    What's an MMR?

16                  A.    Measles mumps rubella shot.        He got the

17      measles from the MMR shot 10 days after, and got

18      very, very ill from it and then didn't get well.

19      But -- so the symptoms of autism, I was not aware of

20      any symptoms that were unusual developmentally even

21      though I, you know, I used to keep a baby journal for

22      both of my kids, and he seemed to be doing just what

23      my daughter was doing.

24                        And then so getting the measles, you

25      know, the trigger of, you know, the gun that was

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1       already pointed, who is to say, but I could never

2       know what, you know, all of the different factors

3       added together.

4                   Q.     So it's really as ambiguous of not even

5       knowing if it was something in the womb or something

6       he was exposed to after birth?

7                   A.     Well, I know he didn't have any

8       symptoms of autism prior to getting the measles.               He

9       did have symptoms of reactivity to the DPTs at two,

10      four and six months, but that has nothing to do with

11      fluoride.

12                         MR. CONNETT:     We've been going an hour

13      and a half.      Can we take a quick break?

14                         MS. CARFORA:     Sure.

15                         (Brief recess.)

16                         MS. CARFORA:     Back on the record.

17                  Q.     Ms. Adams, let's focus on Kyle a little

18      bit and his exposure to fluoride.           What is your claim

19      of harm to Kyle from fluoride?

20                         MR. CONNETT:     Overbroad.       You can

21      answer.

22                  A.     It causes him pain and other symptoms.

23                  Q.     Causes pain and what other symptoms?

24                  A.     Speaking in the current, for example,

25      last week, when I didn't do a good enough job

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1       monitoring his shower, because it really matters that

2       the water pressure is low so that the filter has

3       maximum contact time with the filtration medium, and

4       I didn't listen for that.        Usually I'm really careful

5       to listen for that and tell him to turn it down,

6       because I can tell, you know, audibly whether it's

7       high or not.

8                         And also -- well, so at the end of the

9       shower, right before the shower, everything is fine

10      and at the end of the shower, he's yelling really

11      loud, really, really loud, and so I ask him to let me

12      in the bathroom and he's (vocalizing), lots of

13      panting, you know, heart racing and in obvious pain.

14                        And I could see also that it was hotter

15      in the bathroom than it should -- he's supposed to

16      keep the water lukewarm, not hot, because the hotter

17      the water, the more he absorbs it.          It was probably a

18      combination of those two things, because it was only

19      a four-minute shower and the shower filter is only

20      about seven weeks old, roughly, about, anyway.            So

21      it's well, you know, in the early stages of the

22      filter.

23                        And so I hadn't done those -- you know,

24      he can't take a shower without pain unless we adhere

25      to all of the -- no more than four minutes because we

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                          Exhibit A
        Adkins Declaration, Exhibit 15
                       Lavelle Decl.
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                             Exhibit F
                 Declaration of Julie Simms
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11
12
13 FOOD & WATER WATCH, INC., et al.,                )   Case No. 17-cv-02162-EMC
                                                    )
14                                Plaintiffs,       )
                                                    )
15          v.                                      )   DECLARATION OF JULIE SIMMS
                                                    )
16 ENVIRONMENTAL PROTECTION                         )
     AGENCY, et al.,                                )
17
                                                    )
                                  Defendants.
18                                                  )
                                                    )
19
     I, JULIE SIMMS, declare as follows:
20
     1.     I am over the age of eighteen years and am competent to make this declaration. All the
21
22 facts stated herein are within my personal knowledge.
23 2.       I was born on September 24, 1968 and currently live in Seattle, Washington where I work

24 as a senior marketing communications manager in the computer industry.
25 3.       In approximately 1976 while living in the East San Francisco Bay Area, our local water
26
     district EBMUD began water fluoridation (Exhibit A). When I was 12, we relocated to Pleasanton,
27
     CA which also fluoridated their water (Exhibit B). I remained in the Bay Area until 1989.
28

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 1 4.       At age 14, I had my first migraine headache, and continued to experience occasional

 2 migraines throughout my teenage years.
 3 5.       From 1989-1991 I relocated to Chico, CA. I was in excellent health and was fortunate to
 4
     experience no migraines during this time. I learned later Chico does not fluoridate their water
 5
     (Exhibit C). From 1991-1992, while living in Japan, I experienced no migraines. I lived in Tottori
 6
     prefecture,        which          has         never          fluoridated           their         water
 7
 8 (https://en.wikipedia.org/wiki/Fluoridation_by_country#Japan).
 9 6.       In 1993, I moved back to California, spending a year in South San Francisco then two years

10 in         Palo       Alto.        Both        districts      practice       water           fluoridation
11 (https://www.cityofpaloalto.org/faqs/categoryqna.asp?id=63,
12
     https://www.sfwater.org/index.aspx?page=408). By 1994, I sought medical help for the first time
13
     for my increasingly painful and more frequent headaches which lasted 2-5 days. The doctor
14
15 diagnosed me with migraines. I was having approximately 8 severe migraines each year.
16 7.       In 1995, I relocated to Newport Beach, California. I used to believe my trips home to the

17 San Francisco Bay Area were stressful as I would always get migraine headaches when I visited,
18 but I didn’t experience them while at home in Orange County.
19
     8.     In approximately 1996, when water fluoridation was on the ballot in Newport Beach, I
20
     voted in support of the practice. I believed water fluoridation was safe and effective.
21
     9.     In 1998, I moved to San Francisco. Over the next few years, I experienced a significant
22
23 increase in migraine frequency to about 20 episodes each year. The pain severity and length of the
24 episodes increased dramatically during this time, along with frequent nausea and vomiting. I also
25 began to miss approximately 2 days of work each month due to the pain and difficulty focusing.
26 10.      I relocated again in 2001 to Seattle Washington, which also practiced water fluoridation.
27
     (https://seattle.gov/util/MyServices/Water/Water_Quality/Fluoride/index.htm) By 2002 and until
28

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 1 2013, I was experiencing low-grade daily migraines that would flair from a pain level of 2 or 3 to
 2 a 9 or 10 several times each month. Some migraines lasted 10 days or more. I believed, at that
 3 time, that my migraine headaches might be related to the stress of working long hours for a big
 4
     software company, or possibly to a car accident that I had in the early 2000s.
 5
     11.    I tried every remedy I could find to bring relief to these oppressive migraines including a
 6
     variety of prescription and non-prescription medications, vitamins, exercise, diet changes,
 7
 8 acupuncture, meditation, more sleep, less sleep, and I would often drink a lot of water in hopes of
 9 relieving possible dehydration.
10 12.      In 2009, at my father’s urging, I got an MRI to see if it could identify the cause of the
11 headaches. The MRI, however, failed to identify a cause. (Exhibit D).
12
     13.    I often asked friends and colleagues who also experienced headaches for advice. In early
13
     2013 someone suggested drinking fluoridated water could be causing my headaches. I was
14
15 skeptical. I believed water fluoridation was safe. Still I wanted to try, so I went to a local natural
16 food store, filled a 5-gallon bottle with fluoride-free water and bought fluoride-free toothpaste.
17 Within 3 days my daily headaches were substantially less painful and within a few weeks they
18 were completely gone. (Exhibit E). Based on this dramatic improvement, I decided then—and
19
     continue to this day—to strictly limit all identifiable exposures to fluoride, as discussed below.
20
     14.    I began seeking out research about the impacts of fluoride on the rest of our bodies,
21
     particularly the brain. I started with the CDC, where I came across an article, Achievements in
22
23 Public Health, 1900-1999: Fluoridation of Drinking Water to Prevent Dental Caries
24 (https://www.cdc.gov/mmwr/preview/mmwrhtml/mm4841a1.htm). I was struck how the research
25 was all about dental health and a very small section, Safety of Water Fluoridation, dismissed
26 concerns and offered no evidence to the safety of the practice. After failing to find any studies on
27
28

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 1 the impact of fluoride on the body on the CDC site, I made my way to Google and eventually to
 2 an article on the Fluoride Action Network about fluoride and the brain.
 3 15.      Since committing myself to a fluoride-free life, I have enjoyed long stretches of months
 4
     and months without migraines, (Exhibit F). I have other migraine triggers, such as alcohol, lack
 5
     of sleep, and aged cheese. It’s possible that inadvertent exposures to fluoride in processed and
 6
     restaurant-prepared foods may serve as an occasional trigger as well.
 7
 8 16.      To reduce my fluoride intake, I have purchased fluoride-free water since 2013. Initially, I

 9 purchased this water from my local natural food store, which involved filling two reusable five-
10 gallon jugs on a weekly basis (at a cost of $0.29 a gallon). In late 2014, however, I switched over
11 to using a home water filter (Exhibit G). I ultimately became concerned about the effectiveness
12
     of this filter, however, so in January 2017 I began purchasing home deliveries of fluoride-free
13
     spring water from Mountain Mist (Exhibits H & I). I continue to do so until the present day.
14
15 17.      In addition to purchasing fluoride-free Mountain Mist water, I have stopped drinking

16 processed beverages like soda, because they are often made in areas with fluoridated water. The
17 only beverages I now consume are pure water, pure juices, coffee, and an occasional beer. On the
18 rare occasions when I have a beer, I make sure it is brewed in an area that does not have water
19
     fluoridation, such as Portland, Oregon.
20
     18.    When I travel, I always educate myself on the local water district (usually through
21
     accessing the Water Quality Reports) to learn if they fluoridate to inform how careful I need to be
22
23 with food and water consumption. By way of example, in 2014, I visited a friend who lived in Los
24 Angeles, which I knew to be a fluoridated area. My friend mentioned that there was a health food
25 store in her area that had an ALKALINE water vending machine, so before going to Los Angeles,
26 I emailed this company to find out whether their vending machines filtered fluoride (Exhibit J).
27
28

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1 19.       In addition to strictly avoiding fluoride in drinking water, I also buy showerhead filters

2 (Exhibit K) and refrain from baths to prevent absorption through the skin. I also restrict how often,
3 and where, I eat out.
4
     20.    The addition of fluoridation chemicals to water has forced me to spend considerable sums
5
     of money avoiding exposure to fluoride in both food and water. It has also interfered with my
6
     ability to enjoy things that others may take for granted, like drinking water from my sink, taking a
7
8 bath in my house, and travelling to other places without having to worry about whether the food

9 or water will make me sick.

10 21.       I am a dues-paying member of both Food & Water Watch and Fluoride Action Network.

l l (Exhibit L)
12
13           I declare under penalty of perjury, under the laws of the United States of America, that the

14 foregoing is true and correct. Executed this / ~ay of      Ab em be,C ,
                                                                  ii             2018 in Seattle,
15
     Washington.
16
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Case 3:17-cv-02162-EMC Document 116-1 Filed 10/09/19 Page 281 of 334




                          Exhibit A
        Adkins Declaration, Exhibit 16
                       Lavelle Decl.
Case
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                            Exhibit C
               Declaration of Kristin Lavelle
  Case
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 9                      IN THE UNITED STATES DISTRICT COURT
10
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                  SAN FRANCISCO DIVISION
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13
14 FOOD & WATER WATCH, INC., et                    ) Case No. 17-cv-02162-EMC
   al.,                                            )
15                                                 )
16                 Plaintiffs,                     )
                                                     DECLARATION OF KRISTIN
                                                   )
17          v.                                       LAVELLE
                                                   )
18 ENVIRONMENTAL PROTECTION                        )
                                                   )
19 AGENCY, et al.,                                 )
20                                Defendants.      )
                                                   )
21
22 I, KRISTIN LAVELLE, declare as follows:
23 1.       I am over the age of eighteen years and am competent to make this declaration. All the
24 facts stated herein are within my personal knowledge.
25
     2.     I am a health professional, an Occupational Therapist and Certified Hand Therapist at San
26
     Francisco General Hospital/San Francisco Department of Public Health with 25 years of clinical
27
28

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  Case
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 1 experience. I also have 5 years of teaching experience as an Assistant Professor in the Masters of
 2 Occupational Therapy program at Samuel Merritt University in Oakland, CA.
 3 3.       In the early 2000s, I became aware of health concerns related to fluoridation chemicals in
 4
     drinking water, including the fact that the union representing the scientists and professionals at the
 5
     Environmental Protection Agency (EPA) had issued a statement opposing fluoridation because of
 6
     its risks. (Hirzy 1999). Based on my assessment of the literature at that time, I was persuaded that
 7
 8 the health risks from ingesting fluoride in water outweighed any benefits from ingesting it. Shortly
 9 after my son Neal was born in 2004, I began taking prudent measures to minimize my family’s
10 exposure to fluoride in drinking water. I have continued these efforts to the present day, as
11 explained below.
12
     4.     I have been, and remain, deeply concerned about the harm that fluoride may pose to my
13
     son. I am concerned, in part, by the numerous studies that have reported associations between
14
15 fluoride ingestion during childhood and adverse neurological effects, including reduced IQ (NRC
16 2006; Choi 2012). I recall that the EPA union of scientists and professionals cited the research on
17 fluoride and the brain as one of the reasons for their opposition to fluoridation. I have strived,
18 therefore, to take whatever measures I can to minimize Neal’s ingestion of fluoride.
19
     5.     A related concern that caught my attention when I first began reading about fluoride was a
20
     potential link between fluoride and dementia. Based on my understanding, the concern originated
21
     from animal experiments (e.g., Varner 1998) which found that rats consuming 1 ppm fluoride in
22
23 drinking water (the same level used in water fluoridation programs) had higher uptake of
24 aluminum into their brain, as well as brain changes that were apparently consistent with the
25 changes seen in the brains of Alzheimer’s patients. The EPA union of scientists and professionals
26 cited this research as one of the bases for their opposition to water fluoridation.
27
28

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 1 6.       I have seen first hand the devastating effects of Alzheimer’s, as my grandfather suffered

 2 from it at the end of his life, and my aunt and father-in-law are both currently suffering from it as
 3 well. The reported link between fluoride and dementia is an issue that causes me significant
 4
     apprehension, and one of the reasons I continue taking steps to minimize my ingestion of fluoride
 5
     chemicals.
 6
     7.     My concerns about the health effects of fluoride ingestion were further increased after
 7
 8 learning of the findings and recommendations of the National Research Council’s (NRC) 2006
 9 review Fluoride in Drinking Water: A Scientific Review of EPA’s Standards. I was disturbed to
10 read the myriad number of potential health effects of fluoride ingestion that the NRC identified,
11 including a broad range of adverse neurological and endocrine system effects. Among other things,
12
     the NRC confirmed that “fluorides have the ability to interfere with the functions of the brain” and
13
     cause brain changes in experimental lab animals that parallel the changes seen in humans with
14
15 dementia. (p. 222) I am aware of a study published subsequent to the NRC review (i.e., Li 2015)
16 that reported associations between fluoride exposure and cognitive decline in the elderly. It is my
17 understanding that the urinary fluoride levels associated with cognitive decline in this study are
18 within the range found among adults drinking fluoridated water.
19
     8.     I am aware that thyroid disease, including hypothyroidism, is a common cause of illness
20
     for women my age. I am concerned by reports linking fluoride to depressed thyroid function,
21
     including hypothyroidism. Much of this research was summarized by the NRC, which concluded
22
23 that fluoride is an “endocrine disrupter.” (NRC 2006, p. 266) I am aware of studies (e.g., Peckham
24 2015; Malin 2018) published subsequent to the NRC review which add further support for the
25 potential of fluoride in drinking water to cause thyroid disease. The link between fluoride and
26 depressed thyroid function is another reason I continue taking steps to minimize my ingestion of
27
     fluoride.
28

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  Case
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 1 9.       An additional concern I have about fluoride in drinking water is the fact that it

 2 bioaccumulates in bone. I was concerned, for example, to read in the NRC report that fluoride has
 3 a 20-year half-life in bone, meaning that half of the fluoride that enters our bone today will still be
 4
     there in 20 years. I am further concerned by research, discussed by the NRC, showing that the
 5
     fluoride stored in bone begins to be released back into our bloodstream at increasing rates after
 6
     menopause. (NRC 2006, p. 100-102.) This increased circulation of fluoride in our blood later in
 7
 8 life concerns me in light of the NRC’s concerns about fluoride’s potential link with dementia, and
 9 the studies linking fluoride to cognitive decline in late-life years. I try, therefore, to take whatever
10 reasonable steps are available to me to minimize the buildup of fluoride into my bones.
11 10.      In order to protect myself and my family from the risks posed by fluoride in water, I have
12
     spent, and continue to spend, significant sums of money filtering fluoride out of our home’s tap
13
     water. In or about 2001, while living in Oakland, CA (a city that adds fluoridation chemicals to its
14
15 drinking water), my husband and I purchased and installed a reverse osmosis filter. However,
16 because reverse osmosis filters are wasteful of water and remove beneficial minerals, we
17 supplemented with a weekly delivery of spring water for some of our drinking and cooking needs.
18 This required significant expense and inconvenience – e.g., changing heavy bottles on the water
19
     dispenser, and changing the filters on the reverse osmosis system annually. Attached as Exhibit
20
     A are copies of receipts for my purchases of the spring water deliveries from the period of October
21
     2013 to April 2015.
22
23 11.      In 2015, we moved to Berkeley, California, another city that adds fluoridation chemicals

24 to its drinking water. To minimize our family’s exposure to these fluoridation chemicals, we
25 purchased, at great expense, a whole house filter in 2015. This whole house filter, which cost
26 $2,050, was advertised as removing >80% of the fluoride. Attached as Exhibit B is a copy of the
27
     receipt for this whole house filter.
28

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  Case
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 1 12.      After installing the whole house filter, I would occasionally test the water in our house for

 2 fluoride to verify that the filter was working properly. On several occasions, the tests found higher-
 3 than-expected fluoride levels, which caused me some concern about the continuing effectiveness
 4
     of the filter. Out of an abundance of caution, I decided to purchase a Berkey countertop water
 5
     filter which was advertised as an effective filter for removing fluoride. I have intermittently tested
 6
     the water from this filter and confirmed that it produces low (i.e., N.D. to <0.2 ppm F) levels of
 7
 8 fluoride. Attached as Exhibit C is a receipt for the fluoride-testing kit that I purchased to test the
 9 fluoride levels in my water.
10 13.      We now use the Berkey countertop filter as our main source of home drinking water,
11 although we still rely upon the whole house filter for filtering the water used for cooking and
12
     showering. The Berkey filter requires regular ongoing replacement of its filter cartridges to remain
13
     effective (about once a year). Each replacement costs about $50. Attached as Exhibit D are
14
15 documents related to my filter purchases from Berkey.
16 14.      In addition to spending substantial money to filter out the fluoride from the water at my

17 home, I also take measures to minimize my family’s exposure to fluoride in drinking water when
18 away from home. As but one example, if I am having a meal at a restaurant in Berkeley or some
19
     other fluoridated community, I hesitate to drink the (free) house water and, where available, will
20
     often purchase a spring or sparkling water in its place.
21
     15.    In light of the widespread implementation of water fluoridation programs in the United
22
23 States, I understand that many processed beverages and foods are made with, and are thereby
24 contaminated by, artificially fluoridated water. Since the labels on processed beverages and foods
25 do not provide their fluoride content, it is difficult to fully eliminate my, or my family’s, exposure
26 to these fluoridation chemicals. I continue, however, to take steps to minimize our exposure.
27
28

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                          Exhibit A
        Adkins Declaration, Exhibit 17
                  Staudenmaier Decl.
Case
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                             Exhibit E
          Declaration of Brenda Staudenmaier
  Case
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 9                     IN THE UNITED STATES DISTRICT COURT
10
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                SAN FRANCISCO DIVISION
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13
14 FOOD & WATER WATCH, INC., et                 ) Case No. 17-cv-02162-EMC
   al.,                                         )
15                                              )
16                 Plaintiffs,                  )
                                                  DECLARATION OF BRENDA
                                                )
17         v.                                     STAUDENMAIER
                                                )
18 ENVIRONMENTAL PROTECTION                     )
                                                )
19 AGENCY, et al.,                              )
20                              Defendants.     )
                                                )
21
22
     I, BRENDA STAUDENMAIER, declare as follows:
23
     1.    In 2018, I received an Associate Degree in Environmental Engineering-Waste & Water
24
     Technology from Wisconsin Technical College in Green Bay, Wisconsin. At graduation, I was
25
26 acknowledged for highest honors and membership of Phi Theta Kappa International Honor
27 Society.
28

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  Case
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 1 2.       In 2015, I received the Wisconsin Water Association (WWA) scholarship, which is a

 2 division of the American Water Works Association (AWWA), for my outstanding academic
 3 achievements and volunteer work.
 4
     3.     I currently work at the Madison Metropolitan Sewer District (MMSD) in Madison,
 5
     Wisconsin, as a Relief Operator so that I can support my family, save for retirement, and have
 6
     benefits. The reason I have chosen to work in wastewater instead of drinking water is because
 7
 8 fluoridation of water conflicts with my ethics. I know other wastewater operators who have left
 9 the field of drinking water because of the hazards of handling fluoride.
10 4.       I have two sons: Ko, who is 8 years old, and Hayden, who is 16 years old.
11 5.       I first learned about fluoride in 2008 while eliminating some of my asthma and allergy
12
     symptoms. During this time my friend, Frankie Olvera, was diagnosed with osteosarcoma which
13
     had spread to his lungs and soon after, his brain. At around the time of Frankie’s diagnosis, I
14
15 became aware of an NIH-funded study by a Harvard scientist (Elise Bassin) which reported that
16 exposure to fluoridated water during the mid-childhood growth spurt (ages 6 to 8) correlated with
17 a significant increased risk of boys developing osteosarcoma in their adolescence. The link
18 between fluoride and osteosarcoma in boys was very concerning to me because my son Hayden
19
     was in the age range suggested to be at risk.
20
     6.     After reading about the Harvard study’s findings on fluoride and bone cancer, I researched
21
     and learned about EPA scientist, Dr. William Marcus, and the concerns he had voiced about
22
23 fluoride’s potential to cause osteosarcoma, and about his concerns with the National Toxicology
24 Program’s animal study on fluoride & cancer.
25 7.       Based on my research at that time, it was clear to me that fluoride was controversial and
26 the safety of it was not settled. As a mother of two boys, I decided to take precautionary action and
27
     limit my children’s exposure to fluoridated water, as well as my own. In or about 2009, while
28

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  Case
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 1 living in fluoridated New York City, I purchased my first reverse osmosis filter system to reduce
 2 the level of fluoride in my home water. I have since spent many years purchasing filter systems,
 3 bottled water, and filling expensive and heavy glass carboys at local grocery stores as a way of
 4
     minimizing my own, and my children’s, exposure to fluoride. Currently, I filter fluoride from my
 5
     home tap water through a Berkey countertop filter, which requires ongoing replacement of the
 6
     filter cartridges. A small fraction of my ongoing costs are accounted for in Exhibit A.
 7
 8 8.        I regret that I was unable to filter fluoride out of my home water during my pregnancy with

 9 Ko in 2010, as I had moved to Green Bay, Wisconsin (which adds fluoridation chemicals to its
10 water) during the pregnancy and did not have sufficient income to afford a filtration system.
11 9.       I have spent time volunteering in public schools and have regularly noticed what appears
12
     to be dental fluorosis on urban children’s teeth, including some apparently advanced forms of the
13
     condition. My experience in urban schools has given me the impression that dental fluorosis is
14
15 now a common condition. National surveys by the CDC appear to be consistent with my
16 observations. The fact that fluoride is causing visible effects of over-exposure in so many children
17 furthers my concern about what fluoridation chemicals may be doing to our health.
18 10.       My current concerns with fluoride include its adverse effects on the brain and cognition.
19
     My concern with neurological effects is based on published research linking fluoride ingestion to
20
     reduced IQ, learning disorders, and dementia. My son Ko seems to have ADHD and I worry that
21
     it is due to my inability to afford a fluoride filtration system during my pregnancy with him. Ko
22
23 has some white discoloration on his teeth which appears similar to dental fluorosis, although I
24 cannot say for certain that it is.
25 11.       Avoiding fluoride in water is difficult for me because I waitress on the weekends and all
26 the foods and beverages are made with fluoridated tap water. I typically bring my own mason jar
27
     of water to work but sometimes I forget. Also, since I continue to eat out at restaurants, and
28

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  Case
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 1 consume processed beverages and foods, I recognize that I am regularly being indirectly exposed
 2   to fluoridated drinking water.
 3 12. I have purchased a fluoride analyzer with equipment so that I am able to monitor the fluoride
 4
     levels in my water and urine. Documents related to my purchase of the analyzer, and its
 5
     accompanying parts, are attached as Exhibit B.
 6
 7 13.      Despite my best efforts to minimize my exposure to fluoride, I have found that my urinary

 8 fluoride levels fluctuate quite a bit. While I can often keep them below 0.3 mg/L, they sometimes
 9 go as high as 1 mg/L. I believe this is the result of the fact that I have not yet eliminated processed

10 beverages from my diet. Since many processed beverages are made in fluoridated areas, some of
11
     the processed beverages I consume are likely made with fluoridated water. The fact that I am
12
     being intermittently exposed to fluoridated chemicals causes me concern about the potential
13
     adverse effects these chemicals could have on my health.
14
             Until fluoridation chemicals are removed from water, I will continue suffering economic
15 14.
16 harm by spending my hard-earned and limited finances on measures to limit my family's exposure
17 to fluoridation chemicals.
18          I declare under penalty of perjury, under the laws of the United States of America, that the
19
     foregoing is true and correct. Executed this   llo day of V01)1�0)(               2018 in Madison,
20
     Wisconsin.
21
22                                                                     1�-A��
                                                                           J
23                                                                      BRENDA STAUDENMAIER

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25
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                          Exhibit A
        Adkins Declaration, Exhibit 18
                       Trader Decl.
Case 3:17-cv-02162-EMC
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                             Exhibit D
                Declaration of Jessica Trader
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                    IN THE UNITED STATES DISTRICT COURT

                FOR THE NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION



  FOOD & WATER WATCH, INC., ​et                 ) Case No. 17-cv-02162-EMC
  al​.,                                         )
                                                )
                              Plaintiffs,       )
                                                  DECLARATION OF JESSICA
                                                )
        v.                                        TRADER
                                                )
  ENVIRONMENTAL PROTECTION                      )
  AGENCY, ​et al​.,                             )
                                                )
                              Defendants.       )
                                                )

  I, JESSICA TRADER, declare as follows:

  1.    I am 32 years old. All the facts stated herein are within my personal knowledge.

  2.    I live and work in San Francisco, California.

  3.    When I was a teenager, I was diagnosed as having a condition called dental fluorosis,

  which my dentist told me was caused by too much exposure to fluoride while my teeth were



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  developing. At first, the fluorosis appeared as little white spots on my teeth. Over time, however,

  these spots became darker in color, and now have the appearance at times of lipstick being on my

  teeth. In addition to being discolored, my teeth are also very fragile and keep breaking. Recently,

  for example, one of my teeth fractured while I was chewing candy.

  4.      The staining that dental fluorosis caused on my teeth has caused me social anxiety and

  embarrassment over the years, as I have feared that people would find me less attractive, or think

  I was neglecting my hygiene.

  5.      I recently went to a dentist here in San Francisco (Lisa Lam, DDS) to get cosmetic

  treatment for my teeth so as to minimize the staining that fluorosis has caused. My dentist

  prescribed me a remineralizing paste to treat the fluorosis. Upon getting this paste, however, I

  learned that it contained fluoride, which made me furious, as I made it clear to the dentist that I

  did not want to use any dental treatments that contained fluoride. I never used the remineralizing

  paste, and ceased all further visits to this dentist.

  6.      As someone who has been over-exposed to fluoride, I am very concerned about what

  additional fluoride exposures may do to my health, particularly after learning that published

  studies have linked fluoride ingestion to adverse effects on the bones, thyroid gland and brain.

  7.      I try to do whatever I reasonably can to limit my ingestion of fluoride. Since San

  Francisco adds fluoridation chemicals to its water, I do not drink the tap water at my home.

  Instead, I purchase bottled spring water. In addition, I do not use any fluoride-containing dental

  products.

  8.      I own and manage a restaurant/bar/music venue in San Francisco called Noir Lounge. To

  limit my exposure to fluoridated water while at work, as well as the exposure of my employees

  and customers, I installed a professional water filtration system that removes the fluoride.



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  9.     I am a member of Food & Water Watch.



         I declare under penalty of perjury, under the laws of the United States of America, that the

  foregoing is true and correct. Executed this _18__ day of ___November___, 2018 in San

  Francisco, California.




  JESSICA TRADER




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                          Exhibit A
        Adkins Declaration, Exhibit 19
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                          Exhibit A
        Adkins Declaration, Exhibit 20
                    Malin et al. 2018
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                          Exhibit A
        Adkins Declaration, Exhibit 21
                        Henry Dep.
     Case 3:17-cv-02162-EMC Document 116-1 Filed 10/09/19 Page 319 of 334



·1     · · · ·THE UNITED STATES DISTRICT COURT

·2     · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3     · · · · · · · ·AT SAN FRANCISCO

·4     FOOD & WATER WATCH, et al.· · *

·5     · Plaintiffs· · · · · · · · · *· Civ. No.

·6     v.· · · · · · · · · · · · · · *· 17-CV-02162-EMC

·7     U.S. ENVIRONMENTAL PROTECTION *

·8     AGENCY, et al.· · · · · · · · *

·9     · Defendants· · · · · · · · · *

10     · · · · · · · *· ·*· ·*· ·*· ·*

11     · · · · · VIDEOTAPED DEPOSITION OF

12     · · · · · · TALA RAE HENRY, Ph.D.

13     · · · · · · · AUGUST 20th, 2019

14     · · · · · · · ·WASHINGTON, D.C.

15

16     · · · · · Reported by:· Dawn M. Hyde

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·1     · · · · · VIDEOTAPED DEPOSITION OF

·2     · · · · · · TALA RAE HENRY, Ph.D.

·3     · · ·The videotaped deposition of Tala Rae Henry,

·4     Ph.D., taken by the Plaintiffs in the

·5     above-captioned case on Tuesday, August 20th,

·6     2019, commencing at 9:20 a.m., at Department of

·7     Justice, 150 M Street, Northeast, Room 8211,

·8     Washington, D.C. 20002 and was reported by Dawn M.

·9     Hyde, a notary public.

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·1     · · ·A· · Yes.

·2     · · ·Q· · So you would agree that a chemical

·3     that disrupts the thyroid gland or reduces

·4     thyroid function can affect the brain,

·5     correct?

·6     · · ·A· · Depending on the dose and the

·7     timing, there is evidence that thyroid

·8     dysfunction might affect the brain.

·9     · · ·Q· · Now, are you familiar with who Joyce

10     Donahue is?

11     · · ·A· · Yes.

12     · · ·Q· · And who is Joyce Donahue?

13     · · ·A· · Joyce Donahue is a toxicologist in

14     the Office of Water at the EPA.

15     · · ·Q· · And are you aware that Joyce Donahue

16     is the main expert on fluoride at the Office

17     of Water?

18     · · ·A· · Yes.

19     · · ·Q· · Are you aware that Joyce Donahue was

20     deposed in this case?

21     · · ·A· · Yes.



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·1     · · ·Q· · Have you read the transcript?

·2     · · ·A· · No.

·3     · · ·Q· · Joyce Donahue testified that -- she

·4     agreed that that MCLG of four milligrams per

·5     liter is outdated.· Would you agree with that

·6     assessment?

·7     · · ·A· · I think that the literature on which

·8     it's based does -- is of a certain era and

·9     that subsequently other literature has been

10     published.

11     · · ·Q· · And what era is the -- strike that.

12     · · · · · You stated that the literature that

13     that MCLG is based on is from a certain era.

14     What era is that?

15     · · ·A· · Well, it had to be prior to 2010

16     when they released the document.· I don't have

17     it in front of me but they probably describe

18     the dates that their literature searches were

19     conducted.

20     · · ·Q· · And would you agree that there -- in

21     light of the neurotoxicity data that has been



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·1     published subsequent to 2010, including the

·2     prospective birth cohort studies, would you

·3     agree that the assessment that EPA did in 2010

·4     is now outdated?

·5     · · ·A· · I don't think it has to do with

·6     those specific studies but it simply was done

·7     during a certain time, and time has passed

·8     since then.· So it represents the literature

·9     of the time, which is obviously about ten

10     years old.

11     · · ·Q· · Would you agree that there is now

12     sufficient neurotoxicity data to warrant a

13     reassessment of EPA's drinking water policy on

14     fluoride?

15     · · ·A· · I can't speak on behalf of EPA.

16     · · ·Q· · Well, just based on what you have

17     read, the studies you've read and what you

18     understand as to the science on fluoride

19     neurotoxicity, do you believe that the current

20     drinking water standard should be reassessed?

21     · · ·A· · I don't have an opinion on the



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·1     drinking water standard.· I think there is

·2     additional literature that could be reviewed

·3     and evaluated for quality and relevancy to the

·4     issue.

·5     · · ·Q· · Okay.· Are you familiar with an EPA

·6     scientist, I gather he's no longer with the

·7     agency, but William Mundy?

·8     · · ·A· · I know the name.

·9     · · ·Q· · What do you know about Dr. Mundy?

10     · · ·A· · He is in the office -- he was, I

11     didn't know he left -- in the Office of

12     Research and Development in National Health

13     and Environmental Effects Research Lab.

14     · · ·Q· · And Dr. Mundy was a

15     neurotoxicologist?

16     · · ·A· · I'd have to check.· Does it say he

17     was in the neurotox division?

18     · · ·Q· · Yes.

19     · · ·A· · Yes.· Okay.

20     · · ·Q· · What would that indicate to you if

21     he was a member of the neurotoxicity division?



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·1     · · ·A· · Then you'd specialize in

·2     neurotoxicity.

·3     · · · · · (Deposition Exhibit Number 223 was

·4     · · · · · marked for identification.)

·5     · · ·BY MR. CONNETT:

·6     · · ·Q· · Let me hand you a document which I

·7     will mark as Exhibit Number 223.· It is a

·8     document entitled, "Building a Database of

·9     Developmental Neurotoxicants: evidence from

10     human and animal studies."

11     · · · · · Have you seen this before?

12     · · ·A· · No.

13     · · ·Q· · Are you familiar with the fact that

14     the neurotoxicity division at EPA was working

15     on a screening and prioritization program from

16     neurotoxicants?

17     · · ·A· · No.

18     · · ·Q· · And you see there is a section there

19     on the right titled "Chemicals with

20     substantial evidence of developmental

21     neurotoxicity."



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·1     the list, as did the fluoride ion.

·2     · · ·Q· · And they showed up on the list.

·3     What list?

·4     · · ·A· · Before -- this list -- again, you

·5     would have to read the methodology document --

·6     that there were several steps to get to this

·7     list.· So again, based on the types of toxic

·8     effects as well as the persistence and

·9     bioaccumulative nature, a variety, very

10     specific pre-identified list of sources were

11     consulted to come up with chemicals on those

12     other lists.

13     · · · · · And so there was over 1,200

14     chemicals identified there and then there was

15     sort of a trimming process -- another step

16     that occurred to get down to something over

17     200, which then underwent the various specific

18     scoring activity outline in the methodology

19     document to get to this list of 90.· Well, it

20     was really 83 at first and then subsequently

21     updated to get this 2014 list.



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·1     · · ·Q· · Okay.· So could you repeat the

·2     inorganic compounds that showed up on the

·3     initial list of chemicals?

·4     · · ·A· · There were two ammonium salts.

·5     · · ·Q· · Ammonium fluoride salts?

·6     · · ·A· · Yes, two different forms.

·7     · · ·Q· · And besides those two different

·8     ammonium fluoride salts, were there any other

·9     inorganic fluoride compounds that showed up on

10     this list?

11     · · ·A· · Just the fluoride ion.

12     · · ·Q· · So do you know why those three

13     fluoride compounds that you have identified,

14     why they did not end up on this list of 90

15     chemicals?

16     · · ·A· · My understanding around the fluoride

17     ion is it is not a chemical on the TSCA

18     inventory because it's just an ion.· It's not

19     a compound.· It's not a chemical substance

20     under the TSCA inventory.· And then the two

21     ammonium salts -- inorganics generally were



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·1     taken off the list with the exception of

·2     putting -- placing back on nine metal groups.

·3     · · ·Q· · Why were inorganic compounds taken

·4     off the list?

·5     · · ·A· · I don't know the specifics about

·6     that.

·7     · · ·Q· · It wasn't based on whether or not

·8     those compounds were toxic?

·9     · · ·A· · No, they didn't undergo the

10     screening.

11     · · ·Q· · So by not being included in this

12     process, EPA wasn't making a judgment about

13     the toxicity or lack thereof of those

14     inorganic compounds; is that fair?

15     · · ·A· · No.· It had more to do with whether

16     or not they were amenable to TSCA assessment

17     methods and potential risk management.

18     · · ·Q· · Why would inorganic compounds not be

19     amenable to TSCA assessments?

20     · · ·A· · That was one of the reasons, but

21     inorganics generally were taken off and then



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·1     several put back on, and I don't know the

·2     specifics of the rationale there.

·3     · · ·Q· · So you have identified one rationale

·4     which is that inorganic compounds might not be

·5     amenable to TSCA assessments.

·6     · · ·A· · Some of the chemicals on the list

·7     were not.· Many, many, many of them were

·8     drugs, for example, which we have no purview

·9     under TSCA, and there are other exclusions for

10     TSCA.

11     · · · · · There were several reasons things

12     were removed.· They were naturally occurring

13     substances, they were not chemicals under

14     TSCA's purview.· Inorganics were just taken

15     off and a couple of other things I don't

16     recall at this very moment.

17     · · ·Q· · Okay.· So what about fluoride ion?

18     What was the reason why fluoride ion did not

19     make it to this list of 90 chemicals?

20     · · ·A· · Fluoride ion as an ion is not on the

21     TSCA inventory.



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·1     · · ·Q· · What does it mean to not be on the

·2     TSCA inventory?

·3     · · ·A· · Then it's not in the purview of

·4     TSCA.

·5     · · ·Q· · What is the TSCA inventory?        I

·6     probably should have asked that then.

·7     · · ·A· · It's an inventory of chemicals

·8     either put on the inventory as chemicals in

·9     commerce, but there is no taking them off

10     per se until very recently when we got

11     amendments to TSCA.

12     · · ·Q· · And so fluorosilicic acid, you're

13     familiar with that chemical, right?

14     · · ·A· · Yes.

15     · · ·Q· · Was that considered in this --

16     · · ·A· · No, it didn't come up on any of the

17     other lists.

18     · · ·Q· · Was sodium fluoride considered as

19     part of this prioritization assessment?

20     · · ·A· · No.

21     · · ·Q· · Do you know why sodium fluoride was



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·1     · · ·A· · The three under the criteria for a

·2     ranking of three is measured in drinking

·3     water.

·4     · · ·BY MR. CONNETT:

·5     · · ·Q· · So would you give it a three or not?

·6     · · ·A· · Yes.

·7     · · ·Q· · Now, going to the third section

·8     which is the "Release score," this refers to

·9     chemicals that are reported in the toxic

10     release inventory, correct?

11     · · ·A· · Correct.

12     · · ·Q· · And have you ever looked at the

13     toxic release inventory to see how many -- how

14     much hydrogen fluoride emissions are being

15     reported by industry?

16     · · ·A· · No.

17     · · ·Q· · Do you have any reason to disagree

18     with Dr. Thiessen's conclusions on that point

19     with respect to how much fluoride -- hydrogen

20     fluoride is being released by industry?

21     · · ·A· · I don't have a basis for an opinion



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·1     because I didn't look it up.· It's a different

·2     chemical, however.

·3     · · ·Q· · Well, it's a fluoride chemical,

·4     correct?

·5     · · ·A· · But again, we scored things in this

·6     methodology based on the specific chemical

·7     substance.

·8     · · ·Q· · Do you understand that hydrogen

·9     fluoride, when it's released in the air,

10     results in fluoride ion contamination in

11     vegetation?

12     · · ·A· · Yes.· But again, the scoring under

13     the TSCA methodology is on a specific chemical

14     substance.

15     · · ·Q· · Right.· And you had specifically

16     mentioned fluoride ion as being a category of

17     chemical substance, correct?

18     · · ·A· · No.· I said fluoride ion is not a

19     chemical on the TSCA inventory.

20     · · ·Q· · Okay.· But you understand that when

21     hydrogen fluoride is emitted into the air, it



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·1     results in a -- can result in fluoride ion

·2     exposure in humans, correct?

·3     · · ·A· · Yes.

·4     · · ·Q· · And you understand that fluoride ion

·5     is the toxic component of sodium fluoride?

·6     · · ·A· · Depending on the study and the

·7     exposure.· I understand that the sodium and

·8     the fluoride dissociate.

·9     · · ·Q· · Right, and you understand that with

10     fluoridation chemicals, it's fluoride ion that

11     we're concerned about in terms of what is

12     causing the harmful effects?

13     · · ·A· · That you are concerned about, yes.

14     · · ·Q· · Well, does EPA have zero concern

15     about the effects of fluoride in drinking

16     water?

17     · · · · · MS. CARFORA:· Objection to form.

18     · · ·A· · I can't speak for EPA.

19     · · ·BY MR. CONNETT:

20     · · ·Q· · Do you have zero concern about the

21     effects of fluoride on human health?



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·1     · · ·A· · At this point, I don't have the

·2     evidence or knowledge to have a concern.

·3     · · ·Q· · So you have zero concern about

·4     fluoride's effects on human health?

·5     · · ·A· · I don't have the evidence and data

·6     in front of me to formulate an opinion.

·7     · · ·Q· · So after everything you've read, you

·8     have no concerns about the effects of fluoride

·9     on human health in the United States?

10     · · ·A· · Again, that's sort of a qualitative

11     characterization.· So again, the way I think

12     as a toxicologist, I need to understand what

13     dose to what population for what duration.

14     · · ·Q· · Based on your understanding as to

15     how much fluoride people are receiving in the

16     United States, you have no concern about

17     fluoride's effects on human health; is that a

18     fair statement?

19     · · ·A· · With the facts I know today, I do

20     not personally have that concern.

21     · · ·Q· · No concerns about what fluoride



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